Case: 19-2005      Document: 00117501495 Page: 1   Date Filed: 10/11/2019                                     Entry ID: 6289181
                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS

                           CLERK’S CERTIFICATE AND APPEALS COVER SHEET

                                     ABBREVIATED ELECTRONIC RECORD


      Case Caption:                     Students for Fair Admissions, Inc. v. President and Fellows of Harvard College et al
                                        __________________________________________________________

      District Court Number:            14cv14176-ADB
                                        __________________________________________________________


      Fee:    Paid?        X
                       Yes ____ No ____ Government filer ____ In Forma Pauperis Yes ____ No ____


      Motions Pending                       X
                                Yes ____ No ____                    Sealed documents                  X
                                                                                                Yes ____      No ____
      If yes, document #        _______________                     If yes, document #          (see attached addendum)
                                                                                                _______________

      Ex parte documents                    X
                                Yes ____ No ____                    Transcripts                       X
                                                                                                Yes ____     No ____
      If yes, document #        _______________                     If yes, document #          (see attached addendum)
                                                                                                _______________


                                                      X
      Notice of Appeal filed by: Plaintiff/Petitioner ____   Defendant/Respondent ____ Other: ____

      Appeal from:
      #672 Findings of Fact and Conclusions of Law, #673 Judgment
      Other information:




              I, Robert M. Farrell, Clerk of the United States District Court for the District of Massachusetts, do
      hereby certify that the annexed electronic documents:

      #672, #673, and #674
      with the electronic docket sheet, constitute the abbreviated record on appeal in the above entitled case for
      the Notice of Appeal # ________
                              674        filed on__________________.
                                                 October 4, 2019


                                                                                               October 7, 2019
              In testimony whereof, I hereunto set my hand and affix the seal of this Court on _____________.



                                                                    ROBERT M. FARRELL
                                                                    Clerk of Court


                                                                    /s/Matthew A. Paine
                                                                    ____________________________
                                                                    Deputy Clerk




      COURT OF APPEALS DOCKET NUMBER ASSIGNED: ____________________________


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      SEALED DOCUMENTS:

      68,69,80,81,122,127,133,134,140,145,162,163,168,169,195,198,202,203,204,205,207,208,
      214,219,220,221,224,225,226,227,233,234,235,241,242,247,248,255,256,257,260,261,262,
      266,273,274,284,285,286,287,289,290,296,297,308,309,310,313,317,326,328,330,333,344,
      347,348,352,356,361,367,368,373,374,381,383,413,420,421,427,435,437,438,449,452,454,
      487,497,548,552,553,556,569,570,603,620

      TRANSCRIPTS:

      43,84,128,143,152,173,193,195,384,402,582,583,631,632,633,634,635,636,637,638,639,
      640,641,642,643,644,645,646,647,648,649,650,651,652,653,654,655,656,657,666
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                                                                                                                       APPEAL

                                            United States District Court
                                         District of Massachusetts (Boston)
                                  CIVIL DOCKET FOR CASE #: 1:14-cv-14176-ADB


           Students for Fair Admissions, Inc. v. President and Fellows of       Date Filed: 11/17/2014
           Harvard College et al                                                Date Terminated: 09/30/2019
           Assigned to: Judge Allison D. Burroughs                              Jury Demand: Plaintiff
           Case in other court: USCA - First Circuit, 15-01823                  Nature of Suit: 440 Civil Rights: Other
           Cause: 28:1331 Federal Question: Other Civil Rights                  Jurisdiction: Federal Question

           Plaintiff
           Students for Fair Admissions, Inc.                 represented by Adam K Mortara
                                                                             Barlit Beck LLP
                                                                             54 West Hubbard Street, Suite 300
                                                                             Chicago, IL 60654
                                                                             312-494-4400
                                                                             Fax: 312-494-4440
                                                                             Email: adam.mortara@bartlit-beck.com
                                                                             LEAD ATTORNEY
                                                                             PRO HAC VICE
                                                                             ATTORNEY TO BE NOTICED

                                                                                J Scott McBride
                                                                                Bartlit Beck LLP
                                                                                54 W Hubbard Street
                                                                                Third Floor
                                                                                Chicago, IL 60654
                                                                                312-494-4400
                                                                                Email: scott.mcbride@bartlit-beck.com
                                                                                LEAD ATTORNEY
                                                                                PRO HAC VICE
                                                                                ATTORNEY TO BE NOTICED

                                                                                John Michael Connolly
                                                                                Consovoy McCarthy Park PLLC
                                                                                3033 Wilson Boulevard
                                                                                Suite 700
                                                                                Arlington, VA 22201
                                                                                (703) 243-9423
                                                                                Email: mike@consovoymccarthy.com
                                                                                LEAD ATTORNEY
                                                                                PRO HAC VICE
                                                                                ATTORNEY TO BE NOTICED

                                                                                John M Hughes
                                                                                Bartlit Beck LLP
                                                                                1801 Wewatta Street


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                                                                                Suite 1200
                                                                                Denver, CO 80202
                                                                                303-592-3100
                                                                                Fax: 303-592-3140
                                                                                Email: john.hughes@bartlit-beck.com
                                                                                LEAD ATTORNEY
                                                                                PRO HAC VICE
                                                                                ATTORNEY TO BE NOTICED

                                                                                Katherine L.I. Hacker
                                                                                Bartlit Beck LLP
                                                                                1801 Wewatta Street
                                                                                Suite 1200
                                                                                Denver, CO 80202
                                                                                (303) 592-3100
                                                                                Email: kat.hacker@bartlit-beck.com
                                                                                LEAD ATTORNEY
                                                                                PRO HAC VICE
                                                                                ATTORNEY TO BE NOTICED

                                                                                Krista J. Perry
                                                                                Bartlit Beck LLP
                                                                                54 West Hubbard Street, Suite 300
                                                                                Chicago, IL 60654
                                                                                312.494.4400
                                                                                Fax: 312.494.4440
                                                                                Email: krista.perry@bartlit-beck.com
                                                                                LEAD ATTORNEY
                                                                                PRO HAC VICE
                                                                                ATTORNEY TO BE NOTICED

                                                                                Meg E. Fasulo
                                                                                Bartlit Beck LLP
                                                                                1801 Wewatta Street, Suite 1200
                                                                                Denver, CO 80202
                                                                                303-592-3100
                                                                                Fax: 303-592-3140
                                                                                Email: meg.fasulo@bartlit-beck.com
                                                                                LEAD ATTORNEY
                                                                                PRO HAC VICE
                                                                                ATTORNEY TO BE NOTICED

                                                                                Michael H. Park
                                                                                Consovoy McCarthy Park PLLC
                                                                                3 Columbus Circle, 15th Floor
                                                                                New York, NY 10024
                                                                                (646) 456-4432
                                                                                TERMINATED: 05/16/2019
                                                                                LEAD ATTORNEY
                                                                                PRO HAC VICE



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                                                                                ATTORNEY TO BE NOTICED

                                                                                Paul M Sanford
                                                                                Burns & Levinson LLP
                                                                                One Citizens Plaza
                                                                                Suite 1100
                                                                                Providence, RI 02903
                                                                                401-831-8330
                                                                                Fax: 401-831-8359
                                                                                Email: psanford@burnslev.com
                                                                                LEAD ATTORNEY
                                                                                ATTORNEY TO BE NOTICED

                                                                                Thomas R. McCarthy
                                                                                Consovoy McCarthy PLLC
                                                                                3033 Wilson Boulevard
                                                                                Suite 700
                                                                                Arlington, VA 22201
                                                                                703-243-9423
                                                                                Email: tom@consovoymccarthy.com
                                                                                LEAD ATTORNEY
                                                                                PRO HAC VICE
                                                                                ATTORNEY TO BE NOTICED

                                                                                William S. Consovoy
                                                                                Consovoy McCarthy PLLC
                                                                                1600 Wilson Boulevard
                                                                                Suite 700
                                                                                Arlington, VA 22209
                                                                                703-243-4923
                                                                                Email: will@consovoymccarthy.com
                                                                                LEAD ATTORNEY
                                                                                PRO HAC VICE
                                                                                ATTORNEY TO BE NOTICED

                                                                                Benjamin C. Caldwell
                                                                                Burns & Levinson LLP
                                                                                One Citizens Plaza
                                                                                Suite 1100
                                                                                Providence, RI 02903
                                                                                401-831-8330
                                                                                Email: bcaldwell@burnslev.com
                                                                                TERMINATED: 04/10/2018
                                                                                ATTORNEY TO BE NOTICED

                                                                                Patrick Strawbridge
                                                                                Consovoy McCarthy PLLC
                                                                                8th Floor, South, PMB #706
                                                                                Ten Post Office Square
                                                                                Boston, MA 002109



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                                                                                617-227-0548
                                                                                Email: patrick@consovoymccarthy.com
                                                                                ATTORNEY TO BE NOTICED


           V.
           Defendant
           President and Fellows of Harvard                   represented by Brittany Amadi
           College                                                           Wilmer Cutler Pickering Hale and Dorr
                                                                             LLP
                                                                             1875 Pennsylvania Ave. NW
                                                                             Washington, DC 20006
                                                                             202-663-6022
                                                                             Fax: 202-663-6363
                                                                             Email: brittany.amadi@wilmerhale.com
                                                                             LEAD ATTORNEY
                                                                             PRO HAC VICE
                                                                             ATTORNEY TO BE NOTICED

                                                                                Daniel Winik
                                                                                Wilmer Cutler Pickering Hale and Dorr
                                                                                LLP
                                                                                1875 Pennsylvania Avenue NW
                                                                                Washington, DC 20006
                                                                                202-663-6922
                                                                                Fax: 202-663-6363
                                                                                Email: daniel.winik@wilmerhale.com
                                                                                TERMINATED: 07/02/2019
                                                                                LEAD ATTORNEY
                                                                                PRO HAC VICE
                                                                                ATTORNEY TO BE NOTICED

                                                                                Danielle Conley
                                                                                Wilmer Cutler Pickering Hale and Dorr
                                                                                LLP
                                                                                1875 Pennsylvania Ave. NW
                                                                                Washington, DC 20006
                                                                                202-663-6006
                                                                                Fax: 202-663-6363
                                                                                Email: danielle.conley@wilmerhale.com
                                                                                LEAD ATTORNEY
                                                                                PRO HAC VICE
                                                                                ATTORNEY TO BE NOTICED

                                                                                Debo P. Adegbile
                                                                                Wilmer Cutler Pickering Hale and Dorr
                                                                                LLP
                                                                                7 World Trade Center
                                                                                250 Greenwich St.
                                                                                New York, NY 10007


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                                                                                212-295-6717
                                                                                Email: Debo.Adegbile@wilmerhale.com
                                                                                LEAD ATTORNEY
                                                                                PRO HAC VICE
                                                                                ATTORNEY TO BE NOTICED

                                                                                Paul R.Q. Wolfson
                                                                                Wilmer, Cutler, Pickering, Hale and Dorr
                                                                                LLP
                                                                                1875 Pennsylvania Avenue, NW
                                                                                Washington, DC 20006
                                                                                202-663-6000
                                                                                Fax: 202-663-6363
                                                                                Email: paul.wolfson@wilmerhale.com
                                                                                LEAD ATTORNEY
                                                                                PRO HAC VICE
                                                                                ATTORNEY TO BE NOTICED

                                                                                Seth P. Waxman
                                                                                Wilmer Cutler Pickering Hale and Dorr
                                                                                LLP
                                                                                1875 Pennsylvania Avenue, NW
                                                                                Washington, DC 20006
                                                                                202-663-6800
                                                                                Email: seth.waxman@wilmerhale.com
                                                                                (Inactive)
                                                                                LEAD ATTORNEY
                                                                                PRO HAC VICE
                                                                                ATTORNEY TO BE NOTICED

                                                                                William F. Lee
                                                                                Wilmer Cutler Pickering Hale and Dorr
                                                                                LLP (Bos)
                                                                                60 State Street
                                                                                Boston, MA 02109
                                                                                617-526-6556
                                                                                Fax: 617-526-5000
                                                                                Email: william.lee@wilmerhale.com
                                                                                LEAD ATTORNEY
                                                                                ATTORNEY TO BE NOTICED

                                                                                Andrew S. Dulberg
                                                                                Wilmer Cutler Pickering Hale and Dorr
                                                                                LLP (Bos)
                                                                                60 State Street
                                                                                Boston, MA 02109
                                                                                617-526-6352
                                                                                Fax: 617-526-5000
                                                                                Email: andrew.dulberg@wilmerhale.com
                                                                                ATTORNEY TO BE NOTICED



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                                                                                Ara B. Gershengorn
                                                                                Harvard Office of the General Counsel
                                                                                Smith Campus Center, Suite 980
                                                                                1350 Massachusetts Avenue
                                                                                Cambridge, MA 02138
                                                                                617-495-8210
                                                                                Fax: 617-495-5079
                                                                                Email: ara_gershengorn@harvard.edu
                                                                                ATTORNEY TO BE NOTICED

                                                                                Elizabeth C. Mooney
                                                                                Wilmer Cutler Pickering Hale and Dorr
                                                                                LLP (Bos)
                                                                                60 State Street
                                                                                Boston, MA 02109
                                                                                617-526-6000
                                                                                Email:
                                                                                elizabeth.mooney@wilmerhale.com
                                                                                ATTORNEY TO BE NOTICED

                                                                                Felicia H. Ellsworth
                                                                                Wilmer Cutler Pickering Hale and Dorr
                                                                                LLP (Bos)
                                                                                60 State Street
                                                                                Boston, MA 02109
                                                                                617-526-6000
                                                                                Fax: 617-526-5000
                                                                                Email: felicia.ellsworth@wilmerhale.com
                                                                                ATTORNEY TO BE NOTICED

                                                                                Joseph J. Mueller
                                                                                Wilmer Hale LLP
                                                                                60 State Street
                                                                                Boston, MA 02109
                                                                                617-526-6396
                                                                                Fax: 617-526-5000
                                                                                Email: joseph.mueller@wilmerhale.com
                                                                                ATTORNEY TO BE NOTICED

                                                                                Sarah R. Frazier
                                                                                Wilmer Cutler Pickering Hale and Dorr
                                                                                LLP (Bos)
                                                                                60 State Street
                                                                                Boston, MA 02109
                                                                                617-526-6022
                                                                                Email: sarah.frazier@wilmerhale.com
                                                                                ATTORNEY TO BE NOTICED

           Defendant



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           The Honorable and Reverend The
           Board of Overseers
           TERMINATED: 01/12/2015

           Intervenor Defendant
           Sarah Cole                                         represented by Brenda Shum
                                                                             Lawyers Committee For Civil Rights
                                                                             Under Law
                                                                             1500 K Street NW, Suite 9
                                                                             Washington, DC 20005
                                                                             202-662-8332
                                                                             Email: bshum@lawyerscommittee.org
                                                                             TERMINATED: 05/17/2019
                                                                             LEAD ATTORNEY
                                                                             PRO HAC VICE
                                                                             ATTORNEY TO BE NOTICED

                                                                                Christopher Lapinig
                                                                                Asian Americans Advancing Justice
                                                                                1145 Wilshire Boulevard
                                                                                Los Angeles, CA 90017
                                                                                213-977-7500
                                                                                Email: clapinig@advancingjustice-la.org
                                                                                LEAD ATTORNEY
                                                                                PRO HAC VICE
                                                                                ATTORNEY TO BE NOTICED

                                                                                Emma Katherine Dinan
                                                                                Arnold & Porter Kaye Scholer LLP
                                                                                601 Massachusettes Avenue, NW
                                                                                Washington, DC 20005
                                                                                202-942-5485
                                                                                Email: Emma.Dinan@arnoldporter.com
                                                                                LEAD ATTORNEY
                                                                                PRO HAC VICE
                                                                                ATTORNEY TO BE NOTICED

                                                                                Genevieve Bonadies Torres
                                                                                Lawyers Committee for Civil Rights
                                                                                Under Law
                                                                                1401 New York Ave., NW, Suite 400
                                                                                Washington, DC 20005
                                                                                202-662-8326
                                                                                Email: gbonadies@lawyerscommittee.org
                                                                                LEAD ATTORNEY
                                                                                PRO HAC VICE
                                                                                ATTORNEY TO BE NOTICED

                                                                                Laboni Hoq
                                                                                Asian Americans Advancing Justice



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                                                                             1145 Wilshire Boulevard
                                                                             Los Angeles, CA 90017
                                                                             213-241-0257
                                                                             Email: lhoq@advancingjustice-la.org
                                                                             LEAD ATTORNEY
                                                                             PRO HAC VICE
                                                                             ATTORNEY TO BE NOTICED

                                                                             Lawrence Culleen
                                                                             Arnold & Porter LLP
                                                                             555 Twelfth Street, NW
                                                                             Washington, DC 20004
                                                                             202-942-5477
                                                                             Email: gina.dean@aporter.com
                                                                             LEAD ATTORNEY
                                                                             PRO HAC VICE
                                                                             ATTORNEY TO BE NOTICED

                                                                             Nancy L. Perkins
                                                                             Arnold & Porter LLP
                                                                             555 Twelfth Street, NW
                                                                             Washington, DC 20004
                                                                             202-942-5065
                                                                             LEAD ATTORNEY
                                                                             PRO HAC VICE
                                                                             ATTORNEY TO BE NOTICED

                                                                             Nicole K. Ochi
                                                                             Asian Americans Advancing Justice
                                                                             Impacts Litigation Unit
                                                                             1145 Wilshire Boulevards
                                                                             Los Angeles, CA 90017
                                                                             213-241-0211
                                                                             Email: nochi@advancingjustice-la.org
                                                                             TERMINATED: 06/05/2019
                                                                             LEAD ATTORNEY
                                                                             PRO HAC VICE
                                                                             ATTORNEY TO BE NOTICED

                                                                             Rahsaan D. Hall
                                                                             Lawyers' Committee for Civil Rights
                                                                             Under Law
                                                                             294 Washington Street
                                                                             Suite 443
                                                                             Boston, MA 02108
                                                                             617-988-0608
                                                                             Fax: 617-482-4392
                                                                             Email: rhall@aclum.org
                                                                             LEAD ATTORNEY




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                                                                             Steven L. Mayer
                                                                             Arnold & Porter LLP
                                                                             Three Embarcadero Center
                                                                             10th Floor
                                                                             San Francisco, CA 94111-4024
                                                                             415-471-3163
                                                                             Email: steven.mayer@aporter.com
                                                                             LEAD ATTORNEY
                                                                             PRO HAC VICE
                                                                             ATTORNEY TO BE NOTICED

                                                                             Matthew M. Cregor
                                                                             Lawyers' Committee for Civil Rights
                                                                             Under Law
                                                                             294 Washington Street
                                                                             Suite 443
                                                                             Boston, MA 02108
                                                                             617-988-0609
                                                                             Email: mcregor@lawyerscom.org
                                                                             ATTORNEY TO BE NOTICED

                                                                             Oren M. Sellstrom
                                                                             Lawyers' Committee for Civil Rights and
                                                                             Economic Justic
                                                                             Fifth Floor
                                                                             61 Batterymarch Street
                                                                             Boston, MA 02110
                                                                             617-988-0608
                                                                             Email: osellstrom@lawyerscom.org
                                                                             ATTORNEY TO BE NOTICED

                                                                             Priya A. Lane
                                                                             Lawyers' Committee for Civil Rights
                                                                             Under Law
                                                                             294 Washington Street, Suite 443
                                                                             Boston, MA 02108
                                                                             617-988-0610
                                                                             Email: plane@lawyerscom.org
                                                                             ATTORNEY TO BE NOTICED

           Intervenor Defendant
           Fadhal Moore                                       represented by Brenda Shum
                                                                             (See above for address)
                                                                             TERMINATED: 05/17/2019
                                                                             LEAD ATTORNEY
                                                                             PRO HAC VICE
                                                                             ATTORNEY TO BE NOTICED

                                                                             Christopher Lapinig
                                                                             (See above for address)



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                                                                             LEAD ATTORNEY
                                                                             PRO HAC VICE
                                                                             ATTORNEY TO BE NOTICED

                                                                             Emma Katherine Dinan
                                                                             (See above for address)
                                                                             LEAD ATTORNEY
                                                                             PRO HAC VICE
                                                                             ATTORNEY TO BE NOTICED

                                                                             Genevieve Bonadies Torres
                                                                             (See above for address)
                                                                             LEAD ATTORNEY
                                                                             PRO HAC VICE
                                                                             ATTORNEY TO BE NOTICED

                                                                             Jon M. Greenbaum
                                                                             Lawyers' Committee for Civil Rights
                                                                             Under Law
                                                                             1401 New York Avenue, NW
                                                                             Suite 400
                                                                             Washington, DC 20005
                                                                             (202) 662-8315
                                                                             Email:
                                                                             jgreenbaum@lawyerscommittee.org
                                                                             LEAD ATTORNEY
                                                                             PRO HAC VICE
                                                                             ATTORNEY TO BE NOTICED

                                                                             Laboni Hoq
                                                                             (See above for address)
                                                                             LEAD ATTORNEY
                                                                             PRO HAC VICE
                                                                             ATTORNEY TO BE NOTICED

                                                                             Lawrence Culleen
                                                                             (See above for address)
                                                                             LEAD ATTORNEY
                                                                             PRO HAC VICE
                                                                             ATTORNEY TO BE NOTICED

                                                                             Nancy L. Perkins
                                                                             (See above for address)
                                                                             LEAD ATTORNEY
                                                                             PRO HAC VICE
                                                                             ATTORNEY TO BE NOTICED

                                                                             Rahsaan D. Hall
                                                                             (See above for address)
                                                                             LEAD ATTORNEY



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                                                                             Steven L. Mayer
                                                                             (See above for address)
                                                                             LEAD ATTORNEY
                                                                             PRO HAC VICE
                                                                             ATTORNEY TO BE NOTICED

                                                                             Matthew M. Cregor
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

                                                                             Oren M. Sellstrom
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

                                                                             Priya A. Lane
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

            Intervenor Defendant
            Arjini Kumari Nawal                               represented by Brenda Shum
                                                                             (See above for address)
                                                                             TERMINATED: 05/17/2019
                                                                             LEAD ATTORNEY
                                                                             PRO HAC VICE
                                                                             ATTORNEY TO BE NOTICED

                                                                             Christopher Lapinig
                                                                             (See above for address)
                                                                             LEAD ATTORNEY
                                                                             PRO HAC VICE
                                                                             ATTORNEY TO BE NOTICED

                                                                             Emma Katherine Dinan
                                                                             (See above for address)
                                                                             LEAD ATTORNEY
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                                                                             Genevieve Bonadies Torres
                                                                             (See above for address)
                                                                             LEAD ATTORNEY
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                                                                             Jon M. Greenbaum
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                                                                             LEAD ATTORNEY
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                                                                             Laboni Hoq
                                                                             (See above for address)
                                                                             LEAD ATTORNEY
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                                                                             Lawrence Culleen
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                                                                             Nancy L. Perkins
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                                                                             Rahsaan D. Hall
                                                                             (See above for address)
                                                                             LEAD ATTORNEY

                                                                             Steven L. Mayer
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                                                                             Matthew M. Cregor
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                                                                             Oren M. Sellstrom
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                                                                             Priya A. Lane
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

            Intervenor Defendant
            Itzel Vasquez-Rodriguez                           represented by Brenda Shum
                                                                             (See above for address)
                                                                             TERMINATED: 05/17/2019
                                                                             LEAD ATTORNEY
                                                                             PRO HAC VICE
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                                                                             Christopher Lapinig



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                                                                             Emma Katherine Dinan
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                                                                             Genevieve Bonadies Torres
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                                                                             Jon M. Greenbaum
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                                                                             Laboni Hoq
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                                                                             Lawrence Culleen
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                                                                             Rahsaan D. Hall
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                                                                             Steven L. Mayer
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                                                                             Matthew M. Cregor
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                                                                             Oren M. Sellstrom
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                                                                             Priya A. Lane
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            Intervenor Defendant
            Keyanna Wigglesworth                              represented by Brenda Shum
                                                                             (See above for address)
                                                                             TERMINATED: 05/17/2019
                                                                             LEAD ATTORNEY
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                                                                             Christopher Lapinig
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                                                                             Emma Katherine Dinan
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                                                                             Jon M. Greenbaum
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                                                                             Lawrence Culleen
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                                                                             Nancy L. Perkins
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                                                                             Matthew M. Cregor
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                                                                             Priya A. Lane
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            Intervenor Defendant
            M. B.                                             represented by Brenda Shum
                                                                             (See above for address)
                                                                             TERMINATED: 05/17/2019
                                                                             LEAD ATTORNEY
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                                                                             Christopher Lapinig
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                                                                             Emma Katherine Dinan



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                                                                             Genevieve Bonadies Torres
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                                                                             Jon M. Greenbaum
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                                                                             Nicole K. Ochi
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                                                                             Rahsaan D. Hall
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                                                                             ATTORNEY TO BE NOTICED

                                                                             Matthew M. Cregor
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                                                                             Oren M. Sellstrom
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                                                                             Priya A. Lane
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            Intervenor Defendant
            K. C.                                             represented by Brenda Shum
                                                                             (See above for address)
                                                                             TERMINATED: 05/17/2019
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                                                                             Christopher Lapinig
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                                                                             Jon M. Greenbaum
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                                                                             Lawrence Culleen
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                                                                             Nancy L. Perkins
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                                                                             Nicole K. Ochi
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                                                                             Rahsaan D. Hall
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                                                                             Priya A. Lane
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            Intervenor Defendant
            Y. D.                                             represented by Brenda Shum
                                                                             (See above for address)
                                                                             TERMINATED: 05/17/2019
                                                                             LEAD ATTORNEY
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CM/ECF - USDC Massachusetts - Version 6.2.2 as of 2/9/2019          https://ecf.mad.circ1.dcn/cgi-bin/DktRpt.pl?124064328609603-L_1_1-1
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                                                                             Christopher Lapinig
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                                                                             Emma Katherine Dinan
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                                                                             Jon M. Greenbaum
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                                                                             Nancy L. Perkins
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                                                                             Nicole K. Ochi
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                                                                             Rahsaan D. Hall
                                                                             (See above for address)
                                                                             LEAD ATTORNEY

                                                                             Steven L. Mayer
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                                                                             Matthew M. Cregor
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                                                                             Oren M. Sellstrom
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                                                                             Priya A. Lane
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                                                                             ATTORNEY TO BE NOTICED

            Intervenor Defendant
            G. E.                                             represented by Brenda Shum
                                                                             (See above for address)
                                                                             TERMINATED: 05/17/2019
                                                                             LEAD ATTORNEY
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                                                                             Christopher Lapinig
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                                                                             Emma Katherine Dinan
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                                                                             Genevieve Bonadies Torres
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                                                                             Jon M. Greenbaum
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                                                                             Laboni Hoq
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                                                                             Rahsaan D. Hall
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                                                                             Matthew M. Cregor
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            Intervenor Defendant
            A. G.                                             represented by Brenda Shum
                                                                             (See above for address)
                                                                             TERMINATED: 05/17/2019
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                                                                             Christopher Lapinig
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                                                                             Jon M. Greenbaum
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                                                                             Nancy L. Perkins
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                                                                             Nicole K. Ochi
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                                                                             Rahsaan D. Hall
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                                                                             Priya A. Lane
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            Intervenor Defendant
            I. G.                                             represented by Brenda Shum
                                                                             (See above for address)
                                                                             TERMINATED: 05/17/2019
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                                                                             Genevieve Bonadies Torres



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                                                                             Jon M. Greenbaum
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                                                                             Rahsaan D. Hall
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                                                                             Matthew M. Cregor
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                                                                             Oren M. Sellstrom
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

                                                                             Priya A. Lane
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

            Intervenor Defendant
            R. H.                                             represented by Brenda Shum
                                                                             (See above for address)
                                                                             TERMINATED: 05/17/2019
                                                                             LEAD ATTORNEY
                                                                             PRO HAC VICE
                                                                             ATTORNEY TO BE NOTICED

                                                                             Christopher Lapinig
                                                                             (See above for address)
                                                                             LEAD ATTORNEY
                                                                             PRO HAC VICE
                                                                             ATTORNEY TO BE NOTICED

                                                                             Emma Katherine Dinan
                                                                             (See above for address)
                                                                             LEAD ATTORNEY
                                                                             PRO HAC VICE
                                                                             ATTORNEY TO BE NOTICED

                                                                             Genevieve Bonadies Torres
                                                                             (See above for address)
                                                                             LEAD ATTORNEY
                                                                             PRO HAC VICE
                                                                             ATTORNEY TO BE NOTICED

                                                                             Jon M. Greenbaum
                                                                             (See above for address)
                                                                             LEAD ATTORNEY
                                                                             PRO HAC VICE
                                                                             ATTORNEY TO BE NOTICED

                                                                             Laboni Hoq
                                                                             (See above for address)
                                                                             LEAD ATTORNEY
                                                                             PRO HAC VICE
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                                                                             Lawrence Culleen
                                                                             (See above for address)
                                                                             LEAD ATTORNEY
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                                                                             ATTORNEY TO BE NOTICED

                                                                             Nancy L. Perkins
                                                                             (See above for address)
                                                                             LEAD ATTORNEY
                                                                             PRO HAC VICE
                                                                             ATTORNEY TO BE NOTICED

                                                                             Nicole K. Ochi
                                                                             (See above for address)
                                                                             TERMINATED: 06/05/2019
                                                                             LEAD ATTORNEY
                                                                             PRO HAC VICE
                                                                             ATTORNEY TO BE NOTICED

                                                                             Rahsaan D. Hall
                                                                             (See above for address)
                                                                             LEAD ATTORNEY

                                                                             Steven L. Mayer
                                                                             (See above for address)
                                                                             LEAD ATTORNEY
                                                                             PRO HAC VICE
                                                                             ATTORNEY TO BE NOTICED

                                                                             Matthew M. Cregor
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

                                                                             Oren M. Sellstrom
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

                                                                             Priya A. Lane
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

            Intervenor Defendant
            J. L.                                             represented by Brenda Shum
                                                                             (See above for address)
                                                                             TERMINATED: 05/17/2019
                                                                             LEAD ATTORNEY
                                                                             PRO HAC VICE
                                                                             ATTORNEY TO BE NOTICED

                                                                             Christopher Lapinig
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                                                                             Emma Katherine Dinan
                                                                             (See above for address)
                                                                             LEAD ATTORNEY
                                                                             PRO HAC VICE
                                                                             ATTORNEY TO BE NOTICED

                                                                             Genevieve Bonadies Torres
                                                                             (See above for address)
                                                                             LEAD ATTORNEY
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                                                                             Jon M. Greenbaum
                                                                             (See above for address)
                                                                             LEAD ATTORNEY
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                                                                             Laboni Hoq
                                                                             (See above for address)
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                                                                             Lawrence Culleen
                                                                             (See above for address)
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                                                                             Nancy L. Perkins
                                                                             (See above for address)
                                                                             LEAD ATTORNEY
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                                                                             Nicole K. Ochi
                                                                             (See above for address)
                                                                             TERMINATED: 06/05/2019
                                                                             LEAD ATTORNEY
                                                                             PRO HAC VICE
                                                                             ATTORNEY TO BE NOTICED

                                                                             Rahsaan D. Hall
                                                                             (See above for address)
                                                                             LEAD ATTORNEY

                                                                             Steven L. Mayer
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                                                                             LEAD ATTORNEY
                                                                             PRO HAC VICE
                                                                             ATTORNEY TO BE NOTICED

                                                                             Matthew M. Cregor
                                                                             (See above for address)
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                                                                             Oren M. Sellstrom
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

                                                                             Priya A. Lane
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

            Intervenor Defendant
            R. S.                                             represented by Brenda Shum
                                                                             (See above for address)
                                                                             TERMINATED: 05/17/2019
                                                                             LEAD ATTORNEY
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                                                                             Christopher Lapinig
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                                                                             (See above for address)
                                                                             LEAD ATTORNEY
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                                                                             Jon M. Greenbaum
                                                                             (See above for address)
                                                                             LEAD ATTORNEY
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                                                                             Laboni Hoq
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                                                                             LEAD ATTORNEY
                                                                             PRO HAC VICE
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                                                                             Lawrence Culleen
                                                                             (See above for address)
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                                                                             Nancy L. Perkins
                                                                             (See above for address)
                                                                             LEAD ATTORNEY
                                                                             PRO HAC VICE
                                                                             ATTORNEY TO BE NOTICED

                                                                             Rahsaan D. Hall
                                                                             (See above for address)
                                                                             LEAD ATTORNEY

                                                                             Steven L. Mayer
                                                                             (See above for address)
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                                                                             Matthew M. Cregor
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                                                                             ATTORNEY TO BE NOTICED

                                                                             Oren M. Sellstrom
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

                                                                             Priya A. Lane
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

            Witness
            Boston Public Schools                             represented by Jennifer N. Seich
                                                                             City of Boston
                                                                             2300 Washington Street
                                                                             Roxbury, MA 02119
                                                                             617-635-9320
                                                                             LEAD ATTORNEY
                                                                             ATTORNEY TO BE NOTICED

            Amicus
            New England First Amendment                       represented by Sigmund David Schutz
            Coalition; Reporters Committee for                               Preti Flaherty LLP



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            Freedom of the Press; Massachusetts                              One City Center
            Newspaper Publishers Association;                                PO Box 9546
            GateHouse Media, LLC                                             Portland, ME 04112
                                                                             207-791-3000
                                                                             Email: sschutz@preti.com
                                                                             LEAD ATTORNEY
                                                                             ATTORNEY TO BE NOTICED

                                                                             Eric G. Penley
                                                                             Preti Flaherty Beliveau & Pachios LLP
                                                                             60 State Street, Suite 1100
                                                                             Boston, MA 02109
                                                                             (617) 226-3854
                                                                             Email: epenley@preti.com
                                                                             ATTORNEY TO BE NOTICED

            Amicus
            National Association of Scholars                  represented by Dwight G. Duncan
            National Association of Scholars                                 University of Massachusetts School of
            12 East 46th Street, 6th floor                                   Law
            New York, NY 10017-2418                                          333 Faunce Corner Rd.
            917.551.6770                                                     North Dartmouth, MA 02747-1252
                                                                             508-985-1124
                                                                             Fax: 508-985-1115
                                                                             Email: dduncan@umassd.edu
                                                                             LEAD ATTORNEY
                                                                             ATTORNEY TO BE NOTICED

            Amicus
            American Council on Education                     represented by Natashia Tidwell
                                                                             Hogan Lovells US LLP
                                                                             100 High Street
                                                                             20th Flr.
                                                                             Boston, MA 02110
                                                                             617) 371-1000
                                                                             Email: natashia.tidwell@hoganlovells.com
                                                                             ATTORNEY TO BE NOTICED

            Amicus
            Brown University                                  represented by Matthew S. Hellman
                                                                             Jenner & Block LLP
                                                                             1099 New York Avenue, N.W.
                                                                             Washington, DC 20001
                                                                             (202) 639-6861
                                                                             Email: MHellman@jenner.com
                                                                             LEAD ATTORNEY
                                                                             PRO HAC VICE
                                                                             ATTORNEY TO BE NOTICED

                                                                             Seth B. Orkand


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                                                                             Miner Orkand Siddall LLP
                                                                             470 Atlantic Avenue, 4th Floor
                                                                             Boston, MA 02210
                                                                             617-273-8287
                                                                             Fax: 617-273-8004
                                                                             Email: sorkand@mosllp.com
                                                                             ATTORNEY TO BE NOTICED

            Amicus
            Case Western Reserve University                   represented by Seth B. Orkand
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

            Amicus
            Columbia University                               represented by Seth B. Orkand
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

            Amicus
            Cornell University                                represented by Seth B. Orkand
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

            Amicus
            Dartmouth College                                 represented by Seth B. Orkand
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

            Amicus
            Duke University                                   represented by Seth B. Orkand
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

            Amicus
            Emory University                                  represented by Seth B. Orkand
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

            Amicus
            George Washington University                      represented by Seth B. Orkand
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

            Amicus
            John Hopkins University                           represented by Seth B. Orkand
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

            Amicus



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            Massachusetts Institute of Technology             represented by Seth B. Orkand
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

            Amicus
            Princeton University                              represented by Seth B. Orkand
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

            Amicus
            Stanford University                               represented by Seth B. Orkand
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

            Amicus
            University of Pennsylvania                        represented by Seth B. Orkand
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

            Amicus
            Vanderbilt University                             represented by Seth B. Orkand
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

            Amicus
            Washington University in St. Louis                represented by Seth B. Orkand
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

            Amicus
            Yale University                                   represented by Seth B. Orkand
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

            Amicus
            Walter Dellinger

            Amicus
            Amici Curiae Economists Michael                   represented by Adam R.F. Gustafson
            Keane et al., in Support of Students for                         Boyden Gray & Associates PLLC
            Fair Admissions                                                  801 17th Street NW, Suite 350
            Amici Curiae Economists Michael Keane                            Washington, DC 20006
            et al., in Support of Students for Fair                          202-955-0620
            Admissions                                                       Fax: 202-955-0621
                                                                             Email:
                                                                             gustafson@boydengrayassociates.com
                                                                             LEAD ATTORNEY
                                                                             PRO HAC VICE
                                                                             ATTORNEY TO BE NOTICED



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                                                                             Andrew R. Varcoe
                                                                             Boyden Gray & Associates
                                                                             801 17th Street NW
                                                                             Suite 350
                                                                             Washington, DC 20006
                                                                             (202) 706-5488
                                                                             Email:
                                                                             avarcoe@boydengrayassociates.com
                                                                             TERMINATED: 08/19/2019
                                                                             LEAD ATTORNEY
                                                                             PRO HAC VICE
                                                                             ATTORNEY TO BE NOTICED

                                                                             Clayland Boyden Gray
                                                                             Boyden Gray & Associates PLLC
                                                                             801 17th Street NW, Suite 350
                                                                             Washington, DC 20006
                                                                             202-955-0620
                                                                             Fax: 202-955-0621
                                                                             Email:
                                                                             bethany@boydengrayassociates.com
                                                                             LEAD ATTORNEY
                                                                             PRO HAC VICE
                                                                             ATTORNEY TO BE NOTICED

                                                                             James R. Conde
                                                                             Boyden Gray & Associates PLLC
                                                                             801 17th Street NW, Suite 350
                                                                             Washington, DC 20006
                                                                             202-955-0622
                                                                             Fax: 202-955-0621
                                                                             Email: conde@boydengrayassociates.com
                                                                             LEAD ATTORNEY
                                                                             PRO HAC VICE
                                                                             ATTORNEY TO BE NOTICED

                                                                             Randall B. Clark
                                                                             Randall B. Clark, Attorney at Law
                                                                             80A Rust Hollis Road
                                                                             Hollis, NH 03049
                                                                             603-801-3039
                                                                             Email: rbc@randallbclark.com
                                                                             LEAD ATTORNEY
                                                                             ATTORNEY TO BE NOTICED

            Amicus
            Harvard-Radcliffe Black Students                  represented by Cara McClellan
            Association                                                      NAACP LEGAL DEFENSE AND
                                                                             EDUCATIONAL FUND, INC.



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                                                                             40 Rector St., 5th Floor
                                                                             New York, NY 10006
                                                                             212-965-2200
                                                                             Fax: 212-226-7592
                                                                             Email: cmcclellan@naacpldf.org
                                                                             LEAD ATTORNEY
                                                                             PRO HAC VICE
                                                                             ATTORNEY TO BE NOTICED

                                                                             Earl A. Kirkland , III
                                                                             NAACP Legal Defense and Educational
                                                                             Fund, INC.
                                                                             40 Rector Street, 5th Floor
                                                                             New York, NY 10006
                                                                             212-965-2200
                                                                             Fax: 212-226-7592
                                                                             Email: ekirkland@naacpldf.org
                                                                             LEAD ATTORNEY
                                                                             PRO HAC VICE
                                                                             ATTORNEY TO BE NOTICED

                                                                             Janai S. Nelson
                                                                             NAACP LEGAL DEFENSE AND
                                                                             EDUCATIONAL FUND, INC.
                                                                             40 Rector St., 5th Floor
                                                                             New YorK, NY 10006
                                                                             212-965-2200
                                                                             Fax: 212-226-7592
                                                                             Email: jnelson@naacpldf.org
                                                                             LEAD ATTORNEY
                                                                             PRO HAC VICE
                                                                             ATTORNEY TO BE NOTICED

                                                                             Jennifer A. Holmes
                                                                             NAACP LEGAL DEFENSE AND
                                                                             EDUCATIONAL FUND, INC.
                                                                             700 14th St, NW 8th Floor
                                                                             Washington, DC 20005
                                                                             202-683-1300
                                                                             Fax: 202-682-1312
                                                                             Email: jholmes@naacpldf.org
                                                                             LEAD ATTORNEY
                                                                             PRO HAC VICE
                                                                             ATTORNEY TO BE NOTICED

                                                                             Jin Hee Lee
                                                                             NAACP LEGAL DEFENSE AND
                                                                             EDUCATIONAL FUND, INC.
                                                                             40 Rector St., 5th Floor
                                                                             New York, NY 10006



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                                                                             212-965-2200
                                                                             Fax: 212-226-7592
                                                                             Email: jlee@naacpldf.org
                                                                             LEAD ATTORNEY
                                                                             PRO HAC VICE
                                                                             ATTORNEY TO BE NOTICED

                                                                             Michaele N. Turnage Young
                                                                             NAACP LEGAL DEFENSE AND
                                                                             EDUCATIONAL FUND, INC.
                                                                             700 14th St NW, Suite 600
                                                                             Washington, DC 20005
                                                                             212-683-1300
                                                                             Fax: 202-682-1312
                                                                             Email: mturnageyoung@naacpldf.org
                                                                             LEAD ATTORNEY
                                                                             PRO HAC VICE
                                                                             ATTORNEY TO BE NOTICED

                                                                             Rachel M. Kleinman
                                                                             NAACP LEGAL DEFENSE AND
                                                                             EDUCATIONAL FUND, INC.
                                                                             40 Rector St., 5th Floor
                                                                             New York, NY 10006
                                                                             212-965-2200
                                                                             Fax: 212-226-7592
                                                                             Email: rkleinman@naacpldf.org
                                                                             LEAD ATTORNEY
                                                                             PRO HAC VICE
                                                                             ATTORNEY TO BE NOTICED

                                                                             Samuel Spital
                                                                             NAACP Legal Defense and Educational
                                                                             Fund, Inc.
                                                                             40 Rector Street, 5th Floor
                                                                             New York, NY 10006
                                                                             212-965-2200
                                                                             Fax: 212-226-7592
                                                                             Email: sspital@naacpldf.org
                                                                             LEAD ATTORNEY
                                                                             PRO HAC VICE
                                                                             ATTORNEY TO BE NOTICED

                                                                             Sherrilyn A. Ifill
                                                                             NAACP Legal Defense and Educational
                                                                             Fund, Inc.
                                                                             40 Rector Street, 5th Floor
                                                                             New York, NY 10006
                                                                             212-965-2200
                                                                             Fax: 212-226-7592



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                                                                             Email: sifill@naacpldf.org
                                                                             LEAD ATTORNEY
                                                                             PRO HAC VICE
                                                                             ATTORNEY TO BE NOTICED

                                                                             Kathryn Rebecca Cook
                                                                             Sugarman, Rogers, Barshak & Cohen, P.C.
                                                                             101 Merrimac Street
                                                                             9th Floor
                                                                             Boston, MA 02114
                                                                             617-6227-3030
                                                                             Email: cook@srbc.com
                                                                             ATTORNEY TO BE NOTICED

                                                                             Kenneth N. Thayer
                                                                             Sugarman, Rogers, Barshak & Cohen, P.C.
                                                                             101 Merrimac Street
                                                                             9th Floor
                                                                             Boston, MA 02114
                                                                             617-227-3030
                                                                             Email: thayer@srbc.com
                                                                             ATTORNEY TO BE NOTICED

            Amicus
            Kuumba Singers of Harvard College                 represented by Cara McClellan
                                                                             (See above for address)
                                                                             LEAD ATTORNEY
                                                                             PRO HAC VICE
                                                                             ATTORNEY TO BE NOTICED

                                                                             Earl A. Kirkland , III
                                                                             (See above for address)
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                                                                             Janai S. Nelson
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                                                                             Jennifer A. Holmes
                                                                             (See above for address)
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                                                                             Jin Hee Lee
                                                                             (See above for address)



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                                                                             Michaele N. Turnage Young
                                                                             (See above for address)
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                                                                             Rachel M. Kleinman
                                                                             (See above for address)
                                                                             LEAD ATTORNEY
                                                                             PRO HAC VICE
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                                                                             Samuel Spital
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                                                                             Sherrilyn A. Ifill
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                                                                             Kathryn Rebecca Cook
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                                                                             Kenneth N. Thayer
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            Amicus
            Fuerza Latina of Harvard                          represented by Cara McClellan
                                                                             (See above for address)
                                                                             LEAD ATTORNEY
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                                                                             Earl A. Kirkland , III
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                                                                             Janai S. Nelson



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                                                                             Jennifer A. Holmes
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            Native Americans At Harvard College               represented by Cara McClellan
                                                                             (See above for address)
                                                                             LEAD ATTORNEY
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                                                                             Earl A. Kirkland , III
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                                                                             Kathryn Rebecca Cook
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            Amicus
            Harvard-Radcliffe Asian American                  represented by Cara McClellan
            Association                                                      (See above for address)
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                                                                             Rachel M. Kleinman



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            Amicus
            Harvard-Radcliffe Asian American                  represented by Cara McClellan
            Women's Association                                              (See above for address)
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                                                                             Earl A. Kirkland , III
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            Amicus
            Harvard Asian American Brotherhood                represented by Cara McClellan
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            Amicus
            Harvard Vietnamese Association                    represented by Cara McClellan
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                                                                             Sherrilyn A. Ifill


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            Amicus
            Harvard-Radcliffe Chinese Students                represented by Cara McClellan
            Association                                                      (See above for address)
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                                                                             Earl A. Kirkland , III
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            Amicus
            Harvard Korean Association                        represented by Cara McClellan
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            Amicus
            Harvard Japan Society                             represented by Cara McClellan
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                                                                             Earl A. Kirkland , III
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            Amicus
            Harvard South Asian Association                   represented by Cara McClellan
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                                                                             Earl A. Kirkland , III
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            Amicus
            Harvard Islamic Society                           represented by Cara McClellan
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                                                                             Earl A. Kirkland , III
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                                                                             Janai S. Nelson
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                                                                             Jennifer A. Holmes
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                                                                             Jin Hee Lee
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                                                                             Michaele N. Turnage Young
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                                                                             Rachel M. Kleinman
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                                                                             Kenneth N. Thayer
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            Amicus
            Task Force on Asian and Pacific                   represented by Cara McClellan
            American Studies at Harvard College                              (See above for address)
                                                                             LEAD ATTORNEY
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                                                                             Earl A. Kirkland , III
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                                                                             Jennifer A. Holmes
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            Amicus
            Harvard Phillips Brooks House                     represented by Cara McClellan
            Association                                                      (See above for address)
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                                                                             Earl A. Kirkland , III
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                                                                             Kenneth N. Thayer
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            Amicus
            Harvard Minority Association of Pre-              represented by Cara McClellan
            Medical Students                                                 (See above for address)
                                                                             LEAD ATTORNEY
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                                                                             Earl A. Kirkland , III
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            Amicus
            Coalition for a Diverse Harvard                   represented by Cara McClellan
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                                                                             Earl A. Kirkland , III
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            Amicus
            First Generation Harvard Alumni                   represented by Cara McClellan
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                                                                             Earl A. Kirkland , III
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            Amicus
            Native American Alumni of Harvard                 represented by Cara McClellan
            University                                                       (See above for address)
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                                                                             Kenneth N. Thayer
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            Amicus
            Harvard University Muslim Alumni                  represented by Cara McClellan
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                                                                             Earl A. Kirkland , III
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                                                                             Samuel Spital



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            Amicus
            Harvard Latino Alumni Alliance                    represented by Cara McClellan
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            Amicus
            Asian American Legal Foundation                   represented by Gordon M. Fauth , Jr.
                                                                             Litigation Law Group
                                                                             1801 Clement Ave, Ste. 101
                                                                             Alameda, CA 94501
                                                                             510-238-9610
                                                                             Fax: 510-473-0603
                                                                             Email: gmf@classlitigation.com
                                                                             LEAD ATTORNEY
                                                                             ATTORNEY TO BE NOTICED

                                                                             Lee Cheng
                                                                             Asian American Legal Foundation
                                                                             c/o Maschoff Brennan
                                                                             100 Spectrum Center Drive
                                                                             Irvine, CA 92618
                                                                             (949) 202-1900
                                                                             Email: lcheng@mabr.com



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                                                                             Marc J. Randazza
                                                                             Randazza Legal Group, PLLC
                                                                             2764 Lake Sahara Drive, Suite 109
                                                                             Las Vegas, NV 89117
                                                                             702-420-2001
                                                                             Email: mjr@randazza.com
                                                                             ATTORNEY TO BE NOTICED

            Amicus
            Asian American Coalition for Education            represented by Gordon M. Fauth , Jr.
                                                                             (See above for address)
                                                                             LEAD ATTORNEY
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                                                                             Marc J. Randazza
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

            Amicus
            Social Scientists and Scholars                    represented by Sarah E. Harrington
                                                                             Goldstein & Russell, P.C.
                                                                             7475 Wisconsin Ave., Suite 850
                                                                             Bethesda, MD 20814
                                                                             202-362-0636
                                                                             Email: sharrington@goldsteinrussell.com
                                                                             LEAD ATTORNEY
                                                                             PRO HAC VICE
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                                                                             Richard J. Rosensweig
                                                                             Goulston & Storrs, PC
                                                                             400 Atlantic Avenue
                                                                             Boston, MA 02110
                                                                             617-574-3588
                                                                             Fax: 617-574-7505
                                                                             Email: rrosensweig@goulstonstorrs.com
                                                                             ATTORNEY TO BE NOTICED

            Amicus
            Amici Curiae Professors of Economics              represented by Derek Tam Ho
            Susan Dynarski, et al., in Support of                            Kellogg, Huber, Hansen, Todd Evans &
            Defendant                                                        Figel, PLLC
            Amici Curiae Professors of Economics                             Sumner Square
            Susan Dynarski, et al., in Support of                            1615 M Street, N.W.
            Defendant                                                        Suite 400


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                                                                             Washington, DC 20036
                                                                             202-326-7900
                                                                             Fax: 202-326-7999
                                                                             Email: dho@khhte.com
                                                                             LEAD ATTORNEY
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            Amicus
            Amici Curiae the Asian American Legal             represented by Kenneth Kimerling
            Defense and Education Fund, et al.                               Asian American Legal Defense and
                                                                             Education Fund
                                                                             99 Hudson Street
                                                                             New York, NY 10014
                                                                             212-966-5932
                                                                             Fax: 212-966-4303
                                                                             Email: kkimerling@aaldef.org
                                                                             LEAD ATTORNEY
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                                                                             ATTORNEY TO BE NOTICED

                                                                             Madeleine K. Rodriguez
                                                                             Foley Hoag LLP
                                                                             155 Seaport Boulevard
                                                                             Seaport World Trade Center West
                                                                             Boston, MA 02210
                                                                             617-832-1720
                                                                             Email: mrodriguez@foleyhoag.com
                                                                             ATTORNEY TO BE NOTICED

            Amicus
            Harvard Black Alumni Society                      represented by Cara McClellan
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

                                                                             Earl A. Kirkland , III
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

                                                                             Janai S. Nelson
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

                                                                             Jennifer A. Holmes
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

                                                                             Jin Hee Lee
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED




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                                                                             Kenneth N. Thayer
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

                                                                             Michaele N. Turnage Young
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

                                                                             Rachel M. Kleinman
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

                                                                             Samuel Spital
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

                                                                             Sherrilyn A. Ifill
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

            Amicus
            Harvard Asian American Alumni                     represented by Cara McClellan
            Alliance                                                         (See above for address)
                                                                             ATTORNEY TO BE NOTICED

                                                                             Earl A. Kirkland , III
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

                                                                             Janai S. Nelson
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

                                                                             Jennifer A. Holmes
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

                                                                             Jin Hee Lee
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

                                                                             Kenneth N. Thayer
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

                                                                             Michaele N. Turnage Young
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

                                                                             Rachel M. Kleinman



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                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

                                                                             Samuel Spital
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

                                                                             Sherrilyn A. Ifill
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

            Amicus
            Association of Black Harvard Women                represented by Cara McClellan
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

                                                                             Earl A. Kirkland , III
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

                                                                             Janai S. Nelson
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

                                                                             Jennifer A. Holmes
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

                                                                             Jin Hee Lee
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

                                                                             Kenneth N. Thayer
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

                                                                             Michaele N. Turnage Young
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

                                                                             Rachel M. Kleinman
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

                                                                             Samuel Spital
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

                                                                             Sherrilyn A. Ifill
                                                                             (See above for address)



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                                                                             ATTORNEY TO BE NOTICED

            Amicus
            21 Colorful Crimson                               represented by Cara McClellan
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

                                                                             Earl A. Kirkland , III
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

                                                                             Janai S. Nelson
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

                                                                             Jennifer A. Holmes
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

                                                                             Jin Hee Lee
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

                                                                             Kenneth N. Thayer
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

                                                                             Michaele N. Turnage Young
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

                                                                             Rachel M. Kleinman
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

                                                                             Samuel Spital
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

                                                                             Sherrilyn A. Ifill
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED

            Amicus
            American Civil Liberties Union                    represented by Sarah Hinger
            125 Broad Street                                                 American Civil Liberties Union
            18th Fl.                                                         Foundation
            New York, NY 10004                                               125 Broad St.
            212-519-7882                                                     18th floor
                                                                             New York, NY 10004



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                                                                             (212) 549-2500
                                                                             Fax: (212) 549-2654
                                                                             Email: shinger@aclu.org
                                                                             LEAD ATTORNEY
                                                                             PRO HAC VICE
                                                                             ATTORNEY TO BE NOTICED

            Amicus
            American Civil Liberties Union                    represented by Sarah Hinger
            Foundation of Massachusetts, Inc.                                (See above for address)
            211 Congress Street                                              LEAD ATTORNEY
            3rd Fl.                                                          PRO HAC VICE
            Boston, MA 02110                                                 ATTORNEY TO BE NOTICED
            617-482-3170
                                                                             Matthew Segal
                                                                             American Civil Liberties Union
                                                                             211 Congress Street
                                                                             Boston, MA 02110
                                                                             617-482-3170
                                                                             Fax: 617-451-0009
                                                                             Email: msegal@aclum.org
                                                                             ATTORNEY TO BE NOTICED

            Amicus
            Southeastern Legal Foundation                     represented by Douglass C. Lawrence
                                                                             Curran Antonelli, LLP
                                                                             22 Boston Wharf Road
                                                                             7th Floor
                                                                             Boston, MA 02210
                                                                             617-207-8670
                                                                             Fax: (857) 263-5215
                                                                             Email: dlawrence@curranantonelli.com
                                                                             LEAD ATTORNEY
                                                                             ATTORNEY TO BE NOTICED

                                                                             John J. Park , Jr.
                                                                             Strickland Brockington Lewis LLP
                                                                             Midtown Proscenium Suite 2200
                                                                             1170 Peachtree Stree NE
                                                                             Atlanta, GA 30309
                                                                             678-347-2208
                                                                             Fax: 678-347-2210
                                                                             LEAD ATTORNEY
                                                                             ATTORNEY TO BE NOTICED

            Amicus
            Center for Equal Opportunity                      represented by Douglass C. Lawrence
                                                                             (See above for address)
                                                                             LEAD ATTORNEY
                                                                             ATTORNEY TO BE NOTICED


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                                                                                John J. Park , Jr.
                                                                                (See above for address)
                                                                                LEAD ATTORNEY
                                                                                ATTORNEY TO BE NOTICED

            Amicus
            Reason Foundation                                   represented by Douglass C. Lawrence
                                                                               (See above for address)
                                                                               LEAD ATTORNEY
                                                                               ATTORNEY TO BE NOTICED

                                                                                John J. Park , Jr.
                                                                                (See above for address)
                                                                                LEAD ATTORNEY
                                                                                ATTORNEY TO BE NOTICED

            Amicus
            Lawrence Crawford
            also known as
            JahJah Tishbite
            also known as
            Jonah Gabriel
            also known as
            JahJah Al Mahdi

            Interested Party
            United States                                       represented by Matthew J. Donnelly
                                                                               United States Department of Justice
                                                                               950 Pennsylvania Avenue
                                                                               Washington, DC 20530
                                                                               202-617-2788
                                                                               Email: matthew.donnelly@usdoj.gov
                                                                               LEAD ATTORNEY
                                                                               ATTORNEY TO BE NOTICED


            Date Filed          #      Docket Text
            11/17/2014              1 COMPLAINT against All Defendants Filing fee: $ 400, receipt number
                                      0101-5281571 (Fee Status: Filing Fee paid), filed by Students for Fair Admissions,
                                      Inc.. (Attachments: # 1 Exhibit A, # 2 Civil Cover Sheet, # 3 Category
                                      Form)(Sanford, Paul) (Entered: 11/17/2014)
            11/17/2014              2 NOTICE of Appearance by Paul M Sanford on behalf of Students for Fair
                                      Admissions, Inc. (Sanford, Paul) (Entered: 11/17/2014)
            11/17/2014              3 NOTICE of Appearance by Benjamin C. Caldwell on behalf of Students for Fair
                                      Admissions, Inc. (Caldwell, Benjamin) (Entered: 11/17/2014)




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            11/17/2014           4 CORPORATE DISCLOSURE STATEMENT by Students for Fair Admissions,
                                   Inc.. (Sanford, Paul) (Entered: 11/17/2014)
            11/17/2014           5 MOTION for Leave to Appear Pro Hac Vice for admission of William S.
                                   Consovoy, Thomas R. McCarthy and J. Michael Connolly Filing fee: $ 300, receipt
                                   number 0101-5281670 by Students for Fair Admissions, Inc.. (Attachments: # 1
                                   Cert. of Attorney Consovoy, # 2 Cert. of Attorney McCarthy, # 3 Cert. of Attorney
                                   Connolly, # 4 Text of Proposed Order)(Sanford, Paul) (Entered: 11/17/2014)
            11/17/2014           6 ELECTRONIC NOTICE of Case Assignment. Judge Denise J. Casper assigned to
                                   case. If the trial Judge issues an Order of Reference of any matter in this case to a
                                   Magistrate Judge, the matter will be transmitted to Magistrate Judge Judith G. Dein.
                                   (Abaid, Kimberly) (Entered: 11/17/2014)
            11/17/2014           7 Summons Issued as to All Defendants. Counsel receiving this notice
                                   electronically should download this summons, complete one for each
                                   defendant and serve it in accordance with Fed.R.Civ.P. 4 and LR 4.1.
                                   Summons will be mailed to plaintiff(s) not receiving notice electronically for
                                   completion of service. (Abaid, Kimberly) (Entered: 11/17/2014)
            11/18/2014           8 Judge Denise J. Casper: ELECTRONIC ORDER entered granting 5 Motion for
                                   Leave to Appear Pro Hac Vice Added William S. Consovoy, Thomas R. McCarthy
                                   and John Michael Connolly. Attorneys admitted Pro Hac Vice must register for
                                   electronic filing if the attorney does not already have an ECF account in this
                                   district. To register go to the Court website at www.mad.uscourts.gov. Select
                                   Case Information, then Electronic Filing (CM/ECF) and go to the CM/ECF
                                   Registration Form. (Maynard, Timothy) (Entered: 11/18/2014)
            12/04/2014           9 WAIVER OF SERVICE Returned Executed by Students for Fair Admissions, Inc..
                                   President and Fellows of Harvard College waiver sent on 11/20/2014, answer due
                                   1/19/2015. (Sanford, Paul) (Entered: 12/04/2014)
            12/19/2014          10 NOTICE of Appearance by Felicia H. Ellsworth on behalf of President and Fellows
                                   of Harvard College (Ellsworth, Felicia) (Entered: 12/19/2014)
            12/19/2014          11 CORPORATE DISCLOSURE STATEMENT by President and Fellows of Harvard
                                   College. (Ellsworth, Felicia) (Entered: 12/19/2014)
            12/19/2014          12 Assented to MOTION for Extension of Time to February 18, 2015 to Respond to
                                   the Complaint by President and Fellows of Harvard College.(Ellsworth, Felicia)
                                   (Entered: 12/19/2014)
            12/19/2014          13 Assented to MOTION for Leave to Appear Pro Hac Vice for admission of Seth P.
                                   Waxman, Paul R.Q. Wolfson, and Debo P. Adegbile Filing fee: $ 300, receipt
                                   number 0101-5332406 by President and Fellows of Harvard College. (Attachments:
                                   # 1 Certification of Seth P. Waxman, # 2 Certification of Paul R.Q. Wolfson, # 3
                                   Certification of Debo P. Adegbile)(Ellsworth, Felicia) (Entered: 12/19/2014)
            12/22/2014          14 Judge Denise J. Casper: ELECTRONIC ORDER entered granting 12 Motion for
                                   Extension of Time to Answer to 2/18/15 by President and Fellows of Harvard
                                   College (Hourihan, Lisa) (Entered: 12/22/2014)
            12/23/2014          15 Judge Denise J. Casper: ELECTRONIC ORDER entered granting 13 Motion for
                                   Leave to Appear Pro Hac Vice Added Debo P. Adegbile. Attorneys admitted Pro
                                   Hac Vice must register for electronic filing if the attorney does not already


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                                     have an ECF account in this district. To register go to the Court website at
                                     www.mad.uscourts.gov. Select Case Information, then Electronic Filing
                                     (CM/ECF) and go to the CM/ECF Registration Form. (Maynard, Timothy)
                                     (Entered: 12/23/2014)
            01/09/2015          16 STIPULATION of Dismissal as to Defendant The Board of Overseers of Harvard
                                   College Only by Students for Fair Admissions, Inc.. (Sanford, Paul) (Entered:
                                   01/09/2015)
            02/18/2015          17 ANSWER to 1 Complaint, by President and Fellows of Harvard College.(Waxman,
                                   Seth) (Entered: 02/18/2015)
            02/19/2015          18 NOTICE of Scheduling Conference Scheduling Conference set for 3/23/2015 02:30
                                   PM in Courtroom 11 before Judge Denise J. Casper. (Hourihan, Lisa) (Entered:
                                   02/19/2015)
            02/19/2015          19 Judge Denise J. Casper: ORDER entered. Standing Order Re: Courtroom
                                   Opportunities for Relatively Inexperienced Attorneys(Hourihan, Lisa) (Entered:
                                   02/19/2015)
            03/02/2015          20 MOTION to Continue Rule 16 Initial Scheduling Conference (UNOPPOSED) by
                                   Students for Fair Admissions, Inc..(Caldwell, Benjamin) (Entered: 03/02/2015)
            03/03/2015          21 Judge Denise J. Casper: ELECTRONIC ORDER entered granting 20 Motion to
                                   Continue Scheduling Conference set for 4/13/2015 02:00 PM in Courtroom 11
                                   before Judge Denise J. Casper. (Hourihan, Lisa) (Entered: 03/03/2015)
            03/12/2015          22 ELECTRONIC NOTICE of Reassignment. Judge Allison D. Burroughs added.
                                   Judge Denise J. Casper no longer assigned to case. (Abaid, Kimberly) (Entered:
                                   03/12/2015)
            03/13/2015          23 ELECTRONIC NOTICE OF RESCHEDULING Scheduling Conference RESET
                                   for 4/23/2015 10:30 AM in Courtroom 17 before Judge Allison D. Burroughs.
                                   (Folan, Karen) (Entered: 03/13/2015)
            03/16/2015          24 Assented to MOTION to Continue Intial Scheduling Conference to 04/30/2015 by
                                   President and Fellows of Harvard College.(Ellsworth, Felicia) (Entered:
                                   03/16/2015)
            03/18/2015          25 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 24 Motion
                                   to Continue. Scheduling Conference reset for 4/30/2015 02:00 PM in Courtroom 17
                                   before Judge Allison D. Burroughs. (Folan, Karen) (Entered: 03/18/2015)
            04/23/2015          26 JOINT STATEMENT of counsel pursuant to Federal Rule 26(f) and Local Rule
                                   16.1(d). (Sanford, Paul) (Entered: 04/23/2015)
            04/23/2015          27 CERTIFICATION pursuant to Local Rule 16.1 (d)(3). (Ellsworth, Felicia) (Entered:
                                   04/23/2015)
            04/23/2015          28 CERTIFICATION pursuant to Local Rule 16.1 . (Sanford, Paul) (Entered:
                                   04/23/2015)
            04/29/2015          29 ELECTRONIC NOTICE OF RESCHEDULING Scheduling Conference reset for
                                   4/30/2015 02:00 PM in Courtroom 4 before Judge Allison D. Burroughs. NOTICE
                                   IS FOR COURTROOM LOCATION CHANGE ONLY.(Folan, Karen) (Entered:
                                   04/29/2015)


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            04/29/2015          30 MOTION to Intervene In Defense of Harvard's Admission Policy by Sarah Cole,
                                   Fadhal Moore, Arjini Kumari Nawal, Itzel Vasquez-Rodriguez, Keyanna
                                   Wigglesworth, M. B., K. C., Y. D., G. E., A. G., I. G., R. H., J. L., R. S..(Hall,
                                   Rahsaan) (Entered: 04/29/2015)
            04/29/2015          31 MEMORANDUM in Support re 30 MOTION to Intervene In Defense of Harvard's
                                   Admission Policy filed by M. B., K. C., Sarah Cole, Y. D., G. E., A. G., I. G., R. H.,
                                   J. L., Fadhal Moore, Arjini Kumari Nawal, R. S., Itzel Vasquez-Rodriguez,
                                   Keyanna Wigglesworth. (Attachments: # 1 Exhibit Declarations of Proposed
                                   Defendant-Intervenors, # 2 Exhibit Proposed Answer)(Hall, Rahsaan) (Entered:
                                   04/29/2015)
            04/29/2015          32 MOTION for Leave to Appear Pro Hac Vice for admission of Jon M. Greenbaum
                                   Filing fee: $ 100, receipt number 0101-5535156 by M. B., K. C., Sarah Cole, Y. D.,
                                   G. E., A. G., I. G., R. H., J. L., Fadhal Moore, Arjini Kumari Nawal, R. S., Itzel
                                   Vasquez-Rodriguez, Keyanna Wigglesworth. (Attachments: # 1 Exhibit A -
                                   Certificate of Good Standing, # 2 Exhibit B - Affidavit)(Hall, Rahsaan) (Entered:
                                   04/29/2015)
            04/29/2015          33 NOTICE of Appearance by Rahsaan D. Hall on behalf of M. B., K. C., Sarah Cole,
                                   Y. D., G. E., A. G., I. G., R. H., J. L., Fadhal Moore, Arjini Kumari Nawal, R. S.,
                                   Itzel Vasquez-Rodriguez, Keyanna Wigglesworth (Hall, Rahsaan) (Entered:
                                   04/29/2015)
            04/30/2015          34 ELECTRONIC Clerk's Notes for proceedings held before Judge Allison D.
                                   Burroughs: Scheduling Conference held on 4/30/2015. Colloquy re: motion to
                                   intervene. Responses will be filed within 2 weeks. Colloquy re: applications.
                                   Colloquy re: discovery schedule. Scheduling order to issue. (Court Reporter: James
                                   Gibbons at jmsgibbons@yahoo.com.)(Attorneys present: Sanford, Consovoy,
                                   Caldwell, Waxman, Ellsworth) (Folan, Karen) (Entered: 04/30/2015)
            05/04/2015          35 Judge Allison D. Burroughs: ORDER entered. SCHEDULING ORDER: Status
                                   Conference set for 7/9/2015 02:00 PM in Courtroom 17 before Judge Allison D.
                                   Burroughs. Amended Pleadings due by 9/25/2015. Discovery to be completed by
                                   4/1/2016 Motions due by 10/13/2016(Folan, Karen) (Entered: 05/04/2015)
            05/13/2015          36 NOTICE of Appearance by Patrick Strawbridge on behalf of Students for Fair
                                   Admissions, Inc. (Strawbridge, Patrick) (Entered: 05/13/2015)
            05/13/2015          37 MEMORANDUM in Opposition re 30 MOTION to Intervene In Defense of
                                   Harvard's Admission Policy filed by Students for Fair Admissions, Inc.. (Consovoy,
                                   William) (Entered: 05/13/2015)
            05/13/2015          38 RESPONSE to Motion re 30 MOTION to Intervene In Defense of Harvard's
                                   Admission Policy filed by President and Fellows of Harvard College. (Waxman,
                                   Seth) (Entered: 05/13/2015)
            05/15/2015          39 MOTION for Leave to File REPLY MEMORANDUM IN SUPPORT OF THE
                                   MOTION TO INTERVENE by M. B., K. C., Sarah Cole, Y. D., G. E., A. G., I. G.,
                                   R. H., J. L., Fadhal Moore, Arjini Kumari Nawal, R. S., Itzel Vasquez-Rodriguez,
                                   Keyanna Wigglesworth. (Attachments: # 1 Exhibit Proposed Reply)(Hall, Rahsaan)
                                   (Entered: 05/15/2015)




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            05/15/2015          40 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 39 Motion
                                   for Leave to File Document ; Counsel using the Electronic Case Filing System
                                   should now file the document for which leave to file has been granted in
                                   accordance with the CM/ECF Administrative Procedures. Counsel must include -
                                   Leave to file granted on (date of order)- in the caption of the document. (Folan,
                                   Karen) (Entered: 05/15/2015)
            05/18/2015          41 CERTIFICATE OF SERVICE pursuant to LR 5.2 by Students for Fair Admissions,
                                   Inc. re 36 Notice of Appearance of Patrick Strawbridge. (Strawbridge, Patrick)
                                   (Entered: 05/18/2015)
            05/18/2015          42 REPLY to Response to 39 MOTION for Leave to File REPLY MEMORANDUM IN
                                   SUPPORT OF THE MOTION TO INTERVENE filed by M. B., K. C., Sarah Cole,
                                   Y. D., G. E., A. G., I. G., R. H., J. L., Fadhal Moore, Arjini Kumari Nawal, R. S.,
                                   Itzel Vasquez-Rodriguez, Keyanna Wigglesworth. (Hall, Rahsaan) (Entered:
                                   05/18/2015)
            05/19/2015          43 Transcript of Status Conference held on April 30, 2015, before Judge Allison D.
                                   Burroughs. The Transcript may be purchased through the Court Reporter, viewed at
                                   the public terminal, or viewed through PACER after it is released. Court Reporter
                                   Name and Contact Information: James Gibbons at jmsgibbons@yahoo.com
                                   Redaction Request due 6/9/2015. Redacted Transcript Deadline set for 6/19/2015.
                                   Release of Transcript Restriction set for 8/17/2015. (Scalfani, Deborah) (Entered:
                                   05/19/2015)
            05/19/2015          44 NOTICE is hereby given that an official transcript of a proceeding has been filed by
                                   the court reporter in the above-captioned matter. Counsel are referred to the Court's
                                   Transcript Redaction Policy, available on the court website at
                                   http://www.mad.uscourts.gov/attorneys/general-info.htm (Scalfani, Deborah)
                                   (Entered: 05/19/2015)
            05/26/2015          45 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 32 Motion
                                   for Leave to Appear Pro Hac Vice Added Jon M. Greenbaum. Attorneys admitted
                                   Pro Hac Vice must register for electronic filing if the attorney does not already
                                   have an ECF account in this district. To register go to the Court website at
                                   www.mad.uscourts.gov. Select Case Information, then Electronic Filing
                                   (CM/ECF) and go to the CM/ECF Registration Form. Pursuant to Local Rule
                                   83.5.3, local counsel shall also file an appearance in this matter. Further, local
                                   counsel shall review all filings and shall personally appear in Court for any
                                   hearings or conferences, unless expressly excused by the Court for good cause.
                                   (Folan, Karen) (Entered: 05/26/2015)
            05/26/2015          46 MOTION for Leave to Appear Pro Hac Vice for admission of Lawrence Culleen
                                   Filing fee: $ 100, receipt number 0101-5572007 by M. B., K. C., Sarah Cole, Y. D.,
                                   G. E., A. G., I. G., R. H., J. L., Fadhal Moore, Arjini Kumari Nawal, R. S., Itzel
                                   Vasquez-Rodriguez, Keyanna Wigglesworth. (Attachments: # 1 Exhibit Certificate
                                   of Good Standing, # 2 Exhibit Affidavit)(Hall, Rahsaan) (Entered: 05/26/2015)
            05/26/2015          47 MOTION for Leave to Appear Pro Hac Vice for admission of Nancy L. Perkins
                                   Filing fee: $ 100, receipt number 0101-5572061 by M. B., K. C., Sarah Cole, Y. D.,
                                   G. E., A. G., I. G., R. H., J. L., Fadhal Moore, Arjini Kumari Nawal, R. S., Itzel
                                   Vasquez-Rodriguez, Keyanna Wigglesworth. (Attachments: # 1 Exhibit Certificate
                                   of Good Standing, # 2 Exhibit Af)(Hall, Rahsaan) (Entered: 05/26/2015)



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            05/26/2015          48 MOTION for Leave to Appear Pro Hac Vice for admission of Steven L. Mayer
                                   Filing fee: $ 100, receipt number 0101-5572070 by M. B., K. C., Sarah Cole, Y. D.,
                                   G. E., A. G., I. G., R. H., J. L., Fadhal Moore, Arjini Kumari Nawal, R. S., Itzel
                                   Vasquez-Rodriguez, Keyanna Wigglesworth. (Attachments: # 1 Exhibit Certificate
                                   of Good Standing, # 2 Exhibit Affidavit)(Hall, Rahsaan) (Entered: 05/26/2015)
            05/27/2015          49 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 46 Motion
                                   for Leave to Appear Pro Hac Vice Added Lawrence Culleen. Attorneys admitted
                                   Pro Hac Vice must register for electronic filing if the attorney does not already
                                   have an ECF account in this district. To register go to the Court website at
                                   www.mad.uscourts.gov. Select Case Information, then Electronic Filing
                                   (CM/ECF) and go to the CM/ECF Registration Form. Pursuant to Local Rule
                                   83.5.3, local counsel shall also file an appearance in this matter. Further, local
                                   counsel shall review all filings and shall personally appear in Court for any
                                   hearings or conferences, unless expressly excused by the Court for good cause.
                                   (Folan, Karen) (Entered: 05/27/2015)
            05/27/2015          50 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 47 Motion
                                   for Leave to Appear Pro Hac Vice Added Nancy L. Perkins. Attorneys admitted
                                   Pro Hac Vice must register for electronic filing if the attorney does not already
                                   have an ECF account in this district. To register go to the Court website at
                                   www.mad.uscourts.gov. Select Case Information, then Electronic Filing
                                   (CM/ECF) and go to the CM/ECF Registration Form. Pursuant to Local Rule
                                   83.5.3, local counsel shall also file an appearance in this matter. Further, local
                                   counsel shall review all filings and shall personally appear in Court for any
                                   hearings or conferences, unless expressly excused by the Court for good cause.
                                   (Folan, Karen) (Entered: 05/28/2015)
            05/27/2015          51 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 48 Motion
                                   for Leave to Appear Pro Hac Vice Added Steven L. Mayer. Attorneys admitted
                                   Pro Hac Vice must register for electronic filing if the attorney does not already
                                   have an ECF account in this district. To register go to the Court website at
                                   www.mad.uscourts.gov. Select Case Information, then Electronic Filing
                                   (CM/ECF) and go to the CM/ECF Registration Form. Pursuant to Local Rule
                                   83.5.3, local counsel shall also file an appearance in this matter. Further, local
                                   counsel shall review all filings and shall personally appear in Court for any
                                   hearings or conferences, unless expressly excused by the Court for good cause.
                                   (Folan, Karen) (Entered: 05/28/2015)
            06/15/2015          52 Judge Allison D. Burroughs: ORDER enteredMEMORANDUM AND ORDER ON
                                   PROPOSED DEFENDANT-INTERVENORS' MOTION TO INTERVENE the
                                   Proposed Intervenors Motion to Intervene 30 is DENIED; however, the Proposed
                                   Intervenors are granted leave to participate in this action as amici curiae. (Montes,
                                   Mariliz) (Entered: 06/15/2015)
            06/25/2015          53 Joint MOTION for Protective Order (Stipulated) by President and Fellows of
                                   Harvard College.(Waxman, Seth) (Entered: 06/25/2015)
            06/25/2015          54 Judge Allison D. Burroughs: ELECTRONIC ORDER entered The parties' Joint
                                   Motion for Protective Order 53 is hereby ALLOWED, and the parties' Stipulated
                                   Protective Order is approved. However, given the lack of specificity in Paragraphs
                                   10 and 13 regarding the use of protected documents during public proceedings, the
                                   Court reserves the right to allow, after notice to the parties, the disclosure of any


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                                     document or information covered by the Protective Order or to modify the
                                     Protective Order at any time in the interests of justice and to ensure that any
                                     proceeding before this Court is fair, efficient, and consistent with the public interest.
                                     (Montes, Mariliz) (Entered: 06/25/2015)
            06/25/2015          55 Judge Allison D. Burroughs: ORDER entered. STIPULATION PROTECTIVE
                                   ORDER REGARDING DISCLOSURE AND USE OF DISCOVERY
                                   MATERIALS(Montes, Mariliz) (Entered: 06/25/2015)
            06/30/2015          56 MOTION to Continue Status Conference (UNOPPOSED) by Students for Fair
                                   Admissions, Inc..(Caldwell, Benjamin) (Entered: 06/30/2015)
            07/01/2015          57 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 56 Motion
                                   to Continue. Status Conference reset for 7/21/2015 02:00 PM in Courtroom 17
                                   before Judge Allison D. Burroughs. (Folan, Karen) (Entered: 07/01/2015)
            07/06/2015          58 MOTION to Stay by President and Fellows of Harvard College.(Waxman, Seth)
                                   (Entered: 07/06/2015)
            07/06/2015          59 MEMORANDUM in Support re 58 MOTION to Stay filed by President and
                                   Fellows of Harvard College. (Attachments: # 1 Exhibit A)(Waxman, Seth)
                                   (Entered: 07/06/2015)
            07/13/2015          60 NOTICE OF APPEAL as to 52 Order on Motion to Intervene, by M. B., K. C.,
                                   Sarah Cole, Y. D., G. E., A. G., I. G., R. H., J. L., Fadhal Moore, Arjini Kumari
                                   Nawal, R. S., Itzel Vasquez-Rodriguez, Keyanna Wigglesworth Filing fee: $ 505,
                                   receipt number 0101-5656193 Fee Status: Not Exempt. NOTICE TO COUNSEL:
                                   A Transcript Report/Order Form, which can be downloaded from the First Circuit
                                   Court of Appeals web site at http://www.ca1.uscourts.gov MUST be completed and
                                   submitted to the Court of Appeals. Counsel shall register for a First Circuit
                                   CM/ECF Appellate Filer Account at http://pacer.psc.uscourts.gov/cmecf.
                                   Counsel shall also review the First Circuit requirements for electronic filing by
                                   visiting the CM/ECF Information section at http://www.ca1.uscourts.gov
                                   /cmecf. US District Court Clerk to deliver official record to Court of Appeals
                                   by 8/3/2015. (Hall, Rahsaan) (Entered: 07/13/2015)
            07/14/2015          61 Certified and Transmitted Abbreviated Electronic Record on Appeal to US Court of
                                   Appeals re 60 Notice of Appeal. (Paine, Matthew) (Entered: 07/14/2015)
            07/14/2015          62 USCA Case Number 15-1823 for 60 Notice of Appeal filed by G. E., K. C., R. S.,
                                   Keyanna Wigglesworth, Sarah Cole, Itzel Vasquez-Rodriguez, Fadhal Moore, M.
                                   B., Y. D., Arjini Kumari Nawal, I. G., R. H., A. G., J. L.. (Paine, Matthew)
                                   (Entered: 07/14/2015)
            07/15/2015          63 NOTICE TO COUNSEL: The clerk's office has received a request to video record
                                   this hearing as part of the "Cameras in the Courtroom" project. Counsel are directed
                                   to the district court web site at http://www.mad.uscourts.gov/general/cameras.html
                                   to determine if they wish to consent to video recording. Responses are due July 20,
                                   2015. A RESPONSE FROM EACH PARTY IS REQUIRED. (Hurley, Virginia)
                                   (Entered: 07/15/2015)
            07/16/2015          64 MOTION to Compel Production by Students for Fair Admissions, Inc..(Caldwell,
                                   Benjamin) (Entered: 07/16/2015)




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            07/16/2015          65 MEMORANDUM in Support re 64 MOTION to Compel Production filed by
                                   Students for Fair Admissions, Inc.. (Caldwell, Benjamin) (Main Document 65
                                   replaced on 2/9/2016) (Montes, Mariliz). (Entered: 07/16/2015)
            07/16/2015          66 DECLARATION re 65 Memorandum in Support of Motion to Compel Production
                                   by Students for Fair Admissions, Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit B,
                                   # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E)(Caldwell, Benjamin) (Entered:
                                   07/16/2015)
            07/17/2015          67 MOTION to Seal Exhibit and Unredacted Memorandum of Law Associated with
                                   Motion to Compel by Students for Fair Admissions, Inc..(Caldwell, Benjamin)
                                   (Entered: 07/17/2015)
            07/17/2015          70 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 67 Motion
                                   to Seal (Montes, Mariliz) (Entered: 07/17/2015)
            07/20/2015          71 Opposition re 58 MOTION to Stay filed by Students for Fair Admissions, Inc..
                                   (Strawbridge, Patrick) (Entered: 07/20/2015)
            07/21/2015          72 MOTION to Seal by President and Fellows of Harvard College.(Ellsworth, Felicia)
                                   (Entered: 07/21/2015)
            07/21/2015          73 MOTION for Leave to File Reply Memorandum In Support Of Motion To Stay by
                                   President and Fellows of Harvard College. (Attachments: # 1 Exhibit A, # 2 Exhibit
                                   B)(Ellsworth, Felicia) (Entered: 07/21/2015)
            07/21/2015          74 ELECTRONIC NOTICE OF RESCHEDULING Status Conference set for
                                   7/21/2015 02:00 PM in Courtroom 16 before Judge Allison D. Burroughs. NOTICE
                                   IS FOR COURTROOM LOCATION CHANGE ONLY.(Folan, Karen) (Entered:
                                   07/21/2015)
            07/21/2015          75 NOTICE of Withdrawal of Appearance by Rahsaan D. Hall (Hall, Rahsaan)
                                   (Entered: 07/21/2015)
            07/21/2015          76 NOTICE of Appearance by Priya A. Lane on behalf of M. B., K. C., Sarah Cole, Y.
                                   D., G. E., A. G., I. G., R. H., J. L., Fadhal Moore, Arjini Kumari Nawal, R. S., Itzel
                                   Vasquez-Rodriguez, Keyanna Wigglesworth (Lane, Priya) (Entered: 07/21/2015)
            07/21/2015          77 ELECTRONIC Clerk's Notes for proceedings held before Judge Allison D.
                                   Burroughs: granting 72 Motion to Seal; granting 73 Motion for Leave to File
                                   Document ; Status Conference held on 7/21/2015; (Court Reporter: Carol Scott at
                                   carollynnscott@cs.com.)(Attorneys present: Sanford, Consovoy, Strawbridge,
                                   Waxman, Ellsworth, Gershengorn) (Folan, Karen) (Entered: 07/23/2015)
            07/23/2015          78 REPLY to Response to 58 MOTION to Stay filed by President and Fellows of
                                   Harvard College. (Ellsworth, Felicia) (Entered: 07/23/2015)
            07/23/2015          79 DECLARATION re 78 Reply to Response to Motion to Stay by President and
                                   Fellows of Harvard College. (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Ellsworth,
                                   Felicia) (Entered: 07/23/2015)
            07/28/2015          82 NOTICE by President and Fellows of Harvard College re 58 MOTION to Stay -
                                   Supplemental Submission (Ellsworth, Felicia) (Entered: 07/28/2015)
            07/28/2015          83 Supplemental Opposition re 58 MOTION to Stay filed by Students for Fair
                                   Admissions, Inc.. (Strawbridge, Patrick) (Entered: 07/28/2015)


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            07/30/2015          84 Transcript of Status Conference held on July 21, 2015, before Judge Allison D.
                                   Burroughs. COA Case No. 15-1823. The Transcript may be purchased through the
                                   Court Reporter, viewed at the public terminal, or viewed through PACER after it is
                                   released. Court Reporter Name and Contact Information: Carol Scott at
                                   carollynnscott@cs.com Redaction Request due 8/20/2015. Redacted Transcript
                                   Deadline set for 8/31/2015. Release of Transcript Restriction set for 10/28/2015.
                                   (Scalfani, Deborah) (Entered: 07/30/2015)
            07/30/2015          85 NOTICE is hereby given that an official transcript of a proceeding has been filed by
                                   the court reporter in the above-captioned matter. Counsel are referred to the Court's
                                   Transcript Redaction Policy, available on the court website at
                                   http://www.mad.uscourts.gov/attorneys/general-info.htm (Scalfani, Deborah)
                                   (Entered: 07/30/2015)
            07/30/2015          86 MEMORANDUM in Opposition re 64 MOTION to Compel Production filed by
                                   President and Fellows of Harvard College. (Ellsworth, Felicia) (Entered:
                                   07/30/2015)
            07/30/2015          87 DECLARATION re 86 Memorandum in Opposition to Motion to Compel
                                   (McCrary) by President and Fellows of Harvard College. (Ellsworth, Felicia) (Main
                                   Document 87 replaced on 7/31/2015) (Montes, Mariliz). (Additional attachment(s)
                                   added on 7/31/2015: # 1 Addendum) (Montes, Mariliz). (Entered: 07/30/2015)
            07/30/2015          88 DECLARATION re 86 Memorandum in Opposition to Motion to Compel
                                   (McGrath) by President and Fellows of Harvard College. (Ellsworth, Felicia)
                                   (Entered: 07/30/2015)
            07/31/2015          89 Notice of correction to docket made by Court staff. Correction: Docket 87 corrected
                                   by detaching Addendum from Declaration and re-filing it as an attachment.
                                   (Montes, Mariliz) (Entered: 07/31/2015)
            08/05/2015          90 MOTION to Stay Proceedings Pending Appeal by M. B., K. C., Sarah Cole, Y. D.,
                                   G. E., A. G., I. G., R. H., J. L., Fadhal Moore, Arjini Kumari Nawal, R. S., Itzel
                                   Vasquez-Rodriguez, Keyanna Wigglesworth.(Lane, Priya) (Entered: 08/05/2015)
            08/05/2015          91 MEMORANDUM in Support re 90 MOTION to Stay Proceedings Pending Appeal
                                   filed by M. B., K. C., Sarah Cole, Y. D., G. E., A. G., I. G., R. H., J. L., Fadhal
                                   Moore, Arjini Kumari Nawal, R. S., Itzel Vasquez-Rodriguez, Keyanna
                                   Wigglesworth. (Lane, Priya) (Entered: 08/05/2015)
            08/06/2015          92 MOTION for Leave to File Reply Memorandum in Support of Motion to Compel by
                                   Students for Fair Admissions, Inc.. (Attachments: # 1 Proposed Reply Memo, # 2
                                   Declaration of Patrick Strawbridge)(Caldwell, Benjamin) (Entered: 08/06/2015)
            08/07/2015          93 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 92 Motion
                                   for Leave to File Document ; Counsel using the Electronic Case Filing System
                                   should now file the document for which leave to file has been granted in
                                   accordance with the CM/ECF Administrative Procedures. Counsel must include -
                                   Leave to file granted on (date of order)- in the caption of the document. (Montes,
                                   Mariliz) (Entered: 08/07/2015)
            08/07/2015          94 REPLY to Response to 64 MOTION to Compel Production filed by Students for
                                   Fair Admissions, Inc.. (Caldwell, Benjamin) (Entered: 08/07/2015)




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            08/07/2015          95 DECLARATION re 94 Reply to Response to Motion to Compel by Students for
                                   Fair Admissions, Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Caldwell,
                                   Benjamin) (Entered: 08/07/2015)
            08/07/2015          96 CERTIFICATE OF SERVICE pursuant to LR 5.2 by Students for Fair Admissions,
                                   Inc. re 95 Declaration re 94 Reply to Response to Motion to Compel by Students for
                                   Fair Admissions, Inc... (Caldwell, Benjamin) (Entered: 08/07/2015)
            08/14/2015          97 MOTION for Leave to File A Sur-Reply Memorandum In Opposition to SFFA's
                                   Motion to Compel by President and Fellows of Harvard College. (Attachments: # 1
                                   Exhibit A)(Ellsworth, Felicia) (Entered: 08/14/2015)
            08/14/2015          98 Opposition re 90 MOTION to Stay Proceedings Pending Appeal filed by Students
                                   for Fair Admissions, Inc.. (Strawbridge, Patrick) (Entered: 08/14/2015)
            08/17/2015          99 RESPONSE to Motion re 90 MOTION to Stay Proceedings Pending Appeal filed
                                   by President and Fellows of Harvard College. (Ellsworth, Felicia) (Entered:
                                   08/17/2015)
            08/18/2015         100 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 97 Motion
                                   for Leave to File Document ; Counsel using the Electronic Case Filing System
                                   should now file the document for which leave to file has been granted in
                                   accordance with the CM/ECF Administrative Procedures. Counsel must include -
                                   Leave to file granted on (date of order)- in the caption of the document. (Folan,
                                   Karen) (Entered: 08/18/2015)
            08/18/2015         101 SUR-REPLY to Motion re 64 MOTION to Compel Production filed by President
                                   and Fellows of Harvard College. (Ellsworth, Felicia) (Entered: 08/18/2015)
            09/01/2015         102 Letter/request (non-motion) from SFFA Requesting Telephonic Conference .
                                   (Strawbridge, Patrick) (Entered: 09/01/2015)
            09/28/2015         103 MOTION for Leave to Appear Pro Hac Vice Filing fee: $ 100, receipt number
                                   0101-5765135 by Students for Fair Admissions, Inc.. (Attachments: # 1 Exhibit
                                   Certification of Michael H. Park, # 2 Exhibit Proposed Order)(Sanford, Paul)
                                   (Entered: 09/28/2015)
            09/30/2015         104 Emergency MOTION for Protective Order by President and Fellows of Harvard
                                   College. (Attachments: # 1 Declaration in Support of Motion, # 2 Exhibit Exhibit 1
                                   to Ellsworth Declaration, # 3 Exhibit Exhibit 2 to Ellsworth Declaration, # 4
                                   Exhibit Exhibit 3 to Ellsworth Declaration)(Ellsworth, Felicia) Modified on
                                   10/1/2015 (Montes, Mariliz). (Entered: 09/30/2015)
            09/30/2015         107 MEMORANDUM in Support re 104 Emergency MOTION for Protective Order
                                   filed by President and Fellows of Harvard College. (Montes, Mariliz) (Entered:
                                   10/01/2015)
            10/01/2015         105 Opposition re 104 Emergency MOTION for Protective Order filed by Students for
                                   Fair Admissions, Inc.. (Strawbridge, Patrick) (Entered: 10/01/2015)
            10/01/2015         106 DECLARATION re 105 Opposition to Motion for Protective Order by Students for
                                   Fair Admissions, Inc.. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4
                                   Exhibit 4)(Strawbridge, Patrick) (Entered: 10/01/2015)




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            10/01/2015         108 Notice of correction to docket made by Court staff. Correction: Docket 104
                                   corrected by detaching Memorandum and re-filing it as a separate docket entry.
                                   (Montes, Mariliz) (Entered: 10/01/2015)
            10/07/2015         109 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 103 Motion
                                   for Leave to Appear Pro Hac Vice Added Michael H. Park. Attorneys admitted
                                   Pro Hac Vice must register for electronic filing if the attorney does not already
                                   have an ECF account in this district. To register go to the Court website at
                                   www.mad.uscourts.gov. Select Case Information, then Electronic Filing
                                   (CM/ECF) and go to the CM/ECF Registration Form. Pursuant to Local Rule
                                   83.5.3, local counsel shall also file an appearance in this matter. Further, local
                                   counsel shall review all filings and shall personally appear in Court for any
                                   hearings or conferences, unless expressly excused by the Court for good cause.
                                   (Folan, Karen) (Entered: 10/07/2015)
            10/09/2015         110 Judge Allison D. Burroughs: ORDER entered The Proposed Defendant-Intervenors
                                   Motion to Stay [ECF No. 90] is ALLOWED IN PART and DENIED IN PART, and
                                   Harvards Motion to Stay [ECF No. 58] is also ALLOWED IN PART and DENIED
                                   IN PART, as set forth in the accompanying Order. And in light of the Court's ruling,
                                   Harvards Emergency Motion for a Protective Order and a Temporary Stay of
                                   Depositions [ECF No. 104] is DENIED AS MOOT. (Montes, Mariliz) (Entered:
                                   10/09/2015)
            10/23/2015         111 RESPONSE TO COURT ORDER by President and Fellows of Harvard College
                                   Regarding The Proposed Scope Of Discovery During A Stay Pending Resolution Of
                                   Fisher II. (Ellsworth, Felicia) (Entered: 10/23/2015)
            10/23/2015         112 RESPONSE TO COURT ORDER by Students for Fair Admissions, Inc. re 110
                                   Order on Motion to Stay,, Order on Motion for Protective Order,,, . (Strawbridge,
                                   Patrick) (Entered: 10/23/2015)
            10/30/2015         113 Judge Allison D. Burroughs: ELECTRONIC ORDER entered Plaintiff's Motion to
                                   Compel Production (ECF No. 64) is DENIED as MOOT with leave to renew. The
                                   issue of whether a sample of alumni interviewers should be identified and/or
                                   deposed will be addressed at a status conference to be held shortly following the
                                   First Circuit's decision regarding intervention. (Montes, Mariliz) (Entered:
                                   10/30/2015)
            12/09/2015         114 OPINION of USCA as to 60 Notice of Appeal filed by G. E., K. C., R. S., Keyanna
                                   Wigglesworth, Sarah Cole, Itzel Vasquez-Rodriguez, Fadhal Moore, M. B., Y. D.,
                                   Arjini Kumari Nawal, I. G., R. H., A. G., J. L.. (Paine, Matthew) (Entered:
                                   12/10/2015)
            12/09/2015         115 USCA Judgment as to 60 Notice of Appeal filed by G. E., K. C., R. S., Keyanna
                                   Wigglesworth, Sarah Cole, Itzel Vasquez-Rodriguez, Fadhal Moore, M. B., Y. D.,
                                   Arjini Kumari Nawal, I. G., R. H., A. G., J. L. AFFIRMED. (Paine, Matthew)
                                   (Entered: 12/10/2015)
            12/31/2015         116 MANDATE of USCA as to 60 Notice of Appeal filed by G. E., K. C., R. S.,
                                   Keyanna Wigglesworth, Sarah Cole, Itzel Vasquez-Rodriguez, Fadhal Moore, M.
                                   B., Y. D., Arjini Kumari Nawal, I. G., R. H., A. G., J. L.. Appeal 60 Terminated
                                   (Paine, Matthew) (Entered: 01/04/2016)




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            01/07/2016         117 ELECTRONIC NOTICE of Hearing. Status Conference set for 1/28/2016 10:00
                                   AM in Courtroom 17 before Judge Allison D. Burroughs. (Folan, Karen) (Entered:
                                   01/07/2016)
            01/27/2016         118 Letter/request (non-motion) from SFFA to Judge Burroughs . (Caldwell, Benjamin)
                                   (Main Document 118 replaced on 2/9/2016) (Montes, Mariliz). (Entered:
                                   01/27/2016)
            01/27/2016         119 MOTION to Seal Document (SFFA's Letter to Judge Burroughs) by Students for
                                   Fair Admissions, Inc..(Caldwell, Benjamin) (Entered: 01/27/2016)
            01/27/2016         120 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 119 Motion
                                   to Seal Document. (Folan, Karen) (Entered: 01/27/2016)
            01/27/2016         121 Letter/request (non-motion) from Harvard In Response to Letter/request (non-
                                   motion) from SFFA . (Ellsworth, Felicia) (Entered: 01/27/2016)
            01/28/2016         123 Electronic Clerk's Notes for proceedings held before Judge Allison D. Burroughs:
                                   Status Conference held on 1/28/2016. Colloquy re: discovery. ( Further Status
                                   Conference set for 2/25/2016 11:00 AM in Courtroom 17 before Judge Allison D.
                                   Burroughs.). (Court Reporter: Carol Scott at carollynnscott@cs.com.)(Attorneys
                                   present: Park, Caldwell, Strawbridge, Waxman, Ellsworth) (Folan, Karen) (Entered:
                                   01/28/2016)
            02/01/2016         124 Letter/request (non-motion) from SFFA to Judge Burroughs . (Caldwell, Benjamin)
                                   (Main Document 124 replaced on 2/9/2016) (Montes, Mariliz). (Entered:
                                   02/01/2016)
            02/01/2016         125 MOTION to Seal Document (SFFA's letter to Judge Burroughs dated 2.1.16) by
                                   Students for Fair Admissions, Inc..(Caldwell, Benjamin) (Entered: 02/01/2016)
            02/02/2016         126 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 125
                                   Plaintiff's Motion to Seal Document (Montes, Mariliz) (Entered: 02/02/2016)
            02/03/2016         128 Transcript of Status Conference held on January 28, 2016, before Judge Allison D.
                                   Burroughs. The Transcript may be purchased through the Court Reporter, viewed at
                                   the public terminal, or viewed through PACER after it is released. Court Reporter
                                   Name and Contact Information: Carol Scott at carollynnscott@cs.com Redaction
                                   Request due 2/24/2016. Redacted Transcript Deadline set for 3/7/2016. Release of
                                   Transcript Restriction set for 5/3/2016. (Scalfani, Deborah) (Entered: 02/03/2016)
            02/03/2016         129 NOTICE is hereby given that an official transcript of a proceeding has been filed by
                                   the court reporter in the above-captioned matter. Counsel are referred to the Court's
                                   Transcript Redaction Policy, available on the court website at
                                   http://www.mad.uscourts.gov/attorneys/general-info.htm (Scalfani, Deborah)
                                   (Entered: 02/03/2016)
            02/05/2016         130 MOTION to Seal Response to SFFA's Jan. 27, 2016 Letter by President and
                                   Fellows of Harvard College.(Ellsworth, Felicia) (Entered: 02/05/2016)
            02/08/2016         131 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 130 Motion
                                   to Seal (Folan, Karen) (Entered: 02/08/2016)
            02/09/2016         132 Notice of correction to docket made by Court staff. Correction: Dockets 65 , 118
                                   and 124 corrected: documents were replaced by counsel with identical documents,



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                                     as he noticed the redacted material (from the original documents), was
                                     compromised as a result of hidden metadata. (Montes, Mariliz) (Entered:
                                     02/09/2016)
            02/10/2016         134 MOTION to Seal Document (SFFA's Reply to Harvard's February 5, 2016 Letter)
                                   by Students for Fair Admissions, Inc..(Caldwell, Benjamin) (Additional
                                   attachment(s) added on 2/10/2016: # 1 Exhibit) (Folan, Karen). (Entered:
                                   02/10/2016)
            02/10/2016         135 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 134 Motion
                                   to Seal Document. (Folan, Karen) (Entered: 02/10/2016)
            02/22/2016         136 Letter/request (non-motion) from Harvard regarding SFFA's February 1, 2016
                                   Letter . (Ellsworth, Felicia) (Entered: 02/22/2016)
            02/25/2016         137 Electronic Clerk's Notes for proceedings held before Judge Allison D. Burroughs:
                                   Status Conference held on 2/25/2016. Colloquy re: production of documents,
                                   protective order. (Further Status Conference set for 3/30/2016 10:00 AM in
                                   Courtroom 17 before Judge Allison D. Burroughs.). (Court Reporter: Carol Scott at
                                   carollynnscott@cs.com.)(Attorneys present: Park, Caldwell, Strawbridge,
                                   Ellsworth, Fox) (Folan, Karen) (Entered: 02/25/2016)
            02/29/2016         138 MOTION to Seal Document Feb. 29, 2016 Letter to Court regarding Database
                                   Fields by President and Fellows of Harvard College.(Ellsworth, Felicia) (Entered:
                                   02/29/2016)
            03/01/2016         139 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 138
                                   Defendant's Motion to File Under Seal Harvard's February 29, 2016 letter (Montes,
                                   Mariliz) (Entered: 03/01/2016)
            03/02/2016         141 MOTION to Seal Document (SFFA's Reply to Harvard's February 29, 2016 Letter)
                                   by Students for Fair Admissions, Inc..(Caldwell, Benjamin) (Entered: 03/02/2016)
            03/03/2016         142 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 141 Motion
                                   to Seal Document (Folan, Karen) (Entered: 03/03/2016)
            03/04/2016         143 Transcript of Status Conference held on February 25, 2016, before Judge Allison D.
                                   Burroughs. The Transcript may be purchased through the Court Reporter, viewed at
                                   the public terminal, or viewed through PACER after it is released. Court Reporter
                                   Name and Contact Information: Carol Scott at carollynnscott@cs.com Redaction
                                   Request due 3/25/2016. Redacted Transcript Deadline set for 4/4/2016. Release of
                                   Transcript Restriction set for 6/2/2016. (Scalfani, Deborah) (Entered: 03/04/2016)
            03/04/2016         144 NOTICE is hereby given that an official transcript of a proceeding has been filed by
                                   the court reporter in the above-captioned matter. Counsel are referred to the Court's
                                   Transcript Redaction Policy, available on the court website at
                                   http://www.mad.uscourts.gov/attorneys/general-info.htm (Scalfani, Deborah)
                                   (Entered: 03/04/2016)
            03/11/2016         146 Judge Allison D. Burroughs: STAY ORDER entered. ( Status Conference set for
                                   4/25/2016 02:00 PM in Courtroom 17 before Judge Allison D. Burroughs.)(Folan,
                                   Karen) (Entered: 03/11/2016)
            04/15/2016         147 Letter/request (non-motion) from Harvard Regarding Discovery of SFFA .
                                   (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit



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                                     5)(Ellsworth, Felicia) (Entered: 04/15/2016)
            04/21/2016         148 MOTION to Continue Status Conference of April 25, 2016 to April 29, 2016
                                   (UNOPPOSED) by Students for Fair Admissions, Inc..(Caldwell, Benjamin)
                                   (Entered: 04/21/2016)
            04/22/2016         149 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 148 Motion
                                   to Continue Status Conference set for 4/29/2016 02:30 PM in Courtroom 17 before
                                   Judge Allison D. Burroughs. (Folan, Karen) (Entered: 04/22/2016)
            04/29/2016         150 Letter/request (non-motion) from Students for Fair Admissions . (Attachments: # 1
                                   Affidavit Ex A, # 2 Exhibit Ex B, # 3 Affidavit Ex C, # 4 Affidavit Ex D, # 5
                                   Affidavit Ex E)(Consovoy, William) (Entered: 04/29/2016)
            04/29/2016         151 Electronic Clerk's Notes for proceedings held before Judge Allison D. Burroughs:
                                   Status Conference held on 4/29/2016. Parties will have two weeks after Fisher to
                                   file a letter to the court. Colloquy re: discovery dispute. (Court Reporter: Cheryl
                                   Dahlstrom at cheryldahlstrom@comcast.net.)(Attorneys present: various) (Folan,
                                   Karen) (Entered: 05/03/2016)
            05/10/2016         152 Transcript of Status Conference held on April 29, 2016, before Judge Allison D.
                                   Burroughs. The Transcript may be purchased through the Court Reporter, viewed at
                                   the public terminal, or viewed through PACER after it is released. Court Reporter
                                   Name and Contact Information: Cheryl Dahlstrom at cheryldahlstrom@comcast.net
                                   Redaction Request due 5/31/2016. Redacted Transcript Deadline set for 6/10/2016.
                                   Release of Transcript Restriction set for 8/8/2016. (Scalfani, Deborah) (Entered:
                                   05/10/2016)
            05/10/2016         153 NOTICE is hereby given that an official transcript of a proceeding has been filed by
                                   the court reporter in the above-captioned matter. Counsel are referred to the Court's
                                   Transcript Redaction Policy, available on the court website at
                                   http://www.mad.uscourts.gov/attorneys/general-info.htm (Scalfani, Deborah)
                                   (Entered: 05/10/2016)
            05/18/2016         154 Letter/request (non-motion) from Harvard Regarding Discovery of SFFA.
                                   (Attachments: # 1 Exhibit Yoga Source v. Choudhury, # 2 Exhibit SFFA Articles of
                                   Incorporation and Bylaws)(Ellsworth, Felicia) (Entered: 05/18/2016)
            06/17/2016         155 NOTICE of Appearance by William F. Lee on behalf of President and Fellows of
                                   Harvard College (Lee, William) (Entered: 06/17/2016)
            06/27/2016        156 ELECTRONIC NOTICE of Hearing. Status Conference set for 7/20/2016 03:15
                                  PM in Courtroom 17 before Judge Allison D. Burroughs. (Folan, Karen) (Entered:
                                  06/27/2016)
            07/08/2016         157 MOTION to Seal Letter by President and Fellows of Harvard College.(Ellsworth,
                                   Felicia) (Entered: 07/08/2016)
            07/08/2016         158 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 157
                                   Defendant's Motion to File Under Seal Defendant's Unredacted Letter Regarding
                                   Implication of Fisher II for this Litigation. (Montes, Mariliz) (Entered: 07/08/2016)
            07/08/2016         159 MOTION to Seal Document (SFFA's letter to Judge Burroughs dated 7.8.16) by
                                   Students for Fair Admissions, Inc..(Caldwell, Benjamin) (Entered: 07/08/2016)




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            07/08/2016         160 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 159 Motion
                                   to Seal Document. (Folan, Karen) (Entered: 07/08/2016)
            07/11/2016         161 NOTICE of Appearance by Matthew M. Cregor on behalf of M. B., K. C., Sarah
                                   Cole, Y. D., G. E., A. G., I. G., R. H., J. L., Fadhal Moore, Arjini Kumari Nawal, R.
                                   S., Itzel Vasquez-Rodriguez, Keyanna Wigglesworth (Cregor, Matthew) (Entered:
                                   07/11/2016)
            07/19/2016         164 Assented to MOTION to Seal Unredacted Letter by President and Fellows of
                                   Harvard College.(Ellsworth, Felicia) (Entered: 07/19/2016)
            07/19/2016         165 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 164 Motion
                                   to Seal. (Folan, Karen) (Entered: 07/19/2016)
            07/20/2016         166 MOTION to Seal SFFA's Unredacted Letter to J. Burroughs by Students for Fair
                                   Admissions, Inc..(Caldwell, Benjamin) (Entered: 07/20/2016)
            07/20/2016         167 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 166 Motion
                                   to Seal SFFA's Unredacted Letter to J. Burroughs by Students for Fair Admissions,
                                   Inc. (Montes, Mariliz) (Entered: 07/20/2016)
            07/20/2016         170 Electronic Clerk's Notes for proceedings held before Judge Allison D. Burroughs:
                                   Status Conference held on 7/20/2016. Colloquy re: discovery. (Court Reporter:
                                   Carol Scott at carollynnscott@cs.com.)(Attorneys present: Consovoy, Ellsworth,
                                   Waxman, Strawbridge, Cregor) (Folan, Karen) (Entered: 07/21/2016)
            07/27/2016         171 Letter/request (non-motion) from Harvard regarding Scope of Discovery.
                                   (Ellsworth, Felicia) (Entered: 07/27/2016)
            07/28/2016         172 Letter/request (non-motion) from SFFA to Judge Burroughs responding to
                                   Harvard's 7.27.16 Letter . (Strawbridge, Patrick) (Entered: 07/28/2016)
            08/04/2016         173 Transcript of Status Conference held on July 20, 2016, before Judge Allison D.
                                   Burroughs. The Transcript may be purchased through the Court Reporter, viewed at
                                   the public terminal, or viewed through PACER after it is released. Court Reporter
                                   Name and Contact Information: Carol Scott at carollynnscott@cs.com Redaction
                                   Request due 8/25/2016. Redacted Transcript Deadline set for 9/5/2016. Release of
                                   Transcript Restriction set for 11/2/2016. (Scalfani, Deborah) (Entered: 08/04/2016)
            08/04/2016         174 NOTICE is hereby given that an official transcript of a proceeding has been filed by
                                   the court reporter in the above-captioned matter. Counsel are referred to the Court's
                                   Transcript Redaction Policy, available on the court website at
                                   http://www.mad.uscourts.gov/attorneys/general-info.htm (Scalfani, Deborah)
                                   (Entered: 08/04/2016)
            08/11/2016         175 Letter/request (non-motion) from Students for Fair Admissions, Inc. . (Strawbridge,
                                   Patrick) (Entered: 08/11/2016)
            08/29/2016        176 ELECTRONIC NOTICE of Hearing. Status Conference set for 9/6/2016 09:30 AM
                                  in Courtroom 17 before Judge Allison D. Burroughs. Status Conference to address
                                  disputed issues with respect to Harvard's production of various databases.(Folan,
                                  Karen) (Entered: 08/29/2016)
            08/30/2016         177 Assented to MOTION for Leave to Appear Pro Hac Vice for admission of Daniel
                                   Winik Filing fee: $ 100, receipt number 0101-6270154 by President and Fellows of



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                                     Harvard College.(Ellsworth, Felicia) (Entered: 08/30/2016)
            08/31/2016         178 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 177 Motion
                                   for Leave to Appear Pro Hac Vice Added Daniel Winik. Attorneys admitted Pro
                                   Hac Vice must register for electronic filing if the attorney does not already
                                   have an ECF account in this district. To register go to the Court website at
                                   www.mad.uscourts.gov. Select Case Information, then Electronic Filing
                                   (CM/ECF) and go to the CM/ECF Registration Form. Pursuant to Local Rule
                                   83.5.3, local counsel shall also file an appearance in this matter. Further, local
                                   counsel shall review all filings and shall personally appear in Court for any
                                   hearings or conferences, unless expressly excused by the Court for good cause.
                                   (Montes, Mariliz) (Entered: 08/31/2016)
            09/01/2016         179 NOTICE of Appearance by Oren M. Sellstrom on behalf of M. B., K. C., Sarah
                                   Cole, Y. D., G. E., A. G., I. G., R. H., J. L., Fadhal Moore, Arjini Kumari Nawal, R.
                                   S., Itzel Vasquez-Rodriguez, Keyanna Wigglesworth (Sellstrom, Oren) (Entered:
                                   09/01/2016)
            09/01/2016         180 Judge Allison D. Burroughs: ORDER entered. AMENDED SCHEDULING
                                   ORDER: Amended Pleadings due by 9/15/2016; Fact Discovery to be completed
                                   by 6/20/2017 Dispositive Motions due by 3/2/2018. (Montes, Mariliz) (Entered:
                                   09/02/2016)
            09/06/2016         182 Electronic Clerk's Notes for proceedings held before Judge Allison D. Burroughs:
                                   Status Conference held on 9/6/2016. Colloquy re: pending motion, discovery
                                   issues, depositions, confidentiality designations. (Court Reporter: Carol Scott at
                                   carollynnscott@cs.com.)(Attorneys present: various) (Folan, Karen) (Entered:
                                   09/09/2016)
            09/07/2016         181 Judge Allison D. Burroughs: ORDER on Various Discovery Disputes entered.
                                   (Montes, Mariliz) (Entered: 09/07/2016)
            09/22/2016         183 Assented to MOTION to Seal Memorandum and Supporting Materials in Support
                                   of Defendant's Motion to Dismiss by President and Fellows of Harvard College.
                                   (Ellsworth, Felicia) (Entered: 09/22/2016)
            09/23/2016         184 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 183 Motion
                                   to Seal (Folan, Karen) (Entered: 09/23/2016)
            09/23/2016         185 MOTION for Judgment on the Pleadings on Counts IV and VI by President and
                                   Fellows of Harvard College.(Waxman, Seth) (Entered: 09/23/2016)
            09/23/2016         186 MEMORANDUM in Support re 185 MOTION for Judgment on the Pleadings on
                                   Counts IV and VI filed by President and Fellows of Harvard College. (Waxman,
                                   Seth) (Entered: 09/23/2016)
            09/23/2016         187 MOTION to Dismiss for Lack of Jurisdiction by President and Fellows of Harvard
                                   College.(Waxman, Seth) (Entered: 09/23/2016)
            09/23/2016         188 DECLARATION re 187 MOTION to Dismiss for Lack of Jurisdiction by President
                                   and Fellows of Harvard College. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                                   Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H,
                                   # 9 Exhibit I)(Ellsworth, Felicia) (Additional attachment(s) added on 9/27/2016: #
                                   10 Exhibit A (unredacted), # 11 Exhibit B (unredacted), # 12 Exhibit C
                                   (unredacted), # 13 Exhibit E (unredcted), # 14 Exhibit F (unredacted), # 15 Exhibit


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                                     G (unredacted)) (Montes, Mariliz). (Entered: 09/23/2016)
            09/26/2016         189 Letter/request (non-motion) from SFFA in response to motions filed by Harvard.
                                   (Strawbridge, Patrick) (Entered: 09/26/2016)
            09/26/2016         190 MEMORANDUM in Support re 187 MOTION to Dismiss for Lack of Jurisdiction
                                   (Redacted) filed by President and Fellows of Harvard College. (Waxman, Seth)
                                   (Additional attachment(s) added on 9/27/2016: # 1 (Unredacted) Memorandum in
                                   Supp.) (Montes, Mariliz). (Entered: 09/26/2016)
            09/29/2016         191 Letter/request (non-motion) from Harvard in response to SFFA's letter/request (Dkt.
                                   189). (Waxman, Seth) (Entered: 09/29/2016)
            09/30/2016         192 Letter/request (non-motion) from SFFA in Response to Harvard's Letter of
                                   September 29, 2016. (Strawbridge, Patrick) (Entered: 09/30/2016)
            10/03/2016         193 Transcript of Status Conference held on September 6, 2016, before Judge Allison
                                   D. Burroughs. The Transcript may be purchased through the Court Reporter,
                                   viewed at the public terminal, or viewed through PACER after it is released. Court
                                   Reporter Name and Contact Information: Carol Scott at carollynnscott@cs.com
                                   Redaction Request due 10/24/2016. Redacted Transcript Deadline set for
                                   11/3/2016. Release of Transcript Restriction set for 1/2/2017. (Scalfani, Deborah)
                                   (Entered: 10/03/2016)
            10/03/2016         194 NOTICE is hereby given that an official transcript of a proceeding has been filed by
                                   the court reporter in the above-captioned matter. Counsel are referred to the Court's
                                   Transcript Redaction Policy, available on the court website at
                                   http://www.mad.uscourts.gov/attorneys/general-info.htm (Scalfani, Deborah)
                                   (Entered: 10/03/2016)
            10/05/2016         196 STIPULATION re 187 MOTION to Dismiss for Lack of Jurisdiction , 185
                                   MOTION for Judgment on the Pleadings on Counts IV and VI (Stipulation to
                                   Enlarge Time to File an Opposition) by Students for Fair Admissions, Inc..
                                   (Caldwell, Benjamin) (Entered: 10/05/2016)
            10/06/2016         197 ELECTRONIC ENDORSEMENT APPROVING 196 Stipulation to Enlarge Time
                                   to File an Opposition, filed by Students for Fair Admissions, Inc. (Folan, Karen)
                                   (Entered: 10/06/2016)
            10/19/2016         199 MEMORANDUM in Support re 185 MOTION for Judgment on the Pleadings on
                                   Counts IV and VI filed by M. B., K. C., Sarah Cole, Y. D., G. E., A. G., I. G., R. H.,
                                   J. L., Fadhal Moore, Arjini Kumari Nawal, R. S., Itzel Vasquez-Rodriguez,
                                   Keyanna Wigglesworth. (Culleen, Lawrence) (Entered: 10/19/2016)
            10/20/2016         200 Letter/request (non-motion) from Harvard regarding document production.
                                   (Ellsworth, Felicia) (Entered: 10/20/2016)
            10/20/2016         201 Assented to MOTION to Seal Document (Opposition Memorandums and
                                   Supporting Materials) by Students for Fair Admissions, Inc..(Caldwell, Benjamin)
                                   (Entered: 10/20/2016)
            10/21/2016         202 MEMORANDUM in Opposition re 185 MOTION for Judgment on the Pleadings
                                   on Counts IV and VI (Redacted) filed by Students for Fair Admissions, Inc..
                                   (Consovoy, William) (Additional attachment(s) added on 10/27/2016: # 1 Sealed-
                                   Memorandum in Opposition for Judgment on the Pleadings) (Montes, Mariliz).



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                                     (Entered: 10/21/2016)
            10/21/2016         203 DECLARATION re 202 Memorandum in Opposition to Motion by Students for
                                   Fair Admissions, Inc.. (Attachments: # 1 Exhibit A (Redacted))(Consovoy,
                                   William) (Additional attachment(s) added on 10/27/2016: # 2 Exhibit Sealed
                                   Exhibit to the Declaration of William S. Consovoy) (Montes, Mariliz). (Entered:
                                   10/21/2016)
            10/21/2016         204 MEMORANDUM in Opposition re 187 MOTION to Dismiss for Lack of
                                   Jurisdiction (Redacted) filed by Students for Fair Admissions, Inc.. (Consovoy,
                                   William) (Additional attachment(s) added on 10/27/2016: # 1 Sealed
                                   MEMORANDUM in Opposition 187 MOTION to Dismiss) (Montes, Mariliz).
                                   (Entered: 10/21/2016)
            10/21/2016         205 DECLARATION re 204 Memorandum in Opposition to Motion (Redacted) by
                                   Students for Fair Admissions, Inc.. (Attachments: # 1 Exhibit A (Redacted), # 2
                                   Exhibit B (Redacted), # 3 Exhibit C (Redacted), # 4 Exhibit D (Redacted), # 5
                                   Exhibit E (Redacated), # 6 Exhibit F, # 7 Exhibit G (Redacted), # 8 Exhibit H, # 9
                                   Exhibit I, # 10 Exhibit J (Redacted), # 11 Exhibit K (Redacted), # 12 Exhibit L
                                   (Redacted), # 13 Exhibit M (Redacted), # 14 Exhibit N (Redacted), # 15 Exhibit O
                                   (Redacted), # 16 Exhibit P (Redacted), # 17 Exhibit Q (Redacted), # 18 Exhibit R
                                   (Redacted), # 19 Exhibit S (Redacted), # 20 Exhibit T (Redacted), # 21 Exhibit
                                   U)(Consovoy, William) (Additional attachment(s) added on 10/27/2016: # 22
                                   Sealed Version: Plaintiff's Opposition to Defendant's Motion to Dismiss, # 23
                                   Exhibit Sealed Exhibit A to Declaraiton of W. S. Convoy, # 24 Exhibit Sealed
                                   Exhibit B to Declaraiton of W. S. Convoy, # 25 Exhibit Sealed Exhibit C to
                                   Declaraiton of W. S. Convoy, # 26 Exhibit Sealed Exhibit D to Declaraiton of W. S.
                                   Convoy, # 27 Exhibit Sealed Exhibit E to Declaraiton of W. S. Convoy, # 28
                                   Exhibit Sealed Exhibit F to Declaraiton of W. S. Convoy, # 29 Exhibit Sealed
                                   Exhibit G to Declaraiton of W. S. Convoy, # 30 Exhibit Sealed Exhibit H to
                                   Declaraiton of W. S. Convoy, # 31 Sealed Exhibit I to Declaration of W. S. Convoy,
                                   # 32 Exhibit Sealed Exhibit J to Declaration of W. S. Convoy, # 33 Exhibit Sealed
                                   Exhibit K to Declaration of W. S. Convoy, # 34 Exhibit Sealed Exhibit L to
                                   Declaration of W. S. Convoy, # 35 Exhibit Sealed Exhibit M to Declaration of W. S.
                                   Convoy, # 36 Exhibit Sealed Exhibit N to Declaration of W. S. Convoy, # 37
                                   Exhibit Sealed Exhibit O to Declaration of W. S. Convoy, # 38 Exhibit Sealed
                                   Exhibit P to Declaration of W. S. Convoy, # 39 Exhibit Sealed Exhibit Q to
                                   Declaration of W. S. Convoy, # 40 Exhibit Sealed Exhibit R to Declaration of W. S.
                                   Convoy, # 41 Exhibit Sealed Exhibit S to Declaration of W. S. Convoy, # 42
                                   Exhibit Sealed Exhibit T to Declaration of W. S. Convoy, # 43 Exhibit Sealed
                                   Exhibit U to Declaration of W. S. Convoy) (Montes, Mariliz). (Entered:
                                   10/21/2016)
            10/24/2016         206 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 201 Motion
                                   to Seal Document (Folan, Karen) (Entered: 10/24/2016)
            11/01/2016         209 Assented to MOTION to Seal SFFA's Unredacted Letter to J. Burroughs and
                                   accompanying documents by Students for Fair Admissions, Inc..(Caldwell,
                                   Benjamin) (Entered: 11/01/2016)
            11/01/2016         210 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 209 Motion
                                   to Seal (Folan, Karen) (Entered: 11/01/2016)



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            11/03/2016         211 MOTION for Leave to File Reply Memorandum in Support of Motion for Judgment
                                   on the Pleadings by President and Fellows of Harvard College.(Waxman, Seth)
                                   (Entered: 11/03/2016)
            11/03/2016         212 MOTION for Leave to File Reply Memorandum in Support of Motion to Dismiss by
                                   President and Fellows of Harvard College.(Waxman, Seth) (Entered: 11/03/2016)
            11/03/2016         213 MOTION to Seal Document Reply Memorandum and Exhibit in Support of Motion
                                   to Dismiss by President and Fellows of Harvard College.(Ellsworth, Felicia)
                                   (Entered: 11/03/2016)
            11/03/2016         215 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 211 Motion
                                   for Leave to File Document ; Counsel using the Electronic Case Filing System
                                   should now file the document for which leave to file has been granted in
                                   accordance with the CM/ECF Administrative Procedures. Counsel must include -
                                   Leave to file granted on (date of order)- in the caption of the document. (Folan,
                                   Karen) (Entered: 11/03/2016)
            11/03/2016         216 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 212 Motion
                                   for Leave to File Document ; Counsel using the Electronic Case Filing System
                                   should now file the document for which leave to file has been granted in
                                   accordance with the CM/ECF Administrative Procedures. Counsel must include -
                                   Leave to file granted on (date of order)- in the caption of the document. (Folan,
                                   Karen) (Entered: 11/03/2016)
            11/03/2016         217 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 213 Motion
                                   to Seal Document (Folan, Karen) (Entered: 11/03/2016)
            11/04/2016         218 REPLY to Response to 185 MOTION for Judgment on the Pleadings on Counts IV
                                   and VI filed by President and Fellows of Harvard College. (Waxman, Seth)
                                   (Entered: 11/04/2016)
            11/04/2016         219 DECLARATION re Reply Memorandum in Support of Motion to Dismiss by
                                   President and Fellows of Harvard College. (Attachments: # 1 Exhibit A, # 2 Exhibit
                                   B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E)(Ellsworth, Felicia) (Additional
                                   attachment(s) added on 11/8/2016: # 6 Exhibit A (sealed)) (Montes, Mariliz).
                                   (Entered: 11/04/2016)
            11/08/2016         220 REPLY to Response to 187 MOTION to Dismiss for Lack of Jurisdiction
                                   (Redacted) filed by President and Fellows of Harvard College. (Waxman, Seth)
                                   (Additional attachment(s) added on 11/8/2016: # 1 Sealed Reply Memorandum in
                                   Support of Defendant's Motion to Dismiss) (Montes, Mariliz). (Entered:
                                   11/08/2016)
            12/01/2016         222 Assented to MOTION to Seal SFFA's Motions to Compel by Students for Fair
                                   Admissions, Inc..(Caldwell, Benjamin) (Entered: 12/01/2016)
            12/05/2016         223 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 222 Motion
                                   to Seal (Folan, Karen) (Entered: 12/05/2016)
            12/12/2016         228 MOTION for Leave to Appear Pro Hac Vice for admission of Nicole Gon Ochi
                                   Filing fee: $ 100, receipt number 0101-6410623 by M. B., K. C., Sarah Cole, Y. D.,
                                   G. E., A. G., I. G., R. H., J. L., Fadhal Moore, Arjini Kumari Nawal, R. S., Itzel
                                   Vasquez-Rodriguez, Keyanna Wigglesworth. (Attachments: # 1 Exhibit Certificate
                                   of Good Standing, # 2 Exhibit Declaration)(Cregor, Matthew) (Entered:


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                                     12/12/2016)
            12/12/2016         229 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 228 Motion
                                   for Leave to Appear Pro Hac Vice Added Nicole K. Ochi. Attorneys admitted Pro
                                   Hac Vice must register for electronic filing if the attorney does not already
                                   have an ECF account in this district. To register go to the Court website at
                                   www.mad.uscourts.gov. Select Case Information, then Electronic Filing
                                   (CM/ECF) and go to the CM/ECF Registration Form. Pursuant to Local Rule
                                   83.5.3, local counsel shall also file an appearance in this matter. Further, local
                                   counsel shall review all filings and shall personally appear in Court for any
                                   hearings or conferences, unless expressly excused by the Court for good cause.
                                   (Montes, Mariliz) (Entered: 12/12/2016)
            12/12/2016         230 MOTION for Leave to File to Participate as Amici Curiae by M. B., K. C., Sarah
                                   Cole, Y. D., G. E., A. G., I. G., R. H., J. L., Fadhal Moore, Arjini Kumari Nawal, R.
                                   S., Itzel Vasquez-Rodriguez, Keyanna Wigglesworth. (Attachments: # 1 Exhibit, #
                                   2 Exhibit)(Culleen, Lawrence) (Entered: 12/12/2016)
            12/19/2016         231 MOTION to Seal Oppositions to SFFA's Motions to Compel by President and
                                   Fellows of Harvard College.(Ellsworth, Felicia) (Entered: 12/19/2016)
            12/19/2016         232 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 231 Motion
                                   to Seal (Folan, Karen) (Entered: 12/19/2016)
            12/22/2016         236 Assented to MOTION for Leave to File Reply Memoranda in Support of SFFA's
                                   Two Pending Motions to Compel by Students for Fair Admissions, Inc..(Caldwell,
                                   Benjamin) (Entered: 12/22/2016)
            12/22/2016         237 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 236 Motion
                                   for Leave to File Document ; Counsel using the Electronic Case Filing System
                                   should now file the document for which leave to file has been granted in
                                   accordance with the CM/ECF Administrative Procedures. Counsel must include -
                                   Leave to file granted on (date of order)- in the caption of the document. (Folan,
                                   Karen) (Entered: 12/22/2016)
            01/03/2017         238 Assented to MOTION to Seal Reply Memoranda in Support of SFFA's Two Pending
                                   Motions to Compel by Students for Fair Admissions, Inc..(Caldwell, Benjamin)
                                   (Entered: 01/03/2017)
            01/03/2017         239 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 238 Motion
                                   to Seal (Folan, Karen) (Entered: 01/03/2017)
            01/05/2017         240 Letter/request (non-motion) from SFFA regarding discovery matters. (Strawbridge,
                                   Patrick) (Entered: 01/05/2017)
            01/18/2017         244 Judge Allison D. Burroughs: ELECTRONIC ORDER entered 230 Motion for
                                   Leave to Participate As Amici Curiae is GRANTED. The students J.F. and M.A.
                                   are allowed to participate in this matter as amici curiae alongside the current amici
                                   curiae and under the same terms and conditions. [ECF No. 52]. (Montes, Mariliz)
                                   (Entered: 01/18/2017)
            02/02/2017         245 Joint MOTION to Seal Letters Regarding Production Of Reviewer Comments by
                                   President and Fellows of Harvard College.(Ellsworth, Felicia) (Entered:
                                   02/02/2017)



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            02/03/2017         246 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 245 Motion
                                   to Seal (Folan, Karen) (Entered: 02/03/2017)
            02/08/2017         249 NOTICE of Appearance by Andrew S. Dulberg on behalf of President and Fellows
                                   of Harvard College (Dulberg, Andrew) (Entered: 02/08/2017)
            02/08/2017         250 NOTICE of Appearance by Elizabeth C. Mooney on behalf of President and
                                   Fellows of Harvard College (Mooney, Elizabeth) (Entered: 02/08/2017)
            03/13/2017         251 Assented to MOTION for Order to Produce Applicant Files by President and
                                   Fellows of Harvard College. (Attachments: # 1 Text of Proposed Order Proposed
                                   Order for Application Files)(Ellsworth, Felicia) (Entered: 03/13/2017)
            03/13/2017         252 Judge Allison D. Burroughs: ORDER entered granting 251 Motion for Order.
                                   (Folan, Karen) (Entered: 03/13/2017)
            03/13/2017         253 Assented to MOTION to Seal Motion to Quash Subpoenas and Deposition Notices
                                   or for a Protective Order by Students for Fair Admissions, Inc..(Caldwell,
                                   Benjamin) (Entered: 03/13/2017)
            03/15/2017         254 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 253 Motion
                                   to Seal (Folan, Karen) (Entered: 03/15/2017)
            03/21/2017         258 Assented to MOTION to Seal Motion for a Protective Order and to Quash
                                   Deposition Notices by Students for Fair Admissions, Inc..(Caldwell, Benjamin)
                                   (Entered: 03/21/2017)
            03/21/2017         259 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 258 Motion
                                   to Seal (Folan, Karen) (Entered: 03/21/2017)
            03/28/2017         263 Assented to MOTION to Seal Document Opposition to SFFA's Motion to Quash
                                   Subpoenas and Deposition Notices or For a Protective Order by President and
                                   Fellows of Harvard College.(Ellsworth, Felicia) (Entered: 03/28/2017)
            03/29/2017         264 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 263 Motion
                                   to Seal Document (Folan, Karen) (Entered: 03/29/2017)
            03/31/2017         265 Assented to MOTION for Leave to File Reply Memorandum in Support of SFFA's
                                   Motion to Quash Subpoenas and Deposition Notices or for a Protective Order by
                                   Students for Fair Admissions, Inc..(Caldwell, Benjamin) (Entered: 03/31/2017)
            04/03/2017         267 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 265 Motion
                                   for Leave to File Document ; Counsel using the Electronic Case Filing System
                                   should now file the document for which leave to file has been granted in
                                   accordance with the CM/ECF Administrative Procedures. Counsel must include -
                                   Leave to file granted on (date of order)- in the caption of the document. (Folan,
                                   Karen) (Entered: 04/03/2017)
            04/03/2017         268 Assented to MOTION to Seal Document Harvard's Opposition to SFFA's Motion
                                   for a Protective Order and to Quash Deposition Notices by President and Fellows
                                   of Harvard College.(Ellsworth, Felicia) (Entered: 04/03/2017)
            04/03/2017         269 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 268 Motion
                                   to Seal Document (Folan, Karen) (Entered: 04/03/2017)




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            04/03/2017         270 Assented to MOTION to Seal Document SFFA's Reply in Support of its Motion to
                                   Quash Subpoenas and Deposition Notices or for a Protective Order by Students for
                                   Fair Admissions, Inc..(Caldwell, Benjamin) (Entered: 04/03/2017)
            04/03/2017         271 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 270 Motion
                                   to Seal Document (Folan, Karen) (Entered: 04/03/2017)
            04/06/2017         272 First MOTION to Quash Plaintiff's Subpoena to BLS by Boston Public Schools.
                                   (Seich, Jennifer) (Main Document 272 replaced on 4/10/2017) (Montes, Mariliz).
                                   (Entered: 04/06/2017)
            04/06/2017         276 MEMORANDUM in Support of 272 First MOTION to Quash Plaintiff's Subpoena
                                   to BLS filed by Boston Public Schools. (Attachments: # 1 Exhibit 1)(Montes,
                                   Mariliz) (Entered: 04/10/2017)
            04/07/2017         275 Assented to MOTION to Seal SFFA's Motions to Compel by Students for Fair
                                   Admissions, Inc..(Caldwell, Benjamin) (Entered: 04/07/2017)
            04/10/2017         277 Notice of correction to docket made by Court staff. Correction: Docket 272
                                   corrected by detaching memorandum and it's exhibit and re-docketing as a separate
                                   docket entry. (Montes, Mariliz) (Entered: 04/10/2017)
            04/10/2017         278 Assented to MOTION for Leave to File Reply Memorandum in Support of SFFA's
                                   Motion for a Protective Order and to Quash Deposition Notices by Students for
                                   Fair Admissions, Inc..(Caldwell, Benjamin) (Entered: 04/10/2017)
            04/10/2017         279 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 275
                                   Assented-To Motion to Under Seal Two Motions to Compel; granting 278
                                   Plaintiff's Assented-To Motion for Leave to File a Reply Memorandum in Support
                                   of Its Motion for a Protective Order and to Quash Deposition Notices ; Counsel
                                   using the Electronic Case Filing System should now file the document for which
                                   leave to file has been granted in accordance with the CM/ECF Administrative
                                   Procedures. Counsel must include - Leave to file granted on (date of order)- in the
                                   caption of the document. (Montes, Mariliz) (Entered: 04/10/2017)
            04/10/2017         280 Assented to MOTION to Seal Reply Memorandum in Support of SFFA's Motion for
                                   a Protective Order and to Quash Deposition Notices by Students for Fair
                                   Admissions, Inc..(Caldwell, Benjamin) (Entered: 04/10/2017)
            04/10/2017         281 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 280
                                   Plaintiff's Assented-to Motion to File Under Seal Reply Memorandum in Support
                                   of Motion for a Protective Order and to Quash Deposition Notices (Montes,
                                   Mariliz) (Entered: 04/10/2017)
            04/11/2017         282 Assented to MOTION to Seal SFFA's Letter Motion Regarding Depositions and
                                   Custodians by Students for Fair Admissions, Inc..(Caldwell, Benjamin) (Entered:
                                   04/11/2017)
            04/11/2017        283 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 282
                                  Plaintiff's Assented-To Motion to File Under Seal Plaintiff's Letter Motion
                                  Regarding Depositions and Custodians. (Montes, Mariliz) (Entered: 04/11/2017)
            04/12/2017         288 Letter/request (non-motion) from SFFA to Judge Burroughs Requesting
                                   Conference. (Strawbridge, Patrick) (Entered: 04/12/2017)




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            04/14/2017         291 Letter/request (non-motion) from Harvard in Response to Letter from SFFA (Dkt.
                                   288). (Ellsworth, Felicia) (Entered: 04/14/2017)
            04/18/2017         292 Assented to MOTION to Seal Document Harvard's Oppositions to SFFA's Motions
                                   to Compel Production of Unredacted Documents and Application Files by
                                   President and Fellows of Harvard College.(Ellsworth, Felicia) (Entered:
                                   04/18/2017)
            04/19/2017         293 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 292
                                   Harvard's Assented- Motion to File Under Seal Harvard's Oppositions to SFFA's
                                   Motions to Compel (Montes, Mariliz) (Entered: 04/19/2017)
            04/20/2017         294 Opposition re 272 First MOTION to Quash Plaintiff's Subpoena to BLS filed by
                                   Students for Fair Admissions, Inc.. (Attachments: # 1 Notice of Subpoena to
                                   Boston Latin School, # 2 Notice of Subpoena to Thomas Jefferson High School for
                                   Science and Technology, # 3 Notice of Subpoena to Stuyvesant High School, # 4
                                   Notice of Subpoena to Monta Vista High School)(Strawbridge, Patrick) (Entered:
                                   04/20/2017)
            04/26/2017         295 Assented to MOTION for Leave to File Reply Memoranda in Support of SFFA's
                                   Two Pending Motions to Compel by Students for Fair Admissions, Inc..(Caldwell,
                                   Benjamin) (Entered: 04/26/2017)
            04/27/2017         298 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 295 Motion
                                   for Leave to File Document ; Counsel using the Electronic Case Filing System
                                   should now file the document for which leave to file has been granted in
                                   accordance with the CM/ECF Administrative Procedures. Counsel must include -
                                   Leave to file granted on (date of order)- in the caption of the document. (Folan,
                                   Karen) (Entered: 04/27/2017)
            04/27/2017         299 Assented to MOTION to Seal Reply Memoranda in Support of SFFA's Two Pending
                                   Motions to Compel by Students for Fair Admissions, Inc..(Caldwell, Benjamin)
                                   (Entered: 04/27/2017)
            04/28/2017         300 Assented to MOTION to Seal Document Harvard's Response Letter to SFFA's
                                   April 12, 2017 Letter Motion re Depositions and Custodians by President and
                                   Fellows of Harvard College.(Ellsworth, Felicia) (Entered: 04/28/2017)
            04/28/2017         301 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 299 Motion
                                   to Seal (Folan, Karen) (Entered: 04/28/2017)
            05/01/2017         302 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 300 Motion
                                   to Seal Document (Folan, Karen) (Entered: 05/01/2017)
            05/02/2017         303 Letter/request (non-motion) from SFFA to Judge Burroughs Requesting Status
                                   Conference This Week to Address Urgent Discovery Matters . (Strawbridge,
                                   Patrick) (Entered: 05/02/2017)
            05/05/2017         304 Assented to MOTION to Seal SFFA's Emergency Application by Students for Fair
                                   Admissions, Inc..(Caldwell, Benjamin) (Entered: 05/05/2017)
            05/05/2017         305 Judge Allison D. Burroughs: ELECTRONIC ORDER entered. SFFAs motions to
                                   quash certain subpoenas [ECF Nos. 255, 260] are DENIED. SFFA failed to meet its
                                   burden under Fed. R. Civ. P. 45(d)(3). Because of the broad understanding of what
                                   constitutes relevant discovery, it is very unusual for a court to prohibit the taking of



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                                     a deposition altogether. Green v. Cosby, 152 F. Supp. 3d 31, 35 (D. Mass. 2015),
                                     modified on reconsideration on other grounds, 160 F. Supp. 3d 431 (D. Mass. 2016)
                                     (quoting E.E.O.C. v. FreudenbergNOK Gen. P'ship, No. 07 Civ. 406, 2009 WL
                                     909571, at *3 (D.N.H. Apr. 3, 2009)). Moreover, at this stage, the Court will not
                                     unduly fetter the parties ability to develop a complete factual record. (Folan, Karen)
                                     (Entered: 05/05/2017)
            05/05/2017         306 Judge Allison D. Burroughs: ELECTRONIC ORDER entered denying as moot 304
                                   Motion to Seal. (Folan, Karen) (Entered: 05/05/2017)
            05/09/2017         307 Judge Allison D. Burroughs: ELECTRONIC ORDER entered Boston Latin's
                                   motion to quash SFFA's subpoena to BLS [ECF No. 272] is GRANTED IN PART
                                   and DENIED IN PART. BLS will not be required to produce documents or
                                   information that were prepared by or shared with Harvard. However, BLS is hereby
                                   ordered to produce the following: (1) documents from the Relevant Period prepared
                                   by BLS concerning the racial composition of applicants, admitted persons, or
                                   enrollees to Harvard, excluding documents that merely aggregate statistical
                                   information; (2) all internal communications from the Relevant Period by or among
                                   BLS employees or agents regarding Harvard's use of race in the admissions
                                   process; (3) any documents from the Relevant Period that describe any alleged
                                   discrimination by Harvard against persons of Asian descent in the college
                                   admissions process; and (4) all non-privileged communications during the Relevant
                                   Period concerning SFFA or this litigation. Furthermore, SFFA may depose a BLS
                                   representative. The motion to quash is otherwise granted. This is meant to minimize
                                   the burden on non-party BLS, while also ensuring the availability of information
                                   and the integrity of the discovery process. (Montes, Mariliz) Modified on 5/9/2017
                                   NEF Regenerated.(Montes, Mariliz). (Entered: 05/09/2017)
            05/10/2017         311 Assented to MOTION to Seal SFFA's Reply in Support of its Letter Motion
                                   Regarding Depositions and Custodians by Students for Fair Admissions,
                                   Inc..(Caldwell, Benjamin) (Entered: 05/10/2017)
            05/11/2017         312 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 311 Motion
                                   to Seal (Folan, Karen) (Entered: 05/11/2017)
            05/19/2017         314 Assented to MOTION to Seal SFFA'S Letter Motion Requesting Production of
                                   Performance Reports by Students for Fair Admissions, Inc..(Caldwell, Benjamin)
                                   (Entered: 05/19/2017)
            05/19/2017         315 Letter/request (non-motion) from SFFA requesting stay of discovery deadlines.
                                   (Strawbridge, Patrick) (Entered: 05/19/2017)
            05/22/2017         316 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 314 Motion
                                   to Seal (Folan, Karen) (Entered: 05/22/2017)
            05/23/2017         318 Letter/request (non-motion) from Harvard in Response to the May 19, 2017 Letter
                                   315 from SFFA. (Ellsworth, Felicia) (Entered: 05/23/2017)
            05/24/2017         319 Letter/request (non-motion) from SFFA in response to Harvard's letter of May 23
                                   regarding stay of discovery deadlines. (Strawbridge, Patrick) (Entered: 05/24/2017)
            05/26/2017         320 STIPULATION re 307 Order on Motion to Quash,,,,, (Joint Stipulation between
                                   SFFA and Boston Latin School re: SFFA's Subpoena for Documents and Testimony)
                                   by Boston Public Schools, Students for Fair Admissions, Inc.. (Attachments: # 1



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                                     Text of Proposed Order)(Caldwell, Benjamin) (Entered: 05/26/2017)
            05/30/2017         321 Judge Allison D. Burroughs: ORDER entered re 320 Stipulation, filed by Boston
                                   Public Schools, Students for Fair Admissions, Inc. (Folan, Karen) (Entered:
                                   05/30/2017)
            05/31/2017         322 Assented to MOTION to Seal Document Harvard's Response Letter to SFFA's
                                   Letter Motion regarding Performance Reports by President and Fellows of Harvard
                                   College.(Ellsworth, Felicia) (Entered: 05/31/2017)
            05/31/2017         323 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 322 Motion
                                   to Seal Document (Folan, Karen) (Entered: 05/31/2017)
            06/02/2017         324 Judge Allison D. Burroughs: ORDER entered. MEMORANDUM AND ORDER.
                                   "...Accordingly, Harvards motion to dismiss for lack of subject matter jurisdiction
                                   [ECF No. 187] is DENIED. SO ORDERED."(Folan, Karen) (Entered: 06/02/2017)
            06/02/2017         325 Judge Allison D. Burroughs: ORDER entered. MEMORANDUM AND ORDER.
                                   "...Accordingly, Harvards motion for partial judgment on the pleadings as to Count
                                   IV and VI [ECF No. 185] is GRANTED. SO ORDERED."(Folan, Karen) (Entered:
                                   06/02/2017)
            06/16/2017         327 Assented to MOTION to Seal SFFA's Reply Letter in support of its Letter Motion
                                   regarding Performance Reports by Students for Fair Admissions, Inc..(Caldwell,
                                   Benjamin) (Entered: 06/16/2017)
            06/16/2017         329 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 327 Motion
                                   to Seal (Folan, Karen) (Entered: 06/16/2017)
            06/21/2017         331 Assented to MOTION to Seal Document Harvard's Letter to the Court regarding
                                   June 6, 2017 Discovery Order by President and Fellows of Harvard College.
                                   (Ellsworth, Felicia) (Entered: 06/21/2017)
            06/21/2017         332 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 331 Motion
                                   to Seal Document (Folan, Karen) (Entered: 06/21/2017)
            06/27/2017         334 Joint MOTION to Amend September 1, 2016 Amended Scheduling Order by
                                   President and Fellows of Harvard College.(Ellsworth, Felicia) (Entered:
                                   06/27/2017)
            06/27/2017         335 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 334 Motion
                                   to Amend. In light of the Court's extension of the fact discovery deadline until
                                   August 4, 2017 [ECF No. 326], the September 1, 2016 Scheduling Order [ECF No.
                                   180] is amended as follows. Plaintiffs experts shall be designated and the
                                   information required by Fed. R. Civ. P. 26(a)(2) shall be disclosed by October 3,
                                   2017. Defendants experts shall be designated and the information required by Fed.
                                   R. Civ. P. 26(a)(2) shall be disclosed by December 2, 2017. Plaintiffs rebuttal expert
                                   reports shall be disclosed by January 16, 2018. Defendants rebuttal expert reports
                                   shall be disclosed by February 26, 2018. All expert discovery, including expert
                                   depositions, shall be completed by May 1, 2018. All dispositive motions under Fed.
                                   R. Civ. P. 56 shall be filed by June 15, 2018. Opposition briefs shall be filed by July
                                   30, 2018. Reply briefs shall be filed by August 30, 2018. (Folan, Karen) (Entered:
                                   06/27/2017)




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            06/28/2017         336 Reset Scheduling Order Deadlines: Fact Discovery to be completed by 8/4/2017,
                                   Dispositive Motions due by 6/15/2018, Oppositions due by 7/30/2018, Replies due
                                   by 8/30/2018. (Montes, Mariliz) (Entered: 06/28/2017)
            07/07/2017         338 Letter/request (non-motion) from SFFA to Judge Burroughs (Emergency Request
                                   for Judicial Intervention and Relief re: scheduling dispute) . (Strawbridge, Patrick)
                                   (Entered: 07/07/2017)
            07/11/2017         339 Judge Allison D. Burroughs: ELECTRONIC ORDER entered. On July 7, 2017,
                                   SFFA requested that the Court order certain witness depositions to be taken on a
                                   weekend or, alternatively, that those depositions be quashed. [ECF No. 338].
                                   Although the Court strongly urges the parties to work to accommodate witness
                                   schedules, the Court will not require that depositions be taken on a weekend over
                                   the objection of either party. Further, an unwillingness to take depositions over a
                                   weekend does not justify quashing the depositions in their entirety.(Folan, Karen)
                                   (Entered: 07/11/2017)
            08/01/2017         340 Assented to MOTION to Seal SFFA's Request for Judicial Intervention and Relief
                                   by Students for Fair Admissions, Inc..(Caldwell, Benjamin) (Entered: 08/01/2017)
            08/02/2017         341 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 340 Motion
                                   to Seal (Folan, Karen) (Entered: 08/02/2017)
            08/02/2017         342 Assented to MOTION to Seal Document Harvard's Response to SFFA's August 1,
                                   2017 Letter by President and Fellows of Harvard College.(Ellsworth, Felicia)
                                   (Entered: 08/02/2017)
            08/02/2017         343 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 342 Motion
                                   to Seal Document (Folan, Karen) (Entered: 08/02/2017)
            08/03/2017         345 Assented to MOTION to Seal SFFA's Reply in Support of its August 1, 2017
                                   Request for Judicial Intervention and Relief by Students for Fair Admissions,
                                   Inc..(Caldwell, Benjamin) (Entered: 08/03/2017)
            08/03/2017         346 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 345 Motion
                                   to Seal (Folan, Karen) (Entered: 08/03/2017)
            08/07/2017         349 Assented to MOTION to Seal SFFA's Letter Motion Regarding Summary Sheets by
                                   Students for Fair Admissions, Inc..(Caldwell, Benjamin) (Entered: 08/07/2017)
            08/07/2017         350 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 349
                                   Plaintiff's Assented-To Motion to File Under Seal Plaintiff's Letter Motion
                                   Regarding Summary Sheets (Montes, Mariliz) (Entered: 08/07/2017)
            08/07/2017         351 Judge Allison D. Burroughs: ELECTRONIC ORDER entered.

                                     The Court is very reluctant to allow SFFA the additional deposition that it now
                                     seeks. [ECF No. 344]. The discovery period has ended. Further, the potential
                                     deponent clearly qualifies as a party, and SFFA has used all of its allotted party
                                     depositions. The testimony sought seems largely duplicative of information already
                                     obtained and of marginal utility. The Court would be well within its bounds to
                                     decline the request for the above reasons as well as other reasons set forth by
                                     Harvard in its opposition [ECF No. 347]. That being said, the Court is equally
                                     reluctant to force this case to go forward without a fully developed factual record,
                                     particularly where there is only one additional deposition sought and where


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                                     Harvard arguably should have disclosed the name of the deponent earlier. Out of an
                                     abundance of caution and trying to fairly balance the interests of the parties, the
                                     Court will allow the deposition to go forward under the following conditions: the
                                     deposition will be limited to two (2) hours and will take place at a location and time
                                     convenient for the deponent and Harvard, with SFFA to bear all the costs of the
                                     deposition, including reasonable attorneys fees and costs incurred by Harvard. See
                                     San Francisco Health Plan v. McKesson Corp., 264 F.R.D. 20, 21 (D. Mass. 2010)
                                     (ordering party seeking additional depositions to pay associated costs because a
                                     balance must be struck between upholding the limitations of the rule and the
                                     reasons for those limitations on the one hand and counsel's judgment as to the needs
                                     of his or her case on the other). Alternatively, the parties can agree on a different
                                     format, including allowing the deponent to respond to written questions. (Montes,
                                     Mariliz) (Entered: 08/07/2017)
            08/11/2017         353 MOTION to Seal Document Harvard's Response to SFFA's Letter Motion
                                   regarding Summary Sheets by President and Fellows of Harvard College.
                                   (Ellsworth, Felicia) (Entered: 08/11/2017)
            08/11/2017         354 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 353 Motion
                                   to Seal Document (Folan, Karen) (Entered: 08/11/2017)
            08/23/2017         355 Letter/request (non-motion) from SFFA . (Strawbridge, Patrick) (Entered:
                                   08/23/2017)
            08/25/2017         357 Assented to MOTION to Seal SFFA's Reply in Support of its Letter Motion
                                   Regarding Summary Sheets by Students for Fair Admissions, Inc..(Caldwell,
                                   Benjamin) (Entered: 08/25/2017)
            08/28/2017         358 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 357 Motion
                                   to Seal (Folan, Karen) (Entered: 08/28/2017)
            08/31/2017         359 Letter/request (non-motion) from Harvard in Response to Aug. 23, 2017 Letter
                                   from SFFA . (Ellsworth, Felicia) (Entered: 08/31/2017)
            08/31/2017         360 Judge Allison D. Burroughs: ELECTRONIC ORDER entered.

                                     The Court is in receipt of letters from both parties. [ECF Nos. 355, 359]. Despite
                                     the fact that discovery had closed and SFFA had used all of its allotted party
                                     depositions, the Court allowed one additional deposition to go forward with the
                                     understanding that SFFA would bear all of the reasonable associated expenses,
                                     including Harvard's attorneys' fees. [ECF No. 351]. SFFA has not presented
                                     compelling grounds to reconsider that decision. The estimate provided by Harvard
                                     is not unreasonable on its face. SFFA may challenge the reasonableness of the fees
                                     and costs after they have accrued or forego the deposition, which again appears to
                                     seek information that is marginal, duplicative, and disproportionate.(Montes,
                                     Mariliz) (Entered: 08/31/2017)
            09/20/2017         363 Joint MOTION to Amend 335 Order on Motion to Amend,,, Scheduling Order by
                                   Students for Fair Admissions, Inc..(Strawbridge, Patrick) (Entered: 09/20/2017)
            09/22/2017         364 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 363 Motion
                                   to Amend scheduling order (Folan, Karen) (Entered: 09/22/2017)




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            12/21/2017         365 Assented to MOTION to Seal SFFA's Motion to Compel Regarding Harvard's
                                   Privilege Log by Students for Fair Admissions, Inc..(Caldwell, Benjamin) (Entered:
                                   12/21/2017)
            12/22/2017         366 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 365 Motion
                                   to Seal (Folan, Karen) (Entered: 12/22/2017)
            12/27/2017         369 STIPULATION to Enlarge Time to file an Opposition to Plaintiff's Motion to
                                   Compel by President and Fellows of Harvard College. (Ellsworth, Felicia)
                                   (Entered: 12/27/2017)
            12/28/2017         370 ELECTRONIC ENDORSEMENT APPROVING 369 Stipulation to extend time to
                                   file opposition to motion to compel filed by President and Fellows of Harvard
                                   College (Folan, Karen) (Entered: 12/28/2017)
            01/17/2018         371 Assented to MOTION to Seal Document Harvard's Opposition to SFFA's Motion to
                                   Compel Production of Documents Withheld or Redacted by President and Fellows
                                   of Harvard College.(Ellsworth, Felicia) (Entered: 01/17/2018)
            01/17/2018         372 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 371 Motion
                                   to Seal Document (Folan, Karen) (Entered: 01/17/2018)
            01/23/2018         375 Assented to MOTION for Leave to File Reply Memorandum in Support of SFFA's
                                   Motion to Compel by Students for Fair Admissions, Inc..(Caldwell, Benjamin)
                                   (Entered: 01/23/2018)
            01/23/2018         376 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 375 Motion
                                   for Leave to File Document ; Counsel using the Electronic Case Filing System
                                   should now file the document for which leave to file has been granted in
                                   accordance with the CM/ECF Administrative Procedures. Counsel must include -
                                   Leave to file granted on (date of order)- in the caption of the document. (Folan,
                                   Karen) (Entered: 01/23/2018)
            01/24/2018         377 ELECTRONIC NOTICE of Hearing.Motion Hearing on Motion to compel set for
                                   2/7/2018 02:30 PM in Courtroom 17 before Judge Allison D. Burroughs. Defendant
                                   to provide the court with unredacted copies of all documents at issue noting the
                                   proposed redactions 7 days prior to hearing.(Folan, Karen) (Entered: 01/24/2018)
            01/25/2018         378 Assented to MOTION to Seal Reply Memorandum in Support of SFFA's Motion to
                                   Compel by Students for Fair Admissions, Inc..(Caldwell, Benjamin) (Entered:
                                   01/25/2018)
            01/25/2018         379 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 378 Motion
                                   to Seal (Folan, Karen) (Entered: 01/25/2018)
            01/29/2018         380 Receipt of Defendant's unredacted documents for in camera review, pursuant to 377
                                   Order. (Montes, Mariliz) (Entered: 01/30/2018)
            02/07/2018         382 Electronic Clerk's Notes for proceedings held before Judge Allison D. Burroughs:
                                   Hearing held on 2/7/2018. Order to issue. (Court Reporter: Joan Daly at
                                   joanmdaly62@gmail.com.) (Folan, Karen) (Entered: 02/12/2018)
            02/21/2018         384 Transcript of Hearing held on February 7, 2018, before Judge Allison D.
                                   Burroughs. The Transcript may be purchased through the Court Reporter, viewed at
                                   the public terminal, or viewed through PACER after it is released. Court Reporter



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                                     Name and Contact Information: Joan Daly at joanmdaly62@gmail.com Redaction
                                     Request due 3/14/2018. Redacted Transcript Deadline set for 3/26/2018. Release of
                                     Transcript Restriction set for 5/22/2018. (Scalfani, Deborah) (Entered: 02/21/2018)
            02/21/2018         385 NOTICE is hereby given that an official transcript of a proceeding has been filed by
                                   the court reporter in the above-captioned matter. Counsel are referred to the Court's
                                   Transcript Redaction Policy, available on the court website at
                                   http://www.mad.uscourts.gov/attorneys/general-info.htm (Scalfani, Deborah)
                                   (Entered: 02/21/2018)
            03/09/2018         386 STATUS REPORT (Joint Status Report on behalf of all parties) by Students for
                                   Fair Admissions, Inc.. (Consovoy, William) (Entered: 03/09/2018)
            03/14/2018         387 Judge Allison D. Burroughs: ELECTRONIC ORDER entered.

                                     Upon review of the parties' joint status report filed on March 9, 2018 ECF No. 386 ,
                                     the Court orders the following:

                                     1. Dispositive motions shall be filed and briefed in accordance with the operative
                                     scheduling order ECF No. 363 .

                                     2. Amicus briefs in support of a dispositive motion shall be filed by July 13, 2018.
                                     Amicus briefs in opposition to a dispositive motion shall be filed by August 17,
                                     2018.

                                     3. The parties shall meet and confer regarding the treatment of confidential
                                     materials to narrow the areas of dispute. The parties shall file letter briefs on the
                                     outstanding issues by March 30, 2018, and a hearing is scheduled for April 10,
                                     2018 at 9:00 AM in Courtroom 17 before Judge Allison D. Burroughs.

                                     4. By the agreement of the parties, the Court will bifurcate the issues of liability and
                                     remedies. Remedies will be addressed after the disposition of dispositive motions
                                     and/or trial on liability.

                                     5. The Court is considering scheduling trial for four weeks beginning the week of
                                     January 2, 2019. The parties may address the trial schedule at the hearing on April
                                     10, 2018.

                                     (McDonagh, Christina) (Entered: 03/14/2018)
            03/30/2018         388 Letter/request (non-motion) from SFFA re: Treatment of Materials Marked
                                   Confidential . (Consovoy, William) (Entered: 03/30/2018)
            03/30/2018         389 Letter/request (non-motion) from Harvard Regarding Confidential Materials.
                                   (Ellsworth, Felicia) (Entered: 03/30/2018)
            04/06/2018         390 Amicus Curiae APPEARANCE entered by Sigmund David Schutz on behalf of
                                   New England First Amendment Coalition; Reporters Committee for Freedom of the
                                   Press; Massachusetts Newspaper Publishers Association; GateHouse Media, LLC.
                                   (Schutz, Sigmund) (Entered: 04/06/2018)
            04/06/2018         391 MOTION for Leave to File as Amicus Curiae by New England First Amendment
                                   Coalition; Reporters Committee for Freedom of the Press; Massachusetts
                                   Newspaper Publishers Association; GateHouse Media, LLC. (Attachments: # 1



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                                     Exhibit A - Letter Brief)(Schutz, Sigmund) (Entered: 04/06/2018)
            04/06/2018         392 NOTICE of Appearance by Eric G. Penley on behalf of New England First
                                   Amendment Coalition; Reporters Committee for Freedom of the Press;
                                   Massachusetts Newspaper Publishers Association; GateHouse Media, LLC (Penley,
                                   Eric) (Entered: 04/06/2018)
            04/06/2018         393 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 391 Motion
                                   for Leave to File Document ; Counsel using the Electronic Case Filing System
                                   should now file the document for which leave to file has been granted in
                                   accordance with the CM/ECF Administrative Procedures. Counsel must include -
                                   Leave to file granted on (date of order)- in the caption of the document. (Folan,
                                   Karen) (Entered: 04/06/2018)
            04/06/2018         394 Leave to file granted on April 6, 2018 Letter/request (non-motion) from Amici
                                   Curiae . (Schutz, Sigmund) (Entered: 04/06/2018)
            04/06/2018         395 NOTICE by United States of Interest in Public Access to Summary Judgment
                                   Briefing and Materials (Donnelly, Matthew) (Entered: 04/06/2018)
            04/06/2018         396 Response by Students for Fair Admissions, Inc. to 389 Letter/request (non-motion)
                                   . (Consovoy, William) (Entered: 04/06/2018)
            04/09/2018         397 Letter/request (non-motion) from Harvard Regarding Confidential Materials. (Lee,
                                   William) (Entered: 04/09/2018)
            04/09/2018         398 Letter/request (non-motion) from Students, Amici Curiae Regarding Confidential
                                   Materials. (Greenbaum, Jon) (Entered: 04/09/2018)
            04/10/2018         399 NOTICE of Withdrawal of Appearance by Benjamin C. Caldwell (Caldwell,
                                   Benjamin) (Entered: 04/10/2018)
            04/11/2018         400 MOTION for Leave to Appear Pro Hac Vice for admission of Adam K. Mortara
                                   and John M. Hughes Filing fee: $ 200, receipt number 0101-7090675 by Students
                                   for Fair Admissions, Inc.. (Attachments: # 1 Cert. of Attorney Mortara, # 2 Cert. of
                                   Attorney Hughes, # 3 Text of Proposed Order)(Strawbridge, Patrick) (Entered:
                                   04/11/2018)
            04/12/2018         401 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 400 Motion
                                   for Leave to Appear Pro Hac Vice Added Adam K. Mortara & John M. Hughes.
                                   Pursuant to Local Rule 83.5.3, local counsel shall also file an appearance in
                                   this matter. Further, local counsel shall review all filings and shall personally
                                   appear in Court for any hearings or conferences, unless expressly excused by
                                   the Court for good cause. Attorneys admitted Pro Hac Vice must register for
                                   electronic filing if the attorney does not already have an ECF account in this
                                   district. To register go to the Court website at www.mad.uscourts.gov. Select
                                   Case Information, then Electronic Filing (CM/ECF) and go to the CM/ECF
                                   Registration Form. (McDonagh, Christina) (Entered: 04/12/2018)
            04/12/2018         402 Transcript of Status Conference held on April 10, 2018, before Judge Allison D.
                                   Burroughs. The Transcript may be purchased through the Court Reporter, viewed at
                                   the public terminal, or viewed through PACER after it is released. Court Reporter
                                   Name and Contact Information: Richard Romanow at bulldog@richromanow.com
                                   Redaction Request due 5/3/2018. Redacted Transcript Deadline set for 5/14/2018.
                                   Release of Transcript Restriction set for 7/11/2018. (Scalfani, Deborah) (Entered:


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                                     04/12/2018)
            04/12/2018         403 NOTICE is hereby given that an official transcript of a proceeding has been filed by
                                   the court reporter in the above-captioned matter. Counsel are referred to the Court's
                                   Transcript Redaction Policy, available on the court website at
                                   http://www.mad.uscourts.gov/attorneys/general-info.htm (Scalfani, Deborah)
                                   (Entered: 04/12/2018)
            05/23/2018         404 Judge Allison D. Burroughs: ELECTRONIC ORDER entered.

                                     As discussed at the hearing held on April 10, 2018 ECF No. 402 , the Court orders
                                     the following:

                                     1. The deadlines for amicus briefing on dispositive motions ECF No. 387 are
                                     amended as follows. Amicus briefs in support of a dispositive motion shall be filed
                                     by July 30, 2018. Amicus briefs in opposition to a dispositive motion shall be filed
                                     by August 30, 2018.

                                     2. Prior to June 15, 2018, the parties shall meet and confer and propose a procedure
                                     for the Court to determine whether any dispositive motion briefing and/or exhibits
                                     filed under seal should remain sealed.

                                     (McDonagh, Christina) (Entered: 05/23/2018)
            05/23/2018         405 Judge Allison D. Burroughs: ORDER entered. PROCEDURAL ORDER re
                                   pretrial/trial Final Pretrial Conference set for 10/3/2018 10:00 AM in Courtroom 17
                                   before Judge Allison D. Burroughs. Bench Trial set for 10/15/2018 10:00 AM in
                                   Courtroom 17 before Judge Allison D. Burroughs.(McDonagh, Christina) (Entered:
                                   05/23/2018)
            06/08/2018         406 Joint MOTION for Leave to File Excess Pages by Students for Fair Admissions,
                                   Inc..(Strawbridge, Patrick) (Entered: 06/08/2018)
            06/11/2018        407 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 406 Motion
                                  for Leave to File Excess Pages. Parties are nonetheless encouraged to adhere to the
                                  limits set forth in Local Rule 7.1(b)(4) to the extent possible and to limit repetition
                                  between the various briefs. Further, given the potential volume of the submissions
                                  and the impending trial date, the court further orders as follows: a summary
                                  judgment motion shall include a separately filed Statement of Undisputed Facts
                                  which details, in numbered paragraphs, the material facts that the moving party
                                  contends are undisputed and entitle the movant to judgment as a matter of law.
                                  Only those facts which bear on dispositive material issues shall be included in this
                                  statement. Oppositions shall include a separate filing of a statement of material
                                  facts, responding to each numbered paragraph in the movants Statement of
                                  Undisputed Facts, which the respondent contends present genuine issues for trial.
                                  The responding party shall also set forth, in separate numbered paragraphs, any
                                  additional facts which the respondent contends preclude the entry of summary
                                  judgment. Statements of material facts in support of or in opposition to a motion for
                                  summary judgment shall include specific references to the parts of the record that
                                  support each stated fact. Each stated fact shall cite the source relied upon, including
                                  the page of any document or line and page number of any deposition to which
                                  reference is made. If both parties are moving for summary judgment, the parties
                                  may also submit one joint Statement of Undisputed Facts or include a separate joint


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                                     submission of facts that are truly undisputed to the extent that that may make sense.
                                     In light of the number of pages that are likely to be submitted and the scheduled
                                     trial date, the parties are encouraged to work together to find ways in which the
                                     information, particularly undisputed facts, can be presented to the court as
                                     efficiently as possible. (Folan, Karen) (Entered: 06/11/2018)
            06/12/2018         408 JOINT STATEMENT re scheduling conference . (Ellsworth, Felicia) (Entered:
                                   06/12/2018)
            06/12/2018         409 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 408 JOINT
                                   scheduling motion. (Folan, Karen) (Entered: 06/12/2018)
            06/13/2018         410 Joint MOTION to Seal Certain Information Filed in Connection with the Parties'
                                   Summary Judgment Motions by President and Fellows of Harvard College.
                                   (Ellsworth, Felicia) (Entered: 06/13/2018)
            06/14/2018         411 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 410 Motion
                                   to Seal (Folan, Karen) (Entered: 06/14/2018)
            06/15/2018         412 MOTION for Summary Judgment by Students for Fair Admissions,
                                   Inc..(Consovoy, William) (Entered: 06/15/2018)
            06/15/2018         413 MEMORANDUM in Support re 412 MOTION for Summary Judgment filed by
                                   Students for Fair Admissions, Inc.. (Consovoy, William) (Additional attachment(s)
                                   added on 6/18/2018: # 1 Unredacted version of Memorandum in Support)
                                   (Montes, Mariliz). (Additional attachment(s) added on 7/13/2018: # 2 Updated
                                   Redacted Version of Memorandum of Reasons in Support of Motion for Summary
                                   Judgment) (McDonagh, Christina). (Entered: 06/15/2018)
            06/15/2018         414 Statement of Material Facts L.R. 56.1 re 412 MOTION for Summary Judgment
                                   filed by Students for Fair Admissions, Inc.. (Consovoy, William) (Additional
                                   attachment(s) added on 6/18/2018: # 1 Unredacted version of Statement of
                                   Material Facts) (Montes, Mariliz). (Additional attachment(s) added on 7/13/2018: #
                                   2 Updated Redacted Version of Plaintiff's Statement of Undisputed Material Facts)
                                   (McDonagh, Christina). (Additional attachment(s) added on 10/3/2018: # 3
                                   Updated(10/3/2018) Revised Redacted Statement) (McDonagh, Christina).
                                   (Entered: 06/15/2018)
            06/15/2018         415 DECLARATION re 412 MOTION for Summary Judgment by Students for Fair
                                   Admissions, Inc.. (Attachments: # 1 Exhibit Expert Report, # 2 Exhibit Rebuttal
                                   Expert Report, # 3 Errata Errata)(Consovoy, William) (Additional attachment(s)
                                   added on 6/18/2018: # 4 Unredacted version of Declaration of P. Arcidiacono, # 5
                                   Exhibit A- unredacted version, # 6 Exhibit B-unredacted version) (Montes,
                                   Mariliz). (Additional attachment(s) added on 7/13/2018: # 7 Updated Redacted
                                   Version of Declaration of Peter Arcidiacono, # 8 Updated Redacted Version of
                                   Exhibit 1, # 9 Updated Redacted Version of Exhibit 2) (McDonagh, Christina).
                                   (Entered: 06/15/2018)
            06/15/2018         416 DECLARATION re 412 MOTION for Summary Judgment by Students for Fair
                                   Admissions, Inc.. (Attachments: # 1 Exhibit Expert Report, # 2 Exhibit Rebuttal
                                   Expert Report, # 3 Exhibit Supplemental Report)(Consovoy, William) (Additional
                                   attachment(s) added on 6/18/2018: # 5 Exhibit A- unredacted version) (Montes,
                                   Mariliz). (Entered: 06/15/2018)




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             06/15/2018        417 MOTION for Summary Judgment by President and Fellows of Harvard College.
                                   (Waxman, Seth) (Entered: 06/15/2018)
             06/15/2018        418 MEMORANDUM in Support re 417 MOTION for Summary Judgment filed by
                                   President and Fellows of Harvard College. (Waxman, Seth) (Additional
                                   attachment(s) added on 7/2/2018: # 1 Unredacted version of Memorandum in
                                   Support) (Montes, Mariliz). (Additional attachment(s) added on 7/10/2018: # 2
                                   Updated Redacted Version) (McDonagh, Christina). (Entered: 06/15/2018)
             06/15/2018        419 DECLARATION re 417 MOTION for Summary Judgment by President and
                                   Fellows of Harvard College. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit
                                   3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9
                                   Exhibit 9, # 10 Exhibit 10, # 11 Exhibit 11, # 12 Exhibit 12, # 13 Exhibit 13, # 14
                                   Exhibit 14, # 15 Exhibit 15, # 16 Exhibit 16, # 17 Exhibit 17, # 18 Exhibit 18, # 19
                                   Exhibit 19, # 20 Exhibit 20, # 21 Exhibit 21, # 22 Exhibit 22, # 23 Exhibit 23, # 24
                                   Exhibit 24, # 25 Exhibit 25, # 26 Exhibit 26, # 27 Exhibit 27, # 28 Exhibit 28, # 29
                                   Exhibit 29, # 30 Exhibit 30, # 31 Exhibit 31, # 32 Exhibit 32, # 33 Exhibit 33, # 34
                                   Exhibit 34, # 35 Exhibit 35, # 36 Exhibit 36, # 37 Exhibit 37, # 38 Exhibit 38, # 39
                                   Exhibit 39, # 40 Exhibit 40, # 41 Exhibit 41, # 42 Exhibit 42, # 43 Exhibit 43, # 44
                                   Exhibit 44, # 45 Exhibit 45, # 46 Exhibit 46, # 47 Exhibit 47, # 48 Exhibit 48, # 49
                                   Exhibit 49, # 50 Exhibit 50, # 51 Exhibit 51, # 52 Exhibit 52, # 53 Exhibit 53, # 54
                                   Exhibit 54, # 55 Exhibit 55, # 56 Exhibit 56, # 57 Exhibit 57, # 58 Exhibit 58, # 59
                                   Exhibit 59, # 60 Exhibit 60, # 61 Exhibit 61, # 62 Exhibit 62, # 63 Exhibit 63, # 64
                                   Exhibit 64, # 65 Exhibit 65, # 66 Exhibit 66, # 67 Exhibit 67, # 68 Exhibit 68, # 69
                                   Exhibit 69, # 70 Exhibit 70, # 71 Exhibit 71, # 72 Exhibit 72, # 73 Exhibit 73, # 74
                                   Exhibit 74, # 75 Exhibit 75, # 76 Exhibit 76, # 77 Exhibit 77, # 78 Exhibit 78, # 79
                                   Exhibit 79, # 80 Exhibit 80, # 81 Exhibit 81, # 82 Exhibit 82, # 83 Exhibit 83, # 84
                                   Exhibit 84, # 85 Exhibit 85, # 86 Exhibit 86, # 87 Exhibit 87, # 88 Exhibit 88, # 89
                                   Exhibit 89, # 90 Exhibit 90, # 91 Exhibit 91, # 92 Exhibit 92, # 93 Exhibit 93, # 94
                                   Exhibit 94, # 95 Exhibit 95, # 96 Exhibit 96, # 97 Exhibit 97)(Ellsworth, Felicia)
                                   (Additional attachment(s) added on 7/2/2018: # 98 Unredacted version of
                                   Declaration) (Montes, Mariliz). (Additional attachment(s) added on 7/2/2018: # 99
                                   Exhibit 1 (filed under seal), # 100 Exhibit 3 (filed under seal), # 101 Exhibit 4
                                   (filed under seal), # 102 Exhibit 5 (filed under seal), # 103 Exhibit 6 (filed under
                                   seal), # 104 Exhibit 7 (filed under seal), # 105 Exhibit 8 (filed under seal), # 106
                                   Exhibit 9 (filed under seal), # 107 Exhibit 10 (filed under seal), # 108 Exhibit 11
                                   (filed under seal), # 109 Exhibit 12 (filed under seal), # 110 Exhibit 13 (filed under
                                   seal), # 111 Exhibit 14 (filed under seal), # 112 Exhibit 15 (filed under seal), # 113
                                   Exhibit 16 (filed under seal), # 114 Exhibit 17 (filed under seal), # 115 Exhibit 18
                                   (filed under seal), # 116 Exhibit 19 (filed under seal), # 117 Exhibit 20 (filed under
                                   seal), # 118 Exhibit 21 (filed under seal), # 119 Exhibit 22 (filed under seal), # 120
                                   Exhibit 23 (filed under seal), # 121 Exhibit 24 (filed under seal), # 122 Exhibit 25
                                   (filed under seal), # 123 Exhibit 26 (filed under seal), # 124 Exhibit 27 (filed under
                                   seal), # 125 Exhibit 29 (filed under seal), # 126 Exhibit 30 (filed under seal), # 127
                                   Exhibit 40 (filed under seal), # 128 Exhibit 43 (filed under seal), # 129 Exhibit 52
                                   (filed under seal), # 130 Exhibit 53(filed under seal), # 131 Exhibit 54 (filed under
                                   seal), # 132 Exhibit 55 (filed under seal), # 133 Exhibit 56 (filed under seal), # 134
                                   Exhibit 57 (filed under seal), # 135 Exhibit 61 (filed under seal), # 136 Exhibit 62
                                   (filed under seal), # 137 Exhibit 63 (filed under seal), # 138 Exhibit 65 (filed under
                                   seal), # 139 Exhibit 93 (filed under seal)) (Montes, Mariliz). (Attachment 1
                                   replaced on 7/10/2018) (McDonagh, Christina). (Attachment 9 replaced on



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                                     7/10/2018) (McDonagh, Christina). (Additional attachment(s) added on 7/10/2018:
                                     # 140 Updated Redacted Version of Exhibit 31, # 141 Updated Redacted Version of
                                     Exhibit 33, # 142 Updated Redacted Version of Exhibit 35, # 143 Updated
                                     Redacted Version of Exhibit 37) (McDonagh, Christina). (Entered: 06/15/2018)
             06/15/2018        420 Statement of Material Facts L.R. 56.1 re 417 MOTION for Summary Judgment
                                   filed by President and Fellows of Harvard College. (Waxman, Seth) (Additional
                                   attachment(s) added on 7/2/2018: # 1 Unredacted version of Statement of
                                   Undisputed Material Facts) (Montes, Mariliz). (Entered: 06/15/2018)
             06/15/2018        421 DECLARATION re 412 MOTION for Summary Judgment by Students for Fair
                                   Admissions, Inc.. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4
                                   Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, #
                                   10 Exhibit 10, # 11 Exhibit 11, # 12 Exhibit 12, # 13 Exhibit 13, # 14 Exhibit 14, #
                                   15 Exhibit 15, # 16 Exhibit 16, # 17 Exhibit 17, # 18 Exhibit 18, # 19 Exhibit 19, #
                                   20 Exhibit 20, # 21 Exhibit 21, # 22 Exhibit 22, # 23 Exhibit 23, # 24 Exhibit 24, #
                                   25 Exhibit 25, # 26 Exhibit 26, # 27 Exhibit 27, # 28 Exhibit 28, # 29 Exhibit 29, #
                                   30 Exhibit 30, # 31 Exhibit 31, # 32 Exhibit 32, # 33 Exhibit 33, # 34 Exhibit 34, #
                                   35 Exhibit 35, # 36 Exhibit 36, # 37 Exhibit 37, # 38 Exhibit 38, # 39 Exhibit 39, #
                                   40 Exhibit 40, # 41 Exhibit 41, # 42 Exhibit 42, # 43 Exhibit 43, # 44 Exhibit 44, #
                                   45 Exhibit 45, # 46 Exhibit 46, # 47 Exhibit 47, # 48 Exhibit 48, # 49 Exhibit 49, #
                                   50 Exhibit 50, # 51 Exhibit 51, # 52 Exhibit 52, # 53 Exhibit 53, # 54 Exhibit 54, #
                                   55 Exhibit 55, # 56 Exhibit 56, # 57 Exhibit 57, # 58 Exhibit 58, # 59 Exhibit 59, #
                                   60 Exhibit 60, # 61 Exhibit 61, # 62 Exhibit 62, # 63 Exhibit 63, # 64 Exhibit 64, #
                                   65 Exhibit 65, # 66 Exhibit 66, # 67 Exhibit 67, # 68 Exhibit 68, # 69 Exhibit 69, #
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                                   75 Exhibit 75, # 76 Exhibit 76, # 77 Exhibit 77, # 78 Exhibit 78, # 79 Exhibit 79, #
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                                   95 Exhibit 95, # 96 Exhibit 96, # 97 Exhibit 97, # 98 Exhibit 98, # 99 Exhibit 99, #
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                                   Exhibit 104, # 105 Exhibit 105, # 106 Exhibit 106, # 107 Exhibit 107, # 108
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                                   117 Exhibit 117, # 118 Exhibit 118, # 119 Exhibit 119, # 120 Exhibit 120, # 121
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                                   Exhibit 153, # 154 Exhibit 154, # 155 Exhibit 155, # 156 Exhibit 156, # 157
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                                     Exhibit 181, # 182 Exhibit 182, # 183 Exhibit 183, # 184 Exhibit 184, # 185 Exhibit
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                                     203 Exhibit 203, # 204 Exhibit 204, # 205 Exhibit 205, # 206 Exhibit 206, # 207
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                                     229 Exhibit 229, # 230 Exhibit 230, # 231 Exhibit 231, # 232 Exhibit 232, # 233
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                                     250, # 251 Exhibit 251, # 252 Exhibit 252, # 253 Exhibit 253, # 254 Exhibit 254, #
                                     255 Exhibit 255, # 256 Exhibit 256, # 257 Exhibit 257, # 258 Exhibit 258, # 259
                                     Exhibit 259, # 260 Exhibit 260, # 261 Exhibit 261)(Consovoy, William) (Additional
                                     attachment(s) added on 6/18/2018: # 262 Unredacted version of Declaration, #
                                     263 Exhibit 1 (filed under seal), # 264 Exhibit 2 (filed under seal), # 265 Exhibit 5
                                     (filed under seal), # 266 Exhibit 6 (filed under seal), # 267 Exhibit 7 (filed under
                                     seal), # 268 Exhibit 8 (filed under seal), # 269 Exhibit 9 (filed under seal), # 270
                                     Exhibit 10 (filed under seal)) (Montes, Mariliz). (Additional attachment(s) added on
                                     6/18/2018: # 271 Exhibit 11 (filed under seal), # 272 Exhibit 12(filed under seal), #
                                     273 Exhibit 13 (filed under seal), # 274 Exhibit 14 (filed under seal), # 275 Exhibit
                                     16 (filed under seal), # 276 Exhibit 17(filed under seal), # 277 Exhibit 18(filed
                                     under seal), # 278 Exhibit 19 (filed under seal), # 279 Exhibit 20 (filed under seal),
                                     # 280 Exhibit 22 (filed under seal), # 281 Exhibit 23 (filed under seal), # 282
                                     Exhibit 24 (filed under seal), # 283 Exhibit 25(filed under seal), # 284 Exhibit 26
                                     (filed under seal), # 285 Exhibit 28 (filed under seal), # 286 Exhibit 29 (filed under
                                     seal), # 287 Exhibit 31 (filed under seal), # 288 Exhibit 32 (filed under seal), # 289
                                     Exhibit 33 (filed under seal), # 290 Exhibit 35 (filed under seal), # 291 Exhibit 36
                                     (filed under seal), # 292 Exhibit 37 (filed under seal), # 293 Exhibit 38(filed under
                                     seal), # 294 Exhibit 39 (filed under seal), # 295 Exhibit 40 (filed under seal), # 296
                                     Exhibit 41, # 297 Exhibit 42 (filed under seal), # 298 Exhibit 43 (filed under seal),
                                     # 299 Exhibit 44(filed under seal), # 300 Exhibit 45 (filed under seal), # 301
                                     Exhibit 46 (filed under seal), # 302 Exhibit 47 (filed under seal), # 303 Exhibit 48
                                     (filed under seal), # 304 Exhibit 51 (filed under seal)) (Montes, Mariliz).
                                     (Additional attachment(s) added on 7/2/2018: # 305 Exhibit 52 (filed under seal), #
                                     306 Exhibit 53 (filed under seal), # 307 Exhibit 54 (filed under seal), # 308 Exhibit
                                     55 (filed under seal), # 309 Exhibit 56 (filed under seal), # 310 Exhibit 57 (filed
                                     under seal), # 311 Exhibit 58 (filed under seal), # 312 Exhibit 59 (filed under seal),
                                     # 313 Exhibit 60 (filed under seal), # 314 Exhibit 61 (filed under seal), # 315
                                     Exhibit 62 (filed under seal), # 316 Exhibit 63 (filed under seal), # 317 Exhibit 64
                                     (filed under seal), # 318 Exhibit 65 (filed under seal), # 319 Exhibit 66 (filed under
                                     seal), # 320 Exhibit 67 (filed under seal), # 321 Exhibit 68 (filed under seal), # 322
                                     Exhibit 69 (filed under seal), # 323 Exhibit 70 (filed under seal), # 324 Exhibit 71
                                     (filed under seal), # 325 Exhibit 72 (filed under seal), # 326 Exhibit 73 (filed under
                                     seal), # 327 Exhibit 74 (filed under seal), # 328 Exhibit 75 (filed under seal), # 329



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                                     Exhibit 76(filed under seal), # 330 Exhibit 77 (filed under seal), # 331 Exhibit 78
                                     (filed under seal), # 332 Exhibit 79 (filed under seal), # 333 Exhibit 80 (filed under
                                     seal), # 334 Exhibit 81 (filed under seal), # 335 Exhibit 82 (filed under seal), # 336
                                     Exhibit 83 (filed under seal), # 337 Exhibit 84 (filed under seal), # 338 Exhibit 85
                                     (filed under seal), # 339 Exhibit 86 (filed under seal), # 340 Exhibit 87 (filed under
                                     seal), # 341 Exhibit 88 (filed under seal), # 342 Exhibit 89 (filed under seal), # 343
                                     Exhibit 90 (filed under seal), # 344 Exhibit 91 (filed under seal)) (Montes, Mariliz).
                                     (Additional attachment(s) added on 7/2/2018: # 345 Exhibit 92 (filed under seal), #
                                     346 Exhibit 93 (filed under seal), # 347 Exhibit 95 (filed under seal), # 348 Exhibit
                                     96 (filed under seal), # 349 Exhibit 97 (filed under seal), # 350 Exhibit 99 (filed
                                     under seal), # 351 Exhibit 100 (filed under seal), # 352 Exhibit 101 (filed under
                                     seal), # 353 Exhibit 103 (filed under seal), # 354 Exhibit 104 (filed under seal), #
                                     356 Exhibit 108 (filed under seal), # 357 Exhibit 109 (filed under seal), # 358
                                     Exhibit 110 (filed under seal), # 359 Exhibit 111 (filed under seal), # 360 Exhibit
                                     113 (filed under seal), # 361 Exhibit 114 (filed under seal), # 362 Exhibit 117 (filed
                                     under seal), # 363 Exhibit 118 (filed under seal), # 364 Exhibit 119 (filed under
                                     seal), # 365 Exhibit 120 (filed under seal)) (Montes, Mariliz). (Additional
                                     attachment(s) added on 7/2/2018: # 366 Exhibit 121 (filed under seal), # 367
                                     Exhibit 122 (filed under seal), # 368 Exhibit 124 (filed under seal), # 369 Exhibit
                                     125 (filed under seal), # 370 Exhibit 126 (filed under seal), # 371 Exhibit 127 (filed
                                     under seal), # 372 Exhibit 128 (filed under seal), # 373 Exhibit 129 (filed under
                                     seal), # 374 Exhibit 130 (filed under seal), # 375 Exhibit 131 (filed under seal), #
                                     376 Exhibit 132 (filed under seal), # 377 Exhibit 134 (filed under seal), # 378
                                     Exhibit 135 (filed under seal), # 379 Exhibit 136 (filed under seal), # 380 Exhibit
                                     137 (filed under seal), # 381 Exhibit 138 (filed under seal), # 382 Exhibit 139 (filed
                                     under seal), # 383 Exhibit 140 (filed under seal), # 384 Exhibit 141 (filed under
                                     seal), # 385 Exhibit 142 (filed under seal), # 386 Exhibit 144 (filed under seal), #
                                     387 Exhibit 146 (filed under seal), # 388 Exhibit 147 (filed under seal), # 389
                                     Exhibit 151 (filed under seal), # 390 Exhibit 152 (filed under seal), # 391 Exhibit
                                     153 (filed under seal), # 392 Exhibit 158 (filed under seal), # 393 Exhibit 159 (filed
                                     under seal), # 394 Exhibit 160 (filed under seal), # 395 Exhibit 161 (filed under
                                     seal), # 396 Exhibit 162 (filed under seal), # 397 Exhibit 163 (filed under seal), #
                                     398 Exhibit 169 (filed under seal), # 399 Exhibit 170 (filed under seal), # 400
                                     Exhibit 171 (filed under seal), # 401 Exhibit 172 (filed under seal), # 402 Exhibit
                                     173 (filed under seal), # 403 Exhibit 174 (filed under seal), # 404 Exhibit 175 (filed
                                     under seal)) (Montes, Mariliz). (Additional attachment(s) added on 7/2/2018: # 405
                                     Exhibit 176 (filed under seal), # 406 Exhibit 177 (filed under seal), # 407 Exhibit
                                     178 (filed under seal), # 408 Exhibit 179 (filed under seal), # 409 Exhibit 180 (filed
                                     under seal), # 410 Exhibit 181 (filed under seal), # 411 Exhibit 182 (filed under
                                     seal), # 412 Exhibit 183, # 413 Exhibit 184 (filed under seal), # 414 Exhibit 187
                                     (filed under seal), # 415 Exhibit 188 (filed under seal), # 416 Exhibit 189 (filed
                                     under seal), # 417 Exhibit 192 (filed under seal), # 418 Exhibit 194 (filed under
                                     seal), # 419 Exhibit 195 (filed under seal), # 420 Exhibit 196 (filed under seal), #
                                     421 Exhibit 197 (filed under seal), # 422 Exhibit 198 (filed under seal), # 423
                                     Exhibit 199 (filed under seal), # 424 Exhibit 200 (filed under seal)) (Montes,
                                     Mariliz). (Additional attachment(s) added on 7/2/2018: # 425 Exhibit 202 (filed
                                     under seal), # 426 Exhibit 205 (filed under seal), # 427 Exhibit 206 (filed under
                                     seal), # 428 Exhibit 207 (filed under seal), # 429 Exhibit 220 (filed under seal), #
                                     430 Exhibit 223 (filed under seal), # 431 Exhibit 224 (filed under seal), # 432
                                     Exhibit 225 (filed under seal), # 433 Exhibit 226 (filed under seal), # 434 Exhibit



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                                     227 (filed under seal), # 435 Exhibit 228 (filed under seal), # 436 Exhibit 229 (filed
                                     under seal), # 437 Exhibit 230 (filed under seal), # 438 Exhibit 231 (filed under
                                     seal), # 439 Exhibit 233 (filed under seal), # 440 Exhibit 234 (filed under seal))
                                     (Montes, Mariliz). (Additional attachment(s) added on 7/2/2018: # 441 Exhibit 236
                                     (filed under seal), # 442 Exhibit 252 (filed under seal), # 443 Exhibit 253, # 444
                                     Exhibit 254 (filed under seal), # 445 Exhibit 255 (filed under seal), # 446 Exhibit
                                     256 (filed under seal), # 447 Exhibit 258 (filed under seal), # 448 Exhibit 259 (filed
                                     under seal), # 449 Exhibit 260 (filed under seal), # 450 Exhibit 261 (filed under
                                     seal)) (Montes, Mariliz). Modified to fix docket text on 7/30/2018 (McDonagh,
                                     Christina). (Entered: 06/15/2018)
             06/22/2018        422 MEMORANDUM in Support re 410 Joint MOTION to Seal Certain Information
                                   Filed in Connection with the Parties' Summary Judgment Motions filed by
                                   President and Fellows of Harvard College. (Attachments: # 1 Declaration of Robin
                                   Worth)(Ellsworth, Felicia) (Entered: 06/22/2018)
             06/27/2018        423 Letter/request (non-motion) from Sean D. Reyes Utah Attorney General.
                                   (McDonagh, Christina) (Entered: 06/27/2018)
             06/27/2018        424 Assented to MOTION to Seal Portions of SFFA's Opposition to Harvard's Motion
                                   to Seal by Students for Fair Admissions, Inc..(Strawbridge, Patrick) (Entered:
                                   06/27/2018)
             06/28/2018        425 MOTION to Unseal Document by President and Fellows of Harvard College.
                                   (Ellsworth, Felicia) (Entered: 06/28/2018)
             06/29/2018        426 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 424 Motion
                                   to Seal (Folan, Karen) (Entered: 06/29/2018)
             06/29/2018        427 Opposition re 410 Joint MOTION to Seal Certain Information Filed in Connection
                                   with the Parties' Summary Judgment Motions filed by Students for Fair
                                   Admissions, Inc.. (Consovoy, William) (Additional attachment(s) added on
                                   7/2/2018: # 1 SEALED Memorandum of Law (unredacted)) (McDonagh,
                                   Christina). (Entered: 06/29/2018)
             07/02/2018        428 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 425 Motion
                                   to Unseal Document (Folan, Karen) (Entered: 07/02/2018)
             07/24/2018        429 JOINT STATEMENT of counsel Regarding the Submission of Amicus Briefs.
                                   (Strawbridge, Patrick) (Entered: 07/24/2018)
             07/24/2018        430 MOTION to Seal Certain Information Filed in Connection with Harvard's
                                   Opposition to Plaintiff's Motion for Summary Judgment by President and Fellows
                                   of Harvard College.(Ellsworth, Felicia) (Entered: 07/24/2018)
             07/24/2018        431 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 430 Motion
                                   to Seal (Folan, Karen) (Entered: 07/24/2018)
             07/24/2018        432 Judge Allison D. Burroughs: ELECTRONIC ORDER entered. In response to the
                                   parties' joint statement regarding the submission of amicus briefs [ECF No. 429],
                                   the Court hereby grants leave for any interested party to file an amicus brief on the
                                   pending dispositive motions, in accordance with the deadlines set forth in the
                                   Court's order dated May 23, 2018 [ECF No. 404]. (Folan, Karen) (Entered:
                                   07/24/2018)



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             07/26/2018        433 Assented to MOTION to Seal by Students for Fair Admissions, Inc..(Strawbridge,
                                   Patrick) (Entered: 07/26/2018)
             07/26/2018        434 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 433 Motion
                                   to Seal (Folan, Karen) (Entered: 07/26/2018)
             07/27/2018        435 MEMORANDUM in Opposition re 412 MOTION for Summary Judgment filed by
                                   President and Fellows of Harvard College. (Waxman, Seth) (Additional
                                   attachment(s) added on 7/30/2018: # 1 SEALED Oppostion to Motion for
                                   Summary Judgment) (McDonagh, Christina). (Entered: 07/27/2018)
             07/27/2018        436 Amicus Curiae APPEARANCE entered by Dwight G. Duncan on behalf of
                                   National Association of Scholars. (Duncan, Dwight) (Entered: 07/27/2018)
             07/27/2018        437 Counter Statement of Material Facts L.R. 56.1 re 412 MOTION for Summary
                                   Judgment filed by President and Fellows of Harvard College. (Waxman, Seth)
                                   (Additional attachment(s) added on 7/30/2018: # 1 SEALED Response to
                                   Statement of Material Facts) (McDonagh, Christina). (Entered: 07/27/2018)
             07/27/2018        438 DECLARATION Declaration of Felicia H. Ellsworth ISO Defendant's Opposition
                                   to Plaintiff's Motion for Summary Judgment by President and Fellows of Harvard
                                   College. (Attachments: # 1 Exhibit 98, # 2 Exhibit 99, # 3 Exhibit 100, # 4 Exhibit
                                   101, # 5 Exhibit 102, # 6 Exhibit 103, # 7 Exhibit 104, # 8 Exhibit 105, # 9 Exhibit
                                   106, # 10 Exhibit 107, # 11 Exhibit 108, # 12 Exhibit 109, # 13 Exhibit 110, # 14
                                   Exhibit 111, # 15 Exhibit 112, # 16 Exhibit 113, # 17 Exhibit 114, # 18 Exhibit 115,
                                   # 19 Exhibit 116, # 20 Exhibit 117, # 21 Exhibit 118, # 22 Exhibit 119, # 23 Exhibit
                                   120, # 24 Exhibit 121, # 25 Exhibit 122, # 26 Exhibit 123, # 27 Exhibit 124, # 28
                                   Exhibit 125, # 29 Exhibit 126, # 30 Exhibit 127, # 31 Exhibit 128, # 32 Exhibit
                                   129, # 33 Exhibit 130, # 34 Exhibit 131, # 35 Exhibit 132, # 36 Exhibit 133, # 37
                                   Exhibit 134, # 38 Exhibit 135, # 39 Exhibit 136, # 40 Exhibit 137, # 41 Exhibit
                                   138, # 42 Exhibit 139, # 43 Exhibit 140, # 44 Exhibit 141, # 45 Exhibit 142, # 46
                                   Exhibit 143, # 47 Exhibit 144, # 48 Exhibit 145, # 49 Exhibit 146, # 50 Exhibit
                                   147, # 51 Exhibit 148, # 52 Exhibit 149, # 53 Exhibit 150, # 54 Exhibit 151, # 55
                                   Exhibit 152, # 56 Exhibit 153, # 57 Exhibit 154, # 58 Exhibit 155, # 59 Exhibit
                                   156, # 60 Exhibit 157, # 61 Exhibit 158)(Ellsworth, Felicia) (Additional
                                   attachment(s) added on 7/30/2018: # 62 SEALED Declaration of Felicia H.
                                   Ellsworth in Support of Defendant's Opposition to Plaintiff's Motion for Summary
                                   Judgment, # 63 Exhibit 98 Unredacted Version, # 64 Exhibit 101 Unredacted
                                   Version, # 65 Exhibit 102 Unredacted Version) (McDonagh, Christina). (Additional
                                   attachment(s) added on 7/30/2018: # 66 Exhibit 105 Unredacted Version, # 67
                                   Exhibit 119 Unredacted Version, # 68 Exhibit 128 Unredacted Version, # 69 Exhibit
                                   151 Unredacted Version, # 70 Exhibit 158 Unredacted Version) (McDonagh,
                                   Christina). (Entered: 07/27/2018)
             07/30/2018        439 AMICUS BRIEF filed by National Association of Scholars . (Duncan, Dwight)
                                   (Entered: 07/30/2018)
             07/30/2018        440 MEMORANDUM in Support re 417 MOTION for Summary Judgment filed by M.
                                   B., K. C., Sarah Cole, Y. D., G. E., A. G., I. G., R. H., J. L., Fadhal Moore, Arjini
                                   Kumari Nawal, R. S., Itzel Vasquez-Rodriguez, Keyanna Wigglesworth.
                                   (Attachments: # 1 Exhibit Student Declarations)(Culleen, Lawrence) (Entered:
                                   07/30/2018)




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             07/30/2018        441 Amicus Curiae APPEARANCE entered by Natashia Tidwell on behalf of American
                                   Council on Education. (Tidwell, Natashia) (Entered: 07/30/2018)
             07/30/2018        442 AMICUS BRIEF filed by American Council on Education and 36 Other Higher
                                   Education Organizations in Opposition to Plaintiff's Motion for Summary Judgment
                                   and in Support of Defendant's Motion for Summary Judgment. (Tidwell, Natashia)
                                   (Entered: 07/30/2018)
             07/30/2018        443 Amicus Curiae APPEARANCE entered by Seth B. Orkand on behalf of Brown
                                   University, Case Western Reserve University, Columbia University, Cornell
                                   University, Dartmouth College, Duke University, Emory University, George
                                   Washington University, John Hopkins University, Massachusetts Institute of
                                   Technology, Princeton University, Stanford University, University of Pennsylvania,
                                   Vanderbilt University, Washington University in St. Louis, Yale University.
                                   (Orkand, Seth) (Entered: 07/30/2018)
             07/30/2018        444 MOTION for Leave to Appear Pro Hac Vice for admission of Matthew S. Hellman
                                   Filing fee: $ 100, receipt number 0101-7251217 by Brown University, Case
                                   Western Reserve University, Columbia University, Cornell University, Dartmouth
                                   College, Duke University, Emory University, George Washington University, John
                                   Hopkins University, Massachusetts Institute of Technology, Princeton University,
                                   Stanford University, University of Pennsylvania, Vanderbilt University, Washington
                                   University in St. Louis, Yale University. (Attachments: # 1 Affidavit of Matthew S.
                                   Hellman)(Orkand, Seth) (Entered: 07/30/2018)
             07/30/2018        445 AMICUS BRIEF filed by Brown University, Case Western Reserve University,
                                   Columbia University, Cornell University, Dartmouth College, Duke University,
                                   Emory University, George Washington University, John Hopkins University,
                                   Massachusetts Institute of Technology, Princeton University, Stanford University,
                                   University of Pennsylvania, Vanderbilt University, Washington University in St.
                                   Louis, Yale University in Support of Defendants. (Orkand, Seth) (Entered:
                                   07/30/2018)
             07/30/2018        446 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 444 Motion
                                   for Leave to Appear Pro Hac Vice Added Matthew S. Hellman. Pursuant to Local
                                   Rule 83.5.3, local counsel shall also file an appearance in this matter. Further,
                                   local counsel shall review all filings and shall personally appear in Court for
                                   any hearings or conferences, unless expressly excused by the Court for good
                                   cause. Attorneys admitted Pro Hac Vice must register for electronic filing if
                                   the attorney does not already have an ECF account in this district. To register
                                   go to the Court website at www.mad.uscourts.gov. Select Case Information,
                                   then Electronic Filing (CM/ECF) and go to the CM/ECF Registration Form.
                                   (McDonagh, Christina) (Entered: 07/30/2018)
             07/30/2018        447 BRIEF by Walter Dellinger (Brief For Walter Dellinger As Amicus Curiae In
                                   Support Of Defendant On The Issue Of Standing). (Wisner, Joanne) (Entered:
                                   07/30/2018)
             07/30/2018        448 Amicus Curiae APPEARANCE entered by Randall B. Clark on behalf of Amici
                                   Curiae Economists Michael Keane et al., in Support of Students for Fair
                                   Admissions. (Clark, Randall) Modified to correct docket text on 7/30/2018
                                   (McDonagh, Christina). (Entered: 07/30/2018)




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             07/30/2018        449 MEMORANDUM in Opposition re 417 MOTION for Summary Judgment filed by
                                   Students for Fair Admissions, Inc.. (Consovoy, William) (Additional attachment(s)
                                   added on 7/31/2018: # 1 Memorandum of Reasons in Opposition to Harvard's
                                   Motion For Summary Judgment (Unredacted and Sealed)) (McDonagh, Christina).
                                   (Entered: 07/30/2018)
             07/30/2018        450 AMICUS BRIEF filed by Amici Curiae Economists Michael Keane et al., in
                                   Support of Students for Fair Admissions . (Attachments: # 1 Exhibit)(Clark,
                                   Randall) (Entered: 07/30/2018)
             07/30/2018        451 MOTION for Leave to Appear Pro Hac Vice for admission of C. Boyden Gray,
                                   Andrew R. Varcoe, Adam R.F. Gustafson, James R. Conde Filing fee: $ 400, receipt
                                   number 0101-7251970 by Amici Curiae Economists Michael Keane et al., in
                                   Support of Students for Fair Admissions.(Clark, Randall) (Entered: 07/30/2018)
             07/30/2018        452 Counter Statement of Material Facts L.R. 56.1 re 417 MOTION for Summary
                                   Judgment filed by Students for Fair Admissions, Inc.. (Consovoy, William)
                                   (Additional attachment(s) added on 7/31/2018: # 1 Unredacted Version of Plaintiff's
                                   Response to Defendant's Statement of Undisputed Material Facts (Filed under
                                   Seal)) (McDonagh, Christina). (Additional attachment(s) added on 10/3/2018: # 2
                                   Updated (10/3/2018) Redacted Response) (McDonagh, Christina). (Entered:
                                   07/30/2018)
             07/30/2018        453 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 451 Motion
                                   for Leave to Appear Pro Hac Vice Added James R. Conde, Adam R.F. Gustafson,
                                   C. Boyden Gray, Andrew R. Varcoe. Pursuant to Local Rule 83.5.3, local counsel
                                   shall also file an appearance in this matter. Further, local counsel shall review
                                   all filings and shall personally appear in Court for any hearings or
                                   conferences, unless expressly excused by the Court for good cause. Attorneys
                                   admitted Pro Hac Vice must register for electronic filing if the attorney does
                                   not already have an ECF account in this district. To register go to the Court
                                   website at www.mad.uscourts.gov. Select Case Information, then Electronic
                                   Filing (CM/ECF) and go to the CM/ECF Registration Form. (McDonagh,
                                   Christina) (Entered: 07/30/2018)
             07/30/2018        454 DECLARATION of Michael Connolly in Support of SFFA's Opposition to
                                   Harvard's Motion for Summary Judgment by Students for Fair Admissions, Inc..
                                   (Attachments: # 1 Exhibit 262, # 2 Exhibit 263, # 3 Exhibit 264, # 4 Exhibit 265, #
                                   5 Exhibit 266, # 6 Exhibit 267, # 7 Exhibit 268, # 8 Exhibit 269, # 9 Exhibit 270, #
                                   10 Exhibit 271, # 11 Exhibit 272, # 12 Exhibit 273, # 13 Exhibit 274, # 14 Exhibit
                                   275, # 15 Exhibit 276, # 16 Exhibit 277, # 17 Exhibit 278, # 18 Exhibit 279, # 19
                                   Exhibit 280, # 20 Exhibit 281, # 21 Exhibit 282, # 22 Exhibit 283, # 23 Exhibit
                                   284, # 24 Exhibit 285)(Consovoy, William) (Additional attachment(s) added on
                                   7/31/2018: # 25 Unredacted DECLARATION of Michael Connolly in Support of
                                   SFFA's Opposition to Harvard's Motion for Summary Judgment (Filed Under Seal),
                                   # 26 Exhibit 262 (Filed Under Seal), # 27 Exhibit 263 (Filed Under Seal), # 28
                                   Exhibit 264 (Filed Under Seal), # 29 Exhibit 265 (Filed Under Seal), # 30 Exhibit
                                   266 (Filed Under Seal), # 31 Exhibit 267 (Filed Under Seal), # 32 Exhibit 268
                                   (Filed Under Seal), # 33 Exhibit 269 (Filed Under Seal), # 34 Exhibit 270 (Filed
                                   Under Seal), # 35 Exhibit 271 (Filed Under Seal), # 36 Exhibit 272 (Filed Under
                                   Seal), # 37 Exhibit 273 (Filed Under Seal), # 38 Exhibit 274 (Filed Under Seal), #
                                   39 Exhibit 275 (Filed Under Seal), # 40 Exhibit 276 (Filed Under Seal), # 41



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                                     Exhibit 277 (Filed Under Seal), # 42 Exhibit 278 (Filed Under Seal), # 43 Exhibit
                                     279 (Filed Under Seal), # 44 Exhibit 280 (Filed Under Seal), # 45 Exhibit 281
                                     (Filed Under Seal), # 46 Exhibit 282 (Filed Under Seal), # 47 Exhibit 283 (Filed
                                     Under Seal), # 48 Exhibit 284 (Filed Under Seal), # 49 Exhibit 285 (Filed Under
                                     Seal)) (McDonagh, Christina). (Entered: 07/30/2018)
             07/30/2018        455 MOTION for Leave to File to Participate as Amici Curiae by Harvard-Radcliffe
                                   Black Students Association, Kuumba Singers of Harvard College, Fuerza Latina of
                                   Harvard, Native Americans At Harvard College, Harvard-Radcliffe Asian
                                   American Association, Harvard-Radcliffe Asian American Women's Association,
                                   Harvard Asian American Brotherhood, Harvard Vietnamese Association, Harvard-
                                   Radcliffe Chinese Students Association, Harvard Korean Association, Harvard
                                   Japan Society, Harvard South Asian Association, Harvard Islamic Society, Task
                                   Force on Asian and Pacific American Studies at Harvard College, Harvard Phillips
                                   Brooks House Association, Harvard Minority Association of Pre-Medical Students,
                                   Coalition for a Diverse Harvard, First Generation Harvard Alumni, Native
                                   American Alumni of Harvard University, Harvard University Muslim Alumni,
                                   Harvard Latino Alumni Alliance. (Attachments: # 1 Exhibit Amicus Brief by
                                   Harvard Student and Alumni Organizations in Support of Defendants' Motion for
                                   Summary Judgment, # 2 Exhibit Declaration, # 3 Exhibit Declaration, # 4 Exhibit
                                   Declaration, # 5 Exhibit Declaration, # 6 Exhibit Declaration, # 7 Exhibit
                                   Declaration, # 8 Exhibit Declaration, # 9 Exhibit Declaration, # 10 Exhibit
                                   Declaration, # 11 Exhibit Declaration, # 12 Exhibit Declaration, # 13 Exhibit
                                   Declaration, # 14 Exhibit Declaration, # 15 Exhibit Declaration, # 16 Exhibit
                                   Declaration, # 17 Exhibit Declaration)(Thayer, Kenneth) (Entered: 07/30/2018)
             07/30/2018        456 NOTICE of Appearance by Kenneth N. Thayer on behalf of Coalition for a Diverse
                                   Harvard, First Generation Harvard Alumni, Fuerza Latina of Harvard, Harvard
                                   Asian American Brotherhood, Harvard Islamic Society, Harvard Japan Society,
                                   Harvard Korean Association, Harvard Latino Alumni Alliance, Harvard Minority
                                   Association of Pre-Medical Students, Harvard Phillips Brooks House Association,
                                   Harvard South Asian Association, Harvard University Muslim Alumni, Harvard
                                   Vietnamese Association, Harvard-Radcliffe Asian American Association, Harvard-
                                   Radcliffe Asian American Women's Association, Harvard-Radcliffe Black Students
                                   Association, Harvard-Radcliffe Chinese Students Association, Kuumba Singers of
                                   Harvard College, Native American Alumni of Harvard University, Native
                                   Americans At Harvard College, Task Force on Asian and Pacific American Studies
                                   at Harvard College (Thayer, Kenneth) (Entered: 07/30/2018)
             07/30/2018        457 MOTION for Leave to Appear Pro Hac Vice for admission of Sherrilyn A. Ifill,
                                   Janai S. Nelson, Samuel Spital, Jin Hee Lee, Rachel M. Kleinman, Michaele N.
                                   Turnage Young, Jennifer A. Holmes, and Cara McClellan by Coalition for a
                                   Diverse Harvard, First Generation Harvard Alumni, Fuerza Latina of Harvard,
                                   Harvard Asian American Brotherhood, Harvard Islamic Society, Harvard Japan
                                   Society, Harvard Korean Association, Harvard Latino Alumni Alliance, Harvard
                                   Minority Association of Pre-Medical Students, Harvard Phillips Brooks House
                                   Association, Harvard South Asian Association, Harvard University Muslim
                                   Alumni, Harvard Vietnamese Association, Harvard-Radcliffe Asian American
                                   Association, Harvard-Radcliffe Asian American Women's Association, Harvard-
                                   Radcliffe Black Students Association, Harvard-Radcliffe Chinese Students
                                   Association, Kuumba Singers of Harvard College, Native American Alumni of
                                   Harvard University, Native Americans At Harvard College, Task Force on Asian


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                                     and Pacific American Studies at Harvard College. (Attachments: # 1 Certification
                                     of Attorney Ifill, # 2 Certification of Attorney Nelson, # 3 Certification of Attorney
                                     Spital, # 4 Certification of Attorney Lee, # 5 Certification of Attorney Kleinman, #
                                     6 Certification of Attorney Turnage Young, # 7 Certification of Attorney Holmes, #
                                     8 Certification of Attorney McClellan)(Thayer, Kenneth) (Entered: 07/30/2018)
             07/30/2018        458 NOTICE of Appearance by Kathryn Rebecca Cook on behalf of Coalition for a
                                   Diverse Harvard, First Generation Harvard Alumni, Fuerza Latina of Harvard,
                                   Harvard Asian American Brotherhood, Harvard Islamic Society, Harvard Japan
                                   Society, Harvard Korean Association, Harvard Latino Alumni Alliance, Harvard
                                   Minority Association of Pre-Medical Students, Harvard Phillips Brooks House
                                   Association, Harvard South Asian Association, Harvard University Muslim
                                   Alumni, Harvard Vietnamese Association, Harvard-Radcliffe Asian American
                                   Association, Harvard-Radcliffe Asian American Women's Association, Harvard-
                                   Radcliffe Black Students Association, Harvard-Radcliffe Chinese Students
                                   Association, Kuumba Singers of Harvard College, Native American Alumni of
                                   Harvard University, Native Americans At Harvard College, Task Force on Asian
                                   and Pacific American Studies at Harvard College (Cook, Kathryn) (Entered:
                                   07/30/2018)
             07/30/2018        459 MOTION for Leave to Appear Pro Hac Vice for admission of Gordon M. Fauth, Jr.
                                   and Lee Cheng Filing fee: $ 200, receipt number 0101-7252337 by Asian American
                                   Legal Foundation, Asian American Coalition for Education. (Attachments: # 1
                                   Exhibit Cheng Certification, # 2 Exhibit Fauth Certification, # 3 Text of Proposed
                                   Order)(Randazza, Marc) (Entered: 07/30/2018)
             07/30/2018        460 AMICUS BRIEF filed by Asian American Coalition for Education, Asian
                                   American Legal Foundation . (Randazza, Marc) (Entered: 07/30/2018)
             07/30/2018        461 MOTION for Leave to File Brief of Amici Curiae 460 Out of Time by Asian
                                   American Coalition for Education, Asian American Legal Foundation.
                                   (Attachments: # 1 Text of Proposed Order)(Randazza, Marc) (Entered: 07/30/2018)
             07/31/2018        462 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 459 Motion
                                   for Leave to Appear Pro Hac Vice Added Gordon M. Fauth Jr. and Lee Cheng.
                                   Pursuant to Local Rule 83.5.3, local counsel shall also file an appearance in
                                   this matter. Further, local counsel shall review all filings and shall personally
                                   appear in Court for any hearings or conferences, unless expressly excused by
                                   the Court for good cause. Attorneys admitted Pro Hac Vice must register for
                                   electronic filing if the attorney does not already have an ECF account in this
                                   district. To register go to the Court website at www.mad.uscourts.gov. Select
                                   Case Information, then Electronic Filing (CM/ECF) and go to the CM/ECF
                                   Registration Form. (McDonagh, Christina) (Entered: 07/31/2018)
             07/31/2018        463 NOTICE OF ATTORNEY PAYMENT OF FEES as to 457 MOTION for Leave to
                                   Appear Pro Hac Vice for admission of Sherrilyn A. Ifill, Janai S. Nelson, Samuel
                                   Spital, Jin Hee Lee, Rachel M. Kleinman, Michaele N. Turnage Young, Jennifer A.
                                   Holmes, and Cara McClellan by Amicus Parties Coalition for a Diverse Harvard,
                                   First Generation Harvard Alumni, Fuerza Latina of Harvard, Harvard Asian
                                   American Brotherhood, Harvard Islamic Society, Harvard Japan Society, Harvard
                                   Korean Association, Harvard Latino Alumni Alliance, Harvard Minority
                                   Association of Pre-Medical Students, Harvard Phillips Brooks House Association,
                                   Harvard South Asian Association, Harvard University Muslim Alumni, Harvard


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                                     Vietnamese Association, Harvard-Radcliffe Asian American Association, Harvard-
                                     Radcliffe Asian American Women's Association, Harvard-Radcliffe Black Students
                                     Association, Harvard-Radcliffe Chinese Students Association, Kuumba Singers of
                                     Harvard College, Native American Alumni of Harvard University, Native
                                     Americans At Harvard College, Task Force on Asian and Pacific American Studies
                                     at Harvard College. Filing fee $ 400, receipt number 0101-7253250. Payment Type
                                     : PRO HAC VICE. (Thayer, Kenneth) (Entered: 07/31/2018)
             07/31/2018        464 NOTICE OF ATTORNEY PAYMENT OF FEES by Amicus Parties Coalition for a
                                   Diverse Harvard, First Generation Harvard Alumni, Fuerza Latina of Harvard,
                                   Harvard Asian American Brotherhood, Harvard Islamic Society, Harvard Japan
                                   Society, Harvard Korean Association, Harvard Latino Alumni Alliance, Harvard
                                   Minority Association of Pre-Medical Students, Harvard Phillips Brooks House
                                   Association, Harvard South Asian Association, Harvard University Muslim
                                   Alumni, Harvard Vietnamese Association, Harvard-Radcliffe Asian American
                                   Association, Harvard-Radcliffe Asian American Women's Association, Harvard-
                                   Radcliffe Black Students Association, Harvard-Radcliffe Chinese Students
                                   Association, Kuumba Singers of Harvard College, Native American Alumni of
                                   Harvard University, Native Americans At Harvard College, Task Force on Asian
                                   and Pacific American Studies at Harvard College. Filing fee $ 400, receipt number
                                   0101-7253315. Payment Type : PRO HAC VICE. (Thayer, Kenneth) (Entered:
                                   07/31/2018)
             07/31/2018        465 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 455 Motion
                                   for Leave to File Document ; Counsel using the Electronic Case Filing System
                                   should now file the document for which leave to file has been granted in
                                   accordance with the CM/ECF Administrative Procedures. Counsel must include -
                                   Leave to file granted on (date of order)- in the caption of the document. (Folan,
                                   Karen) (Entered: 07/31/2018)
             07/31/2018        466 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 461 Motion
                                   for Leave to File Document ; Counsel using the Electronic Case Filing System
                                   should now file the document for which leave to file has been granted in
                                   accordance with the CM/ECF Administrative Procedures. Counsel must include -
                                   Leave to file granted on (date of order)- in the caption of the document. (Folan,
                                   Karen) (Entered: 07/31/2018)
             07/31/2018        467 AMICUS BRIEF filed by Asian American Coalition for Education, Asian
                                   American Legal Foundation . (Randazza, Marc) (Entered: 07/31/2018)
             07/31/2018        468 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 457 Motion
                                   for Leave to Appear Pro Hac Vice Added Sherrilyn A. Ifill, Janai S. Nelson,
                                   Samuel Spital, Jin Hee Lee, Rachel M. Kleinman, Michaele N. Turnage Young,
                                   Jennifer A. Holmes, and Cara McClellan. Pursuant to Local Rule 83.5.3, local
                                   counsel shall also file an appearance in this matter. Further, local counsel shall
                                   review all filings and shall personally appear in Court for any hearings or
                                   conferences, unless expressly excused by the Court for good cause. Attorneys
                                   admitted Pro Hac Vice must register for electronic filing if the attorney does
                                   not already have an ECF account in this district. To register go to the Court
                                   website at www.mad.uscourts.gov. Select Case Information, then Electronic
                                   Filing (CM/ECF) and go to the CM/ECF Registration Form. (McDonagh,
                                   Christina) (Entered: 07/31/2018)



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             08/01/2018        469 NOTICE by Asian American Legal Foundation NOTICE OF APPEARANCE OF
                                   LEE C. CHENG AS COUNSEL FOR AMICUS CURIAE THE ASIAN AMERICAN
                                   LEGAL FOUNDATION (Fauth, Gordon) (Entered: 08/01/2018)
             08/01/2018        470 NOTICE of Appearance by Gordon M. Fauth, Jr on behalf of Asian American
                                   Coalition for Education, Asian American Legal Foundation (Fauth, Gordon)
                                   (Entered: 08/01/2018)
             08/03/2018        471 AMICUS BRIEF filed by Coalition for a Diverse Harvard, First Generation
                                   Harvard Alumni, Fuerza Latina of Harvard, Harvard Asian American Brotherhood,
                                   Harvard Islamic Society, Harvard Japan Society, Harvard Korean Association,
                                   Harvard Latino Alumni Alliance, Harvard Minority Association of Pre-Medical
                                   Students, Harvard Phillips Brooks House Association, Harvard South Asian
                                   Association, Harvard University Muslim Alumni, Harvard Vietnamese Association,
                                   Harvard-Radcliffe Asian American Association, Harvard-Radcliffe Asian American
                                   Women's Association, Harvard-Radcliffe Black Students Association, Harvard-
                                   Radcliffe Chinese Students Association, Kuumba Singers of Harvard College,
                                   Native American Alumni of Harvard University, Native Americans At Harvard
                                   College, Task Force on Asian and Pacific American Studies at Harvard College in
                                   Support of Defendants' Motion for Summary Judgment. (Attachments: # 1 Exhibit 2
                                   Declaration, # 2 Exhibit 3 Declaration, # 3 Exhibit 4 Declaration, # 4 Exhibit 5
                                   Declaration, # 5 Exhibit 6 Declaration, # 6 Exhibit 7 Declaration, # 7 Exhibit 8
                                   Declaration, # 8 Exhibit 9 Declaration, # 9 Exhibit 10 Declaration, # 10 Exhibit 11
                                   Declaration, # 11 Exhibit 12 Declaration, # 12 Exhibit 13 Declaration, # 13 Exhibit
                                   14 Declaration, # 14 Exhibit 15 Declaration, # 15 Exhibit 16 Declaration, # 16
                                   Exhibit 17 Declaration)(Thayer, Kenneth) (Entered: 08/03/2018)
             08/06/2018        472 MOTION for Leave to Appear Pro Hac Vice for admission of Brenda Shum Filing
                                   fee: $ 100, receipt number 0101-7261415 by M. B., K. C., Sarah Cole, Y. D., G. E.,
                                   A. G., I. G., R. H., J. L., Fadhal Moore, Arjini Kumari Nawal, R. S., Itzel Vasquez-
                                   Rodriguez, Keyanna Wigglesworth. (Attachments: # 1 Shum Declaration, # 2 Text
                                   of Proposed Order Text of Proposed Order)(Cregor, Matthew) (Entered:
                                   08/06/2018)
             08/06/2018        473 MOTION for Leave to Appear Pro Hac Vice for admission of Genevieve Bonadies
                                   Torres Filing fee: $ 100, receipt number 0101-7261863 by M. B., K. C., Sarah Cole,
                                   Y. D., G. E., A. G., I. G., R. H., J. L., Fadhal Moore, Arjini Kumari Nawal, R. S.,
                                   Itzel Vasquez-Rodriguez, Keyanna Wigglesworth. (Attachments: # 1 Certificate of
                                   Good Standing, # 2 Declaration, # 3 Text of Proposed Order Text of Proposed
                                   Order)(Cregor, Matthew) (Entered: 08/06/2018)
             08/06/2018        474 MOTION for Leave to Appear Pro Hac Vice for admission of Emma Dinan Filing
                                   fee: $ 100, receipt number 0101-7261880 by M. B., K. C., Sarah Cole, Y. D., G. E.,
                                   A. G., I. G., J. L., Fadhal Moore, Arjini Kumari Nawal, R. S., Itzel Vasquez-
                                   Rodriguez, Keyanna Wigglesworth. (Attachments: # 1 Declaration, # 2 Text of
                                   Proposed Order Text of Proposed Order)(Cregor, Matthew) (Entered: 08/06/2018)
             08/06/2018        475 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 472 Motion
                                   for Leave to Appear Pro Hac Vice Added Brenda Shum. Pursuant to Local Rule
                                   83.5.3, local counsel shall also file an appearance in this matter. Further, local
                                   counsel shall review all filings and shall personally appear in Court for all
                                   hearings or conferences, unless expressly excused by the Court for good cause.
                                   Attorneys admitted Pro Hac Vice must register for electronic filing if the


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                                     attorney does not already have an ECF account in this district. To register go
                                     to the Court website at www.mad.uscourts.gov. Select Case Information, then
                                     Electronic Filing (CM/ECF) and go to the CM/ECF Registration Form.
                                     (McDonagh, Christina) (Entered: 08/06/2018)
             08/06/2018        476 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 473 Motion
                                   for Leave to Appear Pro Hac Vice Added Genevieve Bonadies Torres. Pursuant to
                                   Local Rule 83.5.3, local counsel shall also file an appearance in this matter.
                                   Further, local counsel shall review all filings and shall personally appear in
                                   Court for all hearings or conferences, unless expressly excused by the Court
                                   for good cause. Attorneys admitted Pro Hac Vice must register for electronic
                                   filing if the attorney does not already have an ECF account in this district. To
                                   register go to the Court website at www.mad.uscourts.gov. Select Case
                                   Information, then Electronic Filing (CM/ECF) and go to the CM/ECF
                                   Registration Form. (McDonagh, Christina) (Entered: 08/06/2018)
             08/06/2018        477 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 474 Motion
                                   for Leave to Appear Pro Hac Vice Added Emma Katherine Dinan. Pursuant to
                                   Local Rule 83.5.3, local counsel shall also file an appearance in this matter.
                                   Further, local counsel shall review all filings and shall personally appear in
                                   Court for all hearings or conferences, unless expressly excused by the Court
                                   for good cause. Attorneys admitted Pro Hac Vice must register for electronic
                                   filing if the attorney does not already have an ECF account in this district. To
                                   register go to the Court website at www.mad.uscourts.gov. Select Case
                                   Information, then Electronic Filing (CM/ECF) and go to the CM/ECF
                                   Registration Form. (McDonagh, Christina) (Entered: 08/06/2018)
             08/13/2018        478 JOINT STATEMENT of counsel Regarding the Submission of Trial Briefs.
                                   (Mortara, Adam) (Entered: 08/13/2018)
             08/13/2018        479 MEMORANDUM in Opposition re 455 MOTION for Leave to File to Participate
                                   as Amici Curiae filed by Students for Fair Admissions, Inc.. (Attachments: # 1
                                   Exhibit 1)(Hughes, John) (Entered: 08/13/2018)
             08/16/2018        480 MOTION for Leave to File Reply by Coalition for a Diverse Harvard, First
                                   Generation Harvard Alumni, Fuerza Latina of Harvard, Harvard Asian American
                                   Brotherhood, Harvard Islamic Society, Harvard Japan Society, Harvard Korean
                                   Association, Harvard Latino Alumni Alliance, Harvard Minority Association of
                                   Pre-Medical Students, Harvard Phillips Brooks House Association, Harvard South
                                   Asian Association, Harvard University Muslim Alumni, Harvard Vietnamese
                                   Association, Harvard-Radcliffe Asian American Association, Harvard-Radcliffe
                                   Asian American Women's Association, Harvard-Radcliffe Black Students
                                   Association, Harvard-Radcliffe Chinese Students Association, Kuumba Singers of
                                   Harvard College, Native American Alumni of Harvard University, Native
                                   Americans At Harvard College, Task Force on Asian and Pacific American Studies
                                   at Harvard College. (Attachments: # 1 Exhibit 1 - Proposed Reply to Students for
                                   Fair Admissions, Inc.'s Memorandum in Opposition to Amici Organizations'
                                   Motion to Participate as Amici Curiae)(Kleinman, Rachel) (Entered: 08/16/2018)
             08/16/2018        481 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 480 Motion
                                   for Leave to File Document ; Counsel using the Electronic Case Filing System
                                   should now file the document for which leave to file has been granted in
                                   accordance with the CM/ECF Administrative Procedures. Counsel must include -


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                                     Leave to file granted on (date of order)- in the caption of the document. (Folan,
                                     Karen) (Entered: 08/16/2018)
             08/16/2018        482 REPLY to Response to 455 MOTION for Leave to File to Participate as Amici
                                   Curiae filed by Coalition for a Diverse Harvard, First Generation Harvard Alumni,
                                   Fuerza Latina of Harvard, Harvard Asian American Brotherhood, Harvard Islamic
                                   Society, Harvard Japan Society, Harvard Korean Association, Harvard Latino
                                   Alumni Alliance, Harvard Minority Association of Pre-Medical Students, Harvard
                                   Phillips Brooks House Association, Harvard South Asian Association, Harvard
                                   University Muslim Alumni, Harvard Vietnamese Association, Harvard-Radcliffe
                                   Asian American Association, Harvard-Radcliffe Asian American Women's
                                   Association, Harvard-Radcliffe Black Students Association, Harvard-Radcliffe
                                   Chinese Students Association, Kuumba Singers of Harvard College, Native
                                   American Alumni of Harvard University, Native Americans At Harvard College,
                                   Task Force on Asian and Pacific American Studies at Harvard College. (Kleinman,
                                   Rachel) (Entered: 08/16/2018)
             08/27/2018        483 MOTION to Seal Certain Information Filed in Connection with Harvard's Reply in
                                   Support of its Motion for Summary Judgment by President and Fellows of Harvard
                                   College.(Ellsworth, Felicia) (Entered: 08/27/2018)
             08/27/2018        484 REPLY to Response to 417 MOTION for Summary Judgment filed by President
                                   and Fellows of Harvard College. (Waxman, Seth) (Entered: 08/27/2018)
             08/28/2018        485 Assented to MOTION to Seal by Students for Fair Admissions, Inc..(Strawbridge,
                                   Patrick) (Entered: 08/28/2018)
             08/28/2018        486 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 483 Motion
                                   to Seal (Folan, Karen) (Entered: 08/28/2018)
             08/28/2018        487 DECLARATION of Felicia H. Ellsworth ISO Defendant's Reply ISO Its Motion for
                                   Summary Judgment by President and Fellows of Harvard College. (Attachments: #
                                   1 Exhibit 159, # 2 Exhibit 160, # 3 Exhibit 161, # 4 Exhibit 162, # 5 Exhibit 163, #
                                   6 Exhibit 164, # 7 Exhibit 165, # 8 Exhibit 166)(Ellsworth, Felicia) (Additional
                                   attachment(s) added on 8/28/2018: # 9 Unredacted Memorandum, # 10 Exhibit 160
                                   Unredacted Version (FILED UNDER SEAL), # 11 Exhibit 161 Unredacted Version
                                   (FILED UNDER SEAL), # 12 Exhibit 162 Unredacted Version (FILED UNDER
                                   SEAL), # 13 Exhibit 163 Unredacted Version (FILED UNDER SEAL), # 14
                                   Exhibit 164 Unredacted Version (FILED UNDER SEAL), # 15 Exhibit 165
                                   Unredacted Version (FILED UNDER SEAL)) (McDonagh, Christina). (Entered:
                                   08/28/2018)
             08/29/2018        488 NOTICE of Appearance filed in error. Please see docket entry ECF 489 (Entered:
                                   08/29/2018)
             08/29/2018        489 NOTICE of Appearance by Richard J. Rosensweig on behalf of Social Scientists
                                   and Scholars (Attachments: # 1 Exhibit)(Rosensweig, Richard) (Entered:
                                   08/29/2018)
             08/29/2018        490 Assented to MOTION for Leave to Appear Pro Hac Vice for admission of Sarah E.
                                   Harrington Filing fee: $ 100, receipt number 0101-7295782 by Social Scientists
                                   and Scholars. (Attachments: # 1 Exhibit Certificate in Support of Pro Hac Vice
                                   Admission, # 2 Exhibit List of Amici Curiae)(Rosensweig, Richard) (Entered:
                                   08/29/2018)


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             08/29/2018        491 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 490 Motion
                                   for Leave to Appear Pro Hac Vice Added Sarah E. Harrington. Attorneys admitted
                                   Pro Hac Vice must register for electronic filing if the attorney does not already
                                   have an ECF account in this district. To register go to the Court website at
                                   www.mad.uscourts.gov. Select Case Information, then Electronic Filing
                                   (CM/ECF) and go to the CM/ECF Registration Form. Pursuant to Local Rule
                                   83.5.3, local counsel shall also file an appearance in this matter. Further, local
                                   counsel shall review all filings and shall personally appear in Court for any
                                   hearings or conferences, unless expressly excused by the Court for good cause.
                                   (McDonagh, Christina) (Entered: 08/29/2018)
             08/29/2018        492 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 485 Motion
                                   to Seal (Folan, Karen) (Entered: 08/29/2018)
             08/29/2018        493 MOTION for Leave to Appear Pro Hac Vice for admission of Earl A. Kirkland III
                                   Filing fee: $ 100, receipt number 0101-7296869 by Coalition for a Diverse
                                   Harvard, First Generation Harvard Alumni, Fuerza Latina of Harvard, Harvard
                                   Asian American Brotherhood, Harvard Islamic Society, Harvard Japan Society,
                                   Harvard Korean Association, Harvard Latino Alumni Alliance, Harvard Minority
                                   Association of Pre-Medical Students, Harvard Phillips Brooks House Association,
                                   Harvard South Asian Association, Harvard University Muslim Alumni, Harvard
                                   Vietnamese Association, Harvard-Radcliffe Asian American Association, Harvard-
                                   Radcliffe Asian American Women's Association, Harvard-Radcliffe Black Students
                                   Association, Harvard-Radcliffe Chinese Students Association, Kuumba Singers of
                                   Harvard College, Native American Alumni of Harvard University, Native
                                   Americans At Harvard College, Task Force on Asian and Pacific American Studies
                                   at Harvard College. (Attachments: # 1 Exhibit Certification of Attorney Kirkland)
                                   (Thayer, Kenneth) (Entered: 08/29/2018)
             08/30/2018        494 AMICUS BRIEF filed by Social Scientists and Scholars in Support of Defendant.
                                   (Attachments: # 1 Appendix List of Amici)(Rosensweig, Richard) (Entered:
                                   08/30/2018)
             08/30/2018        495 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 493 Motion
                                   for Leave to Appear Pro Hac Vice Added Earl A. Kirkland III. Attorneys admitted
                                   Pro Hac Vice must register for electronic filing if the attorney does not already
                                   have an ECF account in this district. To register go to the Court website at
                                   www.mad.uscourts.gov. Select Case Information, then Electronic Filing
                                   (CM/ECF) and go to the CM/ECF Registration Form. Pursuant to Local Rule
                                   83.5.3, local counsel shall also file an appearance in this matter. Further, local
                                   counsel shall review all filings and shall personally appear in Court for any
                                   hearings or conferences, unless expressly excused by the Court for good cause.
                                   (McDonagh, Christina) (Entered: 08/30/2018)
             08/30/2018        496 Assented to MOTION to Seal Statement of Interest by United States.(Donnelly,
                                   Matthew) (Entered: 08/30/2018)
             08/30/2018        497 AMICUS BRIEF filed by United States in Opposition to Defendant's Motion for
                                   Summary Judgment 417 . (Attachments: # 1 Exhibit Fitzsimmons Dep., # 2 Exhibit
                                   Ortiz Dep., # 3 Exhibit Smith (2nd) Dep.)(Donnelly, Matthew) (Additional
                                   attachment(s) added on 8/31/2018: # 4 Unredacted Version of United States'
                                   Statement of Interest Opposition to Defendant's Motion for Summary Judgment)
                                   (McDonagh, Christina). (Entered: 08/30/2018)


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             08/30/2018        498 NOTICE of Appearance by Derek Tam Ho on behalf of Amici Curiae Professors of
                                   Economics Susan Dynarski, et al., in Support of Defendant (Ho, Derek) (Entered:
                                   08/30/2018)
             08/30/2018        499 AMICUS BRIEF filed by Amici Curiae Professors of Economics Susan Dynarski,
                                   et al., in Support of Defendant . (Ho, Derek) (Entered: 08/30/2018)
             08/30/2018        500 NOTICE of Appearance by Madeleine K. Rodriguez on behalf of Amici Curiae the
                                   Asian American Legal Defense and Education Fund, et al. (Rodriguez, Madeleine)
                                   (Entered: 08/30/2018)
             08/30/2018        501 MOTION for Leave to Appear Pro Hac Vice for admission of Kenneth Kimerling
                                   Filing fee: $ 100, receipt number 0101-7297870 by Amici Curiae the Asian
                                   American Legal Defense and Education Fund, et al.. (Attachments: # 1 Affidavit of
                                   Kenneth Kimerling)(Rodriguez, Madeleine) (Entered: 08/30/2018)
             08/30/2018        502 AMICUS BRIEF filed by Amici Curiae the Asian American Legal Defense and
                                   Education Fund, et al. in Opposition to Plaintiff's Motion for Summary Judgment.
                                   (Rodriguez, Madeleine) (Entered: 08/30/2018)
             08/30/2018        503 MOTION for Leave to File to Participate as Amici Curiae by Harvard Black
                                   Alumni Society, Harvard Asian American Alumni Alliance, Association of Black
                                   Harvard Women, 21 Colorful Crimson. (Attachments: # 1 Exhibit Declaration, # 2
                                   Exhibit Declaration, # 3 Exhibit Declaration, # 4 Exhibit Declaration)(Thayer,
                                   Kenneth) (Entered: 08/30/2018)
             08/30/2018        504 AMICUS BRIEF filed by 21 Colorful Crimson, Association of Black Harvard
                                   Women, Coalition for a Diverse Harvard, First Generation Harvard Alumni, Fuerza
                                   Latina of Harvard, Harvard Asian American Alumni Alliance, Harvard Asian
                                   American Brotherhood, Harvard Black Alumni Society, Harvard Islamic Society,
                                   Harvard Japan Society, Harvard Korean Association, Harvard Latino Alumni
                                   Alliance, Harvard Minority Association of Pre-Medical Students, Harvard Phillips
                                   Brooks House Association, Harvard South Asian Association, Harvard University
                                   Muslim Alumni, Harvard Vietnamese Association, Harvard-Radcliffe Asian
                                   American Association, Harvard-Radcliffe Asian American Women's Association,
                                   Harvard-Radcliffe Black Students Association, Harvard-Radcliffe Chinese Students
                                   Association, Kuumba Singers of Harvard College, Native American Alumni of
                                   Harvard University, Native Americans At Harvard College, Task Force on Asian
                                   and Pacific American Studies at Harvard College in Opposition to Plaintiff's
                                   Motion for Summary Judgment. (Thayer, Kenneth) (Entered: 08/30/2018)
             08/30/2018        505 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 496 Motion
                                   to Seal (Folan, Karen) (Entered: 08/30/2018)
             08/30/2018        506 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 501 Motion
                                   for Leave to Appear Pro Hac Vice Added Kenneth Kimerling. Attorneys admitted
                                   Pro Hac Vice must register for electronic filing if the attorney does not already
                                   have an ECF account in this district. To register go to the Court website at
                                   www.mad.uscourts.gov. Select Case Information, then Electronic Filing
                                   (CM/ECF) and go to the CM/ECF Registration Form. Pursuant to Local Rule
                                   83.5.3, local counsel shall also file an appearance in this matter. Further, local
                                   counsel shall review all filings and shall personally appear in Court for any
                                   hearings or conferences, unless expressly excused by the Court for good cause.



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                                     (McDonagh, Christina) (Entered: 08/30/2018)
             08/30/2018        507 MOTION for Leave to Appear Pro Hac Vice for admission of Sarah Hinger Filing
                                   fee: $ 100, receipt number 0101-7298403 by American Civil Liberties Union,
                                   American Civil Liberties Union Foundation of Massachusetts, Inc.. (Attachments: #
                                   1 Affidavit Affidavit of Sarah Hinger in Support of Motion to Appear Pro Hac
                                   Vice)(Segal, Matthew) (Entered: 08/30/2018)
             08/30/2018        508 BRIEF by American Civil Liberties Union, American Civil Liberties Union
                                   Foundation of Massachusetts, Inc. in Opposition to Plaintiffs Motion For Summary
                                   Judgment. (Segal, Matthew) (Entered: 08/30/2018)
             08/30/2018        509 MEMORANDUM in Opposition re 412 MOTION for Summary Judgment filed by
                                   M. B., K. C., Sarah Cole, Y. D., G. E., A. G., I. G., R. H., J. L., Fadhal Moore,
                                   Arjini Kumari Nawal, R. S., Itzel Vasquez-Rodriguez, Keyanna Wigglesworth.
                                   (Attachments: # 1 Exhibit Student Record)(Culleen, Lawrence) (Entered:
                                   08/30/2018)
             08/30/2018        510 REPLY to Response to 412 MOTION for Summary Judgment filed by Students for
                                   Fair Admissions, Inc.. (Consovoy, William) (Additional attachment(s) added on
                                   8/31/2018: # 1 Unredacted Memorandum) (McDonagh, Christina). (Entered:
                                   08/30/2018)
             08/30/2018        511 Counter Statement of Material Facts L.R. 56.1 re 412 MOTION for Summary
                                   Judgment filed by Students for Fair Admissions, Inc.. (Consovoy, William)
                                   (Additional attachment(s) added on 8/31/2018: # 1 Unredacted Response to
                                   Statement of Material Facts) (McDonagh, Christina). (Entered: 08/30/2018)
             08/30/2018        512 DECLARATION re 510 Reply to Response to Motion for Summary Judgment by
                                   Students for Fair Admissions, Inc.. (Attachments: # 1 Exhibit 286, # 2 Exhibit
                                   287)(Consovoy, William) (Additional attachment(s) added on 8/31/2018: # 3
                                   Exhibit 286 (Unredacted Version FILED UNDER SEAL), # 4 Exhibit 287
                                   (UNREDACTED VERSION FILED UNDER SEAL)) (McDonagh, Christina).
                                   (Additional attachment(s) added on 8/31/2018: # 5 Unredacted Declaration of
                                   Michael Connolly) (McDonagh, Christina). (Entered: 08/30/2018)
             08/30/2018        513 NOTICE of Appearance by Douglass C. Lawrence on behalf of Southeastern Legal
                                   Foundation, Center for Equal Opportunity, Reason Foundation (Lawrence,
                                   Douglass) (Entered: 08/30/2018)
             08/30/2018        514 AMICUS BRIEF filed by Center for Equal Opportunity, Reason Foundation,
                                   Southeastern Legal Foundation in Opposition to Defendants Motion for Summary
                                   Judgment. (Lawrence, Douglass) (Entered: 08/30/2018)
             08/31/2018        515 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 507 Motion
                                   for Leave to Appear Pro Hac Vice Added Sarah Hinger. Attorneys admitted Pro
                                   Hac Vice must register for electronic filing if the attorney does not already
                                   have an ECF account in this district. To register go to the Court website at
                                   www.mad.uscourts.gov. Select Case Information, then Electronic Filing
                                   (CM/ECF) and go to the CM/ECF Registration Form. Pursuant to Local Rule
                                   83.5.3, local counsel shall also file an appearance in this matter. Further, local
                                   counsel shall review all filings and shall personally appear in Court for any
                                   hearings or conferences, unless expressly excused by the Court for good cause.
                                   (McDonagh, Christina) (Entered: 08/31/2018)


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             08/31/2018        516 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 503 Motion
                                   for Leave to File Document ; Counsel using the Electronic Case Filing System
                                   should now file the document for which leave to file has been granted in
                                   accordance with the CM/ECF Administrative Procedures. Counsel must include -
                                   Leave to file granted on (date of order)- in the caption of the document. (Folan,
                                   Karen) (Entered: 08/31/2018)
             08/31/2018        517 AMICUS BRIEF filed by 21 Colorful Crimson, Association of Black Harvard
                                   Women, Coalition for a Diverse Harvard, First Generation Harvard Alumni, Fuerza
                                   Latina of Harvard, Harvard Asian American Alumni Alliance, Harvard Asian
                                   American Brotherhood, Harvard Black Alumni Society, Harvard Islamic Society,
                                   Harvard Japan Society, Harvard Korean Association, Harvard Latino Alumni
                                   Alliance, Harvard Minority Association of Pre-Medical Students, Harvard Phillips
                                   Brooks House Association, Harvard South Asian Association, Harvard University
                                   Muslim Alumni, Harvard Vietnamese Association, Harvard-Radcliffe Asian
                                   American Association, Harvard-Radcliffe Asian American Women's Association,
                                   Harvard-Radcliffe Black Students Association, Harvard-Radcliffe Chinese Students
                                   Association, Kuumba Singers of Harvard College, Native American Alumni of
                                   Harvard University, Native Americans At Harvard College, Task Force on Asian
                                   and Pacific American Studies at Harvard College in Opposition to Plaintiff's
                                   Motion for Summary Judgment. (Attachments: # 1 Exhibit Declaration, # 2 Exhibit
                                   Declaration, # 3 Exhibit Declaration, # 4 Exhibit Declaration)(Thayer, Kenneth)
                                   (Entered: 08/31/2018)
             08/31/2018        518 MOTION Participate in Trial Proceedings by M. B., K. C., Sarah Cole, Y. D., G. E.,
                                   A. G., I. G., R. H., J. L., Fadhal Moore, Arjini Kumari Nawal, R. S., Itzel Vasquez-
                                   Rodriguez, Keyanna Wigglesworth.(Culleen, Lawrence) (Entered: 08/31/2018)
             09/04/2018        519 Amicus Curiae APPEARANCE entered by Sarah E. Harrington on behalf of Social
                                   Scientists and Scholars. (Attachments: # 1 Exhibit Exhibit A: List of Amici)
                                   (Harrington, Sarah) (Entered: 09/04/2018)
             09/04/2018        520 NOTICE of Appearance by Sherrilyn A. Ifill on behalf of 21 Colorful Crimson,
                                   Association of Black Harvard Women, Coalition for a Diverse Harvard, First
                                   Generation Harvard Alumni, Fuerza Latina of Harvard, Harvard Asian American
                                   Alumni Alliance, Harvard Asian American Brotherhood, Harvard Black Alumni
                                   Society, Harvard Islamic Society, Harvard Japan Society, Harvard Korean
                                   Association, Harvard Latino Alumni Alliance, Harvard Minority Association of
                                   Pre-Medical Students, Harvard Phillips Brooks House Association, Harvard South
                                   Asian Association, Harvard University Muslim Alumni, Harvard Vietnamese
                                   Association, Harvard-Radcliffe Asian American Association, Harvard-Radcliffe
                                   Asian American Women's Association, Harvard-Radcliffe Black Students
                                   Association, Harvard-Radcliffe Chinese Students Association, Kuumba Singers of
                                   Harvard College, Native American Alumni of Harvard University, Native
                                   Americans At Harvard College, Task Force on Asian and Pacific American Studies
                                   at Harvard College (Ifill, Sherrilyn) (Entered: 09/04/2018)
             09/04/2018        521 NOTICE of Appearance by Samuel Spital on behalf of 21 Colorful Crimson,
                                   Association of Black Harvard Women, Coalition for a Diverse Harvard, First
                                   Generation Harvard Alumni, Fuerza Latina of Harvard, Harvard Asian American
                                   Alumni Alliance, Harvard Asian American Brotherhood, Harvard Black Alumni
                                   Society, Harvard Islamic Society, Harvard Japan Society, Harvard Korean



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                                     Association, Harvard Latino Alumni Alliance, Harvard Minority Association of
                                     Pre-Medical Students, Harvard Phillips Brooks House Association, Harvard South
                                     Asian Association, Harvard University Muslim Alumni, Harvard Vietnamese
                                     Association, Harvard-Radcliffe Asian American Association, Harvard-Radcliffe
                                     Asian American Women's Association, Harvard-Radcliffe Black Students
                                     Association, Harvard-Radcliffe Chinese Students Association, Kuumba Singers of
                                     Harvard College, Native American Alumni of Harvard University, Native
                                     Americans At Harvard College, Task Force on Asian and Pacific American Studies
                                     at Harvard College (Spital, Samuel) (Entered: 09/04/2018)
             09/04/2018        522 NOTICE of Appearance by Jin Hee Lee on behalf of 21 Colorful Crimson,
                                   Association of Black Harvard Women, Coalition for a Diverse Harvard, First
                                   Generation Harvard Alumni, Fuerza Latina of Harvard, Harvard Asian American
                                   Alumni Alliance, Harvard Asian American Brotherhood, Harvard Black Alumni
                                   Society, Harvard Islamic Society, Harvard Japan Society, Harvard Korean
                                   Association, Harvard Latino Alumni Alliance, Harvard Minority Association of
                                   Pre-Medical Students, Harvard Phillips Brooks House Association, Harvard South
                                   Asian Association, Harvard University Muslim Alumni, Harvard Vietnamese
                                   Association, Harvard-Radcliffe Asian American Association, Harvard-Radcliffe
                                   Asian American Women's Association, Harvard-Radcliffe Black Students
                                   Association, Harvard-Radcliffe Chinese Students Association, Kuumba Singers of
                                   Harvard College, Native American Alumni of Harvard University, Native
                                   Americans At Harvard College, Task Force on Asian and Pacific American Studies
                                   at Harvard College (Lee, Jin) (Entered: 09/04/2018)
             09/04/2018        523 NOTICE of Appearance by Rachel M. Kleinman on behalf of 21 Colorful Crimson,
                                   Association of Black Harvard Women, Coalition for a Diverse Harvard, First
                                   Generation Harvard Alumni, Fuerza Latina of Harvard, Harvard Asian American
                                   Alumni Alliance, Harvard Asian American Brotherhood, Harvard Black Alumni
                                   Society, Harvard Islamic Society, Harvard Japan Society, Harvard Korean
                                   Association, Harvard Latino Alumni Alliance, Harvard Minority Association of
                                   Pre-Medical Students, Harvard Phillips Brooks House Association, Harvard South
                                   Asian Association, Harvard University Muslim Alumni, Harvard Vietnamese
                                   Association, Harvard-Radcliffe Asian American Association, Harvard-Radcliffe
                                   Asian American Women's Association, Harvard-Radcliffe Black Students
                                   Association, Harvard-Radcliffe Chinese Students Association, Kuumba Singers of
                                   Harvard College, Native American Alumni of Harvard University, Native
                                   Americans At Harvard College, Task Force on Asian and Pacific American Studies
                                   at Harvard College (Kleinman, Rachel) (Entered: 09/04/2018)
             09/04/2018        524 NOTICE of Appearance by Michaele N. Turnage Young on behalf of 21 Colorful
                                   Crimson, Association of Black Harvard Women, Coalition for a Diverse Harvard,
                                   First Generation Harvard Alumni, Fuerza Latina of Harvard, Harvard Asian
                                   American Alumni Alliance, Harvard Asian American Brotherhood, Harvard Black
                                   Alumni Society, Harvard Islamic Society, Harvard Japan Society, Harvard Korean
                                   Association, Harvard Latino Alumni Alliance, Harvard Minority Association of
                                   Pre-Medical Students, Harvard Phillips Brooks House Association, Harvard South
                                   Asian Association, Harvard University Muslim Alumni, Harvard Vietnamese
                                   Association, Harvard-Radcliffe Asian American Association, Harvard-Radcliffe
                                   Asian American Women's Association, Harvard-Radcliffe Black Students
                                   Association, Harvard-Radcliffe Chinese Students Association, Kuumba Singers of
                                   Harvard College, Native American Alumni of Harvard University, Native


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                                     Americans At Harvard College, Task Force on Asian and Pacific American Studies
                                     at Harvard College (Turnage Young, Michaele) (Entered: 09/04/2018)
             09/04/2018        525 NOTICE of Appearance by Jennifer A. Holmes on behalf of 21 Colorful Crimson,
                                   Association of Black Harvard Women, Coalition for a Diverse Harvard, First
                                   Generation Harvard Alumni, Fuerza Latina of Harvard, Harvard Asian American
                                   Alumni Alliance, Harvard Asian American Brotherhood, Harvard Black Alumni
                                   Society, Harvard Islamic Society, Harvard Japan Society, Harvard Korean
                                   Association, Harvard Latino Alumni Alliance, Harvard Minority Association of
                                   Pre-Medical Students, Harvard Phillips Brooks House Association, Harvard South
                                   Asian Association, Harvard University Muslim Alumni, Harvard Vietnamese
                                   Association, Harvard-Radcliffe Asian American Association, Harvard-Radcliffe
                                   Asian American Women's Association, Harvard-Radcliffe Black Students
                                   Association, Harvard-Radcliffe Chinese Students Association, Kuumba Singers of
                                   Harvard College, Native American Alumni of Harvard University, Native
                                   Americans At Harvard College, Task Force on Asian and Pacific American Studies
                                   at Harvard College (Holmes, Jennifer) (Entered: 09/04/2018)
             09/04/2018        526 NOTICE of Appearance by Cara McClellan on behalf of 21 Colorful Crimson,
                                   Association of Black Harvard Women, Coalition for a Diverse Harvard, First
                                   Generation Harvard Alumni, Fuerza Latina of Harvard, Harvard Asian American
                                   Alumni Alliance, Harvard Asian American Brotherhood, Harvard Black Alumni
                                   Society, Harvard Islamic Society, Harvard Japan Society, Harvard Korean
                                   Association, Harvard Latino Alumni Alliance, Harvard Minority Association of
                                   Pre-Medical Students, Harvard Phillips Brooks House Association, Harvard South
                                   Asian Association, Harvard University Muslim Alumni, Harvard Vietnamese
                                   Association, Harvard-Radcliffe Asian American Association, Harvard-Radcliffe
                                   Asian American Women's Association, Harvard-Radcliffe Black Students
                                   Association, Harvard-Radcliffe Chinese Students Association, Kuumba Singers of
                                   Harvard College, Native American Alumni of Harvard University, Native
                                   Americans At Harvard College, Task Force on Asian and Pacific American Studies
                                   at Harvard College (McClellan, Cara) (Entered: 09/04/2018)
             09/05/2018        527 MOTION for Leave to File Amended Amicus Brief by Amici Curiae Professors of
                                   Economics Susan Dynarski, et al., in Support of Defendant. (Attachments: # 1
                                   Exhibit A - Proposed Amended Brief)(Ho, Derek) (Entered: 09/05/2018)
             09/05/2018        528 MOTION for Leave to Appear Pro Hac Vice for admission of Meg E. Fasulo,
                                   Katherine L.I. Hacker, J. Scott McBride, and Krista J. Perry Filing fee: $ 400,
                                   receipt number 0101-7305513 by Students for Fair Admissions, Inc.. (Attachments:
                                   # 1 Fasulo Certification, # 2 Hacker Certificaton, # 3 McBride Certification, # 4
                                   Perry Certification, # 5 Text of Proposed Order)(Strawbridge, Patrick) (Entered:
                                   09/05/2018)
             09/06/2018        529 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 528 Motion
                                   for Leave to Appear Pro Hac Vice Added J. Scott McBride, Katherine L.I. Hacker,
                                   Meg E. Fasulo, and Krista J. Perry. Attorneys admitted Pro Hac Vice must
                                   register for electronic filing if the attorney does not already have an ECF
                                   account in this district. To register go to the Court website at
                                   www.mad.uscourts.gov. Select Case Information, then Electronic Filing
                                   (CM/ECF) and go to the CM/ECF Registration Form. Pursuant to Local Rule
                                   83.5.3, local counsel shall also file an appearance in this matter. Further, local



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                                     counsel shall review all filings and shall personally appear in Court for any
                                     hearings or conferences, unless expressly excused by the Court for good cause.
                                     (McDonagh, Christina) (Entered: 09/06/2018)
             09/06/2018        530 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 527 Motion
                                   for Leave to File Document ; Counsel using the Electronic Case Filing System
                                   should now file the document for which leave to file has been granted in
                                   accordance with the CM/ECF Administrative Procedures. Counsel must include -
                                   Leave to file granted on (date of order)- in the caption of the document. (Folan,
                                   Karen) (Entered: 09/06/2018)
             09/06/2018        531 AMENDED DOCUMENT by Amici Curiae Professors of Economics Susan
                                   Dynarski, et al., in Support of Defendant. Amendment to 499 Amicus brief filed
                                   Amended Brief of Professors of Economics As Amici Curiae In Support of
                                   Defendant. (Ho, Derek) (Entered: 09/06/2018)
             09/07/2018        532 MOTION To Participate In Trial by 21 Colorful Crimson, Association of Black
                                   Harvard Women, Coalition for a Diverse Harvard, First Generation Harvard
                                   Alumni, Fuerza Latina of Harvard, Harvard Asian American Alumni Alliance,
                                   Harvard Asian American Brotherhood, Harvard Black Alumni Society, Harvard
                                   Islamic Society, Harvard Japan Society, Harvard Korean Association, Harvard
                                   Latino Alumni Alliance, Harvard Minority Association of Pre-Medical Students,
                                   Harvard Phillips Brooks House Association, Harvard South Asian Association,
                                   Harvard University Muslim Alumni, Harvard Vietnamese Association, Harvard-
                                   Radcliffe Asian American Association, Harvard-Radcliffe Asian American
                                   Women's Association, Harvard-Radcliffe Black Students Association, Harvard-
                                   Radcliffe Chinese Students Association, Kuumba Singers of Harvard College,
                                   Native American Alumni of Harvard University, Native Americans At Harvard
                                   College, Task Force on Asian and Pacific American Studies at Harvard College.
                                   (Turnage Young, Michaele) (Entered: 09/07/2018)
             09/10/2018        533 NOTICE of Appearance by Janai S. Nelson on behalf of 21 Colorful Crimson,
                                   Association of Black Harvard Women, Coalition for a Diverse Harvard, First
                                   Generation Harvard Alumni, Fuerza Latina of Harvard, Harvard Asian American
                                   Alumni Alliance, Harvard Asian American Brotherhood, Harvard Black Alumni
                                   Society, Harvard Islamic Society, Harvard Japan Society, Harvard Korean
                                   Association, Harvard Latino Alumni Alliance, Harvard Minority Association of
                                   Pre-Medical Students, Harvard Phillips Brooks House Association, Harvard South
                                   Asian Association, Harvard University Muslim Alumni, Harvard Vietnamese
                                   Association, Harvard-Radcliffe Asian American Association, Harvard-Radcliffe
                                   Asian American Women's Association, Harvard-Radcliffe Black Students
                                   Association, Harvard-Radcliffe Chinese Students Association, Kuumba Singers of
                                   Harvard College, Native American Alumni of Harvard University, Native
                                   Americans At Harvard College, Task Force on Asian and Pacific American Studies
                                   at Harvard College (Nelson, Janai) (Entered: 09/10/2018)
             09/10/2018        534 NOTICE of Appearance by Earl A. Kirkland, III on behalf of 21 Colorful Crimson,
                                   Association of Black Harvard Women, Coalition for a Diverse Harvard, First
                                   Generation Harvard Alumni, Fuerza Latina of Harvard, Harvard Asian American
                                   Alumni Alliance, Harvard Asian American Brotherhood, Harvard Black Alumni
                                   Society, Harvard Islamic Society, Harvard Japan Society, Harvard Korean
                                   Association, Harvard Latino Alumni Alliance, Harvard Minority Association of



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                                     Pre-Medical Students, Harvard Phillips Brooks House Association, Harvard South
                                     Asian Association, Harvard University Muslim Alumni, Harvard Vietnamese
                                     Association, Harvard-Radcliffe Asian American Association, Harvard-Radcliffe
                                     Asian American Women's Association, Harvard-Radcliffe Black Students
                                     Association, Harvard-Radcliffe Chinese Students Association, Kuumba Singers of
                                     Harvard College, Native American Alumni of Harvard University, Native
                                     Americans At Harvard College, Task Force on Asian and Pacific American Studies
                                     at Harvard College (Kirkland, Earl) (Entered: 09/10/2018)
             09/10/2018        535 NOTICE of Appearance by Sarah R. Frazier on behalf of President and Fellows of
                                   Harvard College (Frazier, Sarah) (Entered: 09/10/2018)
             09/10/2018        536 MOTION for Leave to Appear Pro Hac Vice for admission of Danielle Conley and
                                   Brittany Amadi Filing fee: $ 200, receipt number 0101-7312062 by President and
                                   Fellows of Harvard College. (Attachments: # 1 Conley Certification in Support of
                                   Motion, # 2 Amadi Certification in Support of Motion)(Ellsworth, Felicia)
                                   Modified on 9/11/2018 (McDonagh, Christina). (Entered: 09/10/2018)
             09/11/2018        537 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 536 Motion
                                   for Leave to Appear Pro Hac Vice Added Danielle Conley and Brittany Amadi.
                                   Attorneys admitted Pro Hac Vice must register for electronic filing if the
                                   attorney does not already have an ECF account in this district. To register go
                                   to the Court website at www.mad.uscourts.gov. Select Case Information, then
                                   Electronic Filing (CM/ECF) and go to the CM/ECF Registration Form.
                                   Pursuant to Local Rule 83.5.3, local counsel shall also file an appearance in
                                   this matter. Further, local counsel shall review all filings and shall personally
                                   appear in Court for any hearings or conferences, unless expressly excused by
                                   the Court for good cause. (McDonagh, Christina) (Entered: 09/11/2018)
             09/12/2018        538 NOTICE of Appearance by Ara B. Gershengorn on behalf of President and Fellows
                                   of Harvard College (Gershengorn, Ara) (Entered: 09/12/2018)
             09/13/2018        539 Assented to MOTION for Leave to Appear Pro Hac Vice for admission of John J.
                                   Park, Jr. Filing fee: $ 100, receipt number 0101-7318306 by Center for Equal
                                   Opportunity, Reason Foundation, Southeastern Legal Foundation. (Attachments: #
                                   1 Affidavit of John J. Park, Jr.)(Lawrence, Douglass) (Entered: 09/13/2018)
             09/14/2018        540 Assented to MOTION to Seal Portions of Pre-Trial Motions by Students for Fair
                                   Admissions, Inc..(Strawbridge, Patrick) (Entered: 09/14/2018)
             09/14/2018        541 RESPONSE to Motion re 518 MOTION Participate in Trial Proceedings , 532
                                   MOTION To Participate In Trial filed by President and Fellows of Harvard
                                   College. (Waxman, Seth) (Entered: 09/14/2018)
             09/14/2018        542 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 540 Motion
                                   to Seal (Folan, Karen) (Entered: 09/14/2018)
             09/14/2018        543 Opposition re 518 MOTION Participate in Trial Proceedings filed by Students for
                                   Fair Admissions, Inc.. (Hughes, John) (Entered: 09/14/2018)
             09/14/2018        544 Letter/request (non-motion) from Jahjah T. Jishbite. (McDonagh, Christina)
                                   (Entered: 09/17/2018)




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             09/17/2018        545 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 539 Motion
                                   for Leave to Appear Pro Hac Vice Added John J. Park Jr.. Attorneys admitted Pro
                                   Hac Vice must register for electronic filing if the attorney does not already
                                   have an ECF account in this district. To register go to the Court website at
                                   www.mad.uscourts.gov. Select Case Information, then Electronic Filing
                                   (CM/ECF) and go to the CM/ECF Registration Form. Pursuant to Local Rule
                                   83.5.3, local counsel shall also file an appearance in this matter. Further, local
                                   counsel shall review all filings and shall personally appear in Court for any
                                   hearings or conferences, unless expressly excused by the Court for good cause.
                                   (McDonagh, Christina) (Entered: 09/17/2018)
             09/17/2018        546 MOTION in Limine by Students for Fair Admissions, Inc.. (Attachments: # 1
                                   Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5)(Hughes, John)
                                   (Entered: 09/17/2018)
             09/17/2018        547 MOTION in Limine by President and Fellows of Harvard College.(Waxman, Seth)
                                   (Entered: 09/17/2018)
             09/21/2018        550 Opposition re 532 MOTION To Participate In Trial filed by Students for Fair
                                   Admissions, Inc.. (Hughes, John) (Entered: 09/21/2018)
             09/21/2018        551 Unopposed Motion for leave to File a Reply in regards to 518 MOTION Participate
                                   in Trial Proceedings filed by M. B., K. C., Sarah Cole, Y. D., G. E., A. G., I. G., R.
                                   H., J. L., Fadhal Moore, Arjini Kumari Nawal, R. S., Itzel Vasquez-Rodriguez,
                                   Keyanna Wigglesworth. (Attachments: # 1 Exhibit)(Culleen, Lawrence) Modified
                                   on 9/25/2018 (McDonagh, Christina). (Entered: 09/21/2018)
             09/26/2018        555 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 551 Motion
                                   for Leave to File Document ; Counsel using the Electronic Case Filing System
                                   should now file the document for which leave to file has been granted in
                                   accordance with the CM/ECF Administrative Procedures. Counsel must include -
                                   Leave to file granted on (date of order)- in the caption of the document. (Folan,
                                   Karen) (Entered: 09/26/2018)
             09/26/2018        558 REPLY to Response to 518 MOTION Participate in Trial Proceedings filed by M.
                                   B., K. C., Sarah Cole, Y. D., G. E., A. G., I. G., R. H., J. L., Fadhal Moore, Arjini
                                   Kumari Nawal, R. S., Itzel Vasquez-Rodriguez, Keyanna Wigglesworth. (Culleen,
                                   Lawrence) (Entered: 09/26/2018)
             09/26/2018        559 MOTION for Leave to File Response to the United States' Statement of Interest by
                                   President and Fellows of Harvard College. (Attachments: # 1 Proposed Response)
                                   (Waxman, Seth) (Entered: 09/26/2018)
             09/27/2018        560 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 559 Motion
                                   for Leave to File Document ; Counsel using the Electronic Case Filing System
                                   should now file the document for which leave to file has been granted in
                                   accordance with the CM/ECF Administrative Procedures. Counsel must include -
                                   Leave to file granted on (date of order)- in the caption of the document. (Folan,
                                   Karen) (Entered: 09/27/2018)
             09/27/2018        561 Response by President and Fellows of Harvard College to 497 Amicus brief filed,
                                   by the United States. (Waxman, Seth) (Entered: 09/27/2018)




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             09/27/2018        562 Assented to MOTION for Leave to File Reply by 21 Colorful Crimson, Association
                                   of Black Harvard Women, Coalition for a Diverse Harvard, First Generation
                                   Harvard Alumni, Fuerza Latina of Harvard, Harvard Asian American Alumni
                                   Alliance, Harvard Asian American Brotherhood, Harvard Black Alumni Society,
                                   Harvard Islamic Society, Harvard Japan Society, Harvard Korean Association,
                                   Harvard Latino Alumni Alliance, Harvard Minority Association of Pre-Medical
                                   Students, Harvard Phillips Brooks House Association, Harvard South Asian
                                   Association, Harvard University Muslim Alumni, Harvard Vietnamese Association,
                                   Harvard-Radcliffe Asian American Association, Harvard-Radcliffe Asian American
                                   Women's Association, Harvard-Radcliffe Black Students Association, Harvard-
                                   Radcliffe Chinese Students Association, Kuumba Singers of Harvard College,
                                   Native American Alumni of Harvard University, Native Americans At Harvard
                                   College, Task Force on Asian and Pacific American Studies at Harvard College.
                                   (Attachments: # 1 Exhibit Proposed Reply)(Holmes, Jennifer) (Entered:
                                   09/27/2018)
             09/27/2018        563 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 562 Motion
                                   for Leave to File Document ; Counsel using the Electronic Case Filing System
                                   should now file the document for which leave to file has been granted in
                                   accordance with the CM/ECF Administrative Procedures. Counsel must include -
                                   Leave to file granted on (date of order)- in the caption of the document. (Folan,
                                   Karen) (Entered: 09/27/2018)
             09/27/2018        564 REPLY to Response to 532 MOTION To Participate In Trial filed by 21 Colorful
                                   Crimson, Association of Black Harvard Women, Coalition for a Diverse Harvard,
                                   First Generation Harvard Alumni, Fuerza Latina of Harvard, Harvard Asian
                                   American Alumni Alliance, Harvard Asian American Brotherhood, Harvard Black
                                   Alumni Society, Harvard Islamic Society, Harvard Japan Society, Harvard Korean
                                   Association, Harvard Latino Alumni Alliance, Harvard Minority Association of
                                   Pre-Medical Students, Harvard Phillips Brooks House Association, Harvard South
                                   Asian Association, Harvard University Muslim Alumni, Harvard Vietnamese
                                   Association, Harvard-Radcliffe Asian American Association, Harvard-Radcliffe
                                   Asian American Women's Association, Harvard-Radcliffe Black Students
                                   Association, Harvard-Radcliffe Chinese Students Association, Kuumba Singers of
                                   Harvard College, Native American Alumni of Harvard University, Native
                                   Americans At Harvard College, Task Force on Asian and Pacific American Studies
                                   at Harvard College. (Holmes, Jennifer) (Entered: 09/27/2018)
             09/28/2018        565 Consent MOTION to Seal by Students for Fair Admissions, Inc..(Strawbridge,
                                   Patrick) (Entered: 09/28/2018)
             09/28/2018        566 Judge Allison D. Burroughs: MEMORANDUM AND ORDER entered.
                                   Accordingly, the cross-motions for summary judgment [ECF Nos. 412 , 417 ] are
                                   denied without prejudice. Consistent with this order, the parties may renew their
                                   arguments at trial. SO ORDERED. (McDonagh, Christina) (Entered: 09/28/2018)
             09/28/2018        567 Judge Allison D. Burroughs: ELECTRONIC ORDER entered.

                                     The Courts Summary Judgment Memorandum and Order ("Opinion") cites to
                                     several paragraphs in the parties submissions that were filed with redactions. The
                                     Court has concluded that two of these paragraphs must be filed without redactions.
                                     SFFA shall email the Court's docket clerk an updated version of its Statement of



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                                     Material Fact [ECF No. 414 -2] with the redaction in 130 removed, and an updated
                                     version of its Counter Statement of Material Facts [ECF No. 452 ] with the
                                     redaction in its response to 73 removed.

                                     The Court finds "good cause" to maintain under seal the remaining redacted
                                     statements cited by the Opinion, which consist primarily of individuals' names and
                                     other personally identifiable information. Bradford & Bigelow, Inc. v. Richardson,
                                     109 F. Supp. 3d 445, 447 (D. Mass. 2015). The parties disagree about whether there
                                     is sufficient cause to maintain partial or complete sealing of approximately 100
                                     exhibits and numerous statements in the parties' submissions. See [ECF No. 422 at
                                     21-24]. Given that the court has not relied on these materials in its Opinion and
                                     some of this information may become public during trial, the Court will defer
                                     deciding the issues raised by the parties' memoranda on sealing [ECF Nos. 422 ,
                                     427 ] until the conclusion of trial.

                                     (McDonagh, Christina) (Entered: 09/28/2018)
             09/28/2018        568 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 565 Motion
                                   to Seal (Folan, Karen) (Entered: 09/28/2018)
             10/01/2018        569 Opposition re 547 MOTION in Limine filed by Students for Fair Admissions, Inc..
                                   (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit
                                   5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, # 11
                                   Exhibit 11, # 12 Exhibit 12, # 13 Exhibit 13, # 14 Exhibit 14, # 15 Exhibit 15, # 16
                                   Exhibit 16)(Mortara, Adam) (Attachment 6 replaced on 10/1/2018) (McDonagh,
                                   Christina). (Additional attachment(s) added on 10/2/2018: # 17 Unredacted
                                   Memorandum in Opposition (FILED UNDER SEAL), # 18 Exhibit 4 (Filed Under
                                   Seal)) (McDonagh, Christina). (Entered: 10/01/2018)
             10/01/2018        570 PRETRIAL MEMORANDUM by Students for Fair Admissions, Inc..
                                   (Attachments: # 1 Exhibit A1, # 2 Exhibit A2, # 3 Exhibit B, # 4 Exhibit C, # 5
                                   Exhibit D, # 6 Exhibit E, # 7 Exhibit F)(Mortara, Adam) (Additional attachment(s)
                                   added on 10/2/2018: # 8 Exhibit A1 (Filed Under Seal)) (McDonagh, Christina).
                                   (Entered: 10/01/2018)
             10/01/2018        571 Opposition re 546 MOTION in Limine filed by President and Fellows of Harvard
                                   College. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5
                                   Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit
                                   10)(Waxman, Seth) (Entered: 10/01/2018)
             10/02/2018       572 ELECTRONIC NOTICE OF RESCHEDULING Final Pretrial Conference reset for
                                  10/3/2018 09:00 AM in Courtroom 17 before Judge Allison D. Burroughs.
                                  NOTICE IS FOR TIME CHANGE ONLY.(Folan, Karen) (Entered: 10/02/2018)
             10/03/2018        573 Electronic Clerk's Notes for proceedings held before Judge Allison D. Burroughs:
                                   Final Pretrial Conference held on 10/3/2018. Colloquy re: pending motions, trial
                                   schedule and logistics. (Court Reporter: Joan Daly at joanmdaly62@gmail.com.)
                                   (Attorneys present: various) (Folan, Karen) (Entered: 10/03/2018)
             10/03/2018        574 Judge Allison D. Burroughs: ELECTRONIC ORDER entered.

                                     As was more fully set forth during the October 3, 2018 pretrial conference, the
                                     parties motions in limine (MIL), see [ECF Nos. 546 , 547 ], are resolved as follows:



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                                     SFFAs MIL No. 1 which sought to preclude Harvard from calling Edward Blum as
                                     a witness is denied as moot, see [ECF No. 571 ].

                                     SFFAs MIL No. 2 which sought to preclude evidence or argument regarding
                                     portions of application files relevant to personal ratings is denied with leave to
                                     renew or object at trial.

                                     SFFAs MIL No. 3 concerning the expected testimony of Dean Khurana is resolved
                                     as follows: Dean Khurana was not noticed as an expert and, therefore, may not be
                                     called as an expert witness. He may, however, testify as a percipient witness and
                                     based on his personal knowledge.

                                     Harvards MIL No.1 to exclude evidence concerning its early twentieth-century
                                     discrimination against Jewish applicants is granted in part and denied in part. In the
                                     interests of developing a complete factual record, but also recognizing the
                                     somewhat attenuated relevance, the Court will allow a very limited presentation of
                                     this topic including through exhibits, stipulations and direct and cross examination.

                                     Harvards MIL No. 2 to preclude evidence regarding Harvards invocation of the
                                     attorney-client privilege is denied with leave to renew or object at trial in
                                     recognition of the fact that there are proper and improper uses for the documents at
                                     issue.

                                     (McDonagh, Christina) (Entered: 10/03/2018)
             10/03/2018        575 Judge Allison D. Burroughs: ORDER entered. MEMORANDUM AND
                                   ORDER(McDonagh, Christina) (Entered: 10/03/2018)
             10/03/2018        576 EXHIBIT 1 by Lawrence Crawford. (Attachments: # 1 Exhibit 2, # 2 Exhibit 3, # 3
                                   Exhibit 4, # 4 Exhibit 5, # 5 Exhibit 6) *Note that the envelop of this filing states
                                   that it is being made as 2 of 2 but Clerk's Office never received envelop 1 of 2
                                   so there is no motion to link this to on the docket*(McDonagh, Christina)
                                   (Entered: 10/05/2018)
             10/05/2018        578 AFFIDAVIT of Lawrence Crawford re 576 Exhibit, by Lawrence Crawford.
                                   (Attachments: # 1 Affidavit, # 2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, # 5 Exhibit
                                   4) *Note this is envelop 1 of 2.(McDonagh, Christina) (Entered: 10/09/2018)
             10/08/2018        577 Request for Judicial Notice by Students for Fair Admissions, Inc.. (Attachments: #
                                   1 Exhibit DX-13, # 2 Exhibit DX-40, # 3 Exhibit P500)(Mortara, Adam) (Entered:
                                   10/08/2018)
             10/10/2018        579 NOTICE by 21 Colorful Crimson, Association of Black Harvard Women, Coalition
                                   for a Diverse Harvard, First Generation Harvard Alumni, Fuerza Latina of Harvard,
                                   Harvard Asian American Alumni Alliance, Harvard Asian American Brotherhood,
                                   Harvard Black Alumni Society, Harvard Islamic Society, Harvard Japan Society,
                                   Harvard Korean Association, Harvard Latino Alumni Alliance, Harvard Minority
                                   Association of Pre-Medical Students, Harvard Phillips Brooks House Association,
                                   Harvard South Asian Association, Harvard University Muslim Alumni, Harvard
                                   Vietnamese Association, Harvard-Radcliffe Asian American Association, Harvard-
                                   Radcliffe Asian American Women's Association, Harvard-Radcliffe Black Students
                                   Association, Harvard-Radcliffe Chinese Students Association, Kuumba Singers of
                                   Harvard College, Native American Alumni of Harvard University, Native



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                                     Americans At Harvard College, Task Force on Asian and Pacific American Studies
                                     at Harvard College re 575 Memorandum & ORDER Regarding Witnesses and
                                     Opening Statement (Thayer, Kenneth) (Entered: 10/10/2018)
             10/11/2018        580 NOTICE of Appearance by Joseph J. Mueller on behalf of President and Fellows of
                                   Harvard College (Mueller, Joseph) (Entered: 10/11/2018)
             10/12/2018        581 NOTICE by M. B., K. C., Sarah Cole, Y. D., G. E., A. G., I. G., R. H., J. L., Fadhal
                                   Moore, Arjini Kumari Nawal, R. S., Itzel Vasquez-Rodriguez, Keyanna
                                   Wigglesworth re 575 Memorandum & ORDER REGARDING TRIAL WITNESSES,
                                   REQUEST FOR DATE CERTAIN FOR STUDENT TESTIMONY, AND NOTICE OF
                                   INTENT TO PRESENT ORAL OPENING STATEMENT (Culleen, Lawrence)
                                   (Entered: 10/12/2018)
             10/15/2018        585 Electronic Clerk's Notes for proceedings held before Judge Allison D. Burroughs:
                                   Bench Trial Day 1 held on 10/15/2018. Opening statements by the parties. Dean
                                   William Fitzsimmons sworn and testifies. (Court Reporter: Joan Daly at
                                   joanmdaly62@gmail.com.) (Folan, Karen) (Entered: 10/18/2018)
             10/16/2018        582 Transcript of Bench Trial - Day One held on October 15, 2018, before Judge
                                   Allison D. Burroughs. The Transcript may be purchased through the Court
                                   Reporter, viewed at the public terminal, or viewed through PACER after it is
                                   released. Court Reporter Name and Contact Information: Joan Daly at
                                   joanmdaly62@gmail.com Redaction Request due 11/6/2018. Redacted Transcript
                                   Deadline set for 11/16/2018. Release of Transcript Restriction set for 1/14/2019.
                                   (Scalfani, Deborah) (Entered: 10/16/2018)
             10/16/2018        583 Transcript of Bench Trial - Day Two held on October 16, 2018, before Judge
                                   Allison D. Burroughs. The Transcript may be purchased through the Court
                                   Reporter, viewed at the public terminal, or viewed through PACER after it is
                                   released. Court Reporter Name and Contact Information: Joan Daly at
                                   joanmdaly62@gmail.com Redaction Request due 11/6/2018. Redacted Transcript
                                   Deadline set for 11/16/2018. Release of Transcript Restriction set for 1/14/2019.
                                   (Scalfani, Deborah) (Entered: 10/16/2018)
             10/16/2018        584 NOTICE is hereby given that an official transcript of a proceeding has been filed by
                                   the court reporter in the above-captioned matter. Counsel are referred to the Court's
                                   Transcript Redaction Policy, available on the court website at
                                   http://www.mad.uscourts.gov/attorneys/general-info.htm (Scalfani, Deborah)
                                   (Entered: 10/16/2018)
             10/16/2018        586 Electronic Clerk's Notes for proceedings held before Judge Allison D. Burroughs:
                                   Bench Trial Day 2 held on 10/16/2018. Testimony of William Fitzsimmons
                                   resumes. (Court Reporter: Joan Daly at joanmdaly62@gmail.com.) (Folan, Karen)
                                   (Entered: 10/18/2018)
             10/17/2018        587 Electronic Clerk's Notes for proceedings held before Judge Allison D. Burroughs:
                                   Bench Trial Day 3 held on 10/17/2018. Testimony of William Fitzsimmons
                                   resumes. (Court Reporter: Joan Daly at joanmdaly62@gmail.com.) (Folan, Karen)
                                   (Entered: 10/18/2018)
             10/18/2018        589 Electronic Clerk's Notes for proceedings held before Judge Allison D. Burroughs:
                                   Bench Trial Day 4 held on 10/18/2018. Dean Fitzsimmons testimony continues.
                                   Christopher Looby and Erica Bever sworn and testify. (Court Reporter: Joan Daly


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                                     at joanmdaly62@gmail.com.) (Folan, Karen) (Entered: 10/22/2018)
             10/19/2018        590 Electronic Clerk's Notes for proceedings held before Judge Allison D. Burroughs:
                                   Bench Trial Day 5 held on 10/19/2018. Erica Bever testimony continues. Erin
                                   Driver-Linn and Marlyn McGrath sworn and testify. (Court Reporter: Joan Daly at
                                   joanmdaly62@gmail.com.) (Folan, Karen) (Entered: 10/22/2018)
             10/21/2018        588 MOTION Admit Exhibit P9 by Students for Fair Admissions, Inc.. (Attachments: #
                                   1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4)(Mortara, Adam) (Entered:
                                   10/21/2018)
             10/22/2018        591 Letter/request (non-motion) from Jahjah Al Mahdi. (McDonagh, Christina)
                                   (Entered: 10/22/2018)
             10/22/2018        592 Electronic Clerk's Notes for proceedings held before Judge Allison D. Burroughs:
                                   Bench Trial Day 6 held on 10/22/2018. Richard Kahlenberg sworn and testifies.
                                   Marlyn McGrath testimony resumes. Rakesh Khurana sworn and testifies. (Court
                                   Reporter: Joan Daly at joanmdaly62@gmail.com.) (Folan, Karen) (Entered:
                                   10/23/2018)
             10/23/2018        594 Electronic Clerk's Notes for proceedings held before Judge Allison D. Burroughs:
                                   Bench Trial Day 7 held on 10/23/2018. Rakesh Khurana, Michael Smith, and
                                   Elizabeth Yong sworn and testify. (Court Reporter: Joan Daly at
                                   joanmdaly62@gmail.com.) (Folan, Karen) (Entered: 10/24/2018)
             10/24/2018        593 Judge Allison D. Burroughs: ELECTRONIC ORDER entered finding as moot 588
                                   Motion to Admit Exhibit P9 (Folan, Karen) (Entered: 10/24/2018)
             10/24/2018        599 Electronic Clerk's Notes for proceedings held before Judge Allison D. Burroughs:
                                   Bench Trial Day 8 held on 10/24/2018. Mark Hansen, Roger Banks, Charlene Kim,
                                   and Tia Ray sworn and testify. (Court Reporter: Joan Daly at
                                   joanmdaly62@gmail.com.) (Folan, Karen) (Entered: 10/29/2018)
             10/25/2018        595 AFFIDAVIT of Lawrence Crawford re 591 Letter/request (non-motion) by
                                   Lawrence Crawford. (McDonagh, Christina) (Entered: 10/26/2018)
             10/25/2018        600 Electronic Clerk's Notes for proceedings held before Judge Allison D. Burroughs:
                                   Bench Trial Day 9 held on 10/25/2018. Peter Arcidiacono sworn and testifies.
                                   (Court Reporter: Joan Daly at joanmdaly62@gmail.com.) (Folan, Karen) (Entered:
                                   10/29/2018)
             10/26/2018        601 Electronic Clerk's Notes for proceedings held before Judge Allison D. Burroughs:
                                   Bench Trial Day 10 held on 10/26/2018. Testimony of Peter Arcidiacono resumes.
                                   Deposition testimony read into the record. (Court Reporter: Joan Daly at
                                   joanmdaly62@gmail.com.) (Folan, Karen) (Entered: 10/29/2018)
             10/26/2018        609 Opposition to SFFA's Oral Motion to Admit P438 and P588 by President and
                                   Fellows of Harvard College. (Folan, Karen) (Entered: 11/02/2018)
             10/27/2018        596 Assented to MOTION to Seal by Students for Fair Admissions, Inc..(Hacker,
                                   Katherine) (Entered: 10/27/2018)
             10/27/2018        597 NOTICE by Students for Fair Admissions, Inc. of Deposition Designations Played
                                   in Court (Attachments: # 1 Script report)(Hacker, Katherine) (Entered: 10/27/2018)




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             10/29/2018        598 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 596 Motion
                                   to Seal (Folan, Karen) (Entered: 10/29/2018)
             10/29/2018        606 Electronic Clerk's Notes for proceedings held before Judge Allison D. Burroughs:
                                   Bench Trial Day 11 held on 10/29/2018. Margaret Chin, Sarah Cole, Catherine Ho,
                                   Cecelia Nunez, Thang Diep, Madison Trice, and Sally Chen all sworn and testify.
                                   (Court Reporter: Kelly Mortellite and Joan Daly at joanmdaly62@gmail.com.)
                                   (Folan, Karen) (Entered: 10/31/2018)
             10/30/2018        602 NOTICE by Students for Fair Admissions, Inc. Bench Brief Regarding Exhibits
                                   D669 Through D730 (Mortara, Adam) (Entered: 10/30/2018)
             10/30/2018        603 NOTICE by Students for Fair Admissions, Inc. Offer of Proof of Deposition
                                   Designations (Mortara, Adam) (Additional attachment(s) added on 10/30/2018: # 1
                                   Exhibit 1 (Filed under Seal), # 2 Exhibit 2 (Filed Under Seal), # 3 Exhibit 3 (Filed
                                   Under Seal)) (McDonagh, Christina). (Entered: 10/30/2018)
             10/30/2018        604 Letter/request (non-motion) from Harvard in Response to Dkt. 602. (Waxman, Seth)
                                   (Entered: 10/30/2018)
             10/30/2018        605 Reply in Support of Admission of P438 and P588 by Students for Fair Admissions,
                                   Inc. (Mortara, Adam) Modified on 11/1/2018 (McDonagh, Christina). (Entered:
                                   10/30/2018)
             10/30/2018        607 Electronic Clerk's Notes for proceedings held before Judge Allison D. Burroughs:
                                   Bench Trial Day 12 held on 10/30/2018. Ruth Simmons and David Card sworn and
                                   testify. (Court Reporter: Joan Daly at joanmdaly62@gmail.com.) (Folan, Karen)
                                   (Entered: 10/31/2018)
             10/31/2018        608 Electronic Clerk's Notes for proceedings held before Judge Allison D. Burroughs:
                                   Bench Trial Day 13 held on 10/31/2018. Testimony of David Card resumes. (Court
                                   Reporter: Joan Daly at joanmdaly62@gmail.com.) (Folan, Karen) (Entered:
                                   11/01/2018)
             11/01/2018        613 Electronic Clerk's Notes for proceedings held before Judge Allison D. Burroughs:
                                   Bench Trial Day 14 held on 11/1/2018. Testimony of David Card resumes. Marlyn
                                   McGrath sworn and testifies. Plaintiff rests. Drew Faust sworn and testifies.
                                   Deposition testimony read into the record. Defense rests. (Court Reporter: Joan
                                   Daly at joanmdaly62@gmail.com.) (Folan, Karen) (Entered: 11/13/2018)
             11/02/2018        614 Electronic Clerk's Notes for proceedings held before Judge Allison D. Burroughs:
                                   Bench Trial Day 15 completed on 11/2/2018. Closing arguments by the parties.
                                   (Court Reporter: Joan Daly at joanmdaly62@gmail.com.) (Folan, Karen) (Entered:
                                   11/13/2018)
             11/05/2018        610 NOTICE of Change of Address or Firm Name by Adam K Mortara (Mortara,
                                   Adam) (Entered: 11/05/2018)
             11/05/2018        611 NOTICE by Students for Fair Admissions, Inc. Admitted Exhibit List (Mortara,
                                   Adam) (Entered: 11/05/2018)
             11/06/2018        612 ELECTRONIC NOTICE of Hearing.Hearing on Arguments in support of proposed
                                   findings set for 2/13/2019 02:00 PM in Courtroom 17 before Judge Allison D.
                                   Burroughs. (Folan, Karen) (Entered: 11/06/2018)




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             11/13/2018        615 Joint MOTION Entry of Scheduling Order by Students for Fair Admissions,
                                   Inc..(Consovoy, William) (Entered: 11/13/2018)
             11/14/2018        616 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 615 Motion
                                   for Entry of Scheduling Order (Folan, Karen) (Entered: 11/14/2018)
             11/14/2018        617 NOTICE by President and Fellows of Harvard College Corrected Admitted Exhibit
                                   List (Attachments: # 1 Exhibit 01)(Ellsworth, Felicia) (Entered: 11/14/2018)
             12/18/2018        618 Consent MOTION to Seal by Students for Fair Admissions, Inc..(Consovoy,
                                   William) (Entered: 12/19/2018)
             12/19/2018        619 Proposed Findings of Fact by President and Fellows of Harvard College.
                                   (Attachments: # 1 Appendix Selected Exhibits)(Waxman, Seth) (Entered:
                                   12/19/2018)
             12/19/2018        620 Proposed Findings of Fact by Students for Fair Admissions, Inc.. (Attachments: # 1
                                   Appendix)(Consovoy, William) (Additional attachment(s) added on 12/20/2018: #
                                   2 Unredacted Version, # 3 Appendix Unredacted Version) (McDonagh, Christina).
                                   (Entered: 12/19/2018)
             12/20/2018        621 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 618 Motion
                                   to Seal (Folan, Karen) (Entered: 12/20/2018)
             01/08/2019        622 AMICUS BRIEF filed by Asian American Coalition for Education AMICI CURIAE
                                   BRIEF OF THE ASIAN AMERICAN COALITION FOR EDUCATION AND THE
                                   ASIAN AMERICAN LEGAL FOUNDATION, IN SUPPORT OF PLAINTIFF
                                   STUDENTS FOR FAIR ADMISSIONS, INC.. (Fauth, Gordon) (Entered:
                                   01/08/2019)
             01/09/2019        623 Proposed Findings of Fact by 21 Colorful Crimson, Association of Black Harvard
                                   Women, Coalition for a Diverse Harvard, First Generation Harvard Alumni, Fuerza
                                   Latina of Harvard, Harvard Asian American Alumni Alliance, Harvard Asian
                                   American Brotherhood, Harvard Black Alumni Society, Harvard Islamic Society,
                                   Harvard Japan Society, Harvard Korean Association, Harvard Latino Alumni
                                   Alliance, Harvard Minority Association of Pre-Medical Students, Harvard Phillips
                                   Brooks House Association, Harvard South Asian Association, Harvard University
                                   Muslim Alumni, Harvard Vietnamese Association, Harvard-Radcliffe Asian
                                   American Association, Harvard-Radcliffe Asian American Women's Association,
                                   Harvard-Radcliffe Black Students Association, Harvard-Radcliffe Chinese Students
                                   Association, Kuumba Singers of Harvard College, Native American Alumni of
                                   Harvard University, Native Americans At Harvard College, Task Force on Asian
                                   and Pacific American Studies at Harvard College. (Lee, Jin) (Entered: 01/09/2019)
             01/09/2019        624 AMICUS BRIEF filed by Amici Curiae Economists Michael Keane et al., in
                                   Support of Students for Fair Admissions . (Attachments: # 1 Exhibit A)(Clark,
                                   Randall) (Entered: 01/09/2019)
             01/09/2019        625 AMICUS BRIEF filed by Amici Curiae the Asian American Legal Defense and
                                   Education Fund, et al. in Support of Defendant. (Rodriguez, Madeleine) (Entered:
                                   01/09/2019)
             01/09/2019        626 Proposed Findings of Fact by M. B., K. C., Sarah Cole, Y. D., G. E., A. G., I. G., R.
                                   H., J. L., Fadhal Moore, Arjini Kumari Nawal, R. S., Itzel Vasquez-Rodriguez,
                                   Keyanna Wigglesworth. (Culleen, Lawrence) (Entered: 01/09/2019)


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             01/23/2019        627 Proposed Findings of Fact by Students for Fair Admissions, Inc.. (Consovoy,
                                   William) (Entered: 01/23/2019)
             01/23/2019        628 Response by President and Fellows of Harvard College to 620 Proposed Findings
                                   of Fact . (Waxman, Seth) (Entered: 01/23/2019)
             01/31/2019        629 Hearing of arguments in support of proposed findings of fact and conclusions of
                                   law is rescheduled for February 13, 2019 at 1:30 PM in Courtroom 17. This is a
                                   TIME change only. SFFA and Harvard may each have up to 60 minutes for
                                   argument. Amici groups "Students" and "Organizations" will each be allowed up to
                                   15 minutes. See ECF No. 575 .(McDonagh, Christina) (Entered: 01/31/2019)
             02/13/2019        630 Electronic Clerk's Notes for proceedings held before Judge Allison D. Burroughs:
                                   Hearing re on arguments in support of proposed findings of fact and conclusions of
                                   law held on 2/13/2019. (Court Reporter: Joan Daly at joanmdaly62@gmail.com.)
                                   (Folan, Karen) (Entered: 02/13/2019)
             04/18/2019        631 Transcript of Bench Trial - Day One held on October 15, 2018, before Judge
                                   Allison D. Burroughs. The Transcript may be purchased through the Court
                                   Reporter, viewed at the public terminal, or viewed through PACER after it is
                                   released. Court Reporter Name and Contact Information: Joan Daly at
                                   joanmdaly62@gmail.com Redaction Request due 5/9/2019. Redacted Transcript
                                   Deadline set for 5/20/2019. Release of Transcript Restriction set for 7/17/2019.
                                   (Scalfani, Deborah) (Entered: 04/18/2019)
             04/18/2019        632 Transcript of Bench Trial - Day Two held on October 16, 2018, before Judge
                                   Allison D. Burroughs. The Transcript may be purchased through the Court
                                   Reporter, viewed at the public terminal, or viewed through PACER after it is
                                   released. Court Reporter Name and Contact Information: Joan Daly at
                                   joanmdaly62@gmail.com Redaction Request due 5/9/2019. Redacted Transcript
                                   Deadline set for 5/20/2019. Release of Transcript Restriction set for 7/17/2019.
                                   (Scalfani, Deborah) (Entered: 04/18/2019)
             04/18/2019        633 Transcript of Bench Trial - Day Three held on October 17, 2018, before Judge
                                   Allison D. Burroughs. The Transcript may be purchased through the Court
                                   Reporter, viewed at the public terminal, or viewed through PACER after it is
                                   released. Court Reporter Name and Contact Information: Joan Daly at
                                   joanmdaly62@gmail.com Redaction Request due 5/9/2019. Redacted Transcript
                                   Deadline set for 5/20/2019. Release of Transcript Restriction set for 7/17/2019.
                                   (Scalfani, Deborah) (Entered: 04/18/2019)
             04/18/2019        634 SEALED Transcript of Bench Trial - Day Three held on October 17, 2018, before
                                   Judge Allison D. Burroughs. Court Reporter Name and Contact Information: Joan
                                   Daly at joanmdaly62@gmail.com (Scalfani, Deborah) (Entered: 04/18/2019)
             04/18/2019        635 Transcript of Bench Trial - Day Four held on October 18, 2018, before Judge
                                   Allison D. Burroughs. The Transcript may be purchased through the Court
                                   Reporter, viewed at the public terminal, or viewed through PACER after it is
                                   released. Court Reporter Name and Contact Information: Joan Daly at
                                   joanmdaly62@gmail.com Redaction Request due 5/9/2019. Redacted Transcript
                                   Deadline set for 5/20/2019. Release of Transcript Restriction set for 7/17/2019.
                                   (Scalfani, Deborah) (Entered: 04/18/2019)




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             04/18/2019        636 Transcript of Bench Trial - Day Five held on October 19, 2018, before Judge
                                   Allison D. Burroughs. The Transcript may be purchased through the Court
                                   Reporter, viewed at the public terminal, or viewed through PACER after it is
                                   released. Court Reporter Name and Contact Information: Kelly Mortellite and Joan
                                   Daly at joanmdaly62@gmail.com Redaction Request due 5/9/2019. Redacted
                                   Transcript Deadline set for 5/20/2019. Release of Transcript Restriction set for
                                   7/17/2019. (Scalfani, Deborah) Modified on 4/18/2019 (Scalfani, Deborah).
                                   (Entered: 04/18/2019)
             04/18/2019        637 SEALED Transcript of Bench Trial - Day Five held on October 19, 2018, before
                                   Judge Allison D. Burroughs. Court Reporter Name and Contact Information: Kelly
                                   Mortellite and Joan Daly at joanmdaly62@gmail.com (Scalfani, Deborah)
                                   (Entered: 04/18/2019)
             04/18/2019        638 Transcript of Bench Trial - Day Six held on October 22, 2018, before Judge Allison
                                   D. Burroughs. The Transcript may be purchased through the Court Reporter,
                                   viewed at the public terminal, or viewed through PACER after it is released. Court
                                   Reporter Name and Contact Information: Joan Daly at joanmdaly62@gmail.com
                                   Redaction Request due 5/9/2019. Redacted Transcript Deadline set for 5/20/2019.
                                   Release of Transcript Restriction set for 7/17/2019. (Scalfani, Deborah) (Entered:
                                   04/18/2019)
             04/18/2019        639 SEALED Transcript of Bench Trial - Day Six held on October 22, 2018, before
                                   Judge Allison D. Burroughs. Court Reporter Name and Contact Information: Joan
                                   Daly at joanmdaly62@gmail.com (Scalfani, Deborah) (Entered: 04/18/2019)
             04/18/2019        640 Transcript of Bench Trial - Day Seven held on October 23, 2018, before Judge
                                   Allison D. Burroughs. The Transcript may be purchased through the Court
                                   Reporter, viewed at the public terminal, or viewed through PACER after it is
                                   released. Court Reporter Name and Contact Information: Joan Daly at
                                   joanmdaly62@gmail.com Redaction Request due 5/9/2019. Redacted Transcript
                                   Deadline set for 5/20/2019. Release of Transcript Restriction set for 7/17/2019.
                                   (Scalfani, Deborah) (Entered: 04/18/2019)
             04/18/2019        641 SEALED Transcript of Bench Trial - Day Seven held on October 23, 2018, before
                                   Judge Allison D. Burroughs. Court Reporter Name and Contact Information: Joan
                                   Daly at joanmdaly62@gmail.com (Scalfani, Deborah) (Entered: 04/18/2019)
             04/18/2019        642 Transcript of Bench Trial - Day Eight held on October 24, 2018, before Judge
                                   Allison D. Burroughs. The Transcript may be purchased through the Court
                                   Reporter, viewed at the public terminal, or viewed through PACER after it is
                                   released. Court Reporter Name and Contact Information: Kelly Mortellite and Joan
                                   Daly at joanmdaly62@gmail.com Redaction Request due 5/9/2019. Redacted
                                   Transcript Deadline set for 5/20/2019. Release of Transcript Restriction set for
                                   7/17/2019. (Scalfani, Deborah) (Entered: 04/18/2019)
             04/18/2019        643 SEALED Transcript of Bench Trial - Day Eight held on October 24, 2018, before
                                   Judge Allison D. Burroughs. Court Reporter Name and Contact Information: Kelly
                                   Mortellite and Joan Daly at joanmdaly62@gmail.com (Scalfani, Deborah)
                                   (Entered: 04/18/2019)
             04/18/2019        644 Transcript of Bench Trial - Day Nine held on October 25, 2018, before Judge
                                   Allison D. Burroughs. The Transcript may be purchased through the Court



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                                     Reporter, viewed at the public terminal, or viewed through PACER after it is
                                     released. Court Reporter Name and Contact Information: Joan Daly at
                                     joanmdaly62@gmail.com Redaction Request due 5/9/2019. Redacted Transcript
                                     Deadline set for 5/20/2019. Release of Transcript Restriction set for 7/17/2019.
                                     (Scalfani, Deborah) (Entered: 04/18/2019)
             04/18/2019        645 SEALED Transcript of Bench Trial - Day Nine held on October 25, 2018, before
                                   First. Court Reporter Name and Contact Information: Joan Daly at
                                   joanmdaly62@gmail.com (Scalfani, Deborah) (Entered: 04/18/2019)
             04/18/2019        646 Transcript of Bench Trial - Day Ten held on October 26, 2018, before Judge Allison
                                   D. Burroughs. The Transcript may be purchased through the Court Reporter,
                                   viewed at the public terminal, or viewed through PACER after it is released. Court
                                   Reporter Name and Contact Information: Kelly Mortellite and Joan Daly at
                                   joanmdaly62@gmail.com Redaction Request due 5/9/2019. Redacted Transcript
                                   Deadline set for 5/20/2019. Release of Transcript Restriction set for 7/17/2019.
                                   (Scalfani, Deborah) (Entered: 04/18/2019)
             04/18/2019        647 SEALED Transcript of Bench Trial - Day Ten held on October 26, 2018, before
                                   Judge Allison D. Burroughs. Court Reporter Name and Contact Information: Kelly
                                   Mortellite and Joan Daly at joanmdaly62@gmail.com (Scalfani, Deborah)
                                   (Entered: 04/18/2019)
             04/18/2019        648 Transcript of Bench Trial - Day Eleven held on October 29, 2018, before Judge
                                   Allison D. Burroughs. The Transcript may be purchased through the Court
                                   Reporter, viewed at the public terminal, or viewed through PACER after it is
                                   released. Court Reporter Name and Contact Information: Kelly Mortellite and Joan
                                   Daly at joanmdaly62@gmail.com Redaction Request due 5/9/2019. Redacted
                                   Transcript Deadline set for 5/20/2019. Release of Transcript Restriction set for
                                   7/17/2019. (Scalfani, Deborah) (Entered: 04/18/2019)
             04/18/2019        649 SEALED Transcript of Bench Trial - Day Eleven held on October 29, 2018, before
                                   Judge Allison D. Burroughs. Court Reporter Name and Contact Information: Kelly
                                   Mortellite and Joan Daly at joanmdaly62@gmail.com (Scalfani, Deborah)
                                   (Entered: 04/18/2019)
             04/18/2019        650 Transcript of Bench Trial - Day Twelve held on October 30, 2018, before Judge
                                   Allison D. Burroughs. The Transcript may be purchased through the Court
                                   Reporter, viewed at the public terminal, or viewed through PACER after it is
                                   released. Court Reporter Name and Contact Information: Kelly Mortellite and Joan
                                   Daly at joanmdaly62@gmail.com Redaction Request due 5/9/2019. Redacted
                                   Transcript Deadline set for 5/20/2019. Release of Transcript Restriction set for
                                   7/17/2019. (Scalfani, Deborah) (Entered: 04/18/2019)
             04/18/2019        651 SEALED Transcript of Jury Trial - Day Twelve held on October 30, 2018, before
                                   Judge Allison D. Burroughs. Court Reporter Name and Contact Information: Kelly
                                   Mortellite and Joan Daly at joanmdaly62@gmail.com (Scalfani, Deborah)
                                   (Entered: 04/18/2019)
             04/18/2019        652 Transcript of Bench Trial - Day Thirteen held on October 31, 2018, before Judge
                                   Allison D. Burroughs. The Transcript may be purchased through the Court
                                   Reporter, viewed at the public terminal, or viewed through PACER after it is
                                   released. Court Reporter Name and Contact Information: Kelly Mortellite and Joan



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                                     Daly at joanmdaly62@gmail.com Redacted Transcript Deadline set for 5/20/2019.
                                     Release of Transcript Restriction set for 7/17/2019. (Scalfani, Deborah) (Entered:
                                     04/18/2019)
             04/18/2019        653 SEALED Transcript of Bench Trial - Day Thirteen held on October 31, 2018,
                                   before Judge Allison D. Burroughs. Court Reporter Name and Contact Information:
                                   Kelly Mortellite and Joan Daly at joanmdaly62@gmail.com (Scalfani, Deborah)
                                   (Entered: 04/18/2019)
             04/18/2019        654 Transcript of Bench Trial - Day Fourteen held on November 1, 2018, before Judge
                                   Allison D. Burroughs. The Transcript may be purchased through the Court
                                   Reporter, viewed at the public terminal, or viewed through PACER after it is
                                   released. Court Reporter Name and Contact Information: Kelly Mortellite and Joan
                                   Daly at joanmdaly62@gmail.com Redaction Request due 5/9/2019. Redacted
                                   Transcript Deadline set for 5/20/2019. Release of Transcript Restriction set for
                                   7/17/2019. (Scalfani, Deborah) (Entered: 04/18/2019)
             04/18/2019        655 SEALED Transcript of Bench Trial - Day Fourteen held on November 1, 2018,
                                   before Judge Allison D. Burroughs. Court Reporter Name and Contact Information:
                                   Kelly Mortellite and Joan Daly at joanmdaly62@gmail.com (Scalfani, Deborah)
                                   (Entered: 04/18/2019)
             04/18/2019        656 Transcript of Bench Trial Day Fifteen (Closing Arguments) held on November 2,
                                   2018, before Judge Allison D. Burroughs. The Transcript may be purchased
                                   through the Court Reporter, viewed at the public terminal, or viewed through
                                   PACER after it is released. Court Reporter Name and Contact Information:Kelly
                                   Mortellite and Joan Daly at joanmdaly62@gmail.com Redaction Request due
                                   5/9/2019. Redacted Transcript Deadline set for 5/20/2019. Release of Transcript
                                   Restriction set for 7/17/2019. (Scalfani, Deborah) (Entered: 04/18/2019)
             04/18/2019        657 SEALED Transcript of Bench Trial - Day Fifteen held on November 2, 2018,
                                   before Judge Allison D. Burroughs. Court Reporter Name and Contact
                                   Information:Kelly Mortellite and Joan Daly at joanmdaly62@gmail.com (Scalfani,
                                   Deborah) (Entered: 04/18/2019)
             04/18/2019        658 NOTICE is hereby given that an official transcript of a proceeding has been filed by
                                   the court reporter in the above-captioned matter. Counsel are referred to the Court's
                                   Transcript Redaction Policy, available on the court website at
                                   http://www.mad.uscourts.gov/attorneys/general-info.htm (Scalfani, Deborah)
                                   (Entered: 04/18/2019)
             05/14/2019        659 NOTICE of Withdrawal of Appearance by Michael H. Park (Park, Michael)
                                   (Entered: 05/14/2019)
             05/16/2019        660 NOTICE of Withdrawal of Appearance by Lawrence Culleen on behalf of Brenda
                                   Shum (Culleen, Lawrence) (Entered: 05/16/2019)
             06/04/2019        661 NOTICE of Withdrawal of Appearance by Lawrence Culleen on behalf of Nicole K.
                                   Ochi (Culleen, Lawrence) (Entered: 06/04/2019)
             06/07/2019        662 MOTION for Leave to Appear Pro Hac Vice for admission of Laboni Hoq Filing
                                   fee: $ 100, receipt number 0101-7721447 by M. B., K. C., Sarah Cole, Y. D., G. E.,
                                   A. G., I. G., R. H., J. L., Fadhal Moore, Arjini Kumari Nawal, R. S., Itzel Vasquez-
                                   Rodriguez, Keyanna Wigglesworth.(Sellstrom, Oren) (Entered: 06/07/2019)



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             06/07/2019        663 MOTION for Leave to Appear Pro Hac Vice for admission of Christopher Lapinig
                                   Filing fee: $ 100, receipt number 0101-7721517 by M. B., K. C., Sarah Cole, Y. D.,
                                   G. E., A. G., I. G., R. H., J. L., Fadhal Moore, Arjini Kumari Nawal, R. S., Itzel
                                   Vasquez-Rodriguez, Keyanna Wigglesworth.(Sellstrom, Oren) (Entered:
                                   06/07/2019)
             06/10/2019        664 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 662 Motion
                                   for Leave to Appear Pro Hac Vice Added Laboni Hoq. Attorneys admitted Pro
                                   Hac Vice must register for electronic filing if the attorney does not already
                                   have an ECF account in this district. To register go to the Court website at
                                   www.mad.uscourts.gov. Select Case Information, then Electronic Filing
                                   (CM/ECF) and go to the CM/ECF Registration Form. Pursuant to Local Rule
                                   83.5.3, local counsel shall also file an appearance in this matter. Further, local
                                   counsel shall review all filings and shall personally appear in Court for any
                                   hearings or conferences, unless expressly excused by the Court for good cause.
                                   (McDonagh, Christina) (Entered: 06/10/2019)
             06/10/2019        665 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 663 Motion
                                   for Leave to Appear Pro Hac Vice Added Christopher Lapinig. Attorneys
                                   admitted Pro Hac Vice must register for electronic filing if the attorney does
                                   not already have an ECF account in this district. To register go to the Court
                                   website at www.mad.uscourts.gov. Select Case Information, then Electronic
                                   Filing (CM/ECF) and go to the CM/ECF Registration Form. Pursuant to
                                   Local Rule 83.5.3, local counsel shall also file an appearance in this matter.
                                   Further, local counsel shall review all filings and shall personally appear in
                                   Court for any hearings or conferences, unless expressly excused by the Court
                                   for good cause. (McDonagh, Christina) (Entered: 06/10/2019)
             07/01/2019        666 Transcript of Closing Arguments held on February 13, 2019, before Judge Allison
                                   D. Burroughs. The Transcript may be purchased through the Court Reporter,
                                   viewed at the public terminal, or viewed through PACER after it is released. Court
                                   Reporter Name and Contact Information: Joan Daly at joanmdaly62@gmail.com
                                   Redaction Request due 7/22/2019. Redacted Transcript Deadline set for 8/1/2019.
                                   Release of Transcript Restriction set for 9/30/2019. (Scalfani, Deborah) (Entered:
                                   07/01/2019)
             07/01/2019        667 NOTICE is hereby given that an official transcript of a proceeding has been filed by
                                   the court reporter in the above-captioned matter. Counsel are referred to the Court's
                                   Transcript Redaction Policy, available on the court website at
                                   http://www.mad.uscourts.gov/attorneys/general-info.htm (Scalfani, Deborah)
                                   (Entered: 07/01/2019)
             07/02/2019        668 NOTICE of Withdrawal of Appearance by Daniel Winik (Winik, Daniel) (Entered:
                                   07/02/2019)
             08/16/2019        669 NOTICE of Withdrawal of Appearance by Andrew R. Varcoe (Varcoe, Andrew)
                                   (Entered: 08/16/2019)
             08/22/2019        671 Letter. (McDonagh, Christina) (Entered: 09/04/2019)
             08/27/2019        670 USCA Judgment In Re: Lawrence L. Crawford. Appeal No. 18-8022. The petition
                                   is DISMISSED for want of jurisdiction. All pending motions are DENIED. (Pacho,
                                   Arnold) (Entered: 08/28/2019)



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             09/30/2019        672 Judge Allison D. Burroughs: ORDER entered. FINDINGS OF FACT AND
                                   CONCLUSIONS OF LAW (McDonagh, Christina) (Entered: 10/01/2019)
             09/30/2019        673 Judge Allison D. Burroughs: ORDER entered. Judgment for the Defendant
                                   President and Fellows of Harvard College (Harvard Corporation).(McDonagh,
                                   Christina) (Entered: 10/01/2019)
             10/04/2019        674 NOTICE OF APPEAL 672 FINDINGS OF FACT AND CONCLUSIONS OF
                                   LAW 673 JUDGMENT by Students for Fair Admissions, Inc. Filing fee: $ 505,
                                   receipt number 0101-7910565 Fee Status: Not Exempt. NOTICE TO COUNSEL:
                                   A Transcript Report/Order Form, which can be downloaded from the First Circuit
                                   Court of Appeals web site at http://www.ca1.uscourts.gov MUST be completed and
                                   submitted to the Court of Appeals. Counsel shall register for a First Circuit
                                   CM/ECF Appellate Filer Account at http://pacer.psc.uscourts.gov/cmecf.
                                   Counsel shall also review the First Circuit requirements for electronic filing by
                                   visiting the CM/ECF Information section at http://www.ca1.uscourts.gov
                                   /cmecf. US District Court Clerk to deliver official record to Court of Appeals
                                   by 10/24/2019. (Consovoy, William) (Modified on 10/4/2019 to Correct Docket
                                   Text and CM/ECF Document Link - Appealed Orders) (Paine, Matthew).
                                   (Entered: 10/04/2019)




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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS

        STUDENTS FOR FAIR ADMISSIONS, INC., *
                                            *
                   Plaintiff,               *
                                            *
                   v.                       *
                                            *          Civil Action No. 14-cv-14176-ADB
        PRESIDENT AND FELLOWS OF            *
        HARVARD COLLEGE (HARVARD            *
        CORPORATION),                       *
                                            *
                   Defendant.               *


                       FINDINGS OF FACT AND CONCLUSIONS OF LAW
Case: 19-2005 Case
                Document:  00117501495Document
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       BURROUGHS, D.J.

       I.     INTRODUCTION

              Plaintiff Students for Fair Admissions, Inc. (“SFFA”) alleges that Defendant President

       and Fellows of Harvard College (“Harvard”) discriminates against Asian American applicants in

       the undergraduate admissions process to Harvard College in violation of Title VI of the Civil

       Rights Act of 1964, 42 U.S.C. §§ 2000d et seq. (“Title VI”). 1 Harvard acknowledges that its

       undergraduate admissions process considers race as one factor among many, but claims that its

       use of race is consistent with applicable law.

       II.    PROCEDURAL HISTORY

              On November 17, 2014, SFFA initiated this lawsuit by filing a complaint that alleged that

       Harvard violates Title VI by intentionally discriminating against Asian Americans (“Count I”),

       using racial balancing (“Count II”), failing to use race merely as a “plus” factor in admissions

       decisions (“Court III”), failing to use race merely to fill the last “few places” in the incoming

       freshman class (“Count IV”), using race where there are available and workable race-neutral

       alternatives (“Count V”), and using race as a factor in admissions (“Count VI”). [ECF No. 1

       ¶¶ 428–505]. SFFA seeks declaratory judgment, injunctive relief, attorneys’ fees, and costs. Id.

       at 119. On February 18, 2015, Harvard filed its answer, in which it denied any liability. See

       [ECF No. 17]. On April 29, 2015, several prospective and then-current Harvard students filed a

       motion to intervene. [ECF No. 30]. Although the Court denied the motion to intervene, it


       1
         There is considerable variation in the terminology individuals use to describe their racial and
       ethnic identities. This opinion uses the terms Hispanic, African American, Asian American, and
       white to describe the four racial or ethnic identities that account for the majority of applicants to
       Harvard because those are the terms the parties have used in litigating this case. The term Asian
       American, as opposed to Asian, is used because SFFA alleges that Harvard discriminates against
       United States citizens who identify as Asian American. Where “Asian” alone is used, this
       generally reflects the language used by others in their own analyses which are referred to herein
       and may include Asian applicants who would not identify as Asian American.


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       allowed the students to participate in the action as amici curiae (friends of the court). Students

       for Fair Admissions, Inc. v. President & Fellows of Harvard Coll., 308 F.R.D. 39, 51–53 (D.

       Mass.), ECF No. 52, aff’d, 807 F.3d 472 (1st Cir. 2015).

              On September 23, 2016, Harvard moved (1) to dismiss the lawsuit for lack of standing

       and (2) for judgment on the pleadings as to Counts IV and VI. [ECF Nos. 185, 187]. On June 2,

       2017, the Court found that SFFA had the associational standing required to pursue this litigation,

       because it was an organization whose membership included Asian Americans who had applied to

       Harvard, been denied admission, and were prepared to apply to transfer to Harvard. Students for

       Fair Admissions, Inc. v. President & Fellows of Harvard Coll. (Harvard Corp.), 261 F. Supp. 3d

       99, 111 (D. Mass. 2017), ECF No. 324. On the same date, the Court granted Harvard’s motion

       for judgment on the pleadings and dismissed Counts IV and VI, namely the failure to use race

       only to fill the last few places in the incoming freshman class and the use of race as a factor in

       admissions. Students for Fair Admissions, Inc. v. President & Fellows of Harvard Coll.

       (Harvard Corp.), No. 14-CV-14176-ADB, 2017 WL 2407254, at *1 (D. Mass. June 2, 2017),

       ECF No. 325. 2

              Following the conclusion of discovery, on June 15, 2018, the parties filed cross motions

       for summary judgment on the four remaining counts, [ECF Nos. 412, 417], which the Court

       denied on September 28, 2018. Students for Fair Admissions, Inc. v. President & Fellows of

       Harvard Coll., 346 F. Supp. 3d 174, 180 (D. Mass. 2018), ECF No. 566. The case proceeded to

       trial on Counts I (intentional discrimination), II (racial balancing), III (failure to use race merely



       2
        Although discovery ended on May 1, 2018, [ECF Nos. 363, 364], the Court ordered
       supplemental document productions during trial when it became apparent that Harvard had
       modified its admissions procedures to provide admissions officers with more explicit guidance
       on the use of race despite seemingly contradictory testimony by various witnesses. See [ECF
       No. 645 at 7:20–19:24].


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       as a “plus” factor), and V (race-neutral alternatives), and from October 15 through November 2,

       2018, the Court heard testimony from eighteen current and former Harvard employees, four

       expert witnesses, and eight current or former Harvard College students who testified as amici

       curiae. On February 13, 2019, following the parties’ submissions of proposed findings of fact

       and conclusions of law and responses to each other’s respective submissions, see [ECF Nos. 619,

       620], the Court heard final closing arguments.

              The Court now makes the following findings of fact and conclusions of law in

       accordance with Federal Rule of Civil Procedure 52(a).

       III.   FINDINGS OF FACT: DIVERSITY, ADMISSIONS PROCESS, AND
              LITIGATION

              A.      Diversity at Harvard

                        1.    Harvard’s Interest in Diversity

              It is somewhat axiomatic at this point that diversity of all sorts, including racial diversity,

       is an important aspect of education. See Brown v. Bd. of Educ., 347 U.S. 483 (1954). 3 The



       3
         On October 30, 2018, the Court heard testimony from Dr. Ruth Simmons, the current President
       of Prairie View A&M University. President Simmons was born in a sharecropper’s shack on a
       plantation in Grapeland, Texas. She attended primary and secondary school in a completely
       segregated environment in Houston, and then Dillard University, an African American institution
       supported by the Methodist Church in New Orleans. President Simmons was selected to spend
       her junior year of college at Wellesley, where she studied alongside white students in the United
       States for the first time. After graduating from Dillard University, President Simmons traveled
       to France, where she studied as a Fulbright Scholar. She then returned to the United States and
       earned a Ph.D. from Harvard’s Department of Romance Languages and Literatures. President
       Simmons held positions at Princeton University, Spelman College, and Smith College before
       becoming President of Brown University. She retired from Brown University after eleven years
       and returned to Texas, where she worked on nonprofit projects in the Houston area before being
       persuaded to come out of retirement to serve as the president of Prairie View A&M. President
       Simmons offered expert testimony on Harvard’s interest in diversity. Her testimony and her life
       story, perhaps the most cogent and compelling testimony presented at this trial, demonstrate the
       extraordinary benefits that diversity in education can achieve, for students and institutions alike.
       See [Oct. 30 Tr. 6:11–70:23].



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       evidence at trial was clear that a heterogeneous student body promotes a more robust academic

       environment with a greater depth and breadth of learning, encourages learning outside the

       classroom, and creates a richer sense of community. See [Oct. 19 Tr. 185:23–187:24; Oct. 23 Tr.

       24:13-20, 31:2–34:11, 59:8–14; Oct. 30 Tr. 27:20–28:8]. The benefits of a diverse student body

       are also likely to be reflected by the accomplishments of graduates and improved faculty

       scholarship following exposure to varying perspectives. See [Oct. 30 Tr. 28:9–30:11].

                Harvard College’s mission, as articulated in its mission statement, is “to educate the

       citizens and citizen-leaders for our society” and it seeks to accomplish this “through . . . the

       transformative power of a liberal arts and sciences education.” [DX109 at 1]. 4 In aid of

       realizing its mission, Harvard values and pursues many kinds of diversity within its classes,

       including different academic interests, belief systems, political views, geographic origins, family

       circumstances, and racial identities. See [Oct. 17 Tr. 182:17–183:7; Oct. 23 Tr. 24:13–20]. This

       interest in diversity and the wide-ranging benefits of diversity were echoed by all of the Harvard

       admissions officers, faculty, students, and alumni that testified at trial. SFFA does not contest

       the importance of diversity in education, but argues that Harvard’s emphasis on racial diversity is

       too narrow and that the full benefits of diversity can be better achieved by placing more

       emphasis on economic diversity. See [ECF No. 620 ¶¶ 216, 231].

                Consistent with Harvard’s view of the benefits of diversity in and out of the classroom,

       Harvard tries to create opportunities for interactions between students from different

       backgrounds and with different experiences to stimulate both academic and non-academic

       learning. [Oct. 23 Tr. 39:3–17; Oct. 30 Tr. 25:11–26:6, 27:20–28:8]. As examples, student

       living assignments, the available extracurricular opportunities, and Harvard’s athletic programs



       4
           “DX” refers to an exhibit offered by Harvard.


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       are all intended to promote a sense of community and encourage exposure to diverse individuals

       and viewpoints. [Oct. 23 Tr. 39:18–41:23].

                Harvard has evaluated and affirmed its interest in diversity on multiple occasions. See

       [Oct. 17 Tr. 182:4–14]; see, e.g., [PX302; DX26; DX53]. 5 Most recently, in 2015, Harvard

       established the Committee to Study the Importance of Student Body Diversity, which was

       chaired by Dean Rakesh Khurana 6 (the “Khurana Committee”). [Oct. 23 Tr. 34:12–22]. The

       Khurana Committee reached the credible and well-reasoned conclusion that the benefits of

       diversity at Harvard are “real and profound.” [PX302 at 17]. It endorsed Harvard’s efforts to

       enroll a diverse student body to “enhance[] the education of [its] students of all races and

       backgrounds [to] prepare[] them to assume leadership roles in the increasingly pluralistic society

       into which they will graduate,” achieve the “benefits that flow from [its] students’ exposure to

       people of different backgrounds, races, and life experiences” by teaching students to engage

       across differences through immersion in a diverse community, and broaden the perspectives of

       teachers, to expand the reach of the curriculum and the range of scholarly interests. [PX302 at

       1–2, 6]; see also [Oct. 23 Tr. 37:14–38:17]. The Khurana Committee “emphatically embrace[d]

       and reaffirm[ed] the University’s long-held view that student body diversity – including racial

       diversity – is essential to [its] pedagogical objectives and institutional mission.” [PX302 at 22].

                          2.   Admissions Office’s Efforts to Obtain a Diverse Applicant Pool

                Harvard’s Office of Admissions and Financial Aid (the “Admissions Office”) is tasked

       with deciding which students to accept to the College and which to reject or waitlist. [Oct. 15



       5
           “PX” refers to an exhibit offered by SFFA.
       6
         Dean of Harvard College Rakesh Khurana attended SUNY-Binghamton and Cornell University
       for his undergraduate studies. He received a Ph.D. in organizational behavior from Harvard
       University. [Oct. 22 Tr. 192:17–193:11].


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       Tr. 64:1–70:8]. Deciding which applicants to admit is challenging given the overall talent and

       size of the applicant pool. For example, there were approximately 35,000 applications for

       admission to the class of 2019. [Oct. 17 Tr. 184:2–4]. Harvard, targeting a class size of roughly

       1,600 students, admitted only about 2,000 of those applicants, based on its expectation that

       approximately 80% of admitted students would matriculate. [Id. at 184:22–185:11]. 7 Among

       the applicants for that class, approximately 2,700 had a perfect verbal SAT score, 3,400 had a

       perfect math SAT score, and more than 8,000 had perfect GPAs. [Id. at 184:14–21]. Clearly,

       given the size and strength of its applicant pool, Harvard cannot admit every applicant with

       exceptional academic credentials. To admit every applicant with a perfect GPA, Harvard would

       need to expand its class size by approximately 400% and then reject every applicant with an

       imperfect GPA without regard to their athletic, extracurricular, and other academic

       achievements, or their life experiences. Because academic excellence is necessary but not alone

       sufficient for admission to Harvard College, the Admissions Office seeks to attract applicants

       who are exceptional across multiple dimensions or who demonstrate a truly unusual potential for

       scholarship through more than just standardized test scores or high school grades. [Id. at

       181:12–183:7].

                To help attract exceptionally strong and diverse annual applicant pools, Harvard engages

       in extensive and multifaceted outreach efforts. Each year, roughly 100,000 students make it onto

       Harvard’s “search list” through data, including test scores, that the college purchases from ACT 8

       which administers the ACT, and the College Board, which administers the PSAT and the SAT.




       7
        Harvard admitted 5.8% of applicants to its class of 2017 and 5.7% to its class of 2018. [Oct. 15
       Tr. 157:21–25].
       8
           The American College Testing Company changed its name to ACT in the 1990s.


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       [Oct. 15 Tr. 130:2–131:1; Oct. 17 Tr. 146:2–16]. High school students who make the search list

       receive a letter that encourages them to consider Harvard and may also receive follow-up

       communications. See [Oct. 15 Tr. 131:5–134:16; Oct. 17 Tr. 146:3–12; PX55]. Harvard also

       uses the search list to target students as part of its extensive in-person recruiting efforts, which

       includes Harvard admissions officers travelling to over 100 locations across the United States to

       speak with potential applicants and encourage them to consider Harvard. [Oct. 15 Tr. 131:13–

       20; Oct. 17 Tr. 146:7–12, 179:8–21]. The search list is also sent to Harvard’s “schools

       committee,” which is comprised of more than 10,000 alumni who help recruit and interview

       applicants and help persuade admitted students to attend Harvard. [Oct. 15 Tr. 131:21–132:7].

              In addition to recruiting students based largely on test scores, Harvard places particular

       emphasis on communicating with potential low-income and minority applicants whose academic

       potential might not be fully reflected in their scores. Since the 1970s, Harvard has recruited

       minority students, including Asian Americans, through its Undergraduate Minority Recruitment

       Program (“UMRP”). [Oct. 24 Tr. 95:15–21]. The UMRP writes letters, calls, and sends current

       Harvard undergraduates to their hometowns to speak with prospective applicants. [Id. at 95:12–

       102:3]. The program, led by a full-time director and an assistant director, employs between two

       and ten Harvard students for most of the year, with twenty-five to thirty students working for the

       program during its peak season. [Id. at 201:1–204:22].

              Despite these efforts, African American and Hispanic applicants remain a relatively

       modest portion of Harvard’s applicant pool, together accounting for only about 20% of domestic

       applicants to Harvard each year, even though those groups make up slightly more than 30% of

       the population of the United States. See [PX623; DX713]; U.S. Census Bureau, QuickFacts,

       Census.gov, https://www.census.gov/quickfacts/fact/table/US/RHI225218. In contrast, Asian




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       American high school students have accounted for approximately 22% of total applicants in

       recent years, although Asian Americans make up less than 6% of the national population. See

       [DX713]; U.S. Census Bureau, QuickFacts, Census.gov,

       https://www.census.gov/quickfacts/fact/table/US/RHI225218.

                Harvard’s recruiting efforts also target low-income and first-generation college students

       irrespective of racial identity through a recruiting program that operates in conjunction with the

       Harvard Financial Aid Initiative (“HFAI”). Harvard’s financial aid program guarantees full

       funding of a Harvard education for students from families earning $65,000 or less per year and

       also caps contributions at 10% of income for families making up to $150,000 per year. [Oct. 24

       Tr. 102:10–104:19; PX316 at 6]. Harvard, through the HFAI recruitment program, employs

       students who return to their hometowns and visit high schools to talk about the affordability of

       Harvard and other colleges with need-blind admissions programs. [Oct. 24 Tr. 144:1–22].

       Today, more than half of Harvard students receive need-based aid. [Id. at 150:3–6].

                B.     The Admissions Process

                Several Harvard admissions officers testified generally about reviewing application files

       as well as about their review of specific files. The Court credits this testimony. They each

       described a time-consuming, whole-person review process where every applicant is evaluated as

       a unique individual. See, e.g., [Oct. 17 Tr. 205:6–223:10; Oct. 24 Tr. 174:19–175:23]; see also

       [DD1]. 9 Admissions officers attempt to make collective judgments about each applicant’s

       personality, intellectual curiosity, character, intelligence, perspective, and skillset and to evaluate

       each applicant’s accomplishments in the context of his or her personal and socioeconomic

       circumstances, all with the aim of making admissions decisions based on a more complete


       9
           “DD” refers to demonstrative evidence presented by Harvard.



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       understanding of an applicant’s potential than can be achieved by relying solely on objective

       criteria. [Oct. 16 Tr. 16:15–22; Oct. 17 Tr. 182:17–183:7, 209:16–223:10]; see, e.g., [Oct. 18 Tr.

       22:9–48:4; DX293].

                         1.   The Application

              Students apply to Harvard either through the early action program or the regular decision

       program. 10 All applications are reviewed in the same way regardless of whether a student has

       applied for early action or regular decision. [Oct. 18 Tr. 15:5–10]; see [PX1]. The Admissions

       Office may accept, reject, or waitlist applicants, or, in the case of early action applicants, defer

       them into the regular decision applicant pool. [Oct. 18 Tr. 124:14–125:9]. Students who apply

       for early action are admitted at a higher rate than regular decision applicants. [Oct. 25 Tr.

       242:19–243:17].

              Students apply to Harvard by submitting the Common Application or the Universal

       College Application. [Oct. 17 Tr. 186:1–10; Nov. 1 Tr. 27:13–19]. A complete application

       generally includes standardized test scores, high school transcript(s), information about

       extracurricular and athletic activities, intended concentration and career, a personal statement,

       supplemental essays, teacher and guidance counselor recommendations, and other information

       about the applicant, including high school and personal and family background, such as place of

       birth, citizenship, disciplinary or criminal history, race, siblings’ names and educations, and



       10
         Harvard eliminated its early action program for the classes of 2012 through 2015, in part to
       improve the socioeconomic diversity of its students. [PX316 at 15]; see [DX728]. Eliminating
       early action, however, did not have the expected effect on class diversity, and Harvard’s peer
       institutions largely continued with their early action and early decision programs. [PX316 at 15].
       Harvard became concerned that it was losing some of the most competitive applicants to other
       colleges that offered early decision or early action and decided to reverse course and reinstate its
       early action program for the class of 2016. [Oct. 17 Tr. 163:9–164:1; Oct. 18 Tr. 89:13–91:19;
       Oct. 22 Tr. 100:6–101:15, 185:2–186:8; Oct. 23 Tr. 158:14–160:19; DX39 at 4].



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       parents’ education, occupation, and marital status. See, e.g., [DX195, DX262, DX276, DX293,

       DX527, SA1, SA2, SA3, SA4]. 11 Applicants can also supplement their applications with

       samples of their academic or artistic work, which may be reviewed and evaluated by Harvard

       faculty. [Oct. 17 Tr. 189:5–14; Oct. 18 Tr. 31:21–32:13]; see, e.g., [DX276 at 41; DX293 at 42].

       Applicants may, but are not required to, identify their race in their application by discussing their

       racial or ethnic identity in their personal statement or essays or by checking the box on the

       application form for one or more preset racial groups (e.g. American Indian or Alaskan Native,

       Asian, Black or African American, Native Hawaiian or Other Pacific Islander, or White) and

       may also select or indicate a subcategory of these groups. See [Oct. 18 Tr. 52:8–14; Oct. 26 Tr.

       98:2–6; SA2 at 4; SA3 at 8]. 12 If applicants disclose their racial identities, Harvard may take

       race into account, regardless of whether applicants write about that aspect of their backgrounds

       or otherwise indicate that it is an important component of who they are. [Oct. 26 Tr. 91:17–

       92:1].

                          2.    Alumni and Staff Interviews

                 Most applicants interview with a Harvard alumnus. [Oct. 15 Tr. 128:2–6]. Harvard

       selects alumni to interview candidates based predominantly on geographic considerations.

       Alumni interviewers are provided with an Interviewer Handbook that describes the admissions

       process. [Id. at 127:9–128:1]; see [DX5]. Although interviewers have broad discretion in

       deciding where to conduct the interview, what information to request in advance, and what to



       11
            “SA” refers to evidence offered by student amici.
       12
         Harvard could elect not to receive information about applicants’ race for all applicants or some
       racial subgroups. In fact, Harvard no longer receives information about applicants’ religious
       affiliation, [Oct. 19 Tr. 186:7–187:18], although it does continue to receive some information
       about applicants’ religions and beliefs from applicants who choose to write about their religious
       identities in their essays or their personal statements, [id. at 246:25–247:17].


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       ask, Harvard specifies several questions that alumni interviewers should not ask and also

       instructs alumni not to advise applicants on their chances of admission, given that “this analysis

       can only be accomplished with full access to all the material in an applicant’s file and through

       the extensive discussions shared and comparisons made through the Committee process.” [DX5

       at 30–34]. Alumni interviews generally last from 45 minutes to an hour. [Oct. 17 Tr. 218:25–

       219:9].

                 Alumni interviewers do not have all of the information that is available to admissions

       officers at the time of admissions decisions, but their evaluations can be uniquely helpful to

       admissions officers, as alumni interviews are often an applicant’s sole in-person interaction with

       a Harvard representative. [Id. at 219:17–220:10]. 13 Alumni interviewers complete an evaluation

       form that requests numerical ratings for applicants in academic, personal, and overall categories

       that align with the rating categories later used by Harvard admissions officers. See [PX88 at 50–

       52]. 14 Alumni interviewers also score applicants in a single category that captures

       extracurricular and athletic activities, community involvement, employment, and family

       commitments, while admissions officers score applicants in separate extracurricular and athletic

       categories. See [PX88 at 51; SA1 at 29]; see also infra Section III.B.3. Ratings generally fall

       between 1 and 4, with 1 being the strongest. The ratings criteria used by alumni (i.e. when to




       13
         Alumni interviewers may ask students about their standardized test scores, interests, and high
       schools, but alumni generally do not have access to teacher recommendations, counselor reports,
       and transcripts, all of which are critical to admissions officers’ evaluation of applicants. [Oct. 17
       Tr. 218:25–219:9].
       14
         Alumni ratings for applicants’ personal and overall qualities may be reprinted by admissions
       officers on the summary sheets that sit at the front of application files. See [Oct. 17 Tr. 219:10–
       13; DD1 at 15]; e.g. [DX276 at 1]. Some applicants are scored by admissions officers before
       alumni ratings are available. See [Oct. 24 Tr. 119:7–25].


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       rate applicants 1, 2, 3, 4, or worse for the various rating categories) roughly correspond to the

       criteria used by the admissions officers. Compare [PX1 at 5–7], with [PX88 at 50–52].

               Beyond providing numerical ratings, alumni interviewers write comments explaining

       their ratings on the interview evaluation form, which is then placed in the applicant’s file. See,

       e.g., [SA1 at 29]. Although the Interviewer Handbook contains a section on distinguishing

       excellences including “ethnic . . . factors,” alumni interviewers are not explicitly told to boost the

       ratings they assign to applicants based on race or ethnicity. [DX5 at 11]. Alumni interviewers

       are, however, told to “[b]e aware of, and suspect, your own biases” and that awareness of one’s

       biases is important because “no one can really be ‘objective’ in attempting to evaluate another

       person . . . .” [Id. at 35].

               In addition to alumni interviews, which are offered to most applicants, a small percentage

       of applicants interview with an Admissions Office staff member. [Oct. 19 Tr. 177:14–19].

       Although some staff interviews are offered on a first come, first served basis, many applicants

       secure staff interviews because they are well-connected or particularly attractive candidates, or

       because they are from a part of the country where an alumni interview may be unavailable. [Oct.

       17 Tr. 219:14–220:12; Oct. 19 Tr. 175:8–181:14]. Students who have staff interviews tend to be

       among the strongest applicants and are admitted at a comparatively high rate. See [Oct. 19 Tr.

       178:24–182:18]. 15 Asian American applicants are less likely to have a staff interview than

       white, African American, or Hispanic applicants. [PX619]. Among applicants who receive a

       staff interview, 59% of African Americans, 48% of Hispanics, 53% of whites and 44% of Asian




       15
          Less than 3% of all applicants, but more than 20% of recruited athletes, legacies, applicants on
       the dean’s or director’s interest lists, and children of faculty or staff (“ALDCs”) receive a staff
       interview. [PX619]. Approximately 52% of all applicants and 79% of ALDC applicants who
       receive staff interviews are admitted. [Id.].


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       Americans are admitted. [Id.]. The lower admission rate for staff-interviewed Asian Americans

       is driven primarily by the fact that Asian American applicants are less likely than African

       American and Hispanic applicants, and far less likely than white applicants, to be recruited

       Athletes, Legacies, on the Dean’s or Director’s interest list, or Children of faculty and staff

       (“ALDCs”), all of whom are advantaged in Harvard’s admissions process. See [id.]. 16

                        3.    Application Review Process

                                 i.   Admissions Office and Personnel

              The Admissions Office is tasked with deciding which applicants to admit and which to

       reject or waitlist. See [Oct. 19 Tr. 160:1–11]. Dean of Admissions and Financial Aid William

       Fitzsimmons, 17 Admissions Director Marlyn McGrath, 18 and Financial Aid Director Sally

       Donahue 19 oversee the Admissions Office, which has approximately seventy employees,

       including the forty admissions officers who read applicant files and directly participate in the

       process of deciding which applicants to admit (the “Admissions Committee”). [Oct. 17 Tr.

       180:3–13; Oct. 19 Tr. 232:18–20]. Harvard’s admissions staff is a diverse group of individuals

       that includes Asian Americans. [Oct. 18 Tr. 20:22–21:2]. Several admissions officers testified

       at trial and forcefully denied the suggestion that racial animus or conscious prejudice against


       16
         ALDCs are disproportionately white, with 8% of white applicants being ALDCs compared to
       2.7% of African American, 2.2% of Hispanic, and 2% of Asian American applicants. [PX619].
       17
         Dean Fitzsimmons began working in the Admissions Office in 1972 as an Assistant Director
       of Admissions. He later served as Director of Admissions and worked for the Harvard Fund,
       before becoming Dean of the Admissions Office in 1986. [Oct. 15 Tr. 123:6–124:13].
       18
         Director McGrath received a Ph.D. in 1978 and became a Residential Dean at Harvard the
       same year. She also worked in academic planning for the Faculty of Arts and Sciences at
       Harvard, before becoming the Director of Admissions in 1987. [Oct. 19 Tr. 156:6–157:8].
       19
        Director Donahue recently retired from her leadership role but continues to assist the
       Admissions Office, including by reading applications. [Oct. 19 Tr. 242:11–17]. Director
       Donahue did not testify at trial.


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       Asian Americans infect Harvard’s admissions process. See, e.g., [Oct. 24 Tr. 175:11–17].

       Consistent with this, the Court finds no persuasive documentary evidence of any racial animus or

       conscious prejudice against Asian Americans.

              There is significant turnover in the Admissions Office, which frequently hires relatively

       young admissions officers who leave to pursue other opportunities after a few years. [Oct. 19 Tr.

       233:4–240:3]; see [DX25 at 117–20]. New admissions officers go through an orientation

       process that includes training on evaluating applicants and how to consider race. [Oct. 18 Tr.

       187:13–188:18; Oct. 19 Tr. 43:18–44:2; Oct. 24 Tr. 139:7–24, 222:12–223:14]. The training

       utilizes a casebook that contains lightly edited application files from past years, and new

       admissions officers are guided on how to evaluate and score applicants based on those files. See

       [Oct. 19 Tr. 257:2–20]. The first fifty or one hundred application files reviewed by a new

       admissions officer are also reviewed by a more senior admissions officer who gives feedback to

       the less-experienced colleague as part of the training process. See [Oct. 16 Tr. 13:16–20; Oct. 24

       Tr. 139:18–22]. The Admissions Office holds an annual retreat that sometimes includes

       professional development sessions on evaluating applicants, and admissions officers receive an

       annual training from Harvard’s general counsel that covers the permissible use of race in the

       admissions process. [Oct. 19 Tr. 45:12–47:10]. The Admissions Office has not historically

       provided new admissions officers with any written guidance on how to consider race in the

       admissions process, although Harvard amended its admissions reading procedures in 2018 for

       the class of 2023 to explicitly instruct admissions officers that they “should not take an

       applicant’s race or ethnicity into account in making any of the ratings other than the Overall

       rating” and that for the overall rating “[t]he consideration of race or ethnicity may be considered

       only as one factor among many.” [PX723 at 3 (emphasis omitted)]; see [Oct. 16 Tr. 19:12–17].




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                                ii.   Reading Procedures

              Applications are divided into geographic dockets based on high school location. [Oct. 16

       Tr. 8:2–20; DX5 at 16]. A subcommittee of the full Admissions Committee is responsible for

       the initial evaluation of applications within each docket. [DX5 at 16–17]. Docket

       subcommittees generally include a senior admissions officer who serves as docket chair and

       three to six additional admissions officers. [Id. at 17]. Each subcommittee member is

       responsible for reading all applications from a subset of the docket’s high schools. [Oct. 17 Tr.

       204:6–205:5]. Because the same reader and subcommittee review all applicants from the same

       high school, admissions officers develop a familiarity with their respective high schools’ grading

       practices, academic rigor, and recommendation styles, all of which help them to fairly and

       consistently evaluate applicants, both from particular high schools and across high schools

       within their docket. [Id.]; see [Oct. 24 Tr. 110:17–111:17].

              Applications are initially reviewed by an admissions officer or “first reader” who assigns

       the applicant ratings based on reading procedures that are updated on an annual basis. See [PX1;

       DX5 at 17]. Except for the recent changes to the reading procedures to provide more explicit

       guidance on the use of race, the substantive guidance on rating applicants has remained largely

       the same in recent years. [Nov. 1 Tr. 123:19–124:21, 128:19–129:10, 168:16–172:25]; see

       [PX720; PX721; PX722; PX723; DX742; DX743; DX744]. First readers, and any subsequent

       readers, assign an overall rating; four profile ratings: (1) academic, (2) extracurricular, (3)

       athletic, and (4) personal; and at least three school support ratings that reflect the strength of each

       teacher and guidance counselor recommendation submitted on behalf of an applicant. [Oct. 17

       Tr. 206:14–209:8, 217:15–218:3]. Application readers may also rate the strength of any

       additional recommendations submitted by an applicant. [Id. at 218:4–10]. The ratings generally




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       range from 1 to 4, with 1 being the strongest rating. [Oct. 16 Tr. 10:19–11:17; Oct. 17 Tr.

       207:13–16]. Ratings of 5 and 6 are also available and indicate either weakness or special

       circumstances, for example where family responsibilities prevent the applicant from participating

       in extracurricular activities. [Oct. 16 Tr. 10:21–11:1; PX1 at 5–7]. Admissions officers may

       also use “+” (stronger) and “–” (weaker) signs to fine tune a rating, with a rating of 2+ being

       stronger than a rating of 2, which is stronger than a rating of 2–. [Oct. 16 Tr. 11:11–17]; see

       [Oct. 18 Tr. 31:2–8]. Each of the profile ratings assigned by the first reader and any subsequent

       readers are preliminary and used as a starting point for any later consideration of the applicant by

       a docket subcommittee or the full Admissions Committee. [Oct. 17 Tr. 221:6–19].

              The academic rating reflects the applicant’s academic strength and potential based on

       grades, standardized test scores, letters of recommendation, academic prizes, any submitted

       academic work, and the strength of the applicant’s high school. See [id. at 209:16–210:14; Oct.

       19 Tr. 55:4–9; Oct. 24 Tr. 113:5–12]. An academic rating of 1 indicates summa cum laude

       potential, a genuine scholar, and near-perfect scores and grades (in most cases) combined with

       unusual creativity and possible evidence of original scholarship; an academic rating of 2

       indicates magna cum laude potential, superb grades, and mid- to high-700 SAT scores or a score

       above 33 on the ACT; an academic rating of 3 indicates cum laude potential, excellent grades,

       and mid-600 to low-700 SAT scores or an ACT score of 29 to 32; and an academic 4 indicates

       adequate preparation, respectable grades, and low- to mid-600 SAT scores or an ACT score of

       26 to 29. [PX1 at 5–6].

              The extracurricular rating is an assessment of an applicant’s involvement in activities

       during high school and his or her potential to contribute to the extracurricular student life at

       Harvard. [Oct. 17 Tr. 212:4–213:1]. It may also account for family or personal circumstances




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       that have limited the applicant’s participation in extracurricular activities. [Id. at 207:13–23].

       An extracurricular rating of 1 indicates national-level, professional or other truly unusual

       achievement that suggests an applicant may be a major contributor at Harvard; an extracurricular

       rating of 2 indicates strong contributions to an applicant’s high school in one or more areas, such

       as being class president or achieving recognition for extracurricular accomplishments on a local

       or regional level; an extracurricular rating of 3 indicates solid participation but without special

       distinction; and an extracurricular rating of 4 indicates little or no participation. [PX1 at 6].

               An athletic rating of 1 indicates that an applicant is a recruited athlete, an athletic rating

       of 2 indicates strong high school contribution and possibly leadership roles in athletics, an

       athletic rating of 3 indicates active participation, and an athletic rating of 4 indicates little or no

       participation in athletics. [Id.].

               The personal rating reflects the admissions officer’s assessment of what kind of

       contribution the applicant would make to the Harvard community based on their personal

       qualities. [Oct. 17 Tr. 213:22–216:1; Oct. 18 Tr. 39:1–25]. Although the reading procedures

       have not historically provided detailed guidance on what qualities should be considered in

       assigning a personal rating, relevant qualities might include integrity, helpfulness, courage,

       kindness, fortitude, empathy, self-confidence, leadership ability, maturity, or grit. See [Oct. 17

       Tr. 213:22–214:19; Oct. 19 Tr. 227:6–228:2; Oct. 24 Tr. 117:4–24]. For the application cycles

       that were the subject of the statistical analysis performed in this case, the reading procedures

       specified that a personal rating of 1 meant “outstanding,” 2 meant “very strong,” 3 meant

       “generally positive,” and 4 meant “bland or somewhat negative or immature.” [PX1 at 6; PX71

       at 6]. The personal rating criteria, perhaps in response to this lawsuit, were overhauled for the

       class of 2023, and the reading procedures now explicitly state that “an applicant’s race or




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       ethnicity should not be considered in assigning the personal rating” and encourage admissions

       officers to consider “qualities of character” such as “courage in the face of seemingly

       insurmountable obstacles,” “leadership,” “maturity,” “genuineness, selflessness[,] humility,”

       “resiliency,” “judgment,” “citizenship,” and “spirit and camaraderie with peers.” [PX723 at 5].

              The overall rating reflects the admissions officer’s impression of the strength of the

       application, taking account of all information available at the time the rating is assigned. [Oct.

       18 Tr. 186:12–15; Oct. 19 Tr. 49:3–15; PX1 at 5]. An overall rating of 1 is exceptional and a

       clear admit, an overall 2 reflects strong credentials, an overall 3 indicates good credentials, and

       an overall 4 indicates respectable credentials. [PX1 at 5; DX744 at 3]. 20 Admissions officers are

       permitted to take an applicant’s race into account when assigning the overall rating. [Oct. 17 Tr.

       221:3–5].

              Applicants are also assigned school support ratings that indicate the strength of their

       teacher and guidance counselor recommendations. [Oct. 17 Tr. 217:15–218:10; Oct. 18 Tr.

       204:3–22]. A school support rating of 1 indicates strikingly unusual support, a 2 indicates very

       strong support, a 3 indicates above average positive support, and a 4 indicates somewhat neutral

       or slightly negative support. [PX1 at 7]. Teacher and guidance counsel recommendations may

       inform the profile ratings, for example if a teacher discusses a student’s academic or

       extracurricular commitments, but the school support ratings are distinct from the profile ratings

       and do not impact the profile ratings in a formulaic manner. See [Oct. 31 Tr. 36:10–37:16].

              Harvard also considers whether applicants will offer a diverse perspective or are

       exceptional in ways that do not lend themselves to quantifiable metrics. Harvard may give



       20
         The summaries here reflect the Class of 2018 reading procedures. Although the ratings
       guidelines are routinely revised, the guidelines and reading procedures for the classes of 2014
       through 2019 do not differ in material respects.


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       applicants a “tip” for “distinguishing excellences,” such as capacity for leadership, creative

       ability, and geographic, economic, and racial or ethnic factors. See [Oct. 17 Tr. 191:8–200:20;

       DX5 at 9–11]. The Admissions Committee gives some applicants large tips for non-academic

       reasons where an individual’s talents or background suggests that admitting them will be

       especially beneficial to the Harvard community. See [DX5 at 11]. ALDCs are the four most

       notable groups of applicants, other than racial minorities, who receive such tips. [Oct. 17 Tr.

       12:10–14:23, 198:22–201:17; Oct. 18 Tr. 48:14–21; Oct. 23 Tr. 204:10–16; PX104; PX106;

       PX111]. Recruited athletes receive a tip in the admissions process because they are being

       recruited by one of Harvard’s varsity sports teams and are presumably exceptionally talented, but

       legacy applicants, those on the dean’s or director’s interest lists, and children of faculty and staff

       obtain an admissions tip that is primarily or exclusively a product of family circumstances.

       Harvard’s objective in giving tips to applicants based on criteria other than individual merit, such

       as to legacies and the children of its faculty and staff, is to promote the institution and is

       unrelated to the racial composition of those applicant groups. [Oct. 17 Tr. 198:22–200:11].

               When reviewing an application, “first readers” generally begin with the application

       summary sheet, which is a two to three page document that is prepopulated with much of the key

       information about an applicant, including the applicant’s high school, citizenship, test scores,

       GPA, class rank, and race. E.g. [DX195 at 2]. The summary sheet also contains blank spaces

       for ratings and notes, to be filled in by the first reader and a potential second reader. [Oct. 18 Tr.

       22:18–23:3]; e.g. [DX195 at 2–4]. After reviewing an application file, the first reader rates the

       strength of the teacher and guidance counselor letters of recommendation, assigns the academic,

       extracurricular, athletic, personal, and overall ratings to the applicant, and writes any notes about

       the applicant. [Oct. 17 Tr. 206:24–207:12]. The reader then sends the application to the docket




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       chair if it merits further review, at which point the docket chair will review the file, record his or

       her own ratings of the applicant based on the same criteria, and add written comments. See [Oct.

       19 Tr. 250:12–251:2]; e.g. [DX195 at 2–3]. Even if the first reader does not pass an application

       on for further review, the application and the first reader’s scoring remain available to all

       admissions officers and may be discussed later in the admissions process. [Oct. 18 Tr. 12:1–13,

       16:7–17:5]. Although docket chairs are frequently the “second reader,” other admissions officers

       may also serve as a second reader as circumstances require, for example when the first reader is

       new to the Admissions Office. [Oct. 17 Tr. 206:1–13].

                               iii.   Committee Meetings and Admissions Decisions

              After the application files for the early action or regular decision cycle have been

       reviewed by the early readers, the docket subcommittees meet as a group to collectively evaluate

       the applications in their dockets and come up with a list of recommended admits for the full

       Admissions Committee. [Id. at 204:10–12; Oct. 18 Tr. 12:14–13:5]. The subcommittees

       consider early admission applicants in November and meet again to consider regular decision

       applicants in late January or February. See [DX41]. First readers act as the advocate for the

       applicants whose applications they initially reviewed. [Oct. 16 Tr. 8:7–9:2; Oct. 17 Tr. 204:10–

       12]. Subcommittees generally go through their docket of applications high school by high

       school, with the first readers for each high school presenting the applicants they view as

       legitimate contenders for admission. [Oct. 18 Tr. 9:20–10:7]. All applications on a

       subcommittee’s docket, including those that the first readers view as legitimate contenders and

       those that they do not intend to present to the subcommittee, are included in a binder which helps

       the subcommittee members compare and contrast applicants. [Id. at 108:8–11:25]. In some

       subcommittee meetings, summary information about the applicant under discussion, including




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       race, is projected on a screen so that it can be easily viewed by all subcommittee members during

       the discussion of that applicant. [Oct. 24 Tr. 191:23–192:24]. The subcommittees make

       recommendations on applicants, including to admit, waitlist, and reject, and may also place

       applications on hold to await additional information or defer an early decision applicant to the

       regular admissions pool. [Oct. 18 Tr. 12:14–13:5]. Subcommittees may take race into account

       in making these initial recommendations. [Oct. 24 Tr. 128:12–25]. The initial recommendations

       are not final, and the application review process is fluid. It is common for some applicants who

       are not initially recommended for admission by a subcommittee to be admitted, and for some

       applicants who are initially recommended for admission to be waitlisted or rejected, especially

       where more information about an applicant becomes available later in the admissions process.

       [Oct. 18 Tr. 13:6–15].

              As the process progresses and after the subcommittees decide more definitively which

       applicants to recommend for admission, the full Admissions Committee, comprised of all forty

       admissions officers who read applications, meets to collectively decide which applicants to

       admit. [Id. at 13:18–21]. Additionally, there is a standing committee, which includes faculty

       members, that assists the Admissions Office in its review and evaluation of applications, and

       those faculty members are also invited to attend the full Admissions Committee meetings. [Id. at

       13:19–14:8]. The full committee meets in late November and early December to discuss early

       action applicants and in March to consider regular decision applicants. [Id. at 14:9–11; DX41].

              Almost all applicants who are recommended for admission by the subcommittees are

       discussed by the full committee. [Oct. 18 Tr. 15:17–19]. Additionally, every admissions officer

       has access to every application file and may call the full committee’s attention to applicants who

       have not been recommended by a subcommittee. [Id. at 12:1–13, 16:7–9]. Applications are




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       projected on a screen while the full committee discusses the applicant, and the full application

       file is available to committee members electronically. [Id. at 17:6–11]. At the time of the full

       committee meeting, there is often more information available to the full committee than was

       available to the application’s earlier readers and the applicable subcommittee because additional

       high school grades, alumni interview evaluations, and other information frequently becomes

       available later in the admissions process. [Id. at 17:12–20]. The full Admissions Committee

       makes decisions by in-person majority votes. [Id. at 17:21–18:2].

              In making admissions decisions, Harvard’s goal is to admit the best freshman class for

       Harvard College, not merely a class composed of the strongest applicants based solely on

       academic qualifications. [DX5 at 9–10]. Although the reading procedures reflect the traits that

       Harvard looks for in applicants, Harvard does not decide which applicants to admit based on any

       formula. See [Oct. 17 Tr. 221:20–223:6]. As the Interviewer Handbook describes:

              The Admissions Committee values objective criteria, but holds a more expansive
              view of excellence. Test scores and grades indicate students’ academic aptitude
              and achievement. The Committee also scrutinizes applications for extracurricular
              distinction and personal qualities. Students’ intellectual imagination, strength of
              character, and their ability to exercise good judgment—these are other, critical
              factors in the admissions process, and they are revealed not by test scores but by
              students’ activity outside the classroom, the testimony of teachers and guidance
              counselors, and by alumni/ae interview reports. Seeking evidence of these three
              criteria—academic excellence, extracurricular distinction, and personal qualities—
              the Committee reads with care all the components of each applicant’s file: the high
              school transcript, standardized test scores, extracurricular activities, personal
              statement, teacher and secondary school recommendations, and the personal
              interview report.

              Attempts to define and to identify precise elements of character, and to determine
              how much weight they should be given in the admissions process, require discretion
              and judiciousness. But the Committee believes that the “best” freshman class is
              more likely to result if we bring evaluation of character and personality into
              decisions than if we do not. We believe that a diversity of backgrounds, academic
              interests, extracurricular talents, and career goals among students who live and
              learn together affects the quality of education as much as a great faculty or vast
              material resources.



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       [DX5 at 10].

              The Admissions Office sets a target number of students to admit based on the roughly

       1,600 spots available each year and the expected matriculation or yield rate for admitted

       applicants. See [Oct. 15 Tr. 160:18–161:5]. After the full committee completes its review of all

       applicants recommended for admission, Harvard often needs to remove some students from the

       admit list to reach its target number of admitted students. [Oct. 23 Tr. 191:1–4]. When it

       becomes necessary to reduce the list of prospective “admits”, the Admissions Committee uses a

       “lop process” in the closing days of the full committee meetings that involves discussing

       candidates again and then “lopping” some from the admit list. [Oct. 24 Tr. 130:22–131:10; Nov.

       1 Tr. 244:3–245:15]. 21 In aid of this, a potential lop list is prepared that may contain the HFAI

       status, athletic rating, legacy status, gender, and race of the applicants whom the committee is

       expected to consider lopping. [Oct. 24 Tr. 131:16–24]. Dean Fitzsimmons then informs the

       Admissions Committee of the characteristics of the admitted class, which may include racial

       composition, and the committee decides, as a group, which students to lop off the admit list

       based on many factors, which may include race. See [id. at 196:1–200:16].

              After the Admissions Committee concludes the full committee meetings, applicants are

       notified whether they have been admitted, wait-listed, or rejected, or in the case of early action

       students, whether they have been deferred into the regular decision process. See [Oct. 18 Tr.

       124:16–125:9]. Additionally, some applicants may be offered deferred admission or “z-listed,”

       meaning they are offered a spot in the class following the class year for which they applied.

       [Oct. 19 Tr. 167:25–168:23].




       21
         Some subcommittees engage in a similar lop process, as they select students to be
       recommended to the full committee for admission. [Oct. 24 Tr. 130:22–131:6].


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                                   Application Review Process [DD1 at 4].




                        4.    Harvard’s Use of Race in Admissions

              Throughout the admissions process, the Admissions Office leadership tracks the racial

       composition of the applicant pool, the students recommended for admission to the full

       committee, and the students admitted by the full committee. The composition of applicants and

       admitted students helps the Admissions Office see how well its efforts to achieve a diverse class

       are working by showing, for example, whether Harvard is seeing increases in applications from

       students with the backgrounds that it has placed a special emphasis on recruiting, and whether

       minority students have been admitted in numbers that will likely lead to a racially diverse

       entering class. See [Oct. 18 Tr. 81:20–82:18].

              To do this tracking, Dean Fitzsimmons, Director McGrath, and a few other admissions

       officers receive “one-pagers” that provide a snapshot of the projected class and compare it to the

       prior year. [Id. at 80:2–5; Oct. 23 Tr. 178:21–179:10]. The one-pagers contain statistics on

       applications and admission rates by gender, geography, academic interest, legacy status,

       financial aid circumstances, citizenship status, racial or ethnic group, and on recruited athlete

       status and applicants flagged as disadvantaged. [Oct. 18 Tr. at 77:5–78:2]; e.g. [PX165 at 2].


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       The racial breakdown shown on the one-pagers is provided based on three methodologies, the

       “old methodology,” the “new methodology,” and the federal government’s “Integrated

       Postsecondary Educational Data System” (“IPEDS”), [Oct. 18 Tr. 78:3–13]; e.g. [PX165 at 3],

       with the Admissions Office preferring the new methodology. 22 [Oct. 18 Tr. 81:6–19, 85:5–7].

               Dean Fitzsimmons shares the breakdown of the admitted class as reflected on the one-

       pagers with the full committee from time to time. [Id. at 80:6–18; Oct. 19 Tr. 195:21–196:16].

       For example, at the start of the full Admissions Committee meetings, he usually states how many

       students are being recommended for admission by the subcommittees and how the breakdown of

       the class compares to the prior year in terms of racial identities and other demographics. [Oct.

       24 Tr. 83:7–16; Oct. 26 Tr. 104:22–106:14]. The leadership of the Admissions Office monitors

       the breakdown of the class as the full committee meetings progress and through the lop process.

       See [Oct. 23 Tr. 181:4–23]. Although there are no quotas for subcategories of admitted students,

       if at some point in the admissions process it appears that a group is notably underrepresented or

       has suffered a dramatic drop off relative to the prior year, the Admissions Committee may decide

       to give additional attention to applications from students within that group. [Oct. 19 Tr. 198:23–

       200:10]. 23




       22
         The new methodology better reflects the racial diversity that results from students who identify
       with multiple racial groups than the IPEDS methodology. [Oct. 18 Tr. 83:17–84:9]. Harvard
       has found the IPEDS methodology less reflective of the actual diversity of its class because, for
       example, it classifies all applicants who identify as Hispanic as only Hispanic irrespective of
       other racial groups they may also identify with. [Id. at 84:10–24]. This avoids double counting
       but results in the underreporting of the representation of minority racial and ethnic groups
       because many students identify with two or more racial groups. [Id. at 84:10–85:7].
       23
         Harvard also shares statistics on admissions by race with the Association of Black Admission
       and Financial Aid Officers at the Ivy League and Sister Schools to learn about the practices of
       other schools. [Oct. 24 Tr. 83:17–85:17].


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               In addition to giving the Admissions Office some perspective on whether it is admitting

       a diverse class, the collective racial composition of applicants and admitted students helps

       Harvard better forecast its overall yield rate because different racial groups historically accept

       offers to attend Harvard at differing rates. [Oct. 15 Tr. 160:18–162:7]. As examples, admitted

       Asian American students usually matriculate at a higher rate than white students, while admitted

       Hispanic, African American, Native American, and multiracial applicants matriculate at a lower

       rate. [Oct. 18 Tr. 80:21–81:5]; see [PX324]. Because of these variations in yield rates by racial

       group, Harvard uses the racial makeup of admitted students to help determine how many

       students it should admit overall to avoid overfilling or underfilling its class. See [Oct. 15 Tr.

       162:1–15].

              In addition to monitoring the likely racial makeup of the admitted class, admissions

       officers use race in evaluating applicants and assigning an overall rating. [Oct. 17 Tr. 221:3–5;

       Oct. 18 Tr. 49:20–50:3, 186:16–25]. Although race may act as a tip or plus factor when making

       admissions decisions, it is only ever one factor among many used to evaluate an applicant. [Oct.

       18 Tr. 49:10–16, 167:2–169:24]; see [DX5 at 11]. Race is only intentionally considered as a

       positive attribute. [Oct. 16 Tr. 22:18–23:4; Oct. 18 Tr. 197:5–11]; see [Oct. 30 Tr. 80:1–23].

              Admissions officers are not supposed to, and do not intentionally, take a student’s race

       directly into account when assigning ratings other than the overall rating, but Harvard’s reading

       procedures did not instruct readers not to consider race in assigning those ratings until 2018,

       when Harvard amended the reading procedures for the class of 2023 to provide more explicit

       guidance on the appropriate use and non-use of race. See [Oct. 18 Tr. 49:20–50:3; Oct. 19 Tr.

       252:21–253:13; Oct. 24 Tr. 121:21–122:4, 140:6–25; Nov. 1 Tr. 124:3–125:11; PX723 at 1, 3].

       Further, some admissions officers may take an applicant’s race into account indirectly, for




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       example when an applicant’s race has influenced other personal qualities that the admissions

       officer believes will add to the Harvard community. [Oct. 19 Tr. 48:11–49:1; Oct. 24 Tr. 138:1–

       10].

              No admission officer who testified perceived Harvard to be engaged in discrimination

       against Asian Americans. For example, Senior Admission Officer Charlene Kim 24 was asked

       what her reaction was to the allegation that Harvard discriminated against Asian Americans. She

       responded:

              I think now just concern. It’s not what I know our office to be. It’s not who I am.
              . . . I would never be part of a process that would discriminate against anybody, let
              alone people that looked like me, like my family, like my friends, like my daughter.
              And so I’m actually really grateful to be able to be here to share my little bit of my
              experience on the admissions committee . . . . I’m not here to say that it’s perfect,
              but I know that we don’t discriminate against anyone.

       [Oct. 24 Tr. 175:11–22].

              To summarize the use of race in the admissions process, Harvard does not have a quota

       for students from any racial group, but it tracks how each class is shaping up relative to previous

       years with an eye towards achieving a level of racial diversity that will provide its students with

       the richest possible experience. It monitors the racial distribution of admitted students in part to

       ensure that it is admitting a racially diverse class that will not be overenrolled based on historic

       matriculation rates which vary by racial group. Although racial identity may be considered by

       admissions officers when they are assigning an applicant’s overall rating, including when an

       applicant discloses their race but does not otherwise discuss it in their application, race has no

       specified value in the admissions process and is never viewed as a negative attribute.



       24
         Ms. Kim is a senior admissions officer, the assistant director of financial aid, and the director
       of Harvard’s first-generation program. She graduated from the University of California at
       Berkeley and received a master’s degree from New York University. She began working in the
       Admissions Office in 2008. [Oct. 24 Tr. 125:12–25, 141:18–142:1].


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       Admissions officers are not supposed to, and do not intentionally, consider race in assigning

       ratings other than the overall rating.

              C.      Prelude to this Lawsuit

                        1.    The Unz Article

              This lawsuit followed magazine and news articles that raised the specter of Asian

       American students being penalized in college admissions based on their racial identity.

       Harvard’s response to that controversy demonstrates Harvard’s concern about the perception that

       its admissions process was racially biased but also the complexity of the statistical evidence upon

       which the allegations here are based.

              On or about November 28, 2012, Ron Unz, a Harvard alumnus, published an article titled

       “The Myth of American Meritocracy” in The American Conservative (the “Unz Article”).

       [PX218]. Unz asserted that elite universities were biased against Asian Americans and

       employed “de facto Asian quotas” as evidenced by a gap between Asian American

       representation among America’s most academically accomplished high school students and their

       comparatively low representation at elite colleges. [Id. at 9]. The Unz Article, which itself

       included language that suggested certain unsavory biases, 25 did not attract much attention until

       approximately one month later when David Brooks of the New York Times published an article

       that promoted the Unz Article as one of the best magazine articles of the year and argued that

       stagnant Asian American representation at Harvard between 1995 and 2011 smelled like a quota

       system. See [Oct. 17 Tr. 24:19–25:17]. The two articles together and their allegations of racial


       25
         The article relies in part on data based on perceptions about the proportion of national merit
       scholarship semifinalists from California whose “names seem to be Jewish.” [PX218 at 12].
       Although the Court recognizes that this article might have interested some sociologists, it was
       not unreasonable for some Harvard admissions officials to view the article as “profoundly anti-
       Semitic” and, as a result, to view it as less than serious scholarship. [Oct. 17 Tr. 158:2–159:10].



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       bias sparked concern among Harvard’s leadership and some of its alumni, who encouraged

       Harvard to respond to the allegations. See [id. at 25:8–37:25; PX227; PX238].

                        2.    Analysis by Office of Institutional Research

                                i.   Mark Hansen’s Admissions Models

              Following the 2012 Christmas and 2013 New Year’s holidays, Dean Fitzsimmons

       attempted to develop a response to the Unz Article, including soliciting input from Harvard’s

       Office of Institutional Research (“OIR”). [Oct. 17 Tr. 37:14–38:16; Oct. 23 Tr. 208:13–209:21;

       PX230; PX236; PX238]. 26 As part of OIR’s initial evaluation of the statistical evidence,

       research analyst Mark Hansen 27 prepared four rough logistic regression models, using data on

       applicants and admission outcomes for the classes of 2007 through 2016, to project Harvard’s

       admitted classes using a limited set of variables, including applicants’ race. [Oct. 24 Tr. 14:5–




       26
          OIR is a university-wide office that provides statistical analysis in response to requests from
       across Harvard University and sometimes on its own initiative when it anticipates a need for
       such work. During the relevant time period, the office typically had approximately 30 ongoing
       projects and received numerous additional ad hoc requests each year. [Oct. 19 Tr. 126:5–23].
       OIR’s objective was and remains to offer accurate, timely, and digestible research that is tailored
       to diverse audiences with the goal of promoting informed decision-making and furthering the
       core missions of the university. [Oct. 18 Tr. 210:9–14; PX465].
       27
         Mr. Hansen studied mathematics at Boston University before obtaining a master’s degree from
       Harvard’s Graduate School of Education. He was hired as a management fellow by OIR in the
       summer of 2010 and was promoted to research analyst in 2011. He left OIR in the summer of
       2013 to work for MIT’s Office of Institutional Research. [Oct. 24 Tr. 10:19–11:25].



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       24]; see [PX12 at 32–35]. 28 His most expansive model used applicants’ academic index, 29

       academic rating, legacy and recruited athlete status, personal rating, extracurricular rating,

       gender, and race as inputs to predict the admitted class. See [PX12 at 33]. The classes projected

       by this model had racial demographics that approximated the actual class based on the

       probability of admission assigned to applicants by the model. See [id. at 34–35]. Mr. Hansen’s

       less complete models, which did not include variables for racial identities, projected admitted

       classes with far more Asian students than Harvard’s actual admitted classes, suggesting either

       that racial tips resulted in fewer Asian students being admitted or that factors correlated with

       Asian identity that were not included in Mr. Hansen’s models were significantly affecting which

       applicants Harvard chose to admit. See [id. at 33–34].




       28
         At trial, SFFA emphasized a 17-page draft presentation, replete with blank spaces and
       typographical errors, that Mr. Hansen prepared in February 2013 but did not circulate to others.
       See [PX9]. In this draft presentation, Mr. Hansen summarized his findings as follows:

            x   Athletes and Legacies explain the difference in raw admit rates for Asian and White
                applicants.
            x   Asian applicants have higher average ratings and test scores (excluding the personal
                rating).
            x   Differences exist in the raw admit rates of Asian and White students with similar
                test scores and academic indices. Even top scores and ratings don’t guarantee
                admission.
            x   Personal rating is important in models of the admissions process and drive some of
                the demographic differences we see.

       [Id. at 2]. Much of the information in the draft presentation, including the above summary, was
       never shared with the Admissions Office. See [PX12]. Further, it does not appear that anyone
       affiliated with Harvard other than Mr. Hansen, saw the draft report prior to this litigation. [Oct.
       19 Tr. 111:14–22; Oct. 24 Tr. 50:9–14].
       29
         The academic index is a metric that provides an indication of overall strength by taking
       account of standardized test scores and high school grades. [Oct. 16 Tr. 84:9–23].



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                Mr. Hansen’s models could lead a casual observer to conclude that race plays a

       significantly larger role in Harvard’s admissions process than it actually does. The models

       incorporate far fewer variables than those prepared by the parties’ economic experts for this

       litigation and omit many variables that are important to the admissions process. Compare [PX12

       at 33], with [PD38 at 26]. 30 Even Mr. Hansen’s most complete model almost certainly suffers

       from considerable omitted variable bias in light of the likely correlation between race and

       important variables that Mr. Hansen did not include. Most notably, his models contain no

       controls for socioeconomic and family circumstances that correlate with race and also affect

       admissions decisions. See [PX12 at 33]. Given these deficiencies in the models, they are

       entitled to little weight for the purpose of determining whether Harvard discriminates against

       Asian American applicants, particularly given the availability of the experts’ far more

       comprehensive models and the testimony offered by fact witnesses in this case. See [Oct. 19 Tr.

       19:19–20:8]. Mr. Hansen’s models do suggest, consistent with other evidence, that Asian

       Americans applicants excel in academic metrics; that tips for legacies and recruited athletes

       result in more white students being admitted; that a projection of Harvard’s class based only on

       the profile ratings, academic metrics, and athlete and legacy statuses is incomplete and results in

       a projected class that is vastly less racially diverse than the one Harvard achieves; and that,

       absent any consideration of race, Harvard’s classes would have drastically fewer African

       American and Hispanic students. See [PX12 at 33–34]. 31




       30
            “PD” refers to demonstrative evidence presented by SFFA.
       31
        The Court notes that Mr. Hansen’s models suggest that any increase in Asian American admits
       would come largely at the expense of African Americans and Hispanics.


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              A limited selection of slides depicting Mr. Hansen’s logistic regression models were

       included in a February 25, 2013, presentation for Dean Fitzsimmons that focused on and

       included much more information on the reintroduction of Harvard’s early action program and an

       analysis of issues related to the accessibility and affordability of a Harvard education. [Oct. 17

       Tr. 83:24–84:16; PX12 at 32–37]. The slides on Mr. Hansen’s models that were shared with

       Dean Fitzsimmons included a statement that they were “preliminary and for discussion,” and

       they were not presented or understood as evidence of discrimination. See [Oct. 17 Tr. 83:24–

       84:16; PX12 at 32–36]. Dean Fitzsimmons concluded that Mr. Hansen’s models were

       incomplete, and he elected not to discuss those slides or the information they contained with

       Harvard’s leadership at that time. [Oct. 17 Tr. 84:3–85:1]. More than a year later, Mr. Hansen’s

       models were shared with Dean Khurana, shortly after he became the dean, in advance of a “high-

       level meet-and-greet type meeting” that was intended to generally familiarize Dean Khurana

       with OIR’s work. [Oct. 23 Tr. 44:3–8, 45:6–10, 46:12–17]; see [PX41 at 50]. Dean Khurana

       also found Mr. Hansen’s models incomplete and viewed them as a puzzling approach to

       understanding Harvard’s admissions process. [Oct. 23 Tr. 47:4–49:18].

                               ii.   Low-Income Admissions Models

              Following the February 2013 meeting with OIR, Dean Fitzsimmons requested that Dr.

       Erin Driver-Linn 32 and Ms. Erica Bever 33 further analyze the effect of low-income status, which

       Dean Fitzsimmons hoped and expected would confirm that Harvard was providing a tip to low-

       income applicants. [Oct. 17 Tr. 172:22–173:21]. This analysis was intended to respond, at least



       32
         During the relevant period, OIR was led by Dr. Driver-Linn, who holds a Ph.D. in social
       psychology from Harvard. [Oct. 19 Tr. 69:9–70:7].
       33
         Ms. Bever joined OIR in 2007 and transitioned to the Admissions Office where she now
       serves as a senior admissions officer and the director of research. [Oct. 18 Tr. 200:7–201:1].


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       in part, to criticism that elite colleges, like Harvard, were not doing enough to attract low-income

       students. See [PX26 at 2]. On May 1, 2013, Ms. Bever, Dr. Driver-Linn, and Mr. Hansen sent

       Dean Fitzsimmons a summary of their initial findings in a memorandum titled “Harvard College

       Admissions and Low Income Students.” [Id.]. Their analysis found that Harvard students from

       lower income backgrounds generally have lower SAT scores but that they are admitted at higher

       rates when controlling for their SAT scores. [Id. at 2–3, 6–7].

              After reviewing the distribution of SAT scores by family income, OIR’s memorandum

       discussed the need to model the admissions process to better evaluate whether the Admissions

       Office was providing a tip to low-income students, given that the relationship between income

       and admission, controlling only for SAT scores, could have been the result of a relationship

       between income and other factors, such as race. [PX26 at 3–4]; see [PX28 at 4 (indicating that

       applicants with family incomes of less than $60,000 accounted for 25% of Hispanic, 24% of

       African American, 18% of Asian American, and 10% of white applicants)]. As OIR’s memo to

       Dean Fitzsimmons summarized:

              The differences [in students’ SAT scores by income] could be related to other
              factors important in the admissions process. In order to control for those potential
              issues, we implement a logistic regression model to predict the probability of
              admission, controlling for demographic characteristics and a variety of metrics used
              to asses qualification for admission. Demographic characteristics include gender
              and race/ethnicity. Qualifications used in admission include academic index,
              academic rating, extracurricular rating, personal rating, athletic rating, and legacy
              status.

              This approach has several limitations; we picked a small set of variables that would
              factor in admissions decisions. The selection of a wider set of variables might result
              in a better fitting model, one that accounts for more of the variation in individual
              applicants and their potentially unique contributions to the entering class. For
              example, the model does not capture exceptional talent in art or music explicitly
              (although ratings may capture some aspect of these attributes). In addition, our
              model is limited to main effects, not examining interactions between variables. Our
              analysis should not be considered exhaustive.




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       [PX26 at 3]. To the extent that OIR’s initial analysis suggested that Harvard was providing an

       admissions tip to applicants from low-income backgrounds, that tip appeared less significant

       than tips for legacies and recruited athletes. See [id. at 8–9]. OIR explained that:

               To get a sense of the size of the admissions advantage conferred to low-income
               applicants relative to other groups of applicants, the so-called “thumb on the scale,”
               we include low-income status in a second logistic regression model. . . . The
               variables with the largest effects on the probability of admission are athletic rating,
               personal rating, and legacy status. Compared to athletes and legacies, the size of
               the advantage for low income students is relatively small.

       [Id. at 3].

               The memorandum also noted that “Asian applicants with an academic 1 or 2 are admitted

       12% of the time compared against an admit rate of 18% for non-Asian applicants” and provided

       a chart illustrating this disparity. [Id. at 4, 9]. Further, the memo stated that certain “issues”

       should be considered before sharing the analysis publicly, including that there are “demographic

       groups that have negative effects,” although the only demographic group for which OIR’s

       analysis returned a negative coefficient was “Asian.” [Id. at 4]. Although the model returned a

       negative coefficient for Asian applicants, neither OIR nor Dean Fitzsimmons viewed the report

       as indicative of discrimination. [Oct. 17 Tr. 109:15–19; Oct. 19 Tr. 152:22–153:15].

               After receiving the May 1, 2013 memorandum, Dean Fitzsimmons asked OIR to examine

       the effect of Asian racial identity on admissions outcomes to confirm that the low-income tip

       was being fairly and consistently applied to all groups, but he did not ask OIR to further examine

       the effect of being Asian on admissions outcomes across the board. [Oct. 17 Tr. 127:22–128:12,

       129:13–17]. OIR added an interaction term for Asian and Low Income which allowed the model

       to return coefficients that accounted for the possibility that the tip for low income varied by race.

       See [PX28 at 7–8]. On June 3, 2013, OIR shared with Dean Fitzsimmons its additional analysis,

       [Oct. 17 Tr. 129:13–130:13], which showed a coefficient for the interaction term of “Asian and



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       Low Income” that was positive and statistically significant but of a lesser magnitude than the

       negative coefficient for Asian identity, see [PX28 at 7; PX29]. This updated analysis suggested

       that although low-income Asian American applicants were provided a tip relative to their higher

       income Asian American peers, the magnitude of that tip might not overcome the negative

       relationship between Asian racial identity and admissions outcome, when holding constant some

       variation in the profile ratings, gender, and applicants’ academic index. [Id. at 7]; see also

       [DD10 at 27]. Nevertheless, the data reassured Dean Fitzsimmons that the Admissions Office

       was “treating Asian Americans in an evenhanded manner.” [Oct. 17 Tr. 134:3–11]. As with Mr.

       Hansen’s February 2013 models, OIR’s May 2013 models suffer from significant omitted

       variable bias, and the magnitude of the negative coefficient for Asian applicants is relatively

       modest considering the number and significance of omitted observable and unobservable factors.

       See [PX28 at 7]. As a result, the OIR analysis is weak evidence of bias against Asian American

       applicants, particularly relative to the more thorough econometric analysis that has been done by

       the parties’ economic experts in connection with this litigation.

              Dean Fitzsimmons’ non-inference of actual discrimination based on the relatively modest

       negative Asian coefficient was reasonable given the limitations of OIR’s model and his own

       experience with and confidence in the Admissions Office’s process. Dean Fitzsimmons did not

       ask for additional analysis based on OIR’s results, nor did he make any changes to Harvard’s

       admissions process in response to that analysis, because his review of the data did not lead him

       to believe that the Admissions Office was biased against Asian American applicants. [Oct. 17

       Tr. 137:11–17, 138:7–24].

                        3.    The Ryan Committee

              In April 2014, Harvard learned of a website that had launched with the url

       harvardnotfair.com. Harvard’s staff recognized that the website was being promoted by some of


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       the same individuals who had financed Fisher v. University of Texas at Austin, 570 U.S. 297

       (2013) (“Fisher I”), and 136 S. Ct. 2198 (2016) (“Fisher II”). [Oct. 23 Tr. 211:7–15]; see

       [PX283]. Apparently in response to the prospect of litigation, Harvard University formed a

       committee to examine race-neutral alternatives to its race-conscious admissions practices (the

       “Ryan Committee”). See [Oct. 22 Tr. 13:14–19, 129:13–130:17]. The Ryan Committee, chaired

       by Jim Ryan, the Dean of the Graduate School of Education, included more than two dozen

       members from across the university. [Oct. 16 Tr. 69:3–7; Oct. 22 Tr. 13:20–14:2]; see [PX300;

       PD19]. The committee’s work never really got “off the ground,” owing at least in part to its

       broad membership and the conflicting scheduling demands of many committee members. [Oct.

       16 Tr. 69:10–70:15; Oct. 19 Tr. 76:8–77:10]. After meeting only a few times, it disbanded in

       December 2014, shortly after this lawsuit was filed. [Oct. 16 Tr. 70:2–6; PX316 at 2]; see [ECF

       No. 1]. No substantive analysis of any race-neutral alternatives examined by the Ryan

       Committee was entered into evidence. See [Oct. 19 Tr. 77:14–24 (“I believe the team did some

       work, under privilege. . . . Under direction of counsel.”)].

                        4.    The Khurana Committee

              In 2015, following the filing of this lawsuit and the disbandment of the Ryan Committee,

       Harvard established the Khurana Committee, officially titled “the Committee to Study the

       Importance of Student Body Diversity,” which was chaired by Dean Khurana. 34 [Oct. 22 Tr.

       210:23–211:21; PX302 at 22]. The Khurana Committee “sought to examine and restate the



       34
         In addition to Dean Khurana, the members of the Committee to Study the Importance of
       Student Body Diversity included Mahzarin R. Banaji, the Richard Clarke Cabot Professor of
       Social Ethics; Emma Dench, the McLean Professor of Ancient and Modern History and of the
       Classics; Yukio Lippit, the Harris K. Weston Associate Professor of the Humanities; David R.
       Pilbeam, the Henry Ford II Professor of Human Evolution; and, Jonathan L. Walton, the
       Plummer Professor of Christian Morals and Pusey Minister of the Memorial Church. [Oct. 23
       Tr. 35:14–18; PX302 at 22].


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       benefits that the College derives – as an institution, and for its students and faculty – from

       student body diversity of all kinds, including racial diversity.” [PX302 at 1]. The Khurana

       Committee’s report, referenced supra at Part III.A, was prepared with the assistance of counsel

       and in the face of litigation, but nonetheless reflects an extensive and thoughtful examination of

       the benefits of diversity to Harvard College. [Oct. 22 Tr. 211:10–212:11]. The committee

       concluded its report by stating:

                We emphatically embrace and reaffirm the University’s long-held view that student
                body diversity – including racial diversity – is essential to our pedagogical
                objectives and institutional mission. It enhances the education of all of our students,
                it prepares them to assume leadership roles in the increasingly pluralistic society
                into which they will graduate, and it is fundamental to the effective education of
                the men and women of Harvard College.

       [PX302 at 22]. In February 2016, Harvard’s Faculty of Arts and Sciences voted unanimously to

       adopt the report. [Nov. 1 Tr. 198:19–24]. Although the Khurana Committee was keenly aware

       that it was addressing a question that “the Supreme Court has asked public institutions of higher

       education to answer in connection with the consideration of an applicant’s race in the admissions

       processes as one factor among many in an individualized review,” its focus was limited to

       Harvard’s interest in diversity, rather than the viability of race-neutral alternatives. See [PX302

       at 1].

                         5.    The Smith Committee

                In June 2017, Harvard established the “Committee to Study Race Neutral Alternatives in

       Harvard College Admissions,” chaired by Michael Smith, the Dean of the Faculty of Arts and

       Sciences, with Dean Fitzsimmons and Dean Khurana serving as the other committee members

       (the “Smith Committee”). [PX316 at 1, 3]. The Smith Committee evaluated whether race-

       neutral means, singly or in combination, would enable Harvard to achieve its diversity-related

       educational objectives. [Id. at 8–9]. Prior to 2017, Harvard had repeatedly expressed the



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       importance of its race-conscious admissions policy and its understanding that diversity across

       multiple dimensions was critical. See generally [id.]. Harvard had not, however, conducted a

       detailed empirical analysis of the viability of race-neutral alternatives for at least fifteen years.

       See [Oct. 16 Tr. 66:21–67:6; Oct. 19 Tr. 194:3–195:3].

               The Smith Committee worked with Harvard’s attorneys and had access to the analyses

       done by the experts in this case. [PX316 at 3]. The committee held seven meetings between

       August 2017 and April 2018 and then issued a report that was drafted by Harvard’s attorneys.

       [Oct. 23 Tr. 65:20–66:4; PX316 at 1, 3]. It examined all of the race-neutral alternatives proposed

       by SFFA, and additionally considered eliminating preferences for athletes and the use of test

       scores in the admissions process. See [PX316 at 6–18]. The Smith Committee concluded that

       no workable race-neutral admissions practices could, at that time, promote Harvard’s diversity-

       related educational objectives while also maintaining the standards of excellence that Harvard

       seeks in its student body through its whole-person, race-conscious admissions program, and

       recommended that Harvard reexamine the issue in five years. [Oct. 22 Tr. 133:21–134:15; Oct.

       23 Tr. 126:25–127:6, 134:15–19; PX316 at 18–19].

       IV.     FINDINGS OF FACT: NON-STATISTICAL EVIDENCE OF DISCRIMINATION

               As will be more fully discussed, the parties rely heavily on statistical evidence related to

       the admissions process. Additionally, to corroborate its statistical evidence, SFFA makes several

       other arguments in support of its contention that Harvard discriminates against Asian American

       applicants.

               A.      Sparse Country

               First, as discussed above, Harvard uses a search list, which is primarily compiled based

       on potential applicants’ ACT, SAT, or PSAT test scores to help Harvard market itself to a

       diverse array of high school students. The ACT, SAT, or PSAT score that students need to make


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       the search list varies by gender, high school GPA, geography, and race. See [Oct. 15 Tr. 136:5–

       139:21; PX2]. For example, to make Harvard’s class of 2018 search list, a white male high

       school student from outside “sparse country” 35 needed an SAT score of 1380, while black,

       Chicano, Hispanic, Native American, and Puerto Rican students needed only an 1100. See

       [PX2]; see also [PX50].

              As SFFA points out, there are some anomalies in the search list selection criteria that are

       difficult to explain. As an example, assuming an applicant reported a sufficiently high GPA, for

       the class of 2018, Harvard lowered the SAT score required to make the search list to 1310 for

       students from “sparse country” who identified their race as white, other, or unidentified while not

       simultaneously lowering the required score for Asian American students from the same states to

       the same level. Consequently, Asian American students from the same states needed to score

       1350 or 1380, depending on their gender, to make the search list. See [Oct. 15 Tr. 150:3–9;

       PX2; PX50]. Some Asian American students therefore did not make the search list, when white

       students from the same area who had similar grades and SAT scores did. See [Oct. 15 Tr.

       151:22–152:2]. SFFA, while recognizing that the list is a marketing tool, would have the Court

       consider this “sparse country” disparity between the scores required for Asian Americans and

       whites to make the search list as evidence of Harvard’s intent to impose more selective

       admissions criteria on Asian Americans for the purpose of artificially suppressing Asian

       American representation at Harvard.




       35
          Sparse country for the purposes of the PSAT search includes twenty predominantly rural
       states: Alabama, Alaska, Arizona, Arkansas, Idaho, Louisiana, Maine, Mississippi, Montana,
       Nebraska, Nevada, New Hampshire, New Mexico, North Dakota, Oklahoma, South Dakota,
       Utah, Vermont, West Virginia, and Wyoming. [Oct. 15 Tr. 144:25–147:20; PX2].


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              Notably, however, in some of the same years that Harvard did not lower the sparse

       country SAT search list score for Asian Americans commensurate with the lower requirement

       for whites, it selected Asian Americans for the search list based on lower ACT scores than

       similarly situated white students from more urban states. See [Oct. 17 Tr. 151:13–152:4; PX2].

       Overall, the inconsistencies in the search criteria do not seem to be linked to efforts to advantage

       or disadvantage any particular racial group, and it was unclear from the testimony at trial

       whether these variations were accidental or intentional. At root, although being placed on the

       search list results in recruitment and is correlated with a higher likelihood of admission, the

       search list is fundamentally a marketing tool that does not affect individual admissions decisions.

       [Oct. 15 Tr. 129:24–132:25].

              B.      The OCR Report

              SFFA next points out that the specter of Harvard discriminating against Asian Americans

       in its admission process has been raised before. The argument is, at least in part, that repeated

       instances of smoke should heighten concerns about a fire.

              In the late 1980s, Harvard faced allegations of bias against Asian American applicants in

       its admissions process that culminated in a 1990 report by the United State Department of Justice

       Office of Civil Rights (“OCR”) (“OCR Report”). [PX555 at 2, 15–16]. The OCR Report

       reached an “overall conclusion that Harvard did not discriminate against Asian American

       applicants to its undergraduate program in violation of Title VI of the Civil Rights Act,” but its

       findings indicated that some admissions officers took race into account when assigning the

       personal rating during the period preceding the 1990 report. See [id. at 45–46]. Further, The

       OCR Report found recurring characterizations of Asian American applicants that were broadly

       consistent with stereotypes, noting that:




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              In addition to examining the ethnic reader’s comments, OCR’s concern for the
              potential stereotyping of Asian American applicants prompted a review of reader
              comments for negative characterizations which could have an impact on the
              admissions decision and ratings. On its face, reader comments revealed several
              recurring characterizations attributed to Asian American applicants. Quite often
              Asian American applicants were described as being quiet/shy, science/math
              oriented, and hard workers. For example, one reader’s comment embraced all of
              these in describing an Asian American applicant when she wrote:

                     “[A]pplicant seems like a reserved, hard-working, aspiring woman
                     scientist/doctor.”

              While such descriptions may not seem damaging, OCR was conscious that
              problems of “model minority” stereotypes could negatively impact Asian American
              applicants as a whole. This concern was also raised when OCR's file review came
              upon comments such as:

                     “He’s quiet and, of course, wants to be a doctor . . .”

              suggesting that most or all Asian American applicants “want to be a doctor.” Or
              more pointedly:

                     “[A]pplicant’s scores and application seem so typical of other Asian
                     applications I’ve read: extraordinarily gifted in math with the opposite
                     extreme in English.”

              OCR noted that in a number of cases, Asian American applicants were described
              as “quiet, shy, reserved, self-contained, soft spoken” and that these characteristics
              were underlined for added emphasis by the reader. While white applicants were
              similarly described, OCR found such descriptions ascribed to Asian American
              applicants more frequently. In some cases these comments actually originated from
              the interviews, teacher or counselor recommendations, or self-descriptions given
              by the applicant.

              ....

              OCR recognized that reader comments were also sometimes echoes of other
              reviewers’ commentaries related to the applicant. OCR also noted a few cases in
              which the readers referred to an applicant as “a classic V.N. [Vietnamese] bootstrap
              case” or “a classic BC/NC (blue collar/non-college background) Asian American
              from the inner-city.” While it was clear from the context of the statement that the
              readers were not criticizing the applicants, and that there was no negative intention,
              the comments do suggest a tendency to stereotype by calling the applicants
              “classic.”

       [Id. at 24–25]. Following the conclusion that Harvard did not discriminate against Asian

       American applicants and despite some of the specific findings, Harvard did not hold a meeting or


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       otherwise require that its admissions officers modify their evaluation practices to avoid actual

       stereotyping or the appearance of stereotyping. [Oct. 16 Tr. 59:17–24].

              In the instant case, the admissions officers who testified at trial uniformly asserted that

       they do not and have not directly considered race in assigning ratings, other than the overall

       rating. 36 The Court credits the admissions officers’ testimony and concludes that Harvard has

       made clear to its admissions officers in more recent years that they should not use race in

       assigning the profile ratings. Harvard perhaps should have instituted an explicit written policy

       stating which ratings could take race into account before 2018, but that error has now been

       remedied. See [PX723 at 3, 5].

              C.      More Recent Allegations of Stereotyping and Bias

              SFFA also points to more recent examples of admissions officers referring to Asian

       American applicants as “quiet,” “hard worker,” “bright,” but “bland,” “flat,” or “not exciting.”

       See, e.g., [DX50 at 186, 178, 693, 1040, 1062].

              Harvard’s admissions officers are tasked with carrying out a particularly delicate job in

       that they are instructed to consider race in the admissions process, including for applicants who


       36
          Senior Admissions Officer Christopher Looby’s deposition testimony is the sole instance in
       which an admissions officer allegedly admitted that race was directly used in assigning a
       personal rating between the 1990 OCR Report and the present. SFFA relied on Mr. Looby’s
       deposition testimony in its opening argument, stating, “he’ll tell the truth that he’s been using
       race in the personal rating for ten years.” [Oct. 15 Tr. 27:22–24]. Mr. Looby joined Harvard’s
       financial aid office in 2008 and has been reading admissions files since approximately 2010. See
       [Oct. 18 Tr. 148:16–25]. When asked during his deposition if he would “take a student’s race
       into account when assessing his or her personal qualities,” Mr. Looby answered that “just like
       with the academic rating, it’s one factor of many I consider.” [Id. at 182:8–19]; see also [Looby
       Dep. 51:12–17, June 30, 2017]. Mr. Looby testified at trial that he misunderstood the deposition
       question, and that he meant to state that he used race as one factor in assessing an applicant’s
       overall rating just as he considered the academic rating in assigning the overall rating. [Oct. 18
       Tr. 185:19–23]. His response to the deposition question appears to have been a misstatement,
       and the Court concludes that Mr. Looby meant to indicate at his deposition that he would
       consider the academic rating and race in assigning the overall rating, not the personal rating. See
       [id. at 182:18–184:8].


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       have indicated a race or ethnicity but have not elaborated on the importance of that identity,

       without engaging in unlawful discrimination. This job is especially sensitive due to the lengthy

       history of discrimination against many racial minorities in the United States, including Asian

       Americans, as well as Harvard’s own history of discriminating against Jewish applicants

       beginning in the 1920s. [Oct. 24 Tr. 188:17–25; Oct. 29 Tr. 34:22–35:13, 161:17–162:16]; see

       Korematsu v. United States, 323 U.S. 214 (1944), abrogated by Trump v. Hawaii, 138 S. Ct.

       2392 (2018).

              It is true that Asian American applicants continue to face both positive and negative

       stereotypes, such as perceptions that they are timid, hard-working, and are inclined towards

       medicine and science. See [Oct. 29 Tr. 56:1–56:20]. It is also true that Asian Americans have

       significantly higher median incomes (perhaps indicative of the strong work ethic in many Asian

       American communities) 37 and are more likely to hold science, technology, engineering, and

       mathematics occupations than the United States population more broadly. 38 Therefore, in

       reviewing applicant files and comments made by admissions officers, the Court is sensitive to

       the challenge of differentiating among discriminatory comments that evidence actual

       stereotyping, animus, or racism and comments about a particular applicant that may incidentally



       37
         Although Asian Americans tend to have higher incomes than Americans with other racial
       identities, the evidence suggests that Asian American applicants to Harvard are more likely to
       come from modest socioeconomic backgrounds than white applicants. [PX28 at 2–5].
       38
         See Anthony Martínez & Asiah Gayfield, The Intersectionality of Sex, Race, and Hispanic
       Origin in the STEM Workforce 8 (U.S. Census Bureau, Social, Econ., and Hous. Statistics Div.,
       Working Paper No. 2018-27, Feb. 2019), https://www.census.gov/content/dam/Census/library
       /working-papers/2019/demo/sehsd-wp2018-27.pdf; Kayla Fontenot, Jessica Semega & Melissa
       Kollar, Income and Poverty in the United States: 2017 at 2–5, (U.S. Census Bureau Current
       Population Reports, Sept. 2018), https://www.census.gov/content/dam/Census/library/
       publications/2018/demo/p60-263.pdf; Liana C. Landivar, Disparities in STEM Employment by
       Sex, Race and Hispanic Origin at 2, 7, 12, 16 (U.S. Census Bureau Am. Cmty. Survey Reports,
       Sept. 2013), https://www2.census.gov/library/publications/2013/acs/acs-24.pdf.


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       reference a stereotypical characteristic, like “hard working,” but which may also reflect an actual

       strength or weakness of that particular applicant.

              SFFA has not shown that any applicant was referred to by these types of descriptors

       because of their race or that there was any sort of systemic reliance on racial stereotypes. The

       docket binder that contains notes to the effect that several Asian American applicants were

       “quiet” or “flat” also includes notes for white, African American, and Hispanic applicants who

       were also described as “quiet,” “shy,” or “understated.” [DX50 at 620, 975, 1054]. In the

       absence of a pattern or a more pervasive use of stereotypes, the Court accepts that there are

       Asian American applicants who were “quiet” and that the use of this word with regard to such an

       applicant would be truthful and accurate rather than reflective of impermissible stereotyping.

              In addition to SFFA’s concerns about Asian American applicants being referred to as

       “quiet” and the like, SFFA also points out that there is a statistical relationship between race and

       the use of the term “standard strong,” which some admissions officers use to indicate a strong

       applicant who is nonetheless unlikely to be admitted because he or she is not sufficiently

       distinguished within Harvard’s exceptional applicant pool. [Oct. 25 Tr. 133:20–134:1]. Asian

       Americans were labeled “standard strong” more frequently than white applicants, and

       significantly more frequently than African American or Hispanic applicants. See [id. at 135:4–

       10]. In a sample of 10% of the applicants to the class of 2018, admissions officers noted that 255

       students were “standard strong.” [Id. at 134:6–11]. Not one of the 255 standard strong

       applicants in the sample was admitted. [Id. at 135:16–18]. The standard strong applicants

       included 126 white applicants, 114 Asian American applicants, 12 Hispanic applicants, and 3

       African American applicants. [Id. at 134:23–135:3]. Approximately 15% of Asian American

       applicants in the original 10% sample were labeled standard strong, compared to 12% of white




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       applicants, 4% of Hispanic applicants, and 1% of African American applicants. [Id. at 135:4–10;

       PD38 at 41]. Additionally, the Asian American applicants considered standard strong averaged

       higher academic indexes, math SAT scores and academic ratings than standard strong applicants

       from other racial groups. See [Oct. 25 Tr. 135:4–136:9]; see also [PD38 at 41].

              These statistics on the use of “standard strong” are consistent with the profile ratings

       Harvard admissions officers assigned to Asian American applicants and white applicants, which

       show that Asian American applicants excelled, on average, on academic and extracurricular

       ratings, but were weaker when evaluated on personal and athletic criteria. See [PX621; PX622].

       There is not a significant difference, however, between the white and Asian American applicants

       who were labeled “standard strong” as reflected by the sum of their profile ratings. See [Oct. 31

       Tr. 94:16–97:18]; see also [DX709]. Further, the higher proportion of standard strong Asian

       American applicants is consistent with the fact that Asian American applicants to Harvard’s class

       are disproportionately unlikely to be among the weakest applicants: less than 21% of Asian

       American applicants received an overall rating of 4 or worse, compared to 24% of white

       applicants, 41% of Hispanic applicants, and 52% of African American applicants. [PX621]. As

       such, it is not surprising that a higher proportion of Asian Americans than white applicants were

       labeled standard strong.

              In addition to the use of phrases that align with stereotypes of Asian American applicants

       and the use of the words “standard strong,” SFFA has identified a few instances in which

       Harvard’s Admissions Office’s leadership acted in a manner that SFFA argues shows some

       degree of racial bias. Although the Court concludes that none of these incidents reflects any

       actual bias against Asian Americans by Harvard’s admissions officers, they do merit brief

       mention.




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               In April 2012, Director McGrath was asked to respond to a letter to President Drew

       Gilpin Faust from an elderly alumnus. See [PX461 at 3–6]. The alumnus’ letter argued that

       Harvard should be admitting more students from Massachusetts, proposed admissions quotas

       based on religious affiliation and skin color, and stated that Harvard has “a large number of

       oriental students.” [Id. at 5]. Director McGrath wrote a polite response, stating that the

       alumnus’ “comments on the importance of attracting a strong representation of students from

       Massachusetts resonates well in the Admissions Committee,” but also that Harvard “has become

       more representative of the ethnic and economic diversity of the country and, the University

       believes, better positioned to make significant contributions to the country.” [Id. at 1]. Director

       McGrath’s carefully crafted response rejected a proposal that was inconsistent with Harvard’s

       values and did not endorse the suggestions made in the letter, while seemingly trying not to

       alienate its author.

               In a January 2014 exchange, Director McGrath sent her daughter, who served as an

       alumni interviewer for Harvard, a list of the top applicants from Utah prepared by the alumni

       interviewers for that state, noting that she was “sending this along for your amusement. Pure

       Utah.” [PX265]. In responding, Director McGrath’s daughter wrote back, “Hahaha. Very

       Thorough!! I also love that the top-tier list is, as you’ve told me before, all Asians except for a

       couple . . . .” [Id.]. The email, which reflects amusement at the unusual degree of thoroughness

       of the Utah alumni interviewers, does not reflect a negative view of Asian Americans. 39




       39
         Director McGrath testified that she thought it notable that the Utah schools committee put all
       Asian Americans at the top of their list because it “confounds the stereotype that many people
       have of the population of Utah.” [Oct. 19 Tr. 221:3–11].



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              In sum, comments on application files and Admissions Office correspondence do not

       suggest any pervasive bias against Asian Americans among Harvard’s admissions officers or its

       admissions leadership, nor has the Court identified any individual applicant whom it can

       determine was discriminated against or intentionally stereotyped by an admissions officer,

       including by the use of the words “standard strong.”

       V.     FINDINGS OF FACT: STATISTICAL ANALYSIS

              A.      Sources of Statistical Evidence

              In addition to testimony based on the lived experiences of witnesses, the parties

       introduced statistics and econometric models through expert witnesses. This statistical evidence

       is perhaps the most important evidence in reaching a resolution of this case, given SFFA’s heavy

       reliance on the data to make out its claims. Harvard presented its statistical evidence primarily

       through Professor David Card, and SFFA presented its statistical evidence primarily through

       Professor Peter Arcidiacono. 40 Both Professors Card and Arcidiacono are very well-qualified

       experts, but they fundamentally disagree about whether the statistics show that Asian Americans

       are discriminated against in the Harvard admissions process. Their disagreement results from

       differences in their respective statistical models of admissions outcomes, based on their inclusion

       of different applicants and use of different control variables. Therefore, decisions by the Court

       as to which applicants and control variables belong in the admission outcome model are pivotal.




       40
         Harvard’s expert, Professor David Card, and SFFA’s economist, Professor Peter Arcidiacono,
       are both highly respected economists. Professor Card is an economics professor at the
       University of California at Berkeley, where he teaches undergraduate and graduate level
       economic courses. He has published numerous articles and books and is a winner of the John
       Bates Clark Prize. [Oct. 30 Tr. 73:7–76:2; DX133]. Professor Arcidiacono is a professor of
       labor economics at Duke University. He teaches undergraduate and graduate-level economic
       courses and has published numerous peer-reviewed articles. His research is focused on labor
       economics, and more narrowly, higher education. [Oct. 25 Tr. 14:7–17:14].


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              In sum, as discussed more fully below, Professor Arcidiacono excludes ALDCs from his

       model despite the fact that they make up about 30% of each admitted class, analyzes the data in

       aggregate rather than independently modeling each admissions cycle, excludes certain variables

       that he contends are unreliable and have unexpected effects on the model, selectively interacts

       certain variables, omits the personal rating based on his finding that it is influenced by race, and

       then, based on that data and approach, concludes that Asian Americans are discriminated against

       in the admissions process. See [Oct. 26 Tr. 62:9–63:25; Oct. 30 Tr. 145:15–148:11; DX695;

       PD38 at 45]. Professor Card creates an independent model for each admissions cycle, includes

       the personal rating because he concludes that it does not reflect race and, in any event, includes

       information that is important to the admissions process such that omitting it skews the outcome,

       includes the other variables that Professor Arcidiacono omits, and does not interact variables.

       Using this approach, he comes out with a very slight, and not statistically significant, negative

       coefficient for Asian American identity and concludes, based on that data and approach, that

       Asian Americans are not discriminated against in Harvard’s admissions process. See [Oct. 31

       Tr. 172:19–173:15; DX695; DD10 at 34–35].

              The statistics and econometric models used by Professors Arcidiacono and Card were

       generated using primarily data produced by Harvard in this litigation. Consistent with this

       Court’s orders, Harvard provided applicant-by-applicant admissions data for more than 150,000

       domestic applicants to Harvard’s classes of 2014 through 2019, 41 as well as aggregate



       41
         Because this lawsuit concerns only allegations of discrimination against United States citizens
       or permanent residents, foreign applicants were removed from the data set. Further, transfer
       applicants and those who submitted incomplete applications or for whom Harvard’s database
       was for some other reason incomplete were also removed. [Oct. 25 Tr. 25:3–26:24; Nov. 1 Tr.
       99:12–100:10]. Statistics on “applicants” referred to by these findings of fact are therefore based
       on data for the approximately 150,000 domestic applicants to Harvard’s 2014 to 2019 classes for
       whom Harvard’s database contained a single, complete record. See [PD38 at 1].


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       information for the classes of 2000 through 2017, and a sample of actual application files and

       summary sheets from the classes of 2018 and 2019. [Oct. 25 Tr. 23:8–26:13; PD38 at 1]. For

       each applicant to the classes of 2014 through 2019, Harvard’s database includes hundreds of

       variables relating to each applicant’s demographic characteristics, personal background,

       geographic information, test scores, high school grades, ratings assigned by Harvard’s

       admissions officers, and Harvard’s admissions decision. [Oct. 25 Tr. 23:16–24:8; Oct. 26 Tr.

       73:22–74:2]. On behalf of SFFA, Professor Arcidiacono supplemented this data by merging it

       with College Board data on applicants’ high schools and neighborhoods. [Oct. 25 Tr. 24:9–12].

              The parties dispute whether ALDC applicants should be included when computing

       admissions statistics and modeling Harvard’s admissions process. ALDC applicants are

       admitted at higher rates than the applicant pool more broadly. SFFA argues that because ALDC

       applicants are granted significant tips that are not available to most applicants, they are not

       typical. [Id. at 27:2–25, 29:4–30:7]. SFFA therefore presented numerous statistics based on

       non-ALDC applicants which it identifies as the “Baseline Dataset.” [Id. at Tr. 27:2–25]. The

       Baseline Dataset excludes approximately 7,400 ALDCs, leaving a total of 142,728 applicants in

       the dataset. [Oct. 25 Tr. 30:8–31:3; PD38 at 1–2]. SFFA has also presented data based on a

       subgroup of dataset applicants that include legacies, dean’s and director’s list applicants, and

       children of faculty and staff (“LDCs”), but not recruited athletes, which SFFA refers to as the

       “Expanded Dataset.” [Oct. 25 Tr. 40:17–41:7].

              Although ALDCs represent only a small portion of applicants and are admitted or

       rejected through the same admissions process that applies to other applicants, they account for

       approximately 30% of Harvard’s admitted class. [Oct. 30 Tr. 153:6–154:8, DX706; DD10 at 38,

       40]. For reasons discussed more fully infra at Section V.F, the Court agrees with Professor Card




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       that including ALDCs in the statistics and econometric models leads to more probative evidence

       of the alleged discrimination or lack thereof. Nevertheless, the Court has referenced numerous

       statistics based on data that excludes some or all ALDCs because SFFA used those metrics at

       trial.

                In addition to statistics based on Harvard’s admissions database, Harvard presented

       statistics on the racial make-up of its admitted classes from 1980 to 2019, [Oct. 31 Tr. 119:23–

       124:6; DX711; DX713; DD10 at 100–04], and SFFA used statistics based on an analysis of 480

       sample application files, two-thirds of which were selected by SFFA and one-third by Harvard,

       [Oct. 25 Tr. 24:21–24]. Both Harvard and SFFA also relied on statistics and models that were

       prepared by OIR before this lawsuit was filed. See, e.g., [PX9; PX12; PX21].

                B.     Admission Rates and Ratings by Race

                Asian Americans were admitted to Harvard at slightly lower rates than white applicants

       in the years leading up to this lawsuit, with between 5% and 6% of Asian American and between

       7% and 8% of white applicants being admitted to the classes of 2014 through 2017. See [PX319

       at 15–16]; see also [PD38 at 20]. 42 The admissions rates differ more significantly among certain

       subgroups, but the admissions rates for Asian American ALDCs are generally similar to or

       higher than those for white ALDCs. 88.6% of Asian American recruited athletes, 48.1% of

       Asian American children of faculty or staff, and 47.7% of Asian Americans on the dean’s or

       director’s interest lists are admitted, compared to 88.1%, 47.9%, and 43.1% of white applicants

       in those groups, respectively. [PX634]. Asian American legacies are admitted at a rate of


       42
         Overall admission rates for Asian American applicants are lowered slightly because they are
       underrepresented among ALDCs, who are admitted at a rate of 43.6% or nearly eight times the
       5.5% admissions rate for non-ALDC applicants. [Oct. 30 Tr. 154:17–155:19; DX679; DD10 at
       39].




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       35.2%, as are white legacies. [Oct. 25 Tr. 121:7–122:4; PX634]. SFFA’s economic expert,

       Professor Arcidiacono, acknowledges that Asian American ALDCs were likely not discriminated

       against. 43 [Oct. 25 Tr. 122:16–123:17, 126:1–8]. Non-ALDC Asian American applicants have

       admission rates that are similar to white applicants, although the admission rates relative to

       whites varies by year from between 0.2 percentage points lower to 0.9 percentage points higher.

       [Id. at 68:2–70:2; PD38 at 20]. 44 With the exception of 2019 where the admission rates favored

       Asian American applicants, the differences in admission rates for non-ALDC white and Asian

       American applicants was not statistically significant. See [PD38 at 20]. The gist of SFFA’s

       argument, however, is not that Asian Americans were excluded altogether, but rather that the

       non-ALDC Asian American applicants were stronger than the non-ALDC white applicants and

       should have been admitted at a higher rate. 45




       43
         Although its expert agrees that Asian American ALDCs were not discriminated against, SFFA
       continues to argue that they were, but that the strength of their applications overcame the bias.
       The Court ultimately finds that excluding ALDCs distorts the analysis.
       44
          The highest annual admissions rate for Asian American applicants relative to white applicants,
       and the only year for which the admission rates for Asian American and white applicants
       differed to a statistically significant degree, was the class of 2019, which was selected after the
       allegations of discrimination that led to this lawsuit emerged. [Oct. 25 Tr. 68:2–22; PD38 at 20].
       45
          As reflected by the data, Harvard does not systematically exclude Asian Americans, nor does
       SFFA claim that it does. As of 2016, the United States population was approximately 60% white
       and 5.9% Asian. U.S. Census Bureau, Quick Facts, Census.gov, https://www.census.gov/
       quickfacts/fact/table/US/RHI225218. Among applicants to Harvard’s class of 2019, 21.2% were
       Asian American and 57.6% were white. [DX713]. Among those domestic applicants who
       Harvard admitted, 40% of the class identified as white and 24% identified as Asian American. It
       is entirely possible, and not without historical precedent, that an admissions process could
       discriminate against Asian Americans (or Jews) despite their over-representation in a class as
       compared to the general population. The Court nonetheless includes these numbers to give some
       context to the overall admissions data.




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              Asian Americans would likely be admitted at a higher rate than white applicants if

       admissions decisions were made based solely on the academic and extracurricular ratings.

       Among Expanded Dataset applicants, more than 60% of Asian American applicants received

       academic ratings of 1 or 2, compared to 46% of white applicants, 9% of African American

       applicants, and 17% of Hispanic applicants. [Oct. 25 Tr. 49:17–50:5; PX623]. Overall, strong

       academic applicants are particularly abundant, with a higher percentage of applicants (42%)

       scoring a 1 or 2 on the academic rating as compared to the percent that score a 1 or 2 on any

       other rating. [DD10 at 4]. 46 Asian American applicants’ stronger academic ratings broadly align

       with their stronger performance across a range of qualitative indicators of academic strength.

       [Oct. 25 Tr. 41:18–46:9; PD38 at 4–7]. Asian American applicants also average relatively high

       extracurricular ratings. More than 28% of Expanded Dataset Asian American applicants receive

       an extracurricular rating of 1 or 2, compared to 25% of white applicants, 16% of African

       American applicants, and 17% of Hispanic applicants. [Oct. 25 Tr. 52:12–22; PX623].

              Although Harvard admissions officers do not believe that Asian American applicants, as

       a group, have worse personal qualities than other applicants and Harvard alumni interviewers

       assign personal ratings of 1 or 2 to Expanded Dataset Asian American and white applicants with

       a similar frequency, [Oct. 23 Tr. 204:1–9; Oct. 24 Tr. 138:11–16; Oct. 25 Tr. 55:7–12], Harvard

       admissions officers assign Asian American applicants personal ratings that are, on average,

       slightly weaker than those assigned to applicants from other racial groups, [PX623]. Among

       Expanded Dataset applicants, 22.6% of white applicants receive a personal rating of 1 or 2,

       compared to 18% of Asian Americans, 19.4% of African Americans, and 19.1% of Hispanics.



       46
         24% of applicants receive an extracurricular rating of 1 or 2, 21% of applicants receive a
       personal rating of 1 or 2, and 10% of applicants receive an athletic rating of 1 or 2. [Oct. 30 Tr.
       86:25–88:2; DD10 at 4].


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       [Id.]. The statistics are similar for Baseline Dataset applicants, with 17.6% of Asian Americans

       receiving a personal rating of 1 or 2, compared to 18.7% of Hispanics, 19% of African

       Americans, and 21.3% of whites. [Oct. 25 Tr. 55:13–22; PX621].

              At least a partial cause of the disparity in personal ratings between Asian American and

       white applicants appears to be teacher and guidance counselor recommendations, with white

       applicants tending to score slightly stronger than Asian Americans on the school support ratings.

       [PX621; PX623; PD38 at 4–5, 8–10]. Among Expanded Dataset applicants, 31.9% of white

       applicants received a “teacher 1” rating (the rating for the first of two teacher recommendations

       submitted) of 1 or 2 compared to 31.6% of Asian American applicants. [PX 623]. For the

       “teacher 2” rating (the rating for the second teacher recommendation), 33.6% of white applicants

       received a rating of 1 or 2 compared to 32.3% of Asian American applicants. [Id.]. In the

       Expanded Dataset, 27.4% of white applicants and 26.4% of Asian American applicants receive a

       guidance counselor rating of 1 or 2. [Id.]. Although these differences may appear slight, they are

       significant in that the stronger high school academic and extracurricular performance of Asian

       American applicants on average would lead one to expect that those applicants would receive

       stronger teacher and guidance counselor recommendations than white applicants.

              On average, Asian American applicants are also assigned lower athletic ratings,

       particularly compared to white applicants, who average especially strong athletic ratings. See

       [PX621; PX623; DX692 at 2]. Among non-recruited athlete applicants, only 5% of Asian

       Americans received an athletic rating of 2, compared to 14% of whites, 7% of African

       Americans, and 8% of Hispanics. [PX623]. When recruited athletes are included in the

       calculation, the disparity between white and Asian American applicants receiving strong athletic




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       ratings increases, with white applicants receiving athletic ratings of 1 or 2 at roughly three times

       the rate of Asian American applicants. [Oct. 30 Tr. 96:25–97:19; DX692 at 2; DD10 at 10].

              C.      Descriptive Statistics

              In addition to the regression analyses used in this case, Professors Card and Arcidiacono

       also offered descriptive statistics that support their respective arguments on the question of

       discrimination. In constructing these statistics, both experts used the same dataset consisting of

       applicants to the classes of 2014 through 2019 (except that Professor Arcidiacono prefers to

       remove ALDCs). Professor Card uses the dataset to compare admission rates by racial group for

       applicants who scored 1s and 2s across similar numbers of profile ratings. He, on behalf of

       Harvard, uses this multidimensionality analysis to argue that the statistical evidence does not

       support a conclusion that Harvard discriminates against Asian Americans relative to whites.

       Meanwhile, Professor Arcidiacono uses an academic decile analysis in which he divides

       applicants into deciles based on applicant academic index score and then shows that Asian

       Americans in the top academic deciles are receiving strong personal and overall ratings at lower

       rates than applicants from other racial groups with similar academic qualifications. He, on

       behalf of SFFA, argues that the lower average overall and personal ratings for Asian American

       applicants who have similar levels of academic strength to non-Asian American applicants

       suggest that Harvard is engaged in a discriminatory admissions process.

                        1.    Professor Card’s Multidimensionality Analysis

               Professor Card’s statistical analysis shows that the students most likely to be admitted to

       Harvard are those that do well across the profile and school support ratings, rather than merely

       excelling on just one rating. In coming to this conclusion, Professor Card analyzed the

       relationship between race and applicant strength across multiple profile ratings, which he terms

       an analysis of “multidimensional accomplishments.” [Oct. 30 Tr. 89:3]. Only 7,000 applicants


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       per year, or roughly 27%, receive a rating of 1 or 2 in at least two profile ratings, and only 7% of

       applicants receive ratings of 1 or 2 in three or all four profile ratings. [Id. at 89:19–90:17;

       DX672; DD10 at 5]. The 7% of applicants who score highly in three or four of the four profile

       ratings are seemingly the most multidimensional under Harvard’s scoring system; 70% of those

       applicants are admitted and make up 46% of all admitted applicants. [Oct. 30 Tr. 93:15–94:12;

       DX672; DD10 at 8]. The 20% of applicants who receive two profile ratings of 1 or 2 account for

       38% of admitted students. [Oct. 30 Tr. 93:15–94:12; DX672; DD10 at 8]. Meanwhile,

       applicants with one or no ratings of 1 or 2 account for 73% of applicants but only 15% of

       admitted students. [DX672; DD10 at 8]. White applicants are slightly more likely than Asian

       American students to receive three profile ratings of 1 or 2, with approximately 900 or 9% of all

       white applicants receiving three such scores relative to 500 or 8% of all Asian American

       applicants. [Oct. 30 Tr. 95:18–96:10; DX692 at 2; DD10 at 9].

              Professor Card has also offered support for his conclusion that white applicants are

       disproportionately strong in non-academic traits by removing all academic inputs from his model

       of admissions probability to rank applicants to Harvard. See [Oct. 31 Tr. 69:20–71:5; DD10 at

       77]. By doing so, he creates a “non-academic index,” and his analysis shows that white students

       do disproportionately well in this metric, with 12% of white applicants ranking in the top decile

       compared to only 7.8% of Asian American applicants. See [Oct. 31 Tr. 70:17–19; DD10 at 77].

       Professor Card’s multidimensionality analysis thus suggests that a partial cause of the race-

       related disparities in admission rates, when controlling for academic performance, is that Asian

       American applicants’ disproportionate strength in academics comes at the expense of other skills

       and traits that Harvard values. See [DX692 at 2–4].




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              The Court notes, however, that the profile ratings are not equally distributed in terms of

       the number of 1s, 2s, 3s, or 4s assigned, nor are they equally correlated with an applicant’s

       chances of admission. For example, being a recruited athlete (and therefore receiving an athletic

       rating of 1) vastly improves an applicant’s odds of admission, with 86% of recruited athletes

       typically admitted and Asian Americans especially underrepresented in that group. [Oct. 25 Tr.

       31:11–23; PD38 at 2]. Although Harvard highly values applicants who will contribute to its

       varsity sports, it also admits a significant number of applicants who do not participate in high

       school athletics, and who therefore receive an athletic rating of 4 or lower. [Oct. 25 Tr. 28:21–

       29:8, 31:11–23; PD38 at 10]. Academic, extracurricular, or personal ratings of 4 or lower are

       relatively rare and more likely to result in rejection than an athletic rating of 4 or lower. [Oct. 25

       Tr. 52:6–54:12; PD38 at 8–10]. 39% of admitted non-ALDC applicants are scored as athletic 4s

       or lower, while less than 1% of admitted Baseline Dataset applicants are scored as academic,

       extracurricular, or personal 4s. [Oct. 25 Tr. 52:23–53:13; PD38 at 10]. Further, personal ratings

       of 1 are exceptionally rare and are awarded to fewer than 10 applicants in a typical year, whereas

       athletic, extracurricular, and academic ratings of 1 are more common, though they are still each

       awarded to less than 1% of applicants. See [PX623; PD38 at 2].

              Although the profile ratings are not of equal importance, are not assigned on a set curve,

       and do not have any assigned mechanical weight, receiving multiple ratings of 1 or 2 is strongly

       correlated with admission. [Oct. 30 Tr. 88:12–89:3, 90:18–92:12; DX672; DD10 at 6, 8].

       Because the number of 1s and 2s awarded in each of the four profile ratings every year vastly

       exceeds the number of students Harvard can admit, Harvard tends to admit applicants with

       multiple profile ratings of 1 or 2 who are also significantly distinguished in some other way—

       which, as discussed supra at Part III.B.3, may include accomplishments or characteristics that are




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       remarkable even when measured against a very accomplished applicant pool or that are likely to

       be underrepresented in Harvard’s class.

              To summarize, Professor Card uses his multidimensionality analysis to show that the

       Harvard admissions process favors applicants who score well across the profile and school

       support ratings and to counter the argument that Harvard’s admissions process is biased based on

       a comparison of admission rates for students who are similarly-situated academically. Professor

       Card is correct that an analysis predicated on an applicant’s academic profile ignores statistical

       disparities between racial groups across other dimensions that favor non-Asian American

       applicants. Most notably, white applicants are significantly more likely to have made strong

       high school contributions to athletics, and this disparity counteracts the effect that Asian

       American applicants’ relative academic and extracurricular strength would otherwise have on

       their admission rate. Professor Card’s analysis shows that strength across multiple dimensions is

       highly correlated with admission to Harvard and results in fewer admitted Asian American

       applicants.

              That being said, because Professor Card’s multidimensional analysis gives equal weight

       to each profile rating, it overvalues the athletic rating which favors white applicants, despite the

       fact that it is seemingly less important than the academic, personal, and extracurricular ratings

       for obtaining admission to Harvard, at least for applicants who are not recruited athletes. See

       [DX692 at 2]. Further, because the multidimensionality analysis uses all the profile ratings, any

       bias in the ratings, including in the personal rating, is baked into his analysis.

                        2.    Professor Arcidiacono’s Academic Index Decile Analysis

              In contrast, for his descriptive statistics analysis, Professor Arcidiacono compared

       applicants by analyzing the relationship between race and various ratings, including school

       support, academic, extracurricular, personal, and overall ratings for applicants who are


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       academically similarly-situated—that is who fall into the same academic index deciles. For this

       analysis, he splits Baseline Dataset applicants into ten equally sized groups based on their

       academic index, which reflects the strength of an applicant’s standardized test scores and high

       school grades, with “Decile 10” containing the 10% of applicants to Harvard who had the

       strongest academic index scores and “Decile 1” containing the applicants with the weakest

       scores. See [PD38 at 6]. The deciles reflect only numerical academic metrics in contrast to the

       academic ratings assigned by Harvard, which incorporate an assessment of academic potential

       and other non-numerical factors. [Oct. 22 Tr. 137:12–24]. Professor Arcidiacono’s deciles show

       that Asian American applicants are disproportionately represented in the top academic deciles.

       See [Oct. 25 Tr. 44:12–48:8; PX624; PX626; PD38 at 6–8]. More than a third of Baseline

       Dataset Asian American applicants fall in the strongest two academic index deciles, while

       African American and Hispanic applicants are underrepresented among applicants with the

       highest academic indexes. [Oct. 25 Tr. 47:22–48:5; PD38 at 8].

              Professor Arcidiacono’s academic decile analysis shows a racial disparity in applicants’

       personal and overall ratings that appears to favor white applicants based on a comparison of

       applicants within the same academic decile. See [PD38 at 16, 18–19]. For example, among

       Baseline Dataset applicants, 22.2% of Asian Americans in the top decile of applicants by

       academic index (i.e. those with the strongest high school GPA and standardized test scores)

       receive personal ratings of 1 or 2, compared to 29.6% of whites, 34.2% of Hispanics, and 47% of

       African Americans; similar variances by race are also present for students in the second and third

       strongest academic deciles. [Id. at 19]. Similarly, only 12.9% of Baseline Dataset Asian

       Americans in the top academic index decile receive an overall rating of 1 or 2, compared to

       15.6% of whites, 27.4% of Hispanics, and 47% of African Americans. [Id.].




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              Professor Arcidiacono’s decile analysis also shows that the disparities between Asian

       American and white applicants’ school support ratings are magnified when comparing applicants

       within the same academic index deciles. Among non-recruited athletes, white applicants are

       only approximately 1 percentage point more likely to receive teacher or guidance counselor

       ratings of 1 or 2 than Asian American applicants. [PX623]. White applicants in the top

       academic deciles, however, receive school support ratings of 1 or 2 at a rate that is 4 to 6

       percentage points higher than Asian Americans in the same academic deciles. [Oct. 26 Tr.

       37:25–40:17].

              In sum, Professor Arcidiacono bases his decile analysis on the academic index, which

       only accounts for test scores and grades—criteria in which Asian American applicants are, on

       average, especially strong. He argues that the personal rating is compromised, that the athletic

       rating is not that important, and that Asian American applicants do well on the limited measures

       that remain and should therefore be admitted at a higher rate than they are. This approach likely

       over emphasizes grades and test scores and undervalues other less quantifiable qualities and

       characteristics that are valued by Harvard and important to the admissions process.

              D.       Overview of Logistic Regression Models

              Professors Card and Arcidiacono both believe that the descriptive statistics discussed

       above help to provide context, but also agree that logistic regressions are the most useful

       econometric tool in evaluating the probable effect of race and other traits on Harvard’s

       admissions process. See [Oct. 25 Tr. 79:11–83:24; Oct. 30 Tr. 101:5–17]. Their respective

       logistic regression models seek to isolate the effects of race through models that include, and

       thereby control for, other variables that affect the modeled outcome. [Oct. 25 Tr. 215:12–19;

       Oct. 30 Tr. 176:18–179:3].




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              The Court notes at the outset that although logistic regression models are seemingly the

       best available econometric tool, they cannot capture all of the factors that Harvard considers and

       can therefore account for only part of the variation in admissions decisions, or other modeled

       outcomes. See [Oct. 25 Tr. 80:13–24; Oct. 30 Tr. 114:10–23]. Further, no model is perfect, and

       models can be affected by biases that are inherent in the control variables that they use. See

       [Oct. 25 Tr. 91:17–92:11, 215:16–19]. To limit the impact of variables affected by bias,

       variables that are themselves impacted by the independent variable of primary interest, which is

       race, should generally be excluded from regression models. Including such variables dilutes the

       implied effect of race by allowing that effect to be partially captured by the race-influenced

       variable itself. See [id. at 215:16–19; Nov. 1 Tr. 77:22–78:4]. Excluding variables for this

       reason may, however, make a model less accurate because it also results in the removal of

       information relevant to the modeled outcomes.

              Here, although Professors Arcidiacono and Card both endorse the use of regression

       models, they disagree on whether the personal rating should be included as a control variable.

       Professor Arcidiacono contends that personal ratings are themselves affected by race and that

       they should therefore not be used in the admissions model. [Oct. 25 Tr. 99:11–18]. Professor

       Card argues that the personal rating variable should be included, and thereby implicitly contends

       that race correlates with personal qualities that affect personal ratings, but that race does not

       itself affect the personal ratings assigned by admissions officers, or at least that any causal effect

       of race on the personal rating is insignificant relative to the value of the variable in controlling

       for a race-correlated, but not directly race-caused, relationship. [Nov. 1 Tr. 79:9–14]. 47 Further,




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          Directly race-caused means a cause internal to the Harvard admissions process, as distinct
       from the potential for an effect of race on inputs to that process.


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       the personal rating captures other relevant characteristics unrelated to race that will not be taken

       into account at all by the modeling if the personal rating is excluded, such as the extent to which

       an applicant demonstrates character, leadership ability, self-confidence, grit, or other distinctive

       qualities that might benefit the Harvard community.

              Logistic regressions result in two metrics that are relevant here: “coefficient” and

       “marginal effect.” Coefficients indicate how much weight the model suggests each variable has

       in determining the modeled variable (here, admissions outcome or an assigned rating), holding

       the other included variables constant. [Oct. 25 Tr. 76:22–78:8]. To generate a coefficient for a

       discrete variable such as race (e.g. where an applicant is white, Asian American, African

       American, or Hispanic), a model omits one of those characteristics to create a baseline group

       (e.g. white applicants) and the coefficients that the model generates for the included groups (e.g.

       Asian American, African American, and Hispanic) then indicate the implied effect of each of

       those characteristics on the dependent variable (e.g. admissions outcome) relative to the baseline

       group, holding constant the control variables that are included in the model (e.g. academic rating,

       disadvantaged status, parental occupation, etc.). [Id. at 77:24–78:8]. In the experts’ models, a

       positive coefficient is associated with a higher probability of admission or a stronger rating, and

       a negative coefficient is associated with a lower probability of admission or a weaker rating. [Id.

       at 77:3–78:23]. The Court has and will continue to note when race appears “statistically

       significant” in an analysis, which indicates that the coefficient for some racial group is of a

       magnitude that would occur infrequently due to random variation if race and the modeled

       variable were not related when controlling for the other variables included in the model. It is

       critical to understand that a statistically significant variable in an econometric model is not proof




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       of a causal relationship. A statistically significant coefficient may be the result of random

       variation, omitted variables, or other flaws in the model.

              A marginal effect is a measurement of the change in the projected outcome of the model

       (e.g. odds of admission to Harvard) that is associated with changing a given variable, while

       holding other variables constant. The magnitude of the change in probability will depend on the

       other variables. For example, a model might not suggest a large effect on an applicant’s

       probability of being admitted based on being African American, as opposed to being white, for a

       student who is academically unprepared (i.e. race won’t make a difference for an unprepared

       student), but might imply a significantly increased probability of admission associated with

       being African American rather than white for an applicant who is well-prepared. See [id. at

       78:24–80:6; PD38 at 25]. An “average marginal effect” is the average of the marginal effect

       associated with the variable of interest for that group. For example, one could calculate the

       average marginal effect of African American racial identity relative to white identity on the odds

       of admission or of achieving a given rating by averaging the probability changes attributable to

       the coefficient for African American identity in a relevant model. See [Oct. 25 Tr. 21:18–22:17,

       80:8–12, 96:19–97:24; PD38 at 24–25, 31]. Again, it must be understood that the average

       marginal effect reflects an average statistical relationship between a variable of interest (such as

       race) and a modeled variable (such as admissions outcome), and that relationship may or may not

       be causal in nature.

              Professors Card and Arcidiacono each prepared models of the admissions process in

       which the dependent variable is the admissions decision (admitted or rejected). [Oct. 25 Tr.

       216:22–217:7; Oct. 30 Tr. 101:15–17]. Their admissions models are broadly similar and predict

       the probability of admission for domestic non-transfer applicants by accounting for a wide range




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       of observable variables including gender, disadvantaged status, first generation college applicant

       status, fee waiver, whether the applicant applied for financial aid, academic index, intended

       major, secondary school type, indicators of parental education, whether parents attended an Ivy

       League school, whether parents are alive, geographic indicators, and standardized test results.

       See [Oct. 30 Tr. 143:16–25]; see also [PD38 at 26].

              There are, however, several critical differences in the structure and control variables

       utilized by Professor Card’s and Professor Arcidiacono’s respective models. As a result of these

       differences, Professors Card’s model returns a coefficient for Asian American identity that is

       negative but not statistically significant, meaning that the model does not strongly suggest that

       Asian American as opposed to white racial identity affects an applicant’s chances of admission,

       whereas Professor Arcidiacono’s model returns a negative coefficient for Asian American

       identity that is statistically significant, meaning that his model suggests that Asian American

       identity is associated with a lower chance of admission, when controlling for the other variables

       he includes. [Oct. 25 Tr. 115:1–11; Oct. 30 Tr. 129:9–16, 132:21–134:11]. The modeling

       differences that result in these disparate conclusions are discussed infra at Section V.F.

              Professor Arcidiacono also prepared a series of ordered logit estimates that SFFA

       contends show how well the ratings assigned for the academic, extracurricular, personal, overall,

       and school support ratings can be predicted. [Oct. 25 Tr. 90:10–91:23, 150:2–6; Oct. 30 Tr.

       101:15–17; Oct. 31 Tr. 188:22–189:1; Nov. 1 Tr. 76:3–11, 79:15–19; PD38 at 28]. These

       models are similar to Professor Arcidiacono’s model of admissions decisions, except that they

       are intended to be probative of the effect of race on the ratings assigned by admissions officers

       rather than the applicants’ probability of admission. [Oct. 25 Tr. 90:16–91:10]. Professor

       Arcidiacono’s preferred ordered logit models control for application year, application docket,




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       academic index, SAT scores, SAT II scores, high school GPA, extremely low-grade applicants,

       parental education level, including whether a parent attended an Ivy League school, whether the

       applicant’s parents are alive, expected college major, gender, high school type, neighborhood,

       disadvantaged status, receipt of an application fee waiver, first generation college applicant

       status, whether the applicant applied for financial aid, profile ratings other than the dependent

       variable, teacher recommendation ratings, guidance counselor rating, alumni ratings, and certain

       interactions among those variables. See [id. at 82:13–85:3; PD38]. To the extent that Professor

       Arcidiacono’s models imply that Asian American identity is associated with the ratings assigned

       by admissions officers, his models suggest that the magnitude and direction of the relationship

       (bonus or penalty) varies by rating and depends on whether an Asian American applicant is male

       or female and whether or not they are economically disadvantaged. See [PD38 at 28–35].

              E.      Regression Models of School Support, Profile, and Overall Ratings

              Although the experts’ models of admissions outcomes are most probative of whether

       Harvard has engaged in discrimination against Asian Americans relative to white applicants,

       there are also related statistical relationships between race and the profile and school support

       ratings. Because those ratings serve as inputs for the proposed admissions outcome models, the

       Court will briefly address the extent to which race might appear to impact the ratings assigned by

       admissions officers before turning to the admissions outcome models themselves.

                        1.    Relationship Between Race and School Support Ratings

              As discussed supra at Section V.C, Asian American applicants have lower average school

       support ratings than white applicants. There are several conceivable explanations for the

       disparity including actual differences in non-academic strengths, a correlation between the

       quality of the guidance counselor or teacher recommenders and the racial makeup of high

       schools, biased teachers and guidance counselors, or biased Harvard admissions officers.


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       Considering the testimony of Harvard’s admissions officers and the admissions process itself, the

       Court views Harvard admissions officer bias as an unlikely explanation for the disparity in

       school support ratings and concludes that race-related variance in the school support ratings

       result from some combination of the other potential causes, all of which are beyond Harvard’s

       control. Further, when considering regression analyses, because school support ratings can be

       included in admissions outcome models, any racial effect that impacts admissions decisions

       through the school support ratings can be controlled for.

              Importantly, however, although the school support ratings themselves provide only an

       overall numeric evaluation of recommendations, the school support materials are in fact more

       nuanced and the substance of them informs perceptions about applicants across numerous

       dimensions. [Oct. 31 Tr. 36:16–37:16]. Considering the stereotypes and biases that favor and

       disfavor Asian American applicants in different evaluation dimensions, the impact of race on the

       school support ratings could be understood to suggest that the overall numeric score masks more

       subjective disparities in how applicants from different racial groups are presented by their

       recommenders. See [id.]. Therefore, to the extent Asian Americans are presented by guidance

       counselors and high school teachers as weaker in personal characteristics that Harvard values

       and those presentations inform the personal rating, omission of the personal rating results in an

       omitted variable bias that cannot be fully captured by including a school support rating control

       variable.

                        2.    Relationship Between Race and Personal Ratings

              Professor Arcidiacono’s preferred model suggests that Asian American identity reduced a

       Baseline Dataset applicant’s probability of receiving a personal rating of 2 or higher. The model

       implies that when holding constant nearly all of the available observable variables, Asian

       American identity is associated with a lower probability of being assigned a strong personal


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       rating by an admission officer. More precisely, his model suggests that an average Baseline

       Dataset Asian American applicant has a 17.8% probability of receiving a 2 or higher on the

       personal rating, which is lower than the 21.6% chance that the model suggests the applicant

       would have in the absence of any racial preference. [Oct. 25 Tr. 96:24–97:24; PD38 at 31].

       Harvard did not offer a competing regression model to show that no statistically significant

       relationship between Asian American identity and the personal rating exists, and the Court

       therefore concludes that the data demonstrates a statistically significant and negative relationship

       between Asian American identity and the personal rating assigned by Harvard admissions

       officers, holding constant any reasonable set of observable characteristics.

              The Court finds, however, that Professor Arcidiacono’s preferred model likely overstates

       the direct effect of Asian American identity on the personal rating. First, as discussed supra at

       Section III.B.4, Harvard’s witnesses credibly testified that they did not use race in assigning

       personal ratings (or any of the profile ratings) and did not observe any improper discrimination

       in the admissions process. [Oct. 18 Tr. 49:17–19; Oct. 19 Tr. 48:24–49:19, 253:4–17; Oct. 23

       Tr. 50:24–51:4, 219:21–24; Oct. 24 Tr. 122:5–8; Nov. 1 Tr. 246:18–247:4, 253:18–25]. The

       uniformity of these observations is persuasive given the collective manner in which admissions

       decisions are made, with all members of the Admissions Committee participating in all decisions

       and having real-time visibility into the process for each applicant. Any causal relationship

       between Asian American identity and the personal rating must therefore have been sufficiently

       subtle to go unnoticed by numerous considerate, diligent, and intelligent admissions officers who

       were immersed in the admissions process.

              Second, Professor Arcidiacono’s model explains only a portion of the variation in

       personal ratings and likely suffers from considerable omitted variable bias. The model does not




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       include variables for several factors that influence personal ratings and may correlate with race,

       such as the extent to which applicants’ essays and personal statements demonstrated their

       abilities to overcome obstacles or personal achievements that might reasonably be perceived as

       an indication of leadership ability or other personal strengths. [Oct. 31 Tr. 35:15–36:9]. 48

              Third, as discussed supra at Section V.C, E, teacher and guidance counselor

       recommendations seemingly presented Asian Americans as having less favorable personal

       characteristics than similarly situated non-Asian American applicants, and the school support

       ratings do not fully reflect more subtle racial disparities. As the experts’ analyses demonstrate,

       some race-correlated variation in teacher and guidance counselor recommendations is likely a

       cause of at least part of the disparity in the personal ratings. See supra at Sections V.C, E.

       Professor Card’s analysis shows that the school support ratings for Asian American applicants

       are generally weaker than the ratings for white students when comparing white and Asian

       American students who receive the same academic rating. [DX692 at 4]; see [DD10 at 68]. For

       example, approximately 43% of white students who receive an academic score of 2 have school

       support ratings (from their two teacher and one guidance counselor recommendations) that sum



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          Speculating on how unobserved variables may be influencing the model’s implied effect of
       race on the personal ratings is fraught with difficulty. Although the Court has not received
       statistical evidence on the effect of race on specific high school achievements, it is likely that
       some high school achievements are themselves effected by racial biases. One might question the
       effect, positive or negative, of being Asian American on the probability of being selected to a
       leadership position such as class president, captain of a sports, math, or debate team, or the
       likelihood of being identified as an outspoken advocate, a natural leader, or an intellectual
       superstar. Professor Arcidiacono’s models account for some of these considerations, to some
       degree, through inclusion of the school support ratings, but much of the variation in applicants’
       qualities cannot easily be boiled down to econometrically digestible variables. [Oct. 31 Tr.
       35:15–36:9]. It is possible that Asian American applicants to Harvard are being disadvantaged
       by biases in their high schools that affect their college applications. Admissions officers have no
       easy mechanism to measure or correct for these biases, except to carefully review individual
       applicants in a holistic way and to recognize and consider applicants’ accounts of how their
       racial identities have shaped their pre-college experiences.


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       to 7 or less (indicating very strong recommendations), while only about 37% of Asian American

       applicants with an academic score of 2 receive similarly strong school support ratings. [Oct. 31

       Tr. 55:11–56:2]. Because teacher and guidance counselor recommendation letters are among the

       most significant inputs for the personal rating, the apparent race-related or race-correlated

       difference in the strength of guidance counselor and teacher recommendations is significant. See

       [id. at 54:6–56:2; DD10 at 67–68]. The Court reiterates that to the extent that disparities in the

       personal ratings are explained by teacher and guidance counselor recommendation letters,

       Harvard’s admissions officers are not responsible for any race-related or race-correlated impact

       that those letters may have.

              Additionally, correlation between race and the personal and school support ratings does

       not clearly demonstrate a causal relationship, given the correlation between race and numerous

       factors that likely influence teacher and guidance counselor recommendations and admissions

       officers’ evaluation of personal and overall strength. For example, a privileged student and a

       disadvantaged student with the same academic performance may well not receive similar teacher

       and guidance counselor recommendations. Similarly, a student that works part time and a

       student that does not may receive different recommendations even with the same academic

       performance and without reference to race, but if working outside of school correlates to race

       and informs teacher, guidance counselor, and admissions officers’ evaluation of applicants, the

       school support and personal ratings may correlate with race, although race might not be the cause

       of the differential. In other words, race-correlated disparities in personal ratings for applicants

       who have similar academic qualifications may reflect underlying differences in the backgrounds

       and experiences of applicants that happen to correlate with race but are not racially motivated.

       That being said, it is not clear that these sorts of considerations adequately explain the difference




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       in personal ratings between white and Asian American applicants in Professor Arcidiacono’s

       decile analysis or the similar analysis Professor Card has offered.

              Overall, the disparity between white and Asian American applicants’ personal ratings has

       not been fully and satisfactorily explained. Because some of the disparity in personal ratings is

       due to teacher and guidance counselor recommendations, the issue becomes whether the

       remaining disparity reflects discrimination. The disparity in personal ratings between Asian

       American and other minority groups is considerably larger than between Asian American and

       white applicants and suggests that at least some admissions officers might have subconsciously

       provided tips in the personal rating, particularly to African American and Hispanic applicants, to

       create an alignment between the profile ratings and the race-conscious overall ratings that they

       were assigning. See [PD38 at 33]. It is also possible, although unsupported by any direct

       evidence before the Court, that part of the statistical disparity resulted from admissions officers’

       implicit biases that disadvantaged Asian American applicants in the personal rating relative to

       white applicants, but advantaged Asian Americans over whites in the academic rating.

              Further, the Court cannot accurately estimate what portion of the difference in the

       personal ratings resulted from the strength of the personal qualities that Harvard seeks to

       measure or from differences in how Asian American applicants are presented to Harvard by high

       schools relative to other applicants, as opposed to being the effect of implicit biases. Taking

       account of all the available evidence, it is possible that implicit biases had a slight negative effect

       on average Asian American personal ratings, but the Court concludes that the majority of the

       disparity in the personal rating between white and Asian American applicants was more likely

       caused by race-affected inputs to the admissions process (e.g. recommendations or high school




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       accomplishments) or underlying differences in the attributes that may have resulted in stronger

       personal ratings.

                           3.   Regression Models of the Academic, Extracurricular, and Overall Ratings

              Unlike the personal ratings, the experts agree that the academic and extracurricular

       variables should be included in the admissions outcome model and that the overall rating should

       not be included because Harvard acknowledges that it is directly affected by racial identity. See

       [PD38 at 26; DD10 at 46–47]. Nevertheless, because the profile ratings may all be impacted by

       race in a very marginal manner, the Court will briefly discuss the econometric models of these

       variables. Professor Arcidiacono’s logistic regression models for the academic, extracurricular,

       and overall ratings suggest a non-uniform effect of Asian American identity on those ratings.

       [Oct. 25 Tr. 91:11–92:20, 109:23–110:13; PD38 at 28–33]. The academic and extracurricular

       ratings models return positive coefficients for Asian American identity, while the overall rating

       model returns a negative coefficient for Asian Americans (with the exception of disadvantaged

       Asian American females). See [Oct. 25 Tr. 92:24–94:10, 107:8–13, PD38 at 29, 32–33].

              A comparison between the strength of Asian American applicants on the observable

       characteristics included in Professor Arcidiacono’s academic and extracurricular rating models

       and the coefficients for Asian American groups suggests that Asian Americans have traits, other

       than their racial identity, that make them likely to score well in academic and extracurricular

       ratings. [Oct. 25 Tr. 107:8–110:17; PD38 at 32–33]. This implies that the positive coefficients

       for Asian American identity in the academic and extracurricular ratings models are likely at least

       partially the result of unobservable characteristics that correlate with race, and Professor

       Arcidiacono has posited that is indeed likely the cause. [Oct. 25 Tr. 108:24–109:8, 110:14–17].

       The Court finds, however, that although omitted variables are likely partially responsible for the

       positive coefficients for Asian American identity in Professor Arcidiacono’s models for the


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       academic and extracurricular ratings, those coefficients could also partially be the result of slight

       implicit bias that favors Asian Americans in these areas.

               Professor Arcidiacono’s model of the overall rating yields negative coefficients for Asian

       American males and non-disadvantaged Asian Americans females. [PD38 at 29]. This suggests

       that Asian Americans who are not also disadvantaged females might receive lower overall

       ratings because of their racial identity relative to similarly-situated white applicants, see [Oct. 25

       Tr. 92:20–94:10; PD38 at 29], but the result is subject to substantially the same criticism that

       Harvard lodges against Professor Arcidiacono’s admissions outcome model, namely that

       Professor Arcidiacono’s modeling choices do not fully reflect the actual admissions process and

       that his decision to exclude ALDC applicants was results-driven. Regardless, the Court finds it

       unnecessary to delve further into the overall rating disparity because it is the odds of admission,

       not an apparent disparity in the odds of receiving a high overall rating, that is primarily at issue,

       and Harvard acknowledges and intends that race may be factored into the overall rating. See

       [Oct. 18 Tr. 167:17–168:6].

               F.      Regression Models of Admissions Outcome

               As noted supra at Section V.D, both Professors Arcidiacono and Card prepared models of

       domestic non-transfer applicants’ probability of admission to Harvard based on a wide array of

       variables. [Oct. 25 Tr. 21:18–23:23, 215:12–15; Oct. 30 Tr. 176:18–177:7]. Professor Card’s

       preferred model returns a negative coefficient for Asian American identity (suggesting a lower

       likelihood of admission), but the relationship is slight, not statistically significant, and is positive

       (suggesting an increased likelihood of admission) for some class years. [Oct. 30 Tr. 129:9–16,




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       132:21–134:11; DX685; DD10 at 30]. 49 Professor Arcidiacono’s preferred model returns a

       statistically significant negative coefficient for non-ALDC Asian American applicants, which

       implies a penalty for non-ALDC Asian American applicants relative to non-ALDC white

       applicants. [Oct. 25 Tr. 115:1–118:10; PD38 at 34].

              Professors Card’s and Professor Arcidiacono’s preferred models differ in the following

       significant respects: (1) Professor Arcidiacono interacts race and disadvantaged status; (2)

       Professor Arcidiacono excludes the personal rating from the model; (3) Professor Arcidiacono

       excludes ALDC applicants; (4) Professor Arcidiacono pooled the 2014–2019 applicant data into

       a single model with effects for class years, whereas Professor Card used separate year-by-year

       models and thereby allowed the effect of variables to vary by admissions cycle; and (5) Professor

       Arcidiacono excludes parental occupation, intended career, and an indicator for whether

       applicants interviewed with a staff member. See [Oct. 31 Tr. 88:21–91:23; DD10 at 84]. For the

       reasons discussed below, the Court finds both experts’ approaches to be econometrically

       defensible, but prefers Professor Arcidiacono’s approach with respect to interacting race and

       disadvantaged status and prefers Professor Card’s inclusion of ALDC applicants, use of year-by-

       year models, and inclusion of parental occupation, intended career, and staff interview variables,

       and finds models with and without the personal rating to be worthy of consideration.

              Professor Arcidiacono reasonably interacted race and disadvantaged status. [Oct. 25 Tr.

       150:11–19]. This approach is consistent with the approach taken by OIR in response to Dean




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         Professor Card also modeled the admissions outcomes for two subgroups of Asian Americans:
       females and applicants from California. He found that Asian American identity within these
       subgroups returned positive coefficients that were not statistically significant. [Oct. 25 Tr.
       154:7–155:3; Oct. 30 Tr. 136:8–137:8]. These models show that to the extent biases influenced
       the admissions process, those biases were not uniform across the Asian American applicant
       population.


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       Fitzsimmons’ request and reflects the possibility of some interaction between race and

       disadvantaged status. See [Oct. 17 Tr. 127:22–129:17; Oct. 25 Tr. 150:11–151:1; PX26]. It was

       not unreasonable, however, for Professor Card not to interact the selected variables. The

       inclusion of these interaction terms has only a modest impact on the average marginal effects of

       Asian American identity generated by the admissions models, and their inclusion alone does not

       result in Asian American identity having a statistically significant effect when the terms are

       added to Professor Card’s model. [Oct. 31 Tr. 89:11–18; DD10 at 84].

              There is a reasonable econometric basis for removing the personal ratings from the

       admissions models given the possibility that the personal ratings are affected by race. See [Oct.

       25 Tr. 91:17–92:1]. Removing the personal rating, however, expands the omitted variable bias

       because the relationship between race and the personal rating is likely partially reflective of

       biases external to the Admissions Office, characteristics that are correlated with race, and life

       experiences that are impacted by race. See supra at Section V.C. Therefore, although the Court

       believes that including the personal rating results in a more comprehensive analysis, models with

       and without the personal rating are econometrically reasonable and provide evidence that is

       probative of the effect of race on the admissions process.

              Professor Card’s inclusion of ALDCs in the admissions model is preferred by the Court.

       Although ALDCs benefit from sizable tips owing to their respective statuses as recruited

       athletes, legacies, dean’s or director’s list members, or children of faculty or staff, they are

       evaluated through the same basic admissions process as other applicants and their admission

       outcomes provide data that is probative of whether Harvard is discriminating against Asian

       Americans. [Oct. 17 Tr. 203:19–22; Oct. 25 Tr. 30:13–31:3, 233:25–234:3]. Including ALDCs

       in the model is particularly warranted where they account for approximately 30% of Harvard’s




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       admitted students and therefore provide a significant portion of the datapoints for admitted

       students. [DX706, DD10 at 38].

              Professor Arcidiacono acknowledges that Asian American ALDCs are not discriminated

       against. See [Oct. 25 Tr. 120:23–126:8]. His corresponding suggestion that only non-ALDC

       Asian Americans face discrimination in the admissions process is inadequately supported by

       non-statistical evidence. Further, it does not seem likely that Harvard would discriminate against

       non-ALDC Asian Americans, but not discriminate against ALDC Asian American applicants or

       that there would be a race-related explanation for treating the two groups differently, especially

       given the Court’s conclusion based on the testimony of Harvard’s admission officers that any

       race-related discrimination against Asian American applicants relative to white applicants is

       unintentional. Additionally, the tips that only ALDCs receive, for example for being recruited

       athletes, can be adequately accounted for through the inclusion of variables for those

       characteristics. See [Oct. 30 Tr. 157:24–158:14]. Overall, including ALDCs leads to a model

       that more accurately reflects how the admissions process works and takes into account a larger

       percentage of the admitted class. In the view of the Court, looking at only a portion of a class or

       carving out the segments where there is less likely to be discrimination distorts the analysis just

       as carving out the segments where there is mostly likely to be discrimination would do the same

       but to the benefit of the other party. [Id. at 166:21–167:20].

              For similar reasons, Professor Card’s modelling of each individual admissions cycle is

       preferable to Professor Arcidiacono’s pooling of applicants from the six admissions cycles of

       available data. Professor Card’s year-by-year approach conforms to the reality that the effect of

       various characteristics in the admissions process may change slightly between years, as

       Harvard’s institutional interests or admissions policies shift or when the composition of the




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       applicant pool changes. [Id. at 167:25–170:15]; see, e.g., [DX703; DX704]. Further, modeling

       each annual admission cycle independently recognizes that having a class that is 30% African

       American one year and 0% the next is not the same as having 15% each of those years.

       Professor Arcidiacono pooled the admissions cycles to achieve a more precise estimate of the

       effect of Asian American racial identity, but Professor Card’s model achieves a lower standard

       error, which is an indication of the precision of the model. [Oct. 30 Tr. 172:21–175:18; DD10 at

       45].

              Professor Arcidiacono omitted intended career, staff interview indicator, and parental

       occupation from his model. [Oct. 25 Tr. 145:21–148:12]. The Court prefers a model that

       includes these variables because they play a role in the admissions process. [Oct. 26 Tr. 8:25–

       9:21, 10:17–11:6; Oct. 31 Tr. 9:3–7]. Further, these variables correlate with race and therefore

       create a significant potential for omitted variable bias if excluded. [Oct. 31 Tr. 10:16–18, 11:15–

       12:21, 21:19–22:14; DX677; DX681; DD10 at 54]. Professor Arcidiacono excluded these

       variables primarily because of data issues, including unexplained year-to-year fluctuations in the

       distribution of parental occupation and intended career categorizations. [Oct. 25 Tr. 145:21–

       148:12; DD10 at 50–52, 56]. As examples, numerous parents who were categorized as having

       low-skill jobs for the class of 2014 would likely have been categorized as being self-employed

       for the class of 2015, and there is a substantial decrease in the number of parents categorized as

       unemployed among applicants to the class of 2017 versus the class of 2018. [Oct. 25 Tr. 146:4–

       147:9; DD10 at 51–52]. Although the data for parental education and intended career are not as

       consistent year-to-year as would be ideal, including the variables is preferable because their

       exclusion results in omitted variable bias that exaggerates the effect of race that is implied by the

       models. [Oct. 30 Tr. 146:18–147:6; DX695; DD10 at 35]. Professor Card’s model deals




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       effectively with data categorization inconsistencies by treating each admission cycle separately,

       and SFFA has not shown that the data is unreliable within any admissions cycle. [Oct. 30 Tr.

       169:12–24]. This data might well need to be excluded if using one data pool for all admission

       years, but there is no need to exclude it when modeling admissions decisions year-by-year.

              Professor Card included a staff interview indicator variable, while Professor Arcidiacono

       excluded the indicator based on his conclusion that the score from an interview should matter,

       not whether an applicant was interviewed. [Oct. 25 Tr. 148:13–18]. Interviewing with an

       Admissions Office staff member seemingly affects an applicant’s probability of admission to

       Harvard, perhaps because it provides an applicant with a potential advocate in the Admissions

       Office irrespective of how well the applicant performs in that interview, and the Court concludes

       that including the indicator variable is preferable. See [Oct. 31 Tr. 25:7–27:8].

              The Court finds that Professors Card and Arcidiacono each presented a viable

       econometric model but will rely on Professor Card’s model with the interaction terms utilized by

       Professor Arcidiacono and then consider results both with and without the personal rating

       variable included. This model would return a slightly negative coefficient and average marginal

       effect for Asian American identity, but that coefficient is only statistically significant in the

       version of the model where the personal rating variable is excluded. See [Oct. 30 Tr. 146:6–17;

       DD10 at 35]. In fact, without any modifications, Professor Card’s model returns a slight positive

       average marginal effect for Asian American identity in three of the six admission cycles that the

       experts analyzed. [DD10 at 30]. Whether the personal rating variable is included or not, the

       lower probability of admission to Harvard that appears associated with Asian American identity

       is slight, with an average marginal effect of Asian American racial identity on admissions

       probability that is well below minus one percentage point (i.e. closer to zero). The model does




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       not demonstrate any intent by admissions officers to discriminate based on racial identity, and

       the implied effect is so slight that it is possible that the coefficient would be positive, at least

       with the personal rating included, if the model was better able to account for unobserved factors.

       It is also possible that the negative coefficient and average marginal effect reflect a very slight

       implicit bias that could have played a modest role in lowering Asian Americans’ admissions

       probability in some of the 2014–2019 admissions cycles. If so, the effect was so slight that it

       went unnoticed by careful and conscientious observers within the Admissions Office. The

       implied effect varies by admissions cycle and, with the personal rating variable included, results

       in a positive, statistically insignificant effect for the 2019 class year, which suggests, even

       though the change is not statistically significant, that any implicit biases against Asian

       Americans dissipated or were eliminated after the Admissions Office was confronted with the

       allegations at issue here. See [Oct. 30 Tr. 163:22–164:22; DD10 at 41].

               G.      Absence of Statistical Support for Racial Balancing or Quotas

               Harvard does not have any racial quotas and has not attempted to achieve classes with

       any specified racial composition. [Oct. 18 Tr. 112:1–21, 197:16–19; Oct. 19 Tr. 65:13–25,

       197:14–20; Oct. 24 Tr. 123:15–18, 174:10–18, 210:2–9; Nov. 1 Tr. 249:24–250:6]. As

       discussed supra at Section III.B.4, Harvard evaluates the likely racial composition of its class and

       provides tips to applicants to help it achieve a diverse class. Those tips are necessary to achieve

       a diverse class given the relative paucity of minority applicants that would be admitted without

       such a tip. In trying to assure a diverse class, when reviewing an individual applicant, the

       admissions officers consider various qualitative and numerical indicators of diversity, including

       the racial composition of the group of students who are expected to be admitted.

               Although Harvard tracks and considers various indicators of diversity in the admissions

       process, including race, the racial composition of Harvard’s admitted classes has varied in a


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       manner inconsistent with the imposition of a racial quota or racial balancing. See [Oct. 31 Tr.

       119:10–121:10; DX711]. As Figures 1 and 2 show, there has been considerable year-to-year

       variation in the portion of Harvard’s class that identifies as Asian American since at least 1980.

       See [DX711 at 2; DD10 at 100–101].



               Figure 1: Percent Change in Year-to-Year Admittance of Students by Race.
                                        [DD10 at 100; DX711].




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              The Court finds that the statistical evidence shows that Harvard has not imposed racial

       quotas or otherwise engaged in impermissible racial balancing.

       VI.    FINDINGS OF FACT: RACE-NEUTRAL ALTERNATIVES

              Under the strict scrutiny rubric established by the Supreme Court, Harvard may consider

       race to achieve diversity only if there is no workable race-neutral alternative to the consideration

       of race to ensure a sufficiently diverse class. SFFA introduced models on race-neutral

       alternatives through an expert, Richard Kahlenberg. 50 The Smith Committee’s conclusions and

       the analysis performed by Professor Card and Mr. Kahlenberg all convincingly establish that no

       workable race-neutral alternatives will currently permit Harvard to achieve the level of racial

       diversity it has credibly found necessary for its educational mission.

              Harvard’s race-conscious admissions policy has a significant impact on the racial

       diversity of its class, with African American and Hispanic applicants being the primary

       beneficiaries in terms of their admissions probabilities. The policy of considering applicants’

       race may improve the admission chances of some Asian Americans who connect their racial

       identities with particularly compelling narratives, but overall results in fewer Asian American

       and white students being admitted. See [Oct. 31 Tr. 127:22–128:15]. Any race-neutral

       alternative will be deemed workable only if it would allow Harvard to achieve the benefits that it

       derives from its current degree of diversity within a given class year, while also being

       practicable, affordable, and not requiring a material decline in academic quality or any of the

       other measures of excellence valued by Harvard.



       50
         Mr. Kahlenberg is a senior fellow at The Century Foundation, where he has worked for the last
       twenty years. He graduated from Harvard College in 1985 and received a juris doctor from
       Harvard Law School in 1989. Mr. Kahlenberg has published works on numerous socioeconomic
       subjects, including the use of race-neutral alternatives in college admissions. [Oct. 22 Tr. 7:15–
       12:10].


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               Currently, although always considered in conjunction with other factors and metrics,

       race is a determinative tip for approximately 45% of all admitted African American and Hispanic

       applicants. See [DX721 at 1]. At least 10% of Harvard’s admitted class, including more than

       one third of the admitted Hispanics and more than half of the admitted African Americans,

       would most likely not be admitted in the absence of Harvard’s race-conscious admissions

       process. See [Oct. 31 Tr. 127:22–129:2; DX721; DD10 at 107]. 51 In the absence of any other

       adjustments to Harvard’s admissions policy, eliminating consideration of race would cause the

       African American representation at Harvard to decline from approximately 14% to 6% of the

       student population and Hispanic representation to decline from 14% to 9%. [Oct. 31 Tr. 126:21–

       129:2]. Over the course of four years, the number of African American and Hispanic students at

       Harvard would fall by nearly 1,000 students. See [Oct. 25 Tr. 167:20–168:4; PD38 at 39].

              The Court notes that Harvard’s current admissions policy does not result in under-

       qualified students being admitted in the name of diversity—rather, the tip given for race impacts

       who among the highly-qualified students in the applicant pool will be selected for admission to a

       class that is too small to accommodate more than a small percentage of those qualified for

       admission. 52 Therefore, removing attention to race, without a workable race-neutral alternative,



       51
         The econometric models fail to fully reflect the number of students for whom race is
       determinative. Among other factors, the increased Asian American representation that the
       models project would likely not include all Asian American students who are admitted under the
       current race-conscious approach. In the total absence of a race-conscious policy, some Asian
       American applicants who excelled on academic, athletic, or other metrics of success would likely
       replace some number of Asian American students from disproportionately less advantaged
       backgrounds who tell compelling stories about their personal identities that require an
       understanding of their race. See, e.g., [Oct. 18 Tr. 52:19–56:21; Oct. 29 Tr. 147:6–152:12].
       52
          Moreover, other tips in the admissions process, like so many facets of modern-day American
       life, disproportionately benefit individuals in the majority and more affluent group.




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       would cause a sharp decline in the percentage of African American and Hispanic students at

       Harvard without resulting in a particularly significant increase in the overall academic strength

       of the class. 53

                The parties’ experts, as well at the Smith Committee, examined numerous race-neutral

       alternatives to determine if they, alone or in combination, could conceivably limit the decline in

       racial diversity in Harvard’s class in the absence of a race-conscious admissions policy. See

       [Oct. 22 Tr. 18:1–11; Oct. 31 Tr. 129:3–130:4; PX316 at 6–18]. These alternatives included

       eliminating early action, tips for ALDC applicants, the practice of offering deferred admissions

       or z-listing applicants, and consideration of standardized test scores, as well as expanding

       recruiting and partnership efforts, admitting more transfer students, utilizing a place-based quota

       system, and expanding preferences for economically disadvantaged applicants. [Oct. 22 Tr.

       33:15–49:8; Oct. 31 Tr. 130:5–130:23, 133:10–20; PX316 at 6–18; DD10 at 109]. As more fully

       set forth below, Harvard has demonstrated that none of these approaches, individually or in

       combination, would allow it to reach the level of racial diversity that it believes necessary to

       achieve its educational mission without significant consequences to the strength of its admitted

       class.

                A.        Eliminating Early Action

                In an earlier effort to both increase diversity and level the admissions playing field for

       less advantaged applicants, Harvard eliminated its early action program for the classes of 2012

       through 2015, believing that early action disproportionately benefitted affluent applicants and

       hoping that other elite colleges would follow its lead, which they largely did not. [PX316 at 15].


       53
          Similarly, removing the tips for recruited athletes would result in a sharp decline in admitted
       athletes, removing the tips for children of faculty or staff would reduce their representation, and
       eliminating the tip for legacies would decrease their numbers as well. In other words, removing
       any tips changes the make-up of the admitted class, but not necessarily its overall quality.


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       This actually had the unintended consequence of decreasing matriculation rates among some

       categories of African American and Hispanic applicants, apparently because the most qualified

       of those prospective applicants were choosing to attend other colleges that offered early

       admission or early decision. [Oct. 23 Tr. 156:17–157:22; DX39 at 2–4]. As a result, Harvard

       reinstituted an early action program for the class of 2016. [PX316 at 15; DX39 at 4]. Harvard’s

       actual experience is more probative of the probable result of such a change than econometric

       prognostications and shows that the likely effect of removing early action on African American

       and Hispanic enrollment is negative or near zero. [Oct. 31 Tr. 133:20–135:24; DX728 at 3]. As

       such, eliminating early action does not present a viable race-neutral option for achieving student

       body diversity.

              B.      ALDC Tips

              Preferences or tips for ALDC applicants and related deferred admissions also

       disproportionately benefit socioeconomically advantaged applicants. See [PX316 at 16–17].

       Although removing tips for these applicants would improve socioeconomic diversity at Harvard

       and increase the number of Asian American students, it would not significantly increase the

       number of African American and Hispanic students if implemented alone. [Oct. 31 Tr. 131:8–

       133:8; DX720; DD10 at 112]. Professor Card reasonably estimated that eliminating tips for race

       and ALDC status, along with eliminating deferred admissions, would cause African American

       enrollment to decline from 14% to 5% and Hispanic enrollment to decline from 14% to 9%.

       [Oct. 31 Tr. 132:15–133:19; DX720; DD10 at 112]. Eliminating tips for ALDC applicants

       would have the effect of opening spots in Harvard’s class that could then be filled through an

       admissions policy more favorable to non-white students, but Harvard would be far less

       competitive in Ivy League intercollegiate sports, which would adversely impact Harvard and the

       student experience. [Oct. 30 Tr. 40:12–41:21]. Eliminating tips for legacies, applicants on the


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       dean’s and director’s interest lists, and children of faculty or staff would also come at

       considerable costs, and would adversely affect Harvard’s ability to attract top quality faculty and

       staff and to achieve desired benefits from relationships with its alumni and other individuals who

       have made significant contributions to Harvard. [Oct. 23 Tr. 164:19–167:2; Oct. 30 Tr. 20:17–

       21:8, 35:25–43:13; PX316 at 16–17].

              Therefore, eliminating tips for ALDC applicants and related deferred admissions

       practices is not alone an adequate race-neutral alternative given the limited probable impact on

       racial diversity and the likely adverse consequences for Harvard and student life. The Court

       notes that reasonable minds can differ on the importance of college athletics, alumni relations,

       and admitting the children of faculty and staff, but takes no position on these issues other than to

       note that these are topics best left to schools to figure out for themselves. As relevant here,

       eliminating these tips or preferences is largely unrelated to the goal of diversity or the issue of

       race, and in any event, is not a race-neutral alternative that would obviate the need for

       considering race in admissions.

              C.      Augmenting Recruiting Efforts and Financial Aid

              Harvard looked at expanding recruiting and partnership efforts and providing more

       financial aid as a way to increase diversity without having to consider race in the application

       process. The college already makes significant outreach efforts and provides exceptionally

       generous financial aid. [PX316 at 9–11]. In addition to the HFAI and UMRP programs

       discussed supra at Section III.A.2, the Smith Committee’s report describes additional

       community-based outreach efforts and considered but rejected the potential for pipeline

       programs that are inconsistent with Harvard’s recruitment goals. [PX316 at 10]. Harvard has

       already reached, or at least very nearly reached, the maximum returns in increased

       socioeconomic and racial diversity that can reasonably be achieved through outreach and


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       reducing the cost of a Harvard education. See [Oct. 31 Tr. 158:15–161:2; PX316 at 10–11;

       DD10 at 131–133].

              D.      Increasing Diversity by Admitting More Transfer Students

              Harvard might also increase diversity by admitting, as transfers, students who might not

       have applied or been accepted to Harvard at the outset. For example, it is conceivable that if

       Harvard expanded its efforts to attract and admit transfer students, it might be able to admit some

       transfer applicants who did not have the perspective to see attending Harvard as an option or who

       excelled during two years at another college, thereby demonstrating an academic prowess that

       might not have been evident right out of high school. Despite the facial appeal of these

       scenarios, Harvard has demonstrated that accepting an increased number of transfer applicants is

       also not a viable race-neutral alternative because these applicants are, on average, less diverse

       and less qualified than applicants to its freshman class. [Oct. 31 Tr. 146:24–149:21; DX730;

       DD10 at 124–125]. Further, Harvard operates as a four-year residential college and the number

       of transfer students that it can admit is constrained by the number of available beds, meaning that

       there is not room for transfer students unless other class members drop out. [PX316 at 12–13].

              E.      Eliminating Standardized Testing

              Eliminating consideration of standardized testing is likewise not an adequate race-neutral

       alternative to considering race in the admissions process. Harvard considers standardized tests to

       be reflective of academic or intellectual strength and uses SAT and ACT test scores in assigning

       academic ratings. [PX721 at 4]. Harvard has demonstrated that eliminating consideration of

       standardized test scores in the admissions process would lead to a reduction in the academic

       qualifications of its admitted class, at least as measured by the criteria Harvard presently uses.

       [Oct. 31 Tr. 143:23–146:11; DX722 at 3; DD10 at 121]. As the Smith Committee found,

       standardized tests are “imperfect measures,” but they can be a useful metric when considered in


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       tandem with an applicant’s background. [PX316 at 18]. Although eliminating consideration of

       standardized test scores might improve diversity slightly, the effects on the academic strength of

       Harvard’s admitted class makes eliminating the consideration of standardized test scores an

       unviable race-neutral alternative. See [Oct. 31 Tr. 153:4–154:17; DX723 at 3].

              F.      Place-Based Quotas

              The Smith Committee considered place-based quotas, such as admitting the top student

       from each high school class or from each zip code. [PX316 at 11–12]. Harvard’s evaluation and

       rejection of these ideas reflects the reality that Harvard is far too selective and high schools and

       zip codes in the United States too numerous for such an admissions policy to be even close to

       workable. [Oct. 22 Tr. 107:6–108:2].

              Harvard could achieve somewhat improved racial diversity in the absence of a race-

       conscious admissions policy by increasing the tips for students from disadvantaged economic

       backgrounds and areas. Under any reasonable implementation, however, this race-neutral

       approach would result in fewer African Americans than are admitted under the current system

       and would also come at the expense of traditional measures of academic strength, such as SAT

       scores. See [Oct. 22 Tr. 125:6–10, 126:17–127:23; PD27; PD29; PD31; PD33].

              Mr. Kahlenberg proposes a quota system where Harvard commits to enrolling students

       from broad neighborhood clusters constructed to generate more representation from racially

       diverse and disproportionately economically disadvantaged areas, [Oct. 22 Tr. 35:23–36:16], but

       given the logistical challenges of such an arrangement coupled with the questionable legality of

       any sort of quota system, as discussed infra at Section VII.G, place-based quotas are not an

       available and workable race-neutral alternative.




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              G.      SFFA’s Proposed Combinations of Various Race-Neutral Alternatives

              Mr. Kahlenberg presented four simulations, labeled A, B, C, and D, that model the

       combined effect of various allegedly race-neutral alternatives on Harvard’s class. [Oct. 22 Tr.

       16:7–14, 29:20–47:6]. The simulations, using the admissions models developed by Professors

       Card and Arcidiacono with the models’ implied racial tips removed, project the diversity of

       Harvard’s class with various modifications to the models that are aimed at increasing racial

       diversity by increasing the tip given to economically disadvantaged applicants, further

       preferencing applicants from disadvantaged geographic areas, and by removing preferences

       currently used in Harvard’s admissions process for ALDC students or LDC students that

       disproportionately benefit white applicants. [Oct 22 Tr. 27:11–27:7]. 54 These simulations show

       that Harvard could achieve a significant increase in socioeconomic diversity and an increase in

       the total representation of African American, Hispanic and other (i.e. non-white and non-Asian

       American) students in its classes but only if it abandoned all preferences for legacies, applicants

       on the dean’s or director’s interest lists, and children of faculty or staff, and implemented a

       sizable tip based on economic and geographic indicators of disadvantage. See [PD27; PD29;




       54
         In all of the simulations, the implied effects of tips given to LDCs are removed. [Oct. 22 Tr.
       34:17–35:9; PD32]. Simulation B, which utilizes Professor Card’s model and simulation,
       projects the effect of removing preferences for recruited athletes as well. [Id. at 41:3–42:9]. The
       simulations all impose some form of a socioeconomic and/or geographic status boost. [PD32].
       Model A expands the boost associated with disadvantaged status such that it is half the
       magnitude of the tip that the model suggests is currently granted to recruited athletes and forces
       equal selection of applicants from 33 neighborhood clusters, [Oct. 22 Tr. 35:23–36:16]; Model B
       boosts for socioeconomically disadvantaged students based on census tract income, [id. at 41:20–
       42:1]; and Simulations C and D modify the socioeconomic and census tract boost used in
       Simulation B and consider whether an applicant attended a disadvantaged high school, [id. at
       43:7–44:16]. Models A and C also remove the admissions models’ implied preference for early
       action applicants, while models B and D include that preference. [Id. at 42:2–3, 46:10–12;
       PD32].


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       PD31; PD33]. For example, Simulation D projects that 49% of Harvard’s class would be from

       an economically disadvantaged background, relative to the 12% in the class of 2019. [PD33].

              Mr. Kahlenberg’s changes to the admissions policy would come at significant costs. In

       addition to the loss of benefits provided by tips for ALDCs or LDCs, the simulations show a 53

       to 71-point decline in average SAT scores. [PD27; PD29; PD31; PD33]. These declines in

       average SAT score would be associated with more significant declines in the expected strength

       of Harvard’s class across the profile ratings, with the amount of the expected decline varying

       depending on the simulation selected. For example, under Simulation C, the portion of the

       admitted class achieving a 1 or 2 in each profile rating falls by between 13% and 26%. [DX729

       at 11; DD10 at 141]. The simulations also imply substantial changes to the academic interests of

       Harvard’s admitted classes that would pose administrative and staffing challenges. [DX729].

       For example, Mr. Kahlenberg’s models would likely lead to more students being admitted who

       indicated an intended concentration in engineering and fewer admitted students who intend to

       concentrate in the humanities, which would likely require Harvard to expand and contract its

       academic programs accordingly.

              Finally, and perhaps most significantly for present purposes, Mr. Kahlenberg’s

       simulations uniformly suggest that African American representation in Harvard’s incoming class

       would fall nearly one-third to approximately 10% of the class. [Oct. 22 Tr. 127:16–23]. In order

       to achieve, without race-conscious policies, comparable numbers of African American students

       in its admitted classes to those Harvard currently achieves, Harvard would likely need to

       eliminate all ALDC preferences, eliminate consideration of standardized tests, significantly

       expand the tip for disadvantaged applicants, and find a way to increase the number of

       disadvantaged applicants so that more of those disproportionately minority applicants could be




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       admitted. [Oct. 31 Tr. 153:4–154:3; DX723 at 1]. These changes, even assuming they could be

       achieved, would result in a significant decline in the strength of Harvard’s admitted classes

       across multiple dimensions, including its potential for academic and scholarly achievement. See

       [Oct. 31 Tr. 154:2–24; DX723 at 3; DD10 at 127].

              Harvard plausibly concludes that reshaping its incoming classes in this way would have

       negative effects on Harvard’s attractiveness to potential students, adversely affect the educational

       experience at Harvard generally, and that the resulting decrease in the number of African

       American students would exacerbate “feelings of isolation and alienation among racial

       minorities in Harvard’s community.” See supra at Section III.A.1; [PX316 at 8].

              The Court therefore concludes that Harvard has demonstrated that there are no workable

       and available race-neutral alternatives, singly or taken in combination, that would allow it to

       achieve an adequately diverse student body while still perpetuating its standards for academic

       and other measures of excellence. This conclusion is corroborated by the work of the experts

       retained by both sides, none of whom have proposed alternatives that would allow Harvard to

       meet its diversity goals while not unduly compromising on its other legitimate institutional

       objectives.

       VII.   CONCLUSIONS OF LAW

              A.      Overview

              The Court first affirms its previously expressed view that SFFA has standing and then

       turns to SFFA’s four pending Title VI claims: impermissible racial balancing (Count II), failure

       to use race merely as a “plus factor” (Count III) the availability of race-neutral alternatives

       (Count V), and intentional discrimination (Count I). Ultimately, the Court finds that Harvard has

       met its burden of showing that its admissions process complies with the principles articulated by




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       the Supreme Court in Fisher II, 136 S. Ct. at 2208, and concludes that judgment must issue for

       Harvard on each of the remaining claims.

              B.      SFFA Has Standing

              The constitutional extent of federal court jurisdiction is limited by Article III, which

       provides that “judicial power” extends to “Cases” and “Controversies” that, inter alia, arise

       “under this Constitution [or] the Laws of the United States.” U.S. Const. Art. III § 2, cl. 1.

       “Over the years, [Supreme Court] cases have established that the irreducible constitutional

       minimum of standing contains three elements:” (1) “an injury in fact—an invasion of a legally

       protected interest which is (a) concrete and particularized and (b) actual or imminent, not

       conjectural or hypothetical;” (2) “a causal connection between the injury and the conduct

       complained of—the injury has to be fairly traceable to the challenged action of the defendant,

       and not the result of the independent action of some third party not before the court;” and (3) “it

       must be likely, as opposed to merely speculative, that the injury will be redressed by a favorable

       decision.” Lujan v. Defenders of Wildlife, 504 U.S. 555, 561 (1992) (citations and modifying

       punctuation omitted). “The party invoking federal jurisdiction bears the burden of establishing

       these elements.” Id.

              Under the doctrine of associational standing, “an association may have standing solely as

       the representative of its members even in the absence of injury to itself, in certain

       circumstances.” Camel Hair & Cashmere Inst. of Am., Inc. v. Associated Dry Goods Corp., 799

       F.2d 6, 10 (1st Cir. 1986). As the Supreme Court has held:

              [A]n association has standing to bring suit on behalf of its members when: (a) its
              members would otherwise have standing to sue in their own right; (b) the interests
              it seeks to protect are germane to the organization’s purpose; and (c) neither the
              claim asserted nor the relief requested requires the participation of individual
              members in the lawsuit.

       Hunt v. Wash. State Apple Advert. Comm’n, 432 U.S. 333, 343 (1977).


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              During this litigation, SFFA demonstrated that its members included individuals who had

       standing to pursue this litigation on their own, that this litigation was germane to SFFA’s

       purpose, and that the injunctive relief SFFA seeks does not require the participation of those

       members in this lawsuit. See Students for Fair Admissions, 261 F. Supp. 3d at 110–11. Harvard

       argued at the summary judgment stage that the case had become moot because the SFFA

       members who the Court found had individual standing were no longer participating in the

       college admissions process or seriously interested in transferring. “Mootness usually results

       when a plaintiff has standing at the beginning of a case, but, due to intervening events, loses one

       of the elements of standing during litigation . . . .” Wild Earth Guardians v. Pub. Serv. Co. of

       Colo., 690 F.3d 1174, 1182 (10th Cir. 2012) (citing Arizonans for Official English v. Arizona,

       520 U.S. 45, 68 n.22 (1997)). At summary judgment, the Court found that “Harvard ha[d] not

       established that the case ha[d] become moot based on the [members’] alleged disinterest in

       transferring.” Students for Fair Admissions, 346 F. Supp. 3d at 191 (D. Mass. 2018). Harvard

       now asserts that the Court should have applied a more stringent standard, including requiring

       SFFA to show that its members control its conduct and possess certain “indicia of membership.”

       [ECF No. 619 ¶¶ 326–30]. Harvard’s standing arguments are preserved for appeal.

              C.      The Supreme Court and Race-Conscious Admissions

              Although this Court, as it must, relies principally on the Supreme Court’s most recent

       guidance as set forth in Fisher II, a brief synopsis of the case law which culminated in Fisher II

       follows.

              The Supreme Court directly confronted the issue of affirmative action or race-conscious

       admissions in the context of higher education for the first time in Regents of University of

       California v. Bakke, 438 U.S. 265 (1978) (plurality opinion). In that case, the Supreme Court

       struck down an admissions policy at the University of California at Davis Medical School


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       pursuant to Title VI and the Equal Protection Clause. Bakke, 438 U.S. at 271 (1978). At that

       time, the Medical School admitted most of its minority students through a “special admissions

       program” that filled 16 of the class’ 100 spots with economically or educationally disadvantaged

       applicants who were members of a minority group. Id. at 272–75. White applicants could

       compete for 84 of the seats in the Medical School’s class, while all 100 seats were potentially

       open to minority students. Id. at 289.

               Justices Brennan, White, Marshall, and Blackmun would have found Title VI coextensive

       with the Equal Protection Clause and upheld the medical school’s policy on the basis that the

       government may use race to remedy disadvantages to minorities caused by past racial prejudice.

       Id. at 355, 324–79 (concurring in part and dissenting in part). Chief Justice Burger and Justices

       Stevens, Stewart, and Rehnquist would have found the special admissions program in violation

       of Title VI, irrespective of the Equal Protection Clause. Id. at 408–21. Justice Powell, who

       announced the judgment of the Supreme Court, agreed with Justices Brennan, White, Marshall,

       and Blackmun that Title VI proscribes only those racial classifications that would violate the

       Equal Protection Clause, but unlike his fellow justices, concluded that diversity was an asserted

       state interest that could withstand strict scrutiny and that to satisfy strict scrutiny, the medical

       school’s approach to diversity had to “encompass[ a broad] array of qualifications and

       characteristics of which racial or ethnic origin is but a single though important element.” Id. at

       315. Although no majority agreed on a particular rationale, the Supreme Court determined that

       the medical school’s special admissions program was unconstitutional because it involved “the

       use of an explicit racial classification” that told “applicants who are not Negro, Asian, or

       Chicano that they [were] totally excluded from a specific percentage of the seats in an entering

       class.” Id. at 319.




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                 Nevertheless, a majority of the Supreme Court believed that race could be used in higher

       education admissions, and it was understood that Justice Powell’s opinion in Bakke permitted the

       use of race or ethnic background as a “plus” factor to further the goal of diversity in education.

       Justice Powell attached the Harvard College Admissions Program as an appendix to his opinion

       in Bakke and used it as a basis to conclude that the “assignment of a fixed number of places to a

       minority group is not a necessary means toward” diversity. Id. at 316, 321–24. In contrast with

       Harvard’s admissions process, which purported to treat “each applicant as an individual in the

       admissions process” and did not foreclose applicants from competing for the last available seat

       “simply because he was not the right color or had the wrong surname,” id. at 318, the “fatal

       flaw” in the medical school’s “preferential program” was its “disregard of individual rights,” id.

       at 320.

                 Twenty-five years later, the Supreme Court revisited the subject of racial preferences in

       higher education admissions in a pair of cases concerning the University of Michigan’s Law

       School and its College of Literature, Science, and the Arts. In Grutter v. Bollinger, 539 U.S. 306

       (2003), the Supreme Court concluded that the admissions process at the University of Michigan

       Law School was constitutionally permissible. 539 U.S. at 325. The law school considered

       applicants with a focus on academic ability coupled with a flexible assessment of applicants’

       talents, experiences, and potential to contribute to the learning of those around them. Id. at 315.

       Admissions officials were required to consider all the information available in an applicant’s file,

       including a personal statement, letters of recommendation, undergraduate grades, admissions test

       scores, and an essay describing the ways the applicant would contribute to the life and diversity

       of the law school. Id. at 315. While not restricting the types of diversity eligible for

       consideration or defining diversity solely in terms of racial or ethnic status, the law school was




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       committed to “racial and ethnic diversity with special reference to the inclusion of students from

       groups which have been historically discriminated against.” Id. at 316.

              In deciding Grutter, the Supreme Court clarified that strict scrutiny applies to the use of

       race in college admissions, agreed that the law school had a compelling interest in obtaining the

       educational benefits that flow from a diverse student body, and concluded that the law school’s

       race-conscious admissions process was sufficiently narrowly tailored. Id. at 333–34. The

       Supreme Court found that the law school’s goal of “enroll[ing] a critical-mass of minority

       students,” did not run afoul of the requirement that a school not attempt to attain “some specified

       percentage of a particular group merely because of its race or ethnic origin,” which would

       “amount to outright racial balancing” and be “patently unconstitutional.” Id. at 329–30 (quoting

       Bakke, 438 U.S. at 307). Instead, as distinct from a quota, the concept of “critical mass [was]

       defined by reference to the educational benefits that diversity is designed to produce,” including

       racial understanding, breaking down stereotypes, advancing learning outcomes, and preparing

       students for a diverse workforce and society. Id. at 330. The Supreme Court noted that the law

       school’s admissions program bore the hallmarks of a narrowly tailored plan: truly individualized

       consideration including the use of race in a “flexible, nonmechanical way,” no quotas or separate

       admissions tracks for members of certain racial groups, and no insulating “applicants who

       belong to certain racial or ethnic groups from the competition for admission.” Id. at 334.

              In upholding the law school’s admissions process in Grutter, the Supreme Court again

       approved of “the Harvard plan,” as described by Justice Powell in Bakke. See id. at 335. Like

       Harvard, the University of Michigan Law School did not have a “quota,” meaning “a program in

       which a certain fixed number or proportion of opportunities are ‘reserved exclusively for certain

       minority groups.’” Id. (quoting Richmond v. J.A. Croson Co., 488 U.S. 469, 496 (1989)




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       (plurality opinion)). Rather, the law school pursued a “permissible goal” that “require[d] only a

       good-faith effort to come within a range demarcated by the goal itself,” and “permit[ed]

       consideration of race as a ‘plus’ factor in any given case while still ensuring that each candidate

       ‘competes with all other qualified applicants.’” Id. (punctuation omitted) (first quoting Sheet

       Metal Workers v. EEOC, 478 U.S. 421, 495 (1986) and then quoting Johnson v. Transp. Agency,

       Santa Clara Cty., 480 U.S. 616, 638 (1987)). The Court noted that the Harvard plan, previously

       endorsed by Justice Powell in Bakke, “certainly had minimum goals for minority enrollment,

       even if it had no specific number firmly in mind,” but it reiterated that Justice Powell had “flatly

       rejected the argument that Harvard’s program was ‘the functional equivalent of a quota’ merely

       because it had some ‘plus’ for race, or gave greater ‘weight’ to race than to some other factors, in

       order to achieve student body diversity.” Id. (quoting Bakke, 438 U.S. 317–18, 323).

              Further, like the Harvard plan, Michigan Law’s admissions process was “flexible enough

       to consider all pertinent elements of diversity in light of the particular qualifications of each

       applicant, and to place them on the same footing for consideration, although not necessarily

       according them the same weight.” Id. (quoting Bakke, 438 U.S. at 317). Although race was

       given substantial weight in the admissions process, the law school also considered “the broad

       range of qualities and experiences that may be considered valuable contributions to student body

       diversity,” including fluency in several languages, a history of overcoming personal adversity

       and family hardship, exceptional records of extensive community service, and successful careers

       in other fields, and “actually [gave] substantial weight to diversity factors besides race.” Id. at

       338.

              While race may have been “‘outcome determinative for many members of minority

       groups[]’ who do not fall within the upper range of LSAT scores and grades,” that possibility




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       was not dispositive given that “the same could be said of the Harvard plan discussed approvingly

       by Justice Powell in Bakke.” Id. at 338 (quoting Grutter, 539 U.S. at 389 (Kennedy, J.,

       dissenting)). The Supreme Court noted in Grutter that “all underrepresented minority students

       admitted by the Law School [had] been deemed qualified,” although minority applicants were

       “less likely to be admitted in meaningful numbers on criteria that ignore[d]” race and

       experiences with racial inequality, which were of “particular importance to the Law School’s

       mission.” Id.

              On the same day the Supreme Court decided Grutter, it held in Gratz v. Bollinger, 539

       U.S. 244 (2003), that the admissions process at the University of Michigan College of Literature,

       Science, and the Arts violated Title VI and the Equal Protection Clause. Gratz, 539 U.S. at 275.

       The University of Michigan admitted or rejected applicants to the College of Literature, Science,

       and the Arts based on the number of points that an applicant scored under a rubric that offered

       points for high school GPA, standardized test scores, the academic strength of the applicant’s

       high school, the applicant’s high school curriculum, in-state residency, alumni relationship,

       personal essay, and other achievements. Id. at 255. Underrepresented minority applicants

       received an additional 20 points scored in a “miscellaneous” category which provided a

       significant bump towards the 75 to 100 points that were, depending on the year and the

       applicant’s in-state residency status, generally required for admission. Id. at 255–56, & n.8. The

       Supreme Court in Gratz concluded that the admissions policy was impermissible under Justice

       Powell’s opinion in Bakke because giving every underrepresented minority applicant 20 points

       did not provide the necessary “individualized consideration” and instead had “the effect of

       making ‘the factor of race . . . decisive’ for virtually every minimally qualified underrepresented

       minority applicant.” Id. at 271–72 (quoting Bakke, 438 U.S. at 317). The university’s use of




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       race was therefore not narrowly tailored to achieve the asserted compelling interest in diversity

       and thus violated the Equal Protection Clause and Title VI. Id. at 275–76.

              More recently, in the Fisher cases, the Supreme Court reviewed the undergraduate

       admissions program at the University of Texas at Austin (“UT Austin”), which considered race

       as one factor among many in assigning a personal achievement index which, together with an

       academic index, determined whether applicants who were not in the top 10% of their Texas high

       school class would be admitted or rejected. Fisher I, 570 U.S. at 304–07. In 2013 in Fisher I, the

       Supreme Court vacated the Fifth Circuit’s decision upholding UT Austin’s admissions program

       because the appeals court had not properly conducted the strict scrutiny analysis. Id. at 303. The

       Fifth Circuit had undertaken the narrow tailoring analysis with a degree of deference to the

       university, presuming that the school had made a good-faith decision to use race and then

       imposing the burden of rebutting that presumption on the plaintiff. Id. at 311–15. The Supreme

       Court concluded that no such deference to a university was permitted in undertaking the narrow

       tailoring analysis. Id.

              Following remand, the Fifth Circuit found that UT Austin had demonstrated that the use

       of race in its admissions program was narrowly tailored to achieve the rich diversity that

       contributed to UT Austin’s academic mission and once again affirmed the district court’s

       judgment that UT Austin’s admissions program did not violate the Equal Protection Clause.

       Fisher v. Univ. of Tex. at Austin, 758 F.3d 633, 657, 659–61 (5th Cir. 2014). The Supreme

       Court granted certiorari once more, and in 2016 it affirmed the Fifth Circuit’s ruling. Fisher II,

       136 S. Ct. at 2214–15.

              In Fisher II, the Supreme Court stated the following three controlling principles:

                     First, because racial characteristics so seldom provide a relevant basis for
              disparate treatment, race may not be considered . . . unless the admissions process



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              can withstand strict scrutiny. Strict scrutiny requires the university to demonstrate
              with clarity that its purpose or interest is both constitutionally permissible and
              substantial, and that its use of the classification is necessary to the accomplishment
              of its purpose.

                      Second, . . . the decision to pursue the educational benefits that flow from
              student body diversity is, in substantial measure, an academic judgment to which
              some, but not complete, judicial deference is proper. A university cannot impose a
              fixed quota or otherwise define diversity as some specified percentage of a
              particular group merely because of its race or ethnic origin. Once, however, a
              university gives a reasoned, principled explanation for its decision, deference must
              be given to the University’s conclusion, based on its experience and expertise, that
              a diverse student body would serve its educational goals.

                      Third, . . . no deference is owed when determining whether the use of race
              is narrowly tailored to achieve the university’s permissible goals. A university . . .
              bears the burden of proving a nonracial approach would not promote its interest in
              the educational benefits of diversity about as well and at tolerable administrative
              expense. Though narrow tailoring does not require exhaustion of every conceivable
              race-neutral alternative or require a university to choose between maintaining a
              reputation for excellence and fulfilling a commitment to provide educational
              opportunities to members of all racial groups, it does impose on the university the
              ultimate burden of demonstrating that race-neutral alternatives that are both
              available and workable do not suffice.

       Id. at 2208 (citations and modifying punctuation omitted).

              In applying these principles in Fisher II, the Supreme Court determined that UT Austin

       had provided a reasoned and principled articulation of concrete and precise goals for its race-

       conscious admissions program, including destroying racial stereotypes, promoting cross-racial

       understanding, preparing the student body for an increasingly diverse workforce and society,

       cultivating leaders with legitimacy in the eyes of the citizenry, providing an educational

       environment that fosters the robust exchange of ideas, exposure to different cultures, and the

       acquisition of the competencies required of future leaders. Id. at 2211. The Supreme Court

       noted “that a university bears a heavy burden in showing that it had not obtained the educational

       benefits of diversity before it turned to a race-conscious plan,” but found that UT Austin had

       engaged in good faith studies from which it reasonably “concluded that ‘[t]he use of race-neutral



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       policies and programs ha[d] not been successful in achieving’ sufficient racial diversity at the

       University,” and that this position was supported by both statistical and anecdotal evidence. Id.

       at 2211–12 (quoting the record). Lastly, none of the plaintiff’s proposed race-neutral

       alternatives, or any of the other proposals discussed in the course of the litigation, was shown to

       have been an “‘available’ and ‘workable’ means through which the University could have met its

       educational goals, as it then understood and defined them” without considering race, because

       “the Equal Protection Clause does not force universities to choose between a diverse student

       body and a reputation for academic excellence.” Id. at 2213–14 (quoting Fisher I, 570 U.S. at

       312).

               Most significantly, the controlling principles articulated by the Supreme Court in Fisher

       II reflect the sum of its holdings in cases concerning higher education admissions over the last

       forty years and now guide the application of Title VI in this case.

               D.     Harvard’s Admission Program and Strict Scrutiny

               Title VI provides, “No person in the United States shall, on the ground of race, color, or

       national origin, be excluded from participation in, be denied the benefits of, or be subjected to

       discrimination under any program or activity receiving Federal financial assistance.” 42 U.S.C.

       § 2000d. In the higher education admissions context, the contours of Title VI claims are largely

       shaped by the Equal Protection Clause of the Fourteenth Amendment. The “intentional

       discrimination proscribed by Title VI is discrimination that violates the Equal Protection Clause

       of the Fourteenth Amendment.” Weser v. Glen, 190 F. Supp. 2d 384, 396 (E.D.N.Y.), aff’d, 41

       F. App’x 521 (2d Cir. 2002); see Bakke, 438 U.S. at 284, 286 (noting that Title VI reflects a

       “congressional intent to halt federal funding of entities that violate a prohibition of racial

       discrimination similar to that of the Constitution,” but “proscribe[s] only those racial

       classifications that would violate the Equal Protection Clause or the Fifth Amendment”); see also


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       Grutter, 539 U.S. at 343 (adopting reasoning in Bakke); Gratz, 539 U.S. at 276 n.23 (“We have

       explained that discrimination that violates the Equal Protection Clause of the Fourteenth

       Amendment committed by an institution that accepts federal funds also constitutes a violation of

       Title VI.” (first citing Alexander v. Sandoval, 532 U.S. 275, 281 (2001), then citing United

       States v. Fordice, 505 U.S. 717, 732, n.7 (1992), and then citing Alexander v. Choate, 469 U.S.

       287, 293 (1985))).

              Although Harvard is not a state actor, Harvard College is a component of Harvard

       University which receives federal funds and intentionally provides tips in its admissions process

       based on students’ race. See [ECF No. 570 at 9–10]. Harvard College is therefore subject to the

       same standards that the Equal Protection Clause imposes upon state actors for the purposes of a

       Title VI claim. See Students for Fair Admissions, 346 F. Supp. 3d at 192 n.16 (“Harvard does

       not identify any specific reasons for distinguishing public universities from federally-funded

       private universities, or explain how the analytical framework would differ for private versus

       public litigants . . . .”). Under Grutter, “strict scrutiny must be applied to any admissions

       program using racial categories or classifications.” Fisher I, 570 U.S. at 310; see also Grutter

       539 U.S. at 326. Because Harvard both accepts federal funds and uses race in making

       admissions decisions, its admissions program is subject to strict scrutiny.

              Harvard argues that the test for a “facially neutral policy” should be applied, 55 but

       Harvard’s admissions process is not facially neutral. Fisher I, 570 U.S. at 307 (“It is . . .



       55
         The analysis of a facially neutral policy that has a disparate impact by race is different from
       the analysis of a policy that admittedly considers race. “In reviewing a uniformly applied
       facially neutral policy, ‘[d]etermining whether invidious discriminatory purpose was a
       motivating factor [in its adoption] demands a sensitive inquiry into such circumstantial and direct
       evidence of intent as may be available.’” Students for Fair Admissions, Inc. v. President &
       Fellows of Harvard Coll., 346 F. Supp. 3d 174, 193 (D. Mass. 2018) (quoting Anderson ex rel.



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       irrelevant that a system of racial preferences in admissions may seem benign. Any racial

       classification must meet strict scrutiny.”). Although Harvard’s reading procedures do not

       explicitly preference particular racial groups, Harvard pursues its interest in diversity in part by

       considering the race of applicants, and its admissions officers may take an applicant’s race into

       account when making an admissions decision even when the applicant has not discussed their

       racial or ethnic identity in their application. [Oct. 18 Tr. 52:15–53:13; 167:10–168:11].

                  Harvard’s acknowledged consideration of race is unlike a facially neutral policy which

       requires plaintiffs to prove racial discrimination. Cf. Vill. of Arlington Heights v. Metro. Hous.

       Dev. Corp., 429 U.S. 252, 270–71 (1977) (plaintiffs “failed to carry their burden of proving that

       discriminatory purpose was a motivating factor” for a rezoning decision that did not explicitly

       rely on race). Here, the use of race in and of itself is admitted, and the issue becomes whether it

       is permissible given the justification and the means used to achieve the sought-after diversity—in

       other words, whether Harvard’s use of race survives strict scrutiny. Notably, the Supreme Court

       has consistently used strict scrutiny when reviewing school admissions programs that consider

       race. 56



       Dowd v. City of Boston, 375 F.3d 71, 83 (1st Cir. 2004)). Policies that do not explicitly consider
       race are facially neutral and violate the Equal Protection Clause based on statistical evidence
       only where they form a clear pattern, unexplainable on grounds other than race. See Yick Wo v.
       Hopkins, 118 U.S. 356, 374 (1886) (finding unconstitutional the administration of a facially
       neutral policy for licensing laundries where permits had been denied to 200 Chinese applicants
       but granted to all but one of 80-odd others permit applicants who were not Chinese); see also
       Gomillion v. Lightfoot, 364 U.S. 339 (1960) (finding unconstitutional an alteration to the shape
       of Tuskegee, Alabama “to remove from the city all save four or five of its 400 Negro voters
       while not removing a single white voter or resident”). A policy that relies on race at least in part
       is subject to strict scrutiny regardless of its impact. Therefore, cases like Gomillion v. Lightfoot,
       364 U.S. 339, 340–41 (1960) and Yick Wo v. Hopkins, 118 U.S. 356 (1886) are inapposite.
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          Where a school admissions program is subject to strict scrutiny, the Court understands this to
       mean that the admissions program in its entirety is subject to strict scrutiny and not just the
       admissions decisions that involve the students that it seeks to advantage. Here, Harvard presses



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              Strict scrutiny requires that classifications used by Harvard in its admissions program be

       narrowly tailored to further a compelling interest. 57 See id. (“Strict scrutiny requires the




       the idea that its admissions program is facially neutral and should be evaluated by a less
       demanding standard than strict scrutiny. Harvard’s admissions program is facially neutral in that
       it does not explicitly prioritize any particular racial group over any other and permits its
       admissions officers to evaluate the racial and ethnic identity of every student in the context of his
       or her background and circumstances. The policy cannot, however, be considered facially
       neutral from a Title VI perspective given that admissions officers provide tips to African
       American and Hispanic applicants, while white and Asian American applicants are unlikely to
       receive a meaningful race-based tip. In this circumstance, the standard for facially neutral
       policies could arguably be applied in evaluating any disparate outcomes as between whites and
       Asian Americans, keeping in mind that the purpose of strict scrutiny is to ferret out inappropriate
       racial classifications, and given that there is no suggestion of a racially motivated classification
       involving whites and Asian Americans. See Richmond v. J. A. Croson Co., 488 U.S. 469, 493
       (1989) (plurality opinion) (noting that the purpose of subjecting a racial classification to strict
       scrutiny is to determine “what classifications are ‘benign’ or ‘remedial’ and what classifications
       are in fact motivated by illegitimate notions of racial inferiority or simple racial politics”);
       Grutter, 539 U.S. at 326 (“We apply strict scrutiny to all racial classifications to smoke out
       illegitimate uses of race by assuring that government is pursuing a goal important enough to
       warrant use of a highly suspect tool.” (quotation marks omitted and modifying punctuation
       omitted)). In the case of a facially neutral policy, “[p]roof of racially discriminatory intent or
       purpose is required to show a violation of the Equal Protection Clause.” Vill. of Arlington
       Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252, 265 (1977). Were that standard to be applied
       here, the Court would easily find in favor of Harvard on SFFA’s claim of intentional
       discrimination as there has been no showing of discriminatory intent or purpose.
       57
          SFFA contends that it may also succeed on its intentional discrimination claim by showing a
       “pattern or practice” of discrimination through statistically significant evidence of discrimination
       that then shifts to Harvard the burden of disproving the alleged pattern or practice. [ECF No.
       620 ¶¶ 167–76]. This burden shifting framework, which is rooted in the statutory provisions of
       Title VII, see 42 U.S.C. § 2000e-6, is inapplicable to a non-class, private plaintiff such as SFFA,
       even assuming that it could apply in a Title VI case. See Chin v. Port Auth. of N.Y. & N.J., 685
       F.3d 135, 149–50 (2d Cir. 2012) (holding “that the pattern-or-practice method of proof is not
       available to nonclass, private plaintiffs in cases such as the one before us” and noting that “all of
       our sister circuits to consider the question have held that the pattern-or-practice method of proof
       is not available to private, nonclass plaintiffs”); see also Semsroth v. City of Wichita, 304 Fed.
       Appx. 707, 715 (10th Cir. 2008); Davis v. Coca-Cola Bottling Co. Consol., 516 F.3d 955, 967–
       69 (11th Cir. 2008); Bacon v. Honda of Am. Mfg., 370 F.3d 565, 575 (6th Cir. 2004); Celestine
       v. Petroleos de Venezuella SA, 266 F.3d 343, 355–56 (5th Cir. 2001), abrogated on other
       grounds by, Health v. Bd. of Supervisors for the S. Univ. of Agric. & Mech. Coll., 850 F.3d 731
       (5th Cir. 2017); Gilty v. Vill. of Oak Park, 919 F.2d 1247, 1252 (7th Cir. 1990); Lowery v.
       Circuit City Stores, Inc., 158 F.3d 742, 761 (4th Cir. 1998), vacated on other grounds, 527 U.S.
       1031 (1999).


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       university to demonstrate with clarity that its ‘purpose or interest is both constitutionally

       permissible and substantial, and that its use of the classification is necessary . . . to the

       accomplishment of its purpose.’” (quoting Bakke, 438 U.S. at 305)).

                         1.    Compelling Interest

               In Bakke, Justice Powell found that student body diversity and the educational benefits

       that flow from a diverse student body was a compelling interest that could justify the

       consideration of race. 438 U.S. at 315 (“As the interest of diversity is compelling in the context

       of a university’s admissions program,” the remaining question is “whether the program’s racial

       classification is necessary to promote this interest.”). Importantly, he went on to explain that

       “[t]he diversity that furthers a compelling state interest encompasses a far broader array of

       qualifications and characteristics of which racial or ethnic origin is but a single though important

       element.” Bakke, 438 U.S. at 315. Twenty-five years later, the Supreme Court, in Grutter,

       reaffirmed that “student body diversity is a compelling state interest that can justify the use of

       race in university admissions.” Grutter, 539 U.S. at 325; see also Fisher I, 570 U.S. at 308–09

       (reiterating that prior cases had found that “obtaining the educational benefits of student body

       diversity is a compelling state interest” (citation and internal quotation marks omitted)).

               Here, for the reasons discussed supra at Section III.A.1, Harvard’s interest in student

       body diversity is substantial and compelling. Its goals are not “elusory or amorphous,” and are

       instead “sufficiently measurable to permit judicial scrutiny of the policies adopted to reach

       them.” Fisher II, 136 S. Ct. at 2211. These goals include “enhance[ing] the education of [its]

       students of all races and background [to] prepare them to assume leadership roles in the

       increasingly pluralistic society into which they will graduate,” achieving the “benefits that flow

       from [its] students’ exposure to people of different background, races, and life experiences” by

       teaching them to engage across differences through immersion in a diverse community, and


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       “broaden[ing] the perspectives of teachers[, and] thus tend[ing] to expand the reach of the

       curriculum and the range of scholarly interests of [its] faculty.” [PX302 at 1–2, 9]. Harvard’s

       goals are similar in specificity to goals the Supreme Court found “concrete and precise” in Fisher

       II. See 136 S. Ct. 2211. Racial categorizations are necessary to achieve those goals. In the

       absence of such categorizations, racial diversity at Harvard would likely decline so precipitously

       that Harvard would be unable to offer students the diverse environment that it reasonably finds

       necessary to its mission. See infra at Section VII.G.

                         2.    Narrowly Tailored

               Even in the limited circumstance when drawing racial distinctions is permissible to

       further a compelling state interest, a university is still “constrained in how it may pursue that

       end: ‘The means chosen to accomplish the [university’s] asserted purpose must be specifically

       and narrowly framed to accomplish that purpose.’” Shaw v. Hunt, 517 U.S. 899, 908 (1996)

       (quoting Wygant v. Jackson Bd. of Ed., 476 U.S. 267, 280 (1986)). Therefore, to satisfy strict

       scrutiny, “a university must make a showing that its plan is narrowly tailored to achieve the only

       interest that this Court has approved in this context: the benefits of a student body diversity that

       ‘encompasses a . . . broa[d] array of qualifications and characteristics of which racial or ethnic

       origin is but a single though important element.’” Fisher I, 570 U.S. at 308 (quoting Bakke, 438

       U.S. at 315). “When race-based action is necessary to further a compelling governmental

       interest, such action does not violate the constitutional guarantee of equal protection so long as

       the narrow-tailoring requirement is also satisfied.” Grutter, 539 U.S. at 327; see also J.A. Croson

       Co., 488 U.S. at 493 (plurality opinion) (“The purpose of strict scrutiny is to ensure that “the

       means chosen ‘fit’ . . . th[e] compelling goal so closely that there is little or no possibility that the

       motive for the classification was illegitimate racial prejudice or stereotype.”).




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              “To be narrowly tailored, a race-conscious admissions program cannot use a quota

       system,” Grutter, 539 U.S. at 334, but instead must “remain flexible enough to ensure that each

       applicant is evaluated as an individual and not in a way that makes an applicant’s race or

       ethnicity the defining feature of his or her application,” Fisher I, 570 U.S. at 309 (quoting Gratz,

       539 U.S. at 337). “In other words, an admissions program must be ‘flexible enough to consider

       all pertinent elements of diversity in light of the particular qualifications of each applicant.’”

       Grutter, 539 U.S. at 334 (quoting Bakke, 438 U.S. at 317). Thus, individualized consideration in

       the context of a race-conscious admissions program is paramount. See id.; Bakke, 438 U.S. at

       318 n.52 (identifying the “denial . . . of th[e] right to individualized consideration” as the

       “principal evil” of the medical school’s admissions program).

               The Court finds that Harvard’s admissions program “bears the hallmarks of a narrowly

       tailored plan” in that “race [is] used in a flexible, nonmechanical way” and considered “as a

       ‘plus’ factor in the context of individualized consideration of each and every applicant.” Grutter,

       539 U.S. at 334. Like the University of Michigan Law School in Grutter, Harvard “engages in a

       highly individualized, holistic review of each applicant’s file, giving serious consideration to all

       the ways an applicant might contribute to a diverse educational environment,” “this

       individualized consideration [is afforded] to applicants of all races,” and its “race-conscious

       admissions program adequately ensures that all factors that may contribute to student body

       diversity are meaningfully considered alongside race in admissions decisions.” Id. at 337–38.

              The nature of the allegations in this case however, requires that the analysis go further. 58

       Given the “serious problems of justice connected with the idea of preference itself,” Bakke, 438



       58
         Even though Harvard has shown that its admissions policy must consider race to serve its
       substantial and compelling interests, the application of strict scrutiny requires a “a further



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       U.S. at 298, narrow tailoring further requires “that a race-conscious admissions program not

       unduly harm members of any racial group,” Grutter, 539 U.S. at 341; see also Metro Broad., Inc.

       v. FCC, 497 U.S. 547, 630 (1990) (O’Connor, J., dissenting) (a race-conscious admissions

       program must not “unduly burden individuals who are not members of the favored racial and

       ethnic groups”).

               The remaining issue is whether Harvard’s admissions program unduly burdens Asian

       American applicants. Based on Professor Card’s model and the Court’s preferred model with the

       personal rating included, there is not a statistically significant difference between the chances of

       admission for similarly situated Asian American and white applicants. Under this rubric, the

       lack of a statistically significant penalty against Asian American applicants relative to white

       applicants suggests that the burden Harvard’s race-conscious admissions policy places on Asian

       American applicants is not undue. However, Professor Arcidiacono’s analysis, and the Court’s

       preferred model with the personal rating excluded, imply that Asian American applicants are

       disadvantaged relative to white applicants. The questions in the context of this case then become:

       why do Asian American applicants score lower on the personal rating, does it unfairly affect

       their chances of admission, and if so, is this an undue burden on them when measured against

       Harvard’s compelling interest in diversity?

               It is possible that the self-selected group of Asian Americans that applied to Harvard

       during the years included in the data set used in this case did not possess the personal qualities

       that Harvard is looking for at the same rate as white applicants, just as it is possible that the self-

       selected white applicants tend to have somewhat weaker academic qualifications than Asian



       judicial determination that the admissions process meets strict scrutiny in its implementation.”
       Fisher I, 570 U.S. at 311. Strict scrutiny affords a plaintiff “close analysis to the evidence of
       how the [admission] process works in practice.” Id. at 312–13.


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       American applicants. In other words, assuming Asian American and white applicants have the

       same academic and extracurricular potential and the same quality of personal attributes as

       demographic groups, it could be that asymmetric portions of each of these groups apply to

       Harvard. This would explain why Asian American applicants to Harvard did better than white

       applicants on the academic and extracurricular ratings and why white applicants to Harvard did

       better on the personal rating despite the likelihood that Asian Americans are not inherently more

       intelligent and white applicants are not inherently more personable. This scenario has little

       evidentiary support, but it, like Professor Card’s model and the Court’s preferred model

       including the personal ratings, would result in a finding of no undue burden and a narrowly

       tailored process that satisfied strict scrutiny. 59

               Alternatively, it may be that there is overt discrimination or implicit bias at work to the

       disadvantage of Asian American applicants. To begin at the end, the Court sees no evidence of

       discrimination in the personal ratings save for the slight numerical disparity itself. The statistical

       disparity is relatively minor and can be at least partially explained by a variety of factors

       including race-correlated inputs to the rating such as teacher and guidance counselor

       recommendations. Just as the Court cannot explain the variations in the academic and

       extracurricular ratings, it cannot definitively explain the difference in the personal ratings, but it




       59
          There may be little evidentiary support for this hypothesis because it was not in the interest of
       either party to develop this scenario. SFFA was wedded to the idea that the Asian American
       applicants were superior in two profiles and discriminated against on a third, while Harvard was
       unwilling to overtly argue that Asian American applicants were actually weaker in personal
       criteria, notwithstanding their stronger average academic performance and Harvard’s
       acknowledgment that Asian American applicants tend to be stronger in their extracurricular
       pursuits. The Court does not think, however, that demonstrable, disproportionate strength of a
       racial group in one area necessarily implies that the same racial group should be strong in all
       areas. If one assumes that raw talent and race are unrelated, it would be unsurprising to find that
       applicants that excel in one area, tend to be somewhat weaker in other areas.


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       finds that the disparity is small and reflects neither intentional discrimination against Asian

       American applicants nor a process that was insufficiently tailored to avoid the potential for

       unintended discrimination.

               Even if there is an unwarranted disparity in the personal ratings, the Court is unable to

       identify any individual applicant whose admissions decision was affected and finds that the

       disparity in the personal ratings did not burden Asian American applicants significantly more

       than Harvard’s race-conscious policies burdened white applicants. Further, there is no evidence

       of any discriminatory animus or conscious prejudice. To the contrary, certain statistics can be

       interpreted to suggest that Harvard’s admissions process unintentionally favored some subsets of

       Asian Americans, including the ALDCs and certain other discrete demographic groups like

       disadvantaged Asian females. The most likely causes of these statistical findings, however, is

       random variation in the admissions process or omitted variable biases, not selective

       discrimination that favored some Asian Americans and disfavored others.

               In terms of burden, it is likely that eliminating consideration of race would significantly

       disadvantage at least some Asian American applicants, as evidenced by the testimony of the

       amici at trial, all of whom viewed their race or ethnicity as a critical aspect of their life

       experiences and applications to Harvard. Further, it is vital that Asian Americans and other

       racial minorities be able to discuss their racial identities in their applications. As the Court has

       seen and heard, race can profoundly influence applicants’ sense of self and outward perspective.

       See, e.g., [Oct. 29 Tr. 30:23–33:17, 81:16–82:14, 85:24–90:3. 113:23–117:6, 140:9–148:3,

       166:19–172:18, 199:18–204:9]. Removing considerations of race and ethnicity from Harvard’s

       admissions process entirely would deprive applicants, including Asian American applicants, of

       their right to advocate the value of their unique background, heritage, and perspective and would




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       likely also deprive Harvard of exceptional students who would be less likely to be admitted

       without a comprehensive understanding of their background. Further, throughout this trial,

       SFFA did not present a single admissions file that reflected any discriminatory animus, or even

       an application of an Asian American who it contended should have or would have been admitted

       absent an unfairly deflated personal rating. There thus remains the distinct possibility that a

       review of the available applications did not turn up a rejected Asian American applicant who was

       clearly more qualified than the white applicants who were admitted, or an applicant who

       received an obviously unjustified personal rating. This would strongly suggest that Asian

       American applicants were not discriminated against relative to white applicants and were

       therefore not unduly burdened by Harvard’s admissions program.

              Although the Court evaluates each of SFFA’s four counts separately below, it concludes

       that Harvard’s admissions program has been designed and implemented in a manner that allows

       every application to be reviewed in a holistic manner consistent with the guidance set forth by

       the Supreme Court. Further, the Court concludes that while the admissions process may be

       imperfect, the statistical disparities between applicants from different racial groups on which

       SFFA’s case rests are not the result of any racial animus or conscious prejudice and finds that

       Harvard’s admissions program is narrowly tailored to achieve a diverse class and the benefits

       that flow therefrom.

              E.      Count II: Harvard Does Not Engage in Racial Balancing

              Count II alleges that Harvard engaged in impermissible racial balancing, that is, racial

       balancing that does not adhere to the parameters established by the Supreme Court. To maintain

       a permissible race-conscious admissions policy, Harvard may not “impose a fixed quota,” Fisher

       II, 136 S. Ct. at 2208, or otherwise “‘assure within its student body some specified percentage of

       a particular group merely because of its race or ethnic origin,’” as such a practice “would amount


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       to outright racial balancing, which is patently unconstitutional” under the Equal Protection

       Clause and therefore prohibited by Title VI. Grutter, 539 U.S. at 329–30 (quoting Bakke, 438

       U.S. at 307). The requirement that colleges and universities that accept federal funds abstain

       from such quota systems stems from the “simple command that the Government must treat

       citizens as individuals, not as simply components of a racial, religious, sexual or national class.”

       Parents Involved in Cmty. Sch. v. Seattle Sch. Dist. No. 1, 551 U.S. 701, 730 (2007) (quoting

       Miller v. Johnson, 515 U.S. 900, 911 (1995)). Quota systems are impermissible because they

       insulate some “category of applicants with certain desired qualifications from competition with

       all other applicants.” Grutter, 539 U.S. at 334 (quoting Bakke, 438 U.S. at 315); see Wessmann

       v. Gittens, 160 F.3d 790, 798 (1st Cir. 1998) (“A single-minded focus on ethnic diversity

       ‘hinder[s] rather than further[s] attainment of genuine diversity.’” (quoting Bakke, 438 U.S. at

       315)).

                Harvard’s admissions program intends to treat every applicant as an individual. Harvard

       does not employ a race-based quota, set aside seats for minority students, or otherwise “define

       diversity as ‘some specified percentage of a particular group merely because of its race or ethnic

       origin.’” Fisher I, 570 U.S. at 311 (quoting Bakke, 438 U.S. at 307). Every applicant competes

       for every seat. See [Oct. 18 Tr. 112:1–21]. Although a university could run afoul of Title VI’s

       prohibition on quotas even where it stopped short of defining a specific percentage and instead

       allowed some fluctuation around a particular number, see Parents Involved, 551 U.S. at 712

       (striking down school district student allocation plan that allowed for 10% variation from the

       district’s overall white/nonwhite racial balance), Harvard’s admissions policy has no such target

       number or specified level of permissible fluctuation. As Justice Powell recognized in Bakke and

       as was affirmed in Grutter, “minimum goals for minority enrollment . . . [without a] specific




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       number firmly in mind” did not make Harvard’s program “the functional equivalent of a quota

       merely because it had some ‘plus’ for race, or gave greater ‘weight’ to race than to some other

       factors, in order to achieve student body diversity.” Grutter, 539 U.S. at 335 (quoting Bakke,

       438 U.S. 317–318, 323). As the Court also held in Grutter:

              The . . . goal of attaining a critical mass of underrepresented minority students does
              not transform its program into a quota. As the Harvard plan described by Justice
              Powell recognized, there is of course “some relationship between numbers and
              achieving the benefits to be derived from a diverse student body, and between
              numbers and providing a reasonable environment for those students admitted.”

       Id. at 335–36 (quoting Bakke, 438 U.S. at 323).

              SFFA argues that its racial balancing claim is supported by non-statistical evidence,

       principally that Harvard’s admissions leadership too frequently looked at the “one-pagers” that

       showed the racial composition of admitted applicants or applicants whom Harvard was likely to

       admit and that Harvard placed students on its “search list” and sent recruitment letters to

       applicants based on criteria that disfavored Asian American applicants. The recruitment letters,

       however, did not affect admissions decisions, and SFFA cannot maintain a viable claim for

       intentional discrimination based merely on the allegation that some limited number of Asian

       American applicants did not receive certain pieces of marketing mail. See Weser, 190 F. Supp.

       2d at 399 (holding that race-conscious recruiting efforts do “not constitute discrimination”); see

       also Allen v. Ala. State Bd. of Educ., 164 F.3d 1347, 1352 (11th Cir. 1999), vacated per

       stipulation, 216 F.3d 1263 (11th Cir. 2000) (“[W]here the government does not exclude persons

       from benefits based on race, but chooses to undertake outreach efforts to persons of one race,

       broadening the pool of applicants, but disadvantaging no one, strict scrutiny is generally

       inapplicable.”); Lutheran Church-Mo. Synod v. FCC, 154 F.3d 487, 492 (D.C. Cir. 1998) (noting

       that “broad outreach to, as opposed to the actual hiring of, a particular race” would not

       necessarily trigger strict scrutiny); Honadle v. Univ. of Vt. and State Agric. Coll., 56 F. Supp. 2d


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       419, 428 (D. Vt. 1999) (distinguishing “‘inclusive’ forms of affirmative action, such as

       recruitment and other forms of outreach” from “‘exclusive’ forms of affirmative action, such as

       quotas, set asides and layoffs” and holding that monitoring racial composition and encouraging

       recruitment of diverse candidates were not discriminatory practices subject to strict scrutiny).

       Even if non-receipt of an invitation to apply to Harvard could constitute discrimination, there

       was no evidence presented at trial that any SFFA member fell into the group of Asian American

       applicants who did not receive such an invitation because of their race, nor is there any evidence

       that they suffered an injury as a result.

               Further, as in Grutter, consulting the one-pagers “which keep track of the racial and

       ethnic composition of the class” (among other statistics) does not “sugges[t] there was no further

       attempt at individual review save for race itself during the final stages of the admissions

       process.” 539 U.S. at 336 (quotation marks omitted). Throughout the process, Harvard remains

       committed to its holistic evaluation and its whole person review. Harvard’s use of the one-

       pagers as part of its admissions process and to evaluate whether it would be able to achieve its

       “goals for minority enrollment” is permissible and does not establish the existence of a quota or

       impermissible racial balancing. Id. at 335 (emphasis in original). As the Supreme Court has

       held, “‘[s]ome attention to numbers,’ without more, does not transform a flexible admissions

       system into a rigid quota.” Id. at 336 (quoting Bakke 438 U.S. at 323). 60




       60
          In fact, the law requires a “reasoned, principled explanation” for a decision to use race in
       admissions, and courts examine numerical evidence when evaluating whether race-conscious
       plans are narrowly tailored to serve a compelling interest. See, e.g., Fisher II, 136 S. Ct. at
       2211–12 (considering “anecdotal evidence” including racial representation in enrolled classes
       and “more nuanced quantitative data” reflecting African American and Hispanic representation
       in undergraduate classes).


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              Further, it may well be necessary to give attention to numerical indicators of racial

       diversity when an institution elects to adopt a race-conscious admissions program so as to remain

       compliant with the dictates of strict scrutiny, including monitoring the ongoing need for a race-

       conscious admissions process and the availability of race-neutral alternatives. See Fisher II, 136

       S. Ct. at 2214–15 (requiring UT Austin to “continue to use [] data to scrutinize the fairness of its

       admissions program; to assess whether changing demographics have undermined the need for a

       race-conscious policy; and to identify the effects, both positive and negative, of the affirmative-

       action measures it deems necessary”). Harvard’s awareness and consideration of the number of

       minority students likely to enroll throughout its annual admissions cycle is consistent with the

       fact that there is “some relationship between numbers and achieving the benefits to be derived

       from a diverse student body, and between numbers and providing a reasonable environment for

       those students admitted.” Grutter, 539 U.S. at 336 (quoting Bakke 438 U.S. at 323).

       Additionally, Harvard also considers the racial distribution of its admitted students to assist it in

       predicting its yield rate and thereby avoid overenrolling its freshman class because students from

       some racial groups historically matriculate at higher rates than others. These practices do not

       violate Title VI.

              As Justice Powell did in 1978, the Court “flatly reject[s] the argument that Harvard’s

       program [is] ‘the functional equivalent of a quota’” system or an otherwise impermissible means

       of racial balancing. Id. at 335 (quoting Bakke 38 U.S. at 317–18). Accordingly, judgment for

       Harvard shall enter on Count II, racial balancing.

              F.      Count III: Harvard Uses Race as a Non-Mechanical Plus Factor

              Count III alleges that Harvard fails to use race merely as a “plus” factor in admissions

       decisions. Consistent with what is required by Supreme Court precedent, Harvard has

       demonstrated that it uses race as a factor that can act as a “plus” or a “tip” in making admissions


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       decisions, and that its admissions program is “flexible enough to consider all pertinent elements

       of diversity in light of the particular qualifications of each applicant, and to place them on the

       same footing for consideration, although not necessarily according them the same weight.”

       Grutter, 539 U.S. at 334 (quoting Bakke, 438 U.S. at 317). Although race is an important

       consideration in deciding to admit many African American and Hispanic applicants, it remains

       an “individualized consideration in the context of [Harvard’s] race-conscious admissions

       program” and never becomes “the defining feature” of applications. Id. at 337 (citing Bakke,

       438 U.S. at 318 n.52).

              Admissions policies that fail to use race only as a plus factor typically either employ a

       quota system or assign some specified value to applicants’ racial identity, and thereby use race in

       a rigid and mechanical manner that deprives applicants of the truly individualized consideration

       required by the Supreme Court. See Gratz, 539 U.S. at 270 (finding unconstitutional “the

       University [of Michigan]’s . . . policy, which automatically distribute[d] 20 points, or one-fifth of

       the points needed to guarantee admission, to every single ‘underrepresented minority’ applicant

       solely because of race”); Bakke, 438 U.S. at 272 (striking down quota system); Johnson v. Bd. of

       Regents of Univ. of Ga., 263 F.3d 1234, 1254 (11th Cir. 2001) (finding University of Georgia’s

       admissions policy not narrowly tailored where it employed a rigid, mechanical approach that

       awarded “every non-white applicant [] a 0.5 point bonus, regardless of his or her background and

       regardless of whether a white applicant with a far more ‘diverse’ background” was available).

       Although the parties’ experts have estimated the average magnitude of Harvard’s race-related

       tips based on past admissions decisions and the effect those tips have on the diversity of its

       classes, the magnitude of the tip for an individual applicant cannot be precisely determined

       because race is considered in a contextual manner as part of Harvard’s holistic evaluation of each




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       applicant. The estimated average magnitude of the tips and the impact of the race-related tips or

       plus factors on the racial composition of Harvard’s classes, however, are comparable to the size

       and effect of tips that have been upheld by the Supreme Court.

              For example, in Fisher II, the Supreme Court noted that the proportion of Hispanic and

       African American applicants admitted through UT Austin’s holistic review process in 2007,

       when race was considered, had increased 54% and 94%, respectively, relative to 2003, when the

       holistic review process had been race-neutral. Fisher II, 136 S. Ct. at 2212. Those figures

       showed that “race has had a meaningful, if still limited, effect on the diversity of the University’s

       freshman class.” Id. The impact of UT Austin’s holistic process is comparable to the decline in

       combined African American and Hispanic enrollment that Harvard would likely experience in

       the absence of the consideration of race, which is estimated to be approximately 45%, absent

       alternative measures.

              In addition, the Supreme Court upheld the University of Michigan Law School’s

       admissions program where “underrepresented minority students would have constituted 4

       percent of the entering class in 2000 instead of the actual figure of 14.5 percent,” and African

       American applicants to the law school were “nearly guaranteed admissions if they score above

       155 on the LSAT,” while “[w]hites scoring [below] 167 . . . on the LSAT [were] routinely

       rejected.” Grutter, 539 U.S. at 320, 377 (Thomas, J., dissenting). The plus-factor or tips that

       Harvard employs to achieve racial diversity for its educational mission are not nearly as large.

       Additionally, the magnitude of race-based tips is not disproportionate to the magnitude of other

       tips applicants may receive. The effect of African American and Hispanic racial identity on an

       applicant’s probability of admission has been estimated at a significantly lower magnitude than

       tips offered to recruited athletes, and is comparable to tips for legacies, applicants on the dean’s




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       or director’s interest lists, children of faculty or staff, and strengths that are reflected by

       Harvard’s profile ratings.

               Finally, the magnitude of race-based tips as indicated by the relative academic

       qualifications of admitted minority students at Harvard is modest. Every student Harvard admits

       is academically prepared for the educational challenges offered at Harvard, and a majority of

       admitted applicants from every major racial group scores in the 2 range on Harvard’s academic

       ratings. [PX623]. 61 In other words, most Harvard students from every racial group have a

       roughly similar level of academic potential, although the average SAT scores and high school

       grades of admitted applicants from each racial group differ significantly.

               Accordingly, judgment for Harvard shall enter on Count III, using race as a non-

       mechanical plus factor.

               G.      Count V: No Adequate, Workable, and Sufficient Fully Race-Neutral
                       Alternatives Are Available

               Count V alleges that Harvard, in constructing an admissions process that considers race

       to ensure a diverse class, failed to consider and adopt race-neutral alternatives that would allow it

       to achieve diversity. Strict scrutiny requires that the Court “verify that it is ‘necessary’ for a

       university to use race to achieve the educational benefits of diversity.” Fisher I, 570 U.S. at 312

       (quoting Bakke, 438 U.S. at 305). “This involves a careful judicial inquiry into whether a

       university could achieve sufficient diversity without using racial classifications. Although

       ‘[n]arrow tailoring does not require exhaustion of every conceivable race-neutral alternative,’”

       id. (quoting Grutter, 539 U.S. at 339–40), or choosing “between maintaining a reputation for

       excellence or fulfilling a commitment to provide educational opportunities to members of all


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         An academic rating of 2 indicates magna cum laude potential, superb grades, and mid- to high-
       700 SAT scores or a score above 33 on the ACT. See supra at Section III.B.3.ii. The “2 range”
       includes applicants who were assigned a “2+” or “2-.”


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       racial groups,” Grutter, 539 U.S. at 339, “strict scrutiny does require a court to examine with

       care, and not defer to, a university’s ‘serious, good faith consideration of workable race-neutral

       alternatives,’” Fisher I, 570 U.S. at 312 (quoting Grutter, 539 U.S. at 339–340). “Consideration

       by the university is of course necessary, but it is not sufficient to satisfy strict scrutiny: The

       reviewing court must ultimately be satisfied that no workable race-neutral alternatives would

       produce the educational benefits of diversity.” Id. If “‘a nonracial approach . . . could promote

       the substantial interest about as well and at tolerable administrative expense,’ . . . then the

       university may not consider race.” Id. (citation omitted). In considering the proffered race-

       neutral alternatives, the Court is mindful of Justice Ginsburg’s astute observation that “only an

       ostrich could regard the supposedly neutral alternatives as race unconscious.” Id. at 335

       (Ginsburg, J., dissenting).

               Here, as more fully discussed in Section VI, Harvard has demonstrated “that ‘race-neutral

       alternatives’ that are both ‘available’ and ‘workable’ ‘do not suffice.’” Fisher II, 136 S. Ct. at

       2208. In sum, eliminating early action and tips for ALDCs, increasing outreach and community

       partnerships, offering more financial aid, or admitting more transfer students are all “available”

       and “workable” in some form and at varying costs, but they would likely have no meaningful

       impact on racial diversity. Further, any minimal effect that these alternative admissions practices

       might have on racial diversity, if implemented individually or in combination, would be offset by

       the decline in African American and Hispanic students that would result if race-conscious

       admissions practices were eliminated. Several other conceivable alternatives, such as admitting

       only students who rank at top of their high school class after their junior year or admitting the top

       student from each zip code, are not workable for Harvard because such programs would vastly

       over enroll its class. See supra at Section III.A.2; see also Fisher II, 136 S. Ct. at 2213 (“Class




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       rank is a single metric, and like any single metric, it will capture certain types of people and miss

       others. . . . [P]rivileging one characteristic above all others does not lead to a diverse student

       body.”).

              SFFA’s expert, Mr. Kahlenberg, proposes a geographic-based quota system using

       “neighborhood clusters” that is seemingly designed to achieve racial diversity based on

       socioeconomics rather than attention to race. This proposal has some of the earmarks of

       impermissible racial balancing, albeit without an explicit, articulated reliance on race. Further, it

       poses significant logistical challenges, such as how to form the clusters, and how to account for

       wealthy households in a generally lower income cluster, as well as difficult institutional and

       philosophical questions such as whether economics can fairly be considered a proxy for race.

              These issues aside, although Harvard could theoretically impose some form of

       geographic, place-based quota system, it could not achieve comparable racial diversity through

       such a program without a significant decline in the academic strength of its class. Further, the

       legality of the proposed place-based quota system is uncertain. In Fisher II, the Supreme Court

       upheld the constitutionality of UT Austin’s holistic review program but did not speak to the

       overall permissibility of place-based admissions policies. 136 S. Ct. at 2213–15. Unlike

       Harvard’s holistic process which considers every applicant individually, UT Austin admitted

       most of its class by automatically admitting applicants who graduated in the top 10% of their

       Texas high school class pursuant to a state law requiring it to admit those students. Id. at 2209.

       The plaintiff advocated the expansion of the automatic admission percentage, claiming it to be a

       race-neutral way of increasing diversity. Id. at 2213. The Supreme Court refused to require the

       expansion of the program, stating, “‘It is race consciousness, not blindness to race, that drives

       such plans.’ Consequently, petitioner cannot assert simply that increasing the University’s




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       reliance on a percentage plan would make its admissions policy more race neutral.” Id. at 2213

       (citation omitted) (quoting Fisher I, 570 U.S. at 335–36 (Ginsburg, J., dissenting)). Here, just as

       in Fisher II, the Court is not persuaded that such a plan would actually be “more race neutral,” id.

       at 2213. Place-based plans therefore do not suffice, pose complex challenges, and may not even

       qualify as available race-neutral alternatives.

               Harvard could adopt a more significant tip for economically disadvantaged students, but

       every such proposal presented to the Court would result in a significant decline in African

       American representation. Achieving even roughly comparable levels of combined African

       American and Hispanic representation to those Harvard presently achieves would require

       Harvard to sacrifice the academic strength of its class and forgo other admissions policies from

       which it derives financial, reputational, and academic benefits. See supra at Section III.B.3. As

       such, Harvard would compromise some degree of its reputation for academic excellence and still

       be less diverse than it is currently. Title VI does not require such an outcome. See Fisher II, 136

       S. Ct. at 2213 (explaining that the Supreme “Court’s precedent [makes] clear that the Equal

       Protection Clause does not force universities to choose between a diverse student body and a

       reputation for academic excellence”).

               Harvard has demonstrated that no workable and available race-neutral alternatives would

       allow it to achieve a diverse student body while still maintaining its standards for academic

       excellence. Judgment shall therefore enter in Harvard’s favor on Count IV, race-neutral

       alternatives.

               H.      Count I: Harvard Does Not Intentionally Discriminate

               SFFA’s intentional discrimination claim, Count I, requires the Court to determine

       whether Harvard’s admissions program violates Title VI through intentional discrimination

       against Asian Americans notwithstanding the Court’s conclusion that Harvard has shown that its


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       admissions program serves its compelling interest in diversity, that some racial categorizations

       are necessary to serve that interest, that it does not engage in proscribed racial balancing, and that

       no workable and available, fully race-neutral alternatives would suffice to meet Harvard’s goals.

       SFFA is not claiming that Harvard excludes Asian Americans and in fact, Asian Americans are

       admitted at virtually the same rate as white applicants. What it does claim is that, based solely

       on the quantifiable aspects of admissions, Asian Americans should be admitted at an even higher

       rate and that, if the personal ratings were not depressed, there would be more Asian Americans

       admitted.

              In undertaking its analysis, the Court begins with certain fundamentals. First, “given the

       important purposes of public education and the expansive freedoms of speech and thought

       associated with the university environment, universities occupy a special niche in our

       constitutional tradition.” Grutter 539 U.S. at 328–29. Second, a university is free to “make its

       own judgments as to . . . the selection of its student body.” Id. at 329 (quoting Bakke, 438 U.S.

       at 312). And third, although deference is owed to a university’s decision to pursue the

       educational benefits that flow from diversity, the university must show that its use of race is

       narrowly tailored to achieve its permissible goals. Fisher II, 136 S. Ct. at 2208.

              To these, the Court reiterates the following findings specific to this case:

          1. Throughout this trial and after a careful review of all exhibits and written submissions,

              there is no evidence of any racial animus whatsoever or intentional discrimination on the

              part of Harvard beyond its use of a race conscious admissions policy, nor is there




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               evidence that any particular admissions decision was negatively affected by Asian

               American identity. 62

            2. A race-conscious admissions program allows Harvard to achieve a level of robust

               diversity that would not otherwise be possible, at least at this time.

            3. The Court firmly believes that Asian Americans are not inherently less personable than

               any other demographic group, just as it believes that Asian Americans are not more

               intelligent or more gifted in extracurricular pursuits than any other group.

            4. There is a statistical difference in the personal ratings with white applicants faring better

               that Asian American applicants. Asian American applicants, however, do better on the

               extracurricular and academic ratings than their white counterparts. All three ratings

               incorporate subjective and objective elements, and while implicit biases may be affecting




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         The Court notes that under the Title VI standard applicable outside the higher education
       admissions context, SFFA’s intentional discrimination claim would fail because SFFA has not
       shown, by a preponderance of the evidence, that (1) Harvard discriminated on the basis of race,
       (2) that the discrimination was intentional, and (3) that the discrimination was a substantial or
       motivating factor for admissions decisions. See Goodman v. Bowdoin Coll., 380 F.3d 33, 43
       (1st Cir. 2004) (citing Tolbert v. Queens Coll., 242 F.3d 58, 69 (2d Cir. 2001)). The requirement
       for a “substantial or motivating factor” requires “evidence of racial animus,” id. at 43, and no
       racial animus was present here.

       Further, under the standard articulated in Goodman v. Bowdoin College, 380 F.3d 33 (1st Cir.
       2004), the Court would enter judgment for Harvard because it has shown that its admissions
       program was employed to promote diversity, which is not an invidious discriminatory purpose.
       See supra at Section III.D. Admissions decisions are made only after a careful process that
       considers and appreciates the diversity that applicants from diverse racial backgrounds, including
       Asian Americans, provide at Harvard. Harvard’s only intentional consideration of race views
       increased racial diversity as a positive attribute of its admitted class, which it achieves by
       considering an individual’s race through an individualized, holistic evaluation of every applicant
       in the manner envisioned by the Supreme Court. Further, the Court feels confident stating that
       the statistical disparities in personal ratings and admissions probabilities that have been identified
       are the result of some external race-correlated factors and perhaps some slight implicit biases
       among some admissions officers that, while regrettable, cannot be completely eliminated in a
       process that must rely on judgments about individuals.


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              Harvard’s ratings at the margins, to the extent that the disparities are the result of race,

              they are unintentional and would not be cured by a judicial dictate that Harvard abandon

              considerations of race in its admission process.

          5. Harvard’s admissions program is conceptually narrowly tailored to meet its interest in

              diversity. In practice, as more fully discussed above, it does not seem to unduly burden

              Asian Americans despite the fact that some percentage of Asian American applicants

              have received lower personal ratings than white applicants who seem similarly situated.

              The reason for these lower scores is unclear, but they are not the result of intentional

              discrimination. They might be the result of qualitative factors that are harder to quantify,

              such as teacher and guidance counselor recommendations, or they may reflect some

              implicit biases. Race conscious admissions will always penalize to some extent the

              groups that are not being advantaged by the process, but this is justified by the

              compelling interest in diversity and all the benefits that flow from a diverse college

              population. Here, any relative burden on Asian Americans (and it is not clear that there is

              a disproportionate burden) is not enough to warrant a finding that Harvard’s admissions

              process fails to survive strict scrutiny or to require it to move to an admissions model that

              foregoes diversity in favor of parity based solely on quantifiable metrics.

              The testimony of the admissions officers that there was no discrimination against Asian

       American applicants with respect to the admissions process as a whole and the personal ratings

       in particular was consistent, unambiguous, and convincing. Not one of them had seen or heard

       anything disparaging about an Asian American applicant despite the fact that decisions were

       made collectively and after open discussion about each applicant in the docket and full

       committee meetings. Similarly, there is no credible evidence that corroborates the improper




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       discrimination suggested by Professor Arcidiacono’s statistical model. Asian American

       applicants are accepted at the same rate as other applicants and now make up more than 20% of

       Harvard’s admitted classes, up from 3.4% in 1980. Although Asian Americans can and do bring

       important and diverse perspectives to Harvard, because only about 6% of the United States

       population is Asian American compared to nearly a quarter of Harvard’s class, it is reasonable

       for Harvard to determine that students from other minority backgrounds are more likely to offer

       perspectives that are less abundant in its classes and to therefore primarily offer race-based tips

       to those students. Finally, SFFA did not present a single Asian American applicant who was

       overtly discriminated against or who was better qualified than an admitted white applicant when

       considering the full range of factors that Harvard values in its admissions process.

               The statistics themselves are alone not enough to cause the Court to conclude that

       Harvard has engaged in improper intentional discrimination where Harvard has shown that its

       admissions policy uses race only in a permissible and narrowly tailored way. Further, although

       Professor Arcidiacono’s statistics suggest discrimination against certain subsets of Asian

       American applicants, Professor Card’s analysis of this same data suggests the opposite, thereby

       leaving the statistical analyses inconclusive. Even assuming that there is a statistically

       significant difference between how Asian American and white applicants score on the personal

       rating, the data does not clearly say what accounts for that difference. In other words, although

       the statistics perhaps tell “what,” they do not tell “why,” and here the “why” is critically

       important. Further, by its very nature, the personal score includes, and should include, aspects of

       an applicant and his or her application that are not easily quantifiable and therefore cannot be

       fully captured by the statistical data.




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              Harvard’s admissions process survives strict scrutiny. It serves a compelling, permissible

       and substantial interest, and it is necessary and narrowly tailored to achieve diversity and the

       academic benefits that flow from diversity. Consistent with the hallmarks of a narrowly tailored

       program, applicants are afforded a holistic, individualized review, diversity is understood to

       embrace a broad range of qualities and experiences, and race is used as a plus factor, in a

       flexible, non-mechanical way. See Fisher, 136 S. Ct. at 2214; Grutter, 539 U.S. at 337–38. The

       Admissions program also satisfies the other principles articulated in Fisher II in that it does not

       have a quota or use a fixed percentage and all applicants compete for all available seats. Further,

       Harvard has met its burden of showing that there are not currently any available or workable

       race-neutral alternatives. Finally, there is nothing about Harvard’s admissions process that is at

       odds with the reason for subjecting racial classifications to strict scrutiny—to ensure “little or no

       possibility that the motive for the classification was illegitimate racial prejudice or stereotype.”

       J.A. Croson Co., 488 U.S. at 493. The use of race benefits certain racial and ethnic groups that

       would otherwise be underrepresented at Harvard and is therefore neither an illegitimate use of

       race or reflective of racial prejudice. Accordingly, judgment for Harvard shall enter on Count I,

       intentional discrimination.

       VIII. CONCLUSION

              Notwithstanding the fact that Harvard’s admissions program survives strict scrutiny, it is

       not perfect. The process would likely benefit from conducting implicit bias trainings for

       admissions officers, maintaining clear guidelines on the use of race in the admissions process,

       which were developed during this litigation, and monitoring and making admissions officers

       aware of any significant race-related statistical disparities in the rating process. That being said,

       the Court will not dismantle a very fine admissions program that passes constitutional muster,

       solely because it could do better. There is always the specter of perfection, but strict scrutiny


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       does not require it and a few identified imperfections, after years of litigating and sifting through

       applications and metrics, do not alone require a finding that Harvard’s admissions program is not

       narrowly tailored.

              Further, the Court emphatically repeats what the Supreme Court said in Fisher II:

                 The University now has at its disposal valuable data about the manner in
                 which different approaches to admissions may foster diversity or instead
                 dilute it. The University must continue to use this data to scrutinize the
                 fairness of its admissions program; to assess whether changing demographics
                 have undermined the need for a race-conscious policy; and to identify the
                 effects, both positive and negative, of the affirmative-action measures it
                 deems necessary.

                 The Court’s affirmance of the University’s admissions policy today does not
                 necessarily mean the University may rely on that same policy without
                 refinement. It is the University’s ongoing obligation to engage in constant
                 deliberation and continued reflection regarding its admissions policies.

       136 S. Ct. at 2213–15.

              The Court here stops well short of requiring an admissions process that is overly data

       driven. Using statistics to ensure that the distribution of profile ratings or any other measure is

       exact even among various groups would potentially run afoul of the prohibition on quotas and,

       more importantly, defeat the purpose of a comprehensive, holistic review process that allows the

       admission of applicants with virtues that are not always quantifiable. But now that Harvard and

       other schools can see how statistical analyses can reveal perhaps otherwise imperceptible

       statistical anomalies, these sorts of statistics should be used as a check on the process and as a

       way to recognize when implicit bias might be affecting outcomes.

              It was always intended that affirmative action programs be limited in duration. In 2003,

       the Supreme Court articulated its expectation that in twenty-five years, it would not be necessary

       to use racial preferences to achieve a diverse student body. Grutter, 539 U.S. at 343. As time

       marches on and the effects of entrenched racism and unequal opportunity remain obvious, this



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       goal might be optimistic and may need to change, but it remains imperative that Harvard and

       other schools that make use of racial preferences to achieve a diverse learning environment

       ensure, through data and experience, that “race plays no greater role than is necessary to meet its

       compelling interest” in diversity and to keep in mind that “racial classifications may sometimes

       fail to capture diversity in all of its dimensions.” Fisher II, 136 S. Ct. at 2210.

              The wise and esteemed author Toni Morrison observed, “Race is the least reliable

       information you can have about someone. It’s real information, but it tells you next to nothing.”

       Emily Langer, From heart of black America, a voice for the voiceless, Boston Globe, Aug. 7,

       2019, at C11 (quoting Paul Gray, Books: Paradise Found, Time (Jan. 19, 1998),

       http://content.time.com/time/subscriber/article/0,33009,987690-5,00.html). Although this has

       been said, it must become accepted and understood before we close the curtain on race conscious

       admissions policies. The rich diversity at Harvard and other colleges and universities and the

       benefits that flow from that diversity will foster the tolerance, acceptance and understanding that

       will ultimately make race conscious admissions obsolete.

              As President Ruth Simmons said from the witness stand in this case when asked about

       the importance of diversity:

                       It’s very hard for me to overstate my conviction about the benefits that flow
              to all of these areas from a diverse undergraduate student body. I know something
              about the lack of diversity in one’s education. . . . My father was a janitor, my
              mother was a maid. They had been sharecroppers, they had few opportunities. I
              lived through that. I remember it. So to me, the benefits that flow to students is
              they get a better education, a deeper education, a truer education to deal with what
              they're going to have to deal with in life.

              To the institution, it makes for not just an enhanced learning environment but for
              the opportunity to be unparalleled in their standing because they offer something
              that is so indispensable for society.

              And for society, my goodness, I've spoken about the conflicts in society, how
              deeply they run, how they resurface from time to time. How can we imagine a
              world in which we are not creating leaders and citizens who have the capacity to


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              mediate those differences? I cannot imagine it. And so it’s with great conviction
              that I say that we must continue to offer diverse undergraduate education to our
              young people to save our nation.

       [Oct. 30 Tr. 54:11–55:15].

              That eloquent testimony captures what is important about diversity in education. For

       purposes of this case, at least for now, ensuring diversity at Harvard relies, in part, on race

       conscious admissions. Harvard’s admission program passes constitutional muster in that it

       satisfies the dictates of strict scrutiny. The students who are admitted to Harvard and choose to

       attend will live and learn surrounded by all sorts of people, with all sorts of experiences, beliefs

       and talents. They will have the opportunity to know and understand one another beyond race, as

       whole individuals with unique histories and experiences. It is this, at Harvard and elsewhere that

       will move us, one day, to the point where we see that race is a fact, but not the defining fact and

       not the fact that tells us what is important, but we are not there yet. Until we are, race conscious

       admissions programs that survive strict scrutiny will have an important place in society and help

       ensure that colleges and universities can offer a diverse atmosphere that fosters learning,

       improves scholarship, and encourages mutual respect and understanding.

              SO ORDERED.

       September 30, 2019                                             /s/ Allison D. Burroughs
                                                                      ALLISON D. BURROUGHS
                                                                      U.S. DISTRICT JUDGE




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                                 UNITED STATES DISTRICT COURT FOR
                                  THE DISTRICT OF MASSACHUSETTS
                                         BOSTON DIVISION

       STUDENTS FOR FAIR ADMISSIONS, INC.,

                                      Plaintiff,
                                                                    Civil Action No. 1:14-cv-14176-ADB
              v.

       PRESIDENT AND FELLOWS OF HARVARD
       COLLEGE,

                                      Defendant.

                                             NOTICE OF APPEAL
              Plaintiff, Students for Fair Admissions, Inc., now appeals to the United States Court of

       Appeals for the First Circuit this Court’s final judgment entered on October 1, 2019.

        Dated: October 4, 2019                                      Respectfully submitted,


                                                                      /s/ William S. Consovoy
        Adam K. Mortara                                             William S. Consovoy
        J. Scott McBride                                            Thomas R. McCarthy
        Krista J. Perry                                             J. Michael Connolly
        BARTLIT BECK LLP                                            Cameron T. Norris
        54 West Hubbard Street, Suite 300                           CONSOVOY MCCARTHY PLLC
        Chicago, IL 60654                                           1600 Wilson Boulevard, Suite 700
        312.494.4400                                                Arlington, Virginia 22209
        adam.mortara@bartlitbeck.com                                703.243.9423
        scott.mcbride@bartlitbeck.com                               will@consovoymccarthy.com
        krista.perry@bartlitbeck.com                                tom@consovoymccarthy.com
                                                                    mike@consovoymccarthy.com
        John M. Hughes                                              cam@consovoymccarthy.com
        Katherine L.I. Hacker
        Meg E. Fasulo                                               Patrick Strawbridge BBO #678274
        BARTLIT BECK LLP                                            CONSOVOY MCCARTHY PLLC
        1801 Wewatta Street, Suite 1200                             Ten Post Office Square
        Denver, CO 80202                                            8th Floor South PMB #706
        303.592.3100                                                Boston, MA 02109
        john.hughes@bartlitbeck.com                                 617.227.0548
        kat.hacker@bartlitbeck.com                                  patrick@consovoymccarthy.com
        meg.fasulo@bartlitbeck.com




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        Paul M. Sanford BBO #566318
        BURNS & LEVINSON LLP
        One Citizens Plaza, Suite 1100
        Providence, RI 02903
        617.345.3000
        psanford@burnslev.com

                                          CERTIFICATE OF SERVICE
                 I certify that this document was filed via the CM/ECF system, which will notify all counsel of

       record.

                                                                  /s/ William S. Consovoy
                                                                  Counsel for Plaintiff




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